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 EIGHTH SIX-MONTH REPORT OF THE
 TECHNICAL COMPLIANCE ADVISOR
   APRIL 1, 2018 – OCTOBER 7, 2018


Office of the Technical Compliance Advisor/Federal
Monitor to the Agreement for the Sustainable Reform
       of the Puerto Rico Police Department
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A Message from the Technical Compliance Advisor/
Federal Monitor


This is the Eighth (8th) Six-Month Report (“Report”) of the Technical Compliance Advisor
(“TCA”) pursuant to the Agreement (“Agreement”) for the Sustainable Reform of the
Puerto Rico Police Bureau (“PRPB”).1 The Report covers the period between April 1,
2018 and October 7, 2018.2 The same is a progression of the work of seven prior semi-
annual reports submitted to the Court and the Parties covering four years of capacity
building and a four-month extension agreed upon by the Parties and granted by the
TCA under Paragraph 239. The capacity building period has now concluded, and this is
the last written six-month report on this phase of the Agreement.


This Report evaluates the Commonwealth’s compliance with the Agreement by
assessing the PRPB’s progress against the detailed steps and activities set forth in its
Action Plans. These Action Plans were implemented in compliance with Paragraphs
234 through 239 of the Agreement. The Report assesses whether the time frames for
those detailed activities have been met, and whether the Commonwealth of Puerto Rico
has made satisfactory progress toward building sufficient capacity to successfully
implement the Agreement.3 In addition to assessing the progress made toward the
implementation of the Action Plans and the Agreement, the Report summarizes the
work conducted by the TCA for the six-month period ending on October 7, 2018.


Prior to discussing the findings of the last six months, I would like to discuss the
significance of this transition from capacity building to compliance. Beginning in
October 8, 2018, the Agreement has entered an entirely new phase. The period of
capacity-building has ended, except for the thirty-three clusters of activities where the
Parties have agreed to additional Paragraph 239 time-bound extensions, and the phase

1
       For a review of the Agreement filed, see: Case 3-12-cv-02039-GAG. Docket No. 57 (Filed
07/07/2013)
2
        It should be noted that during the span of the above referenced dates the “Capacity Building
Period” was still in effect and thus the reason for the use of Technical Compliance Advisor (TCA).
3
        See Paragraph 250 for reports the TCA must file, their content and format, during the first four
years from the date of Appointment [June 6, 2014].

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of compliance has commenced. The office of the Technical Compliance Advisor will no
longer be providing mainly technical assistance to build capacity in compliance with the
Action Plans. The TCA is now the Federal Monitor (“Monitor”) and his primary
responsibility is to measure and monitor compliance with the requirements and
outcomes set forth in Agreement rather than the Actions Plans.4


During the last 52 months, the Agreement required from the TCA to provide both,
technical assistance and to work in measuring compliance with the Action Plans. My
team and I focused precisely on executing that task. As I indicated in my first Report
(December 2014), consistent with the Agreement, I envisioned my role as the TCA in
terms of assessing and reporting the main challenges and obstacles facing the PRPB in
the implementation of the Agreement and building capacity. As the TCA, I approached
this challenging task with the understanding that this was a project that required
expertise, experience, the application of rigorous scientific methodologies, integrity, and
high ethical standards. In advancing the above objectives, one month after my
appointment, jointly with the Parties, I was able to put together a team of highly qualified
professionals and seasoned subject matter experts in all eleven areas of the
Agreement. From day one in our first field visit as a team in July 2014, the team began
to make immediate contributions. This was recognized by the PRPD in its Second
Status Report stating that there was “an environment of collaboration and assistance
between the Parties, the TCA and his team that is strengthening the goal of the
intended Reform”.


The principles ingrained in the Agreement have been exactly the goals that my team
and I committed to uphold and defend: the adoption by PRPD of constitutional effective
policing, the professionalization of PRPD, and the restoration of community trust in the
PRPD. Month after month, even in the immediate aftermath of Hurricanes Irma and
Maria, my team has been on the ground working with and assisting the PRPB. Along
with the teams from the Commonwealth and the United States Department of Justice,
we developed a partnership aimed at building capacity to achieve these three goals.

4
        The Agreement uses the term TCA. TCA means “Technical Compliance Advisor, a person or a
team of persons, including any employee, agent, or independent contractor of the TCA, who shall be
selected to review, assess, and report on the Commonwealth of Puerto Rico’s implementation of this
Agreement.” (Agreement ¶ 11 (jjj)). However, in the public hearing of August 20, 2018, the Court
announced that, starting the period of compliance in October 2018, the TCA will be referred to as the
Federal Monitor. In this report, the term TCA is used for the capacity-building period and Federal
Monitor is used for the period of compliance monitoring.

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During these last four years, we worked closely with two units within the PRPB, the
Reform Unit and the Police Academy. The Reform Unit in its policy making role and the
Police Academy in its training development role have been the cornerstone of the
capacity building processes within the PRPB. During this period, I have informed
through my six-months reports and other assessments whether the PRPB has met “the
timeline for each detailed step specified in the Action Plans,” and whether the PRPB
has been “in full, partial, or noncompliance with the detailed steps.” 5These reports have
identified areas of substantial progress, particularly in policy creation and training, and
have also outlined Agreement provisions and Action Plan steps where significant
improvement was needed. The aforesaid areas in need of improvement will be further
addressed in this document but, at this point in time, it is appropriate to first explain
briefly the new role of my office.


Fifty-two months after my effective date of appointment on June 6, 2014, as I stated
above, the PRPB finds itself in a different phase of the Agreement. 6 This is also the
case for me and my team. The Agreement requires that the Monitor begins “to regularly
conduct compliance reviews to assess the PRPB’s compliance with each of the
Agreement provisions in Sections III through XIII.”7The Monitor must also measure and
conduct outcome assessments, pursuant to Paragraph 243. The aforesaid process
initiated on October 8, 2018.


To carry out the compliance reviews and outcome assessments under Paragraphs 242
and 243, the Monitor had to develop a monitoring plan and methodology in accordance
with Paragraphs 245 through 248. Specifically, the Agreement required the Monitor to
“develop a plan for conducting the above compliance reviews and outcome
assessments” and “submit a proposed methodology” that will be used to monitor
compliance.8 The methodology was submitted to the Parties and after working closely


5
        Paragraph 240.
6
         “Appointment Date” means the date when the Court enters an order approving the Parties’
selection of the TCA or when the Court enters an order appointing a TCA among candidates submitted
by the Parties, consistent with Paragraphs 271-272. (Agreement ¶ 11 (f)). This language, as set forth in
the Agreement, was intended to capture all agreed-upon and approved extensions of the Action Plans,
pursuant to Paragraph 239.
7
        Paragraph 242.
8
        Paragraphs 245 and 248.

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with them for almost nine months, I filed the proposed methodology and monitoring plan
with the Court on October 5, 2018. The Court immediately approved it after
conferencing with the Parties. The court-approved methodology is based on best
national monitoring and auditing practices and adopts concepts and ideas used in other
jurisdictions, such as Newark, New York, Cincinnati, Detroit, New Orleans, Baltimore,
Albuquerque, and Seattle. In the incoming months, my team and I will work in
implementing the work plan and the roadmap set forth in that methodology and
monitoring plan.


The date of October 8, 2018, and this Report constitute an important milestone for yet
another reason: it allows me to present my assessment of the progress achieved and
where the PRPB is heading. First, we must engage in an account of the progress
made and the challenges encountered to attain implementation. In the April 1, 2018
through October 7, 2018 reporting period, the PRPB met many, but not all the
timeframes and milestones set forth to comply with the detailed steps imposed by the
Action Plans. The Parties and the TCA have continued to conduct annual reviews and
revisions of policies created or revised pursuant to the Agreement. These policies had
to be updated based on the feedback received during their implementation. In most
cases this has been a prevalent trend. However, in the next months of the monitoring
period, my team and I will focus on evaluating the efficiency of those feedback
processes.9 For example some policy reviews have not been fully conducted, policies
approved by the TCA and the United States have not been formally approved by the
Police Commissioner, and more significantly, at time it is unclear what degree of
feedback is incorporated into the enacted policies.


While it has been important for the TCA to assist PRPB in building its policy crafting
capacity through the development of Plans, policies, and procedures, the Agreement’s
capacity building period has provided a unique opportunity for the PRPB to develop a
culture of permanent training, meaningful self-evaluation, public accountability and
community engagement.


During this reporting period, the TCA continued to evaluate the effectiveness of in-
depth, scenario-based training for all relevant PRPB officers on selected use of force,


9
         Paragraph 113. “PRPB shall review each policy or procedure created or revised pursuant to this
Agreement on an annual basis for the first three years from the Appointment Date or upon notice of a
policy deficiency, and biannually thereafter.

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search and seizure, equal protection, and ethics policies. The overall assessment is
that these training activities are well underway, but they need to be re-activated in
certain critical areas of the reform. For example, much needed crisis intervention
training just started during this reporting period, almost five years after the signing of the
Agreement and domestic violence training has continued but it has not been completed.


To this date, my main concern in the area of training is the role of the Police Academy.
As I stated in past reports, the Police Academy is the backbone of the Police Reform.
The reform will be successful if and only if the Police Academy is at the center of all
reform activities. As reported in the past, I have seen with great uneasiness the lack of
a new class of cadets at the Police Academy and the gradual, but relentless loss of
trained officers leaving the PRPB each month for other positions in law enforcement,
resigning, or opting for retirement. In this context, investments in the PRPB’s human
capital plan and the Police Academy should be the Commonwealth’s top public safety
priority under the guidance provided by the Agreement.10 Since March 2015, there has
been only one PRPB class (Class 223) to graduate under the Agreement. 11 It is for this
reason that, in the middle of significant inaction from the PRPB, I recommended to the
Court, and the Court has adopted and mandated another Police Academy class once
the findings of the Paragraph 13 study identified a deficit of more than 1,100 officers.


Paragraph 13 required the PRPB to conduct a personnel-staffing study to assess
human resource needs by the PRPD. This requirement was highlighted under the
Action Plan on Professionalization. The original deadline to meet this requirement was
June 2016. The PRPB did not comply with this deadline and continued to postpone its
implementation. Upon the insistence of the TCA, the PRPB assembled a working group
to complete the staffing study and the former Police Commissioner put together a
Request for Proposals. The study was finally completed during this reporting period, in
April 2018. The required plan that follows the study was shared with the United States
and the TCA on September 28, 2018 and has been recently released in October 2018.


10
        To review previous TCA Six-Month Reports, see docket numbers 203, 245, 306, 382, 464, 609,
and 723. Also, please visit the website (https://www.policia.pr.gov/documentos-de-reforma-en-linea/)
of the PRPB for Police Reform and its documents (“ReformaPoliciaca”). See also the District Court’s
website for these documents.
11
         During this period, the Commonwealth submitted the Action Plan on Recruitment that provided
for a multi-year, multi-pronged approach to meeting the staffing needs of PRPB. The Commonwealth
also prepared a staffing plan submitted in September 2018, as required by Paragraph 13.

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Although the study represents the first time that PRPB has evaluated comprehensively
the workload on nearly all of its units to allow for more objective deployment of staff and
resources, I failed to understand the lack of strategic vision on the part of PRPB not to
complete the study earlier and the reasons for significant delays in the completion of the
study. Furthermore, I strongly criticized the way PRPB continued to promote personnel
and conduct random transfers (whether these arbitrary movements of personnel
decisions affect the recent transfers from FURA, that I am currently evaluating pursuant
to a court mandate, will soon be apparent) without first understanding the strategic and
operational needs of the organization. Time and time again, I recommended that no
promotions were to be made until the PRPB completed the staffing study, the staffing
work plan and transfers were deemed warranted on the basis of the operational needs
identified in the study and plan.


I am cognizant that Puerto Rico faces unprecedented fiscal problems and the
government is searching for remedies to the economic situation, including the
developing of private-public partnerships. The Agreement does not dictate who or what
entity will operate the Academy. Accordingly, I have encouraged over and over again
the PRPB to search for innovative ways to run the Academy, including new funding and
grant opportunities. It is for this reason that I do not object to but will closely monitor the
implementation of any private-public partnership that the Commonwealth may develop
to lessen the economic impact of a new class at the Police Academy.


During the last six months, the TCA has also provided assistance to the PRPB in other
key training matters, including the re-invigoration of the Field Training Officer (“FTO”)
Program; a program, which has shown significant value to the overall process of the
Reform. My team and I are concerned that the progress made in the first two years of
the Agreement is now in question as we have documented in past reports due to the
fact that many trained officers have left the PRPB and the certifications may have
expired for many of those remaining in the force.


In the past six months covered by this Report, I have continued to aggressively assist in
the process of restoring community trust in the PRPB. In the next six months, I will
release the findings of a new round of community surveys under Paragraph 241. The
findings to this date are not positive. It is for that reason that the Court scheduled
several town halls during this reporting period. They have already taken place and will
continue to happen in all corners of Puerto Rico. The goal of these town halls is to
engage in active listening of complaints, claims and suggestion to have direct, personal


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engagement with the community. I continue to work tirelessly to support the PRPB’s
officer training while ensuring that the PRPB directly hears from the communities.


Although there have been areas of progress, I have found, consistent with Paragraph
250(d), additional persistent challenges and have accordingly made recommendations
regarding necessary steps to achieve compliance.12 In a recent presentation to the
Police leadership, I highlighted some of those problems that I identified in the previous
seven reports. For example, I identified problems with the command and control of the
PRPB, persistent lack of trust by the residents and community groups, delays in in the
implementation of Paragraph 13, and concern with the policing of mass demonstrations
and the handling of administrative complaints and internal investigations.


As the Agreement has now reached its fourth plus official year of capacity building, this
final report under the capacity building period is to globally assess whether the
timeframes set forth by the Agreement and the Action Plans have been met. 13 To this
date, my assessment continues to be that the PRPB has only partially met the original
four-year capacity-building timeframe (including the TCA-granted four-month extension)
set forth in the Agreement and the Action Plans. To make this determination, my team
and I have reviewed and have assessed whether the PRPB has met the timeline for
each detailed step specified in the Agreement and the Action Plans. Although the
timelines have been met in certain detailed steps, particularly steps concerning the
production of policies and training materials, there are very important detailed steps,
including policy drafting and training steps, for which the Commonwealth has requested
additional time extensions because it has not been able to meet the agreed upon
milestones. In reviewing the reasons for these delays, my assessment shows that
Hurricanes Irma and Maria are neither the sole nor the main cause for the
Commonwealth not meeting the agreed upon timeframes. Other reasons appear to
account for these delays as I have documented in the past. As I have submitted in past
reports, the delays respond more the effect of the spur-of-the-moment implementation



12
        See Paragraph 250 (d): “[f]or any detailed steps that were reviewed and found not to have been
fully implemented in practice, the TCA’s recommendations regarding necessary steps to achieve
compliance; and.”
13
         Paragraph 240 requires that, for the first four years from the appointment date [June 6, 2014]
of the TCA, the TCA evaluates “PRPB’s compliance with this Agreement by assessing PRPB’s progress
against its Action Plans.”

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of Law 20-2017, the lack of leadership and changes in leadership, and other systemic
deficiencies affecting PRPB’s organizational performance.14


It is my assessment that there has been very limited progress in meeting the required
deadlines from April 2018 to the end of this reporting period. In March 2018, the Court
noted for the record the request for the extension of the timeframe for twenty-five (25)
detailed steps in the Action Plans as agreed upon by the Parties. Although on or before
April 6, 2018, the Commonwealth was to submit additional requests for extension in the
timeframes for additional steps in the Action Plans, that submission did not take place
until October 12, 2018.


Beyond meeting deadlines, the TCA six-months reports are to assess from a
substantive point of view whether the Commonwealth is making satisfactory progress
towards building capacity to enable the Commonwealth to successfully implement the
Agreement. My overall assessment is one of partial compliance with unsatisfactory
progress made in key compliance areas. The PRPB is, in most instances, in full or
partial compliance in meeting policy and procedure development as well training
development steps in the Action Plans. However, it is in non-compliance in key data
collecting and reporting objectives as well as implementation objectives defined in the
Action Plans. For example, my team and I have documented limited PRPB capacity to
track and report accurate use of force data, partial capacity to identify training needs at
the individual and unit level, and inadequate capacity to adequately investigate civilian
complaints against officers. Furthermore, there are areas such as Professionalization,
Supervision and Management, Administrative Complaints, and Information Systems and
Technology where the PRPB is non-compliant in key steps and is far from making
satisfactory progress towards the implementation of the Agreement.


In order to reach this determination, I have assessed whether the PRPB has made
satisfactory progress in each detailed step specified in the Action Plans. While the
PRPB has either fully complied or partly complied with many policy and training
development steps that were crucial in the first three years of the Agreement, there are
very important, significant detailed steps scheduled for the third and fourth years of the
Agreement for which the Commonwealth has not made satisfactory progress and has
been rated non-compliant.



14
       See: Docket No. 624.

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Although a detailed analysis of each step is to be found in the body of the Report and
the Appendix with the specific tables, I hereby address in greater detail my overall
assessment of partial compliance with unsatisfactory progress made in certain key
compliance areas. For example, in this reporting period I have again identified that one
of the major challenges is the persistent delay in the area of Information Technology.
This is an area where the PRPD is yet to meet in any substantial and tangible way the
demands of the Action Plan as documented by the extensions requested.


As other reports did, this Report continues to provide a current assessment of where
the PRPB is on Information Technology at the end of the capacity building period. This
is an area where the incorporation of a subject matter expert in the TCA’s office in 2016
was key to better support the PRPB. Given the chronic infrastructure and technology
needs throughout the PRPB, the TCA recognizes that overcoming these barriers in the
next twelve months requires a concerted and sustained effort, together with proper
oversight, in order to ensure that the PRPB’s investments facilitate full and timely
implementation of the Agreement demands. There is evidence that the PRPB’s
capacity to manage IT projects through its existing personnel is inadequate. My team
and I will work closely with the PRPB so that the required resources and training are
properly identified and properly addressed during the extended period.


Another documented challenge, which I have already noted above, is the slow progress
in creating a robust and solid strategic staffing plan as required under Paragraph 13 of
the Agreement.15 Both, the study and the work plan, have finally been submitted during
this reporting period. It is a basic fact that the staffing study and the related work plan
were the first of its kind at PRPB. PRPB has never used a comprehensive workload
approach to staffing and resource allocation. However, the findings are devastating and
have confirmed the reasons why this study was needed in 2016 including the fact that
deployment and staffing allocations were for many years subjective and often improper.
Moving forward, the most important fact found in the Commonwealth’s staffing study is
that, compared to the staffing situation in 2013 and 2014, there is a deficit of near 1,200

15
          See Paragraph 13 which reads as follows: “PRPB shall assess the appropriate number of sworn
and civilian personnel to perform the different department functions necessary to fulfill its mission. To
do so, PRPB shall conduct a staffing allocation and resource study. The study shall form the basis for a
staffing and resource allocation plan that is consistent with community-oriented policing principles and
supports the systematic use of partnerships and problem-solving techniques. To foster community-
oriented policing, the plan shall consider deployment practices that offer officers opportunities to serve
the communities in which they reside.”

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officers to meet the workload demands. In addition, there is evidence that more than
2,000 officers could be better utilized with proper civilianization of certain police
operations. There is evidence of an aging police department and the problem is likely to
get worse before it gets better. As in the past, my assessment is that it is blatantly
apparent that the lack of a consistent staffing approach for more than two years has
limited the PRPB operationally and strategically. The damage is done. These staffing
limitations have manifested fully in the rank-and-file frustration regarding overtime and
other personnel issues in addition to the massive staffing exodus. Since my first six-
month report, I warned the Parties and the Court that staffing matters, both directly and
not directly covered by the Agreement (e.g., compensation, overtime, increased sick
leave, impermissible protest by officers), would ultimately end up affecting the reform
process if left unattended.16


In the last reporting period, there have been other challenges and recommendations
that I have identified as areas for urgent action. They were the need for the PRPB to
reinvigorate its community outreach and the demands for an immediate strengthening of
civil rights and civil liberties protections when conducting police operations in the areas
of policing of mass demonstrations and handling administrative complaints.
In this reporting period, my team has evaluated compliance with both the Equal
Protection Action Plan and the internal disciplinary processes covered under the
Administrative Complaints Action Plans. As this Report documents, the main finding is
that a system for investigating and addressing administrative complaints, in particular
complaints of equal protection and non-discrimination, continues to lag far behind where
it must be. In addition, the PRPB’s capture and use of officer performance data in order
to build an effective Early Intervention System (“EIS”), to guide it in the delivery of
services, supervision, professional development of officers and risk management, also
requires significant attention from the top leadership during the period of compliance.
The EIS policy is still in development phase with still a lot of work pending to be done.
Similarly, much work remains on bringing about significant operational and
technological changes to the performance evaluation systems as well as the
investigative and disciplinary processes affecting the PRPB personnel. The PRPB must
improve immediately their processes for investigating and reviewing use of force,
investigating officer misconduct, supervising problem-prone officers, managing
personnel resources, and imposing discipline if they want to have credibility both before
the public and their employees. Finally, as reported in a follow-up study, there is an



16
         See: Docket No. 203. TCA, First Six-Month Report (June 6, 2014 – December 6, 2016. Submitted
to the Court: February 9, 2015. Page 7).

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increasing backlog of administrative complaints that raises concerns about the
expediency of the progress made in past years.


During this reporting period, the Court also ordered to pay special attention to budgetary
matters. The Action Plans identified PRPB’s infrastructure and budgetary needs. It also
provided steps to meet them. In 2018, I have conducted a thorough assessment of the
infrastructure and budgetary needs defined in the Action Plans and required “to place
the PRPB in a position to implement” each of the Agreement’s provisions within four
years from my appointment date and in accordance with the implementation schedules
set forth in the Action Plans.17 These economic evaluations have been shared with the
Parties. In October 2018, the Parties and the TCA had a meeting with the Financial
Oversight and Management Board (“FOMB”) to discuss this matter in greater detail.


Based on the information available, the PRPB had only used about 20% of the funds
assigned to the Reform since 2013. Moreover, the TCA received notification that at
least $1 million (or 5% of the total reform funding) was frozen for this fiscal year in
September 2018. In October 2018, at the meeting that my office scheduled, the FOMB
clarified that the 5% set-aside did not apply to the $20 million assigned for reform.


Furthermore, in 2018, the USDOJ and the TCA were alerted that the PRPB had not
used any of the approximate $2.8 million available in federal asset forfeiture funds that
were assigned for police reform purposes for fiscal year 2017-2018.18 The situation was
so dire that the federal administrators threatened to take these forfeiture funds away. It
was only recently that the Commonwealth has committed to resolve this issue. My
assessment is straightforward on this issue: the administrative hurdles created by the
implementation of Act 20-2017 have just accentuated structural deficiencies identified in


17
        See Paragraph 237.
18
        In December 2013, the United States Department of Justice reinstated the PRPB into the
Equitable Sharing Program. The reinstatement was conditioned upon PRPB’s use of equitable sharing
funds to implement and fulfill the Agreement. Since December 2013, the Commonwealth received
$16.7 million in equitable sharing funds. PRPB used most of these funds from FY 2014 to FY 2017. The
United Stated made equitable sharing payments of cash and sale proceeds to the PRPB for an amount of
$5,496,710 in FY 2014, $5,969,617 in FY 2015, $1,206,941 in FY 2016, and $987,032 in FY 2017. (see:
https://www.justice.gov/afp/reports-0). In February 2018, there was a carry-over of $2.2 million plus
$652,092 at hand.

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the past regarding the budgetary autonomy of the PRPB. In my assessment, these
budgetary obstacles have further prevented the PRPB from making satisfactory
progress toward implementation of the Agreement and the Action Plans.


My ultimate assessment is that the most crucial challenge to the timely implementation
of the Agreement and the Action Plans during this reporting period and the last two
years of the capacity building period has been the crisis of leadership and management
affecting the PRPB and the lack of direction in the implementation of Act 20 of 2017.
This crisis has created tremendous uncertainty in all ranks of the PRPB and this lack of
confidence persists in 2018. The fact that the current management structure has been
not working well has been clearly established during this and the last reporting periods
when the progress made toward the implementation of the Action Plans has come close
to a standstill. It is for this reasons that I noted that I will not hesitate to recommend to
the Court actions that restore satisfactory progress toward implementation and that the
Court has openly warned the Commonwealth of the dangers of inaction and its
remedies.


In my view, this is what the PRPB must do in the coming months to address the lack of
progress as we end the capacity building process and we enter the period of monitoring
compliance.


First, all policies related to the Agreement must be in place and all officers should be
trained on them, by no later than December 31, 2019, in order to measure operational
compliance. Policy compliance is a condition of training compliance and policy and
training compliance are a condition of operational compliance. Paragraph 242 requires
that the Monitor evaluate these compliance levels for each paragraph of the Agreement.


In the first part of 2019, the PRPB should be revamping training, protocols, procedures,
and processes for reviewing internal investigations of alleged officer misconduct and the
investigation and specifically review of use of force incidents. This means that, as of
October 1, 2018, except for the areas where an extension may be granted, PRPB
officers will be operating under policies and training that must immediately meet the
requirements of the Agreement.


Relatedly, the PRPB, in partnership with the other Commonwealth agencies, should
also be developing new Crisis Intervention Team (CIT) policies and training for

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responding to individuals experiencing a behavioral health crisis. Another primary area
of focus for the PRPB should be non-discrimination and bias-free policing. After
receiving input from police officers, officer organizations, and community members and
organizations, the PRPB should strengthen non-discrimination policing policy and
training to incorporate the principles of procedural justice. The goal is to make sure that
all policies and training implemented in practice are designed to ensure that police
services are delivered free from bias and discrimination.


More generally, the PRPB should begin implementing the staffing work plan by no later
than December 2018. That Plan must communicate the PRPB’s commitment to
community-oriented policing, should reflect the input of community groups and officers.
Consistent with the revised plan, the PRPB must develop a new, comprehensive
strategy for implementing a community and problem-oriented policing model.


The PRPB must immediately implement a new recruitment policy and strategic
recruitment plan that includes clear goals, objectives, and action steps for attracting
qualified applicants from a broad cross-section of the community. During the early part
of 2019, supervisors should continue to receive training that will be consistent with their
new and enhanced responsibilities with respect to the central compliance areas of the
Agreement.


In the early months of 2019, the PRPB should also assist in the completion of the
comprehensive surveys set forth by Paragraph 241. We are finding some resistance to
required compliance. In addition, the preliminary findings reveal lack of progress and in
some instances, retrogression. The PRPB should evaluate these findings carefully as
community trust is one of the three pillars of constitutional policing.


The PRPB should work closely with officers, community members, stakeholders, and
the PRPB to measure whether officers have the tools and resources that they need to
effectuate the priorities associated with problem-solving and community-oriented
policing strategies.   I summon the PRPB to complete the community policing
assessment of the Staffing Plan and ensure that the PRPB deploys the appropriate
number of personnel to perform the functions necessary for the PRPB to fulfill its
mission and satisfy the requirements of the Agreement while addressing the needs of
officers.



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Early next year, the PRPB should guarantee that efforts are underway to ensure that
SARP receives and investigates civilian complaints of officer misconduct and performs
high-quality, objective investigations. For this to happen, SARP officers must have the
training, expertise, and composition to ensure fair, expeditious, objective, and rigorous
assessment of misconduct investigations. Finally, the PRPB must make significant
progress in the implementation of the Early Intervention System, its policies and
systems.19


The milestones detailed above are my recommendations. I strongly urge the PRPB to
evaluate them and develop their own implementation plan for the forthcoming first two
years of the compliance phase.


The overarching aim of the Agreement is that police services delivered to the people of
Commonwealth of Puerto Rico must fully comply with the Constitution and laws of the
United States and Puerto Rico, promote public and officer safety, and increase public
confidence in the PRPB and its officers. To achieve this goal, community members
must have a role in how the Agreement is implemented and a venue through which to
voice their experiences, concerns, and ideas.


In April 2018, the Court and the Federal Monitor introduced the Town Halls Community
Meetings hosted by the Monitor, the Parties and the PRPB. At these meetings, the
Monitor provides an overview of his role in the Agreement and addresses questions that
community members may have about the Agreement and monitor-ship. The community
members are also given the opportunity to voice their complaints as well as their
positive remarks regarding the Reform process. These meetings will continue during the
compliance period which started on October 8, 2018.


The Monitor takes this opportunity to thank all involved in the Reform process for their
continued support and cooperation.

Arnaldo Claudio, US Army, Col. (ret)

Federal Monitor/Technical Compliance Advisor

19
       The context for this observation is that PRPB has not trained its administrative investigators on
conducting administrative investigations. The Parties agreed to extend this activity in the Action Plans.

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TCA Reports under the Agreement

Paragraph 250 of the Agreement:

“During the first four years, from the Appointment Date, the TCA shall file with the Court,
written public reports every six months that shall include:

   a) a description of the work conducted by the TCA;

   b) a listing of each detailed step in the Action Plans and its timeframe indicating
       whether the timeframe has been met, and whether the Commonwealth of Puerto
       Rico is making satisfactory progress toward implementation of the Agreement by
       rating PRPB in full, partial, or non-compliance steps in the Action Plan;

   c) the methodology and specific findings for each review conducted, where
       appropriate, and redacted as necessary for privacy concerns. An un-redacted
       version shall be filed under seal with the Court and provided to the Parties. The
       underlying data for each audit or review shall not be publicly available, but shall
       be retained by the TCA and provided to either or both Parties upon request;

   d) for any detailed steps that were reviewed and found not to have been fully
      implemented in practice, the TCA’s recommendations regarding necessary steps
      to achieve compliance; and

   e) a projection of the work to be completed during the upcoming reporting period
      and any anticipated challenges or concerns related to implementation of the
      Agreement.”


Paragraph 252 of the Agreement:


“The TCA shall provide a copy of the six-month reports to the Parties in draft form within
15 days after the end of the reporting period. The Parties shall have fifteen calendar
days upon receipt of the draft report to allow the Parties to informally comment on the
draft report. The TCA shall consider the Parties’ responses and make appropriate
changes, if any, and shall file the final report with the Court within 45 days of the end of
the review period. DOJ and PRPB may file responses to the TCA’s final report within
30 days.”

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Introduction


This is the Eighth Semi-Annual Report (“Report”) of the Technical Compliance Advisor
(“TCA”) [Federal Monitor as of October 8, 2018] in the Agreement (“Agreement”) for the
Sustainable Reform of the Puerto Rico Police Bureau (“PRPB”).20 The Report assesses
the progress made by the PRPB toward implementing the Agreement and the Action
Plans in the aftermath of the two hurricanes that devastated Puerto Rico in September
2017. It also reports on the current challenges to the sustainability of the Reform, and
summarizes the work conducted by the TCA for the six-month period ending on October
7, 2018.21 October 7, 2018 was also the last day of the capacity building period except
for the limited number of thirty-three items in which the Commonwealth and the United
States have jointly requested an extension under Paragraph 239.


As Paragraph 226 sets forth, the TCA has the duties, responsibilities, and authority
conferred by the Agreement under the supervision and order of the Court without
replacing or assuming the role and duties of the PRPB and its leadership. 22 Pursuant to
the terms of the Agreement, it is the responsibility of the TCA to provide technical
assistance during the capacity building period.23 The TCA also systematically reviews
and approves Action Plans, policies, procedures, programs, protocols, training, and


20
       Prior to the implementation of Act 20 of 2017 creating the umbrella agency known as the
Department of Public Safety (“DPS”), the Puerto Rico Police Bureau (“PRPB”) was a separate
government agency known as the Police Department of Puerto Rico (“PRPD”). The Agreement uses the
term PRPD. This Report will use the term PRPB except when citing from the Agreement.
21
         The Agreement refers to six-month reports. However, in the aftermath of Irma and Maria, the
Parties and the TCA agreed to issue an interim six-month report and then a subsequent final (ninth-
month) report. The interim report covered the period from June 6, 2017 to December 6, 2017. The final
report covered the period from June 6, 2017 to March 31, 2018.
22
         See Paragraph 11, jjj: “TCA means ‘Technical Compliance Advisor,’ a person or team of people,
including any employee, agent, or independent contractor of the TCA, who shall be selected to review,
assess, and report on the

        Commonwealth of Puerto Rico’s implementation of this Agreement.” The TCA’s role and duties
are defined in Paragraphs 15, 17, 60, 137, 220, 225-279, 288, 289, 293, 295, 296, 300.
23
        See Paragraphs 236, 255.

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systems of the PRPB.24 Furthermore, the TCA reports on PRPB’s implementation of
this Agreement, their Action Plans, and their intended impact.25


It is ultimately the task of the TCA to measure the nature and the extent of the PRPB’s
compliance with the terms set forth in the Agreement and the Action Plans (which were
deemed incorporated into the Agreement upon submission to and approval by the
Court). The findings and recommendations made on this Report are based on his
authority to asses and report on the Agreement’s implementation and whether this
implementation is “resulting in constitutional and effective policing, professional
treatment of individuals, and increased community trust of PRPB.”26


Prior to September 2017, the PRPB made satisfactory progress in building capacity,
drafting and updating policies, conducting required trainings, and implementing the
eleven Action Plans for the eleven compliance areas required by the Agreement. With
diligence and hard work, the PRPB reached specific milestones in the areas of
planning, policy making, training, and community engagement. In prior reports, we
have enumerated the most significant achievements. In this matter, the PRPB and the
TCA are in full agreement.


During this reporting period from April 1, through October 8, 2018, there were
nonetheless specific steps where progress was limited, partial, or non-existent such as
the recruitment of new officers and their training under a new class of the Police
Academy, the handling of administrative complaints, the implementation of the EIS, or
the timely upgrading of much required IT infrastructure. The PRPB is for the most part
non-compliant with a broader definition of the idea of capacity building, implementation
in practice. Besides policy and training, capacity building includes key data collecting
and reporting objectives as well as implementation objectives defined in the Action
Plans. There are areas such as Professionalization, Supervision and Management,
Administrative Complaints, and Information Systems and Technology where the PRPB
is non-compliant in key steps and is far from making satisfactory progress towards the
implementation of the Agreement.

24
         See Paragraphs 229 (Review of Policies and Programs) and 235-240 (Development of Action
Plans)
25
         See Paragraphs 250, 252
26
         Paragraph 225.

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Following the structure set forth in Paragraph 250, this Report consists of four major
sections (and four appendixes). In the first section, the Report briefly discusses the
PRPB’s Status Report. The current Status Report is a significant improvement when
compared to past reports.


Consistent with Paragraph 250(a), Section I also discusses the main highlights of the
work conducted by the TCA in the last six months, from April 1, 2018 to October 7,
2018.This section focuses on the work of the TCA in providing assessment and
technical assistance to the PRPB, including the work of reviewing policies and trainings
as well as the assessment reports in the aftermath of Hurricane Maria.


In its second section, Section II, the Report focuses on the work of the PRPB in
implementing Action Plans for the eleven (11) substantive areas of the Agreement and
in complying with Paragraphs 234 through 238 of the Agreement from June through
March. This part of the Report complies with Paragraphs 250(b) and 250(c). For this
Report, tables detailing activities and steps taken by the PRPB in accordance with the
submitted Action Plans along with ratings on the progress made towards
implementation are included in Appendix 4.


In the third section, Section III, as required by Paragraph 250(d), the TCA assesses and
make recommendations regarding necessary steps to achieve compliance for any
detailed activities or steps that were preliminary reviewed and found not to have been
fully or partly implemented in practice. The purpose of this section is to identify issues
that require further attention and/or may have a negative impact on the implementation
of the Agreement. The list of topics is detailed in the table of contents. Given that this
is the last report under the capacity building phase, the recommendations are geared
towards compliance with the Agreement.


The final section, Section IV, as required by Paragraph 250(e), includes a projection of
the work to be completed during the upcoming reporting period. This section reflects
the TCA’s vision of intended reviews of the PRPB operations, including steps and
activities taken towards building capacity. These plans highlight the areas of the
Agreement that the TCA and/or the Court has identified as current top priorities. This
section includes a brief discussion of the monitoring plan and methodology and the
agreed upon roadmap between the Parties and the Monitor.



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The purpose of this Report is to describe the progress made by the PRPB in the 52
months of capacity building. It seeks to asses and report where the PRPB is after the
completion capacity building phase, with the exception of the 33 requested exemptions.
It also seeks to report on how the PRPB is set to achieve effective compliance with the
Agreement.




Section I
The PRPB Status Report


On September 24, 2018, the PRPB submitted its Status Report to the United States and
the TCA in Spanish. On September 28, 2018, the PRPB submitted its Status Report to
the Court in English.27Under the Agreement, the PRPB is to file with the Court, with
copies to the TCA and to the United States Department of Justice (“USDOJ”), a Status
Report (“Status Report”) assessing progress for each of the eleven (11) focus areas,
steps towards implementation of the Agreement, and a response to prior concerns
raised by the TCA.28 The purpose of the Status Report was to document the overall
progress made by the PRPB for the period ending on September 2018. Overall, this is
an excellent and very informative Status Report.


In Section II of the Status Report, the Commonwealth provides a response to the
concerns raised in the Seventh (interim) Report of the TCA covering the period from


27
        For the Status Report, see: Case 3-12-cv-02039-GAG. Docket No. 958 (Filed 09/28/2018). “In the
seventh biannual report (provisional) issued by the TCA, which includes the period from June 10 to
December 9, 2017, the TCA informed the PRPB of some deficiencies identified during that period of
time, in the Agreement implementation process, Action Plans activities, and the policies approved by
the PRPB.” (Page 2)
28
         Paragraph 261 requires that the Commonwealth “file with the Court sealed and unsealed
versions of the Status Report, with a copy to the TCA and USDOJ, no later than 15 days before the end of
the period under review.” The end of the period under review was October 7, 2018.

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June 10, 2017 through December 9, 2017.29The Status Report identifies (1) the
concerns about a visit made to the Fajardo Police Area / Force Review Board (FRB); (2)
concerns regarding the Operation and Training related to the CAD System; (3) the visit
of the TCA to the Utuado Police Area and its Zone of Excellence; (4) the TCA Visit to
the Quebradillas Zone of Excellence and (5) the Notification of the TCA to the Fajardo
Police Area for not having a written contingency plan to work with disasters such as
earthquakes, plane crashes or hurricanes.


The TCA appreciates the Commonwealth addressing these concerns stemming from
the team’s field visits in the months before and after the Hurricane. However, the TCA
has two concerns. First, there is no reference to the concerns raised in the final
Seventh Six-Month Report covering the period from June 10, 2017 through March 31,
2018.30 One presumes that the Commonwealth does not address these concerns
because it issued and filed with the Court a response to the TCA Seventh Six-Month
Report. However, this is unclear since there is no reference in the Status Report to
either the TCA Seventh Report or the Commonwealth’s Response.31 Second, there are
other concerns that the TCA raised in his interim and final Reports that are not
addressed in the Report. It remains unclear whether the Commonwealth will address
them eventually.


The most problematic statement of the Status Report is found in page 7. The Status
Report notes the following:


       “The Action Plans contemplated five hundred and sixty-eight (568) activities to be
       carried out. Of these, an extension has been requested for thirty-three (33)
       activities, which represents six percent (6%) of the total of the activities included
       in the eleven (11) Action Plans.




29
         For the Seventh (Interim) Six-Month Report, see: Case 3-12-cv-02039-GAG. Docket No. 723-1
(Filed 01/26/2018)
30
         For the Seventh Six-Month Report, see: Case 3-12-cv-02039-GAG. Docket No. 871-1 and 871-2
(Filed 06/6/2018)
31
         For the Response to the Seventh Six-Month Report, see: Case 3-12-cv-02039-GAG. Docket No.
911 (Filed 07/13/2018)

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       Of the total of the thirty-three (33) activities in which an extension has been
       requested, twenty-three (23) extended activities are directly related to the
       passage of hurricanes Irma and María.
       These twenty-three (23) activities constitute seventy percent (70%) of the total
       activities in which extensions were requested. See Attachment 2 of this
       Report.”32


In a recent interview with news reporter Miguel Rivera Puig of El Vocero, Police
Commissioner Henry Escalera made a similar statement:


       “Según el jefe policiaco, de las 568 actividades bajo los planes de acción se ha
       cumplido con 535 y para otras 33 se extendió una prórroga tras el azote de los
       huracanes Irma y María ocurridos hace más de un año.
       According to the police commissioner, of the 568 activities under the action plans
       533 have been met and the police is in compliance. For the remaining 33, an
       extension was requested after the scourge of Hurricanes Irma and Maria
       occurred over a year ago.”33


This way of measuring progress during the capacity building phase is problematic for
three reasons. The first one is a matter of agreeing on the computational method.
When one reads the document on the extensions (attachments 1 and 2), it is apparent
that many of the requested extensions involve multiple activities in the Action Plans.
For example, extension number 2 regarding use of force and training affects IV.IV1.8,
1.9, 1.10, and 1.11 with implications for activity 1.1 (h, i, j, and k). In this case, this one
extension is related to four detailed steps or activities with implications for another one.
Similarly, extension request number 5 is for activity 1.1 of the Recruitment Action Plan
the extension will impact (based on the document request signed by the Police
Commissioner on August 27, 2018) activities 1.1. in page 100, 1.1 in page 101, 1.2 in




32
       Attachment 1 refers to the “Request for Extension of activities Not Completed in Action Plans.”
Attachment 2 calculates the amount and percent of activities in extension.
33
         Miguel Rivera Puig, ConfiadoenCumplimiento de la ReformanPolicial [ Translation: Police
Commissioner Henry Escalera is confident in compliance with Police Reform].”
https://www.elvocero.com/ley-y-orden/confiado-en-cumplimiento-de-la-reforma-
policial/article_e2082648-ca9c-11e8-8c4b-1bd3ba788570.html
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page 102, 1.3, in page 103 and 2.1 in page 205 of the Action Plans. The analysis also
neglects the interrelated character of these activities. 34


There is a second concern which is far more important. There is a difference between
meeting a timeframe and determining whether the Commonwealth of Puerto Rico has
made satisfactory progress toward implementation of the Agreement resulting in
capacity building.35 The statements seem to confuse both.


Paragraph 240 states that, during the first four years from the Appointment Date, “the
TCA shall evaluate PRPD’s compliance with this Agreement by assessing (…) whether
PRPD has met the timeline for each detailed step specified in the Action Plans, and
whether PRPD is in full, partial, or noncompliance with the detailed steps.” (the
underline is mine) The PRPB’s Status Report and the Police Commissioner’s statement
do not seem to differentiate between activities and detailed steps to be implemented
and the level of compliance for these detailed steps. It presumes that because an
extension was not requested, there has been compliance. This is just not the case. If
the intention of the Status Report is to create the perception that 94% of the timelines
for each detailed step have been met and that there is full compliance in 94% of the
detailed steps, the statements mentioned above are misleading.


Thirdly, the Status Report should be more critical about what areas need further work
and what this extension request means. The fact that an extension has been requested
for 29% of activities (based on the own PRPB’s numbers) under the Information
Systems and Technology Action Plan is extraordinarily important because most of the
capacity-building reporting and tracking obligations under the Agreement in the areas of
use or force or search and seizure or equal protection have not been met at the end of
capacity building and are likely not to be met for another year. Here quality is more
important than quantity.


34
          The PRPB has noted that the number of 33 extension activities represent 50 activities, or 9% of
all activities. They argue that they have met the timeframe for 91.2% of the activities noted in the
Action Plan and timeframe compliance is significance. It is the opinion of the TCA that this analysis
misses both the interconnected character of many activities and the fact that, as noted in our prior
reports and this report, the original timeframe was not met for many activities.
35
         See Paragraph 250 for reports the TCA must file, their content and format, during the first four
years from the Appointment Date [June 6, 2014].

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In past reports and in this Report, my assessment has been quite clear: the PRPB has
made progress in policy development, partial progress in training, and there has been
partial, very limited, or null capacity building in other areas such as reporting or
implementation in practice. There is no reason to imply that there has been a 94%
compliance with the Action Plans and, furthermore, to de-contextualize the significance
of the requested extensions and their impact in building operational capacity.


The Status Report does a good job identifying both areas of progress and persistent
obstacles. The purpose of this review by the TCA is not to generate a particularized
rebuttal of the PRPB of the Status Report on a concrete or specific area of compliance.
The goal is to raise questions or concerns about the PRPB self-assessment of the
progress made towards implementation of the Plans and the Agreement where
appropriate.


The Status Report documents the very important work the Reform Unit of the PRPB
conducts in terms of self-assessment through monitoring field visits. The Status Report
highlights some of the most significant findings made during the evaluation of certain
Police Areas. In this sense, the PRPB has adopted the recommendation of the TCA in
prior reports that the PRPB uses the Status Report to identify what are the lessons
learned from those self-assessment visits. The list of items identifies is very important.


In the Status Report, there is also an extensive analysis of the progress made by the
Reform Unit and the Police Academy in the drafting of policies and training modules.
The Status Report continues to document a fact that the TCA has noted in prior reports:
the evident progress made by the PRPB, led by the Reform Unit, in producing very
detailed Plans and policies in accordance with agreed upon timeframes. There are
some concerns about specific revisions, but the overall assessment is that the PRPB
has reached substantial sustainability to create policies. This is consistent with the TCA
assessment that the PRPB has made progress in the implementation of its Action Plans
during the capacity building period, and that progress has been observed mainly in the
areas of policy development and training. There is little or no doubt that the Reform
Unit has become the center of policy development for the PRPB based on the Directive
OS 1-1-378 of November 2016. The implementation of this directive has been a
success. It is for that reason that we are concerned with any attempt to separate the
policy creation process from reform oversight.


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Notwithstanding these positive developments, the TCA has expressed serious concerns
about the actual implementation in practice of these policies and trainings, and how
expeditious this implementation can be in the field. In this sense, measuring overall
implementation of these policies and training is difficult when there are relevant delays
in terms of the adoption of certain key datasets and measuring effect is so hard without
relevant quantitative data.


Regardless of the areas of progress reported above, the Status Report fails to
document in greater detail the steps taken by the PRPB in addressing resources,
funding, staffing, technology, capacity, and other infrastructure needs which are
required to place the PRPB in a position to implement each of the provisions and
detailed steps of the Action Plans during the last six months. As we noted in past
reports, this analysis is sparse. The TCA is particularly concerned about the fact that
the word “budget” is absence from the Status Report when we have identified serious
obstacles in this area since the implementation of Act 20 of 2017.


The Status Report continues to advance in the analysis of relevant statistical
information. For example, the Status Report does not address the fact that the numbers
reported regarding the use of force cases in 2018continue to appear to be drastically
lower than the data reported in 2017, 2016, and 2015.36More importantly, there is an
analysis or assessment of the key findings stemming from these statistics if the data
can be verified in page 15. The main finding is that, when compared to 2015, use of
force is significantly down. These numbers are so remarkable that they will be the focus
of more detailed analysis and validation in the months to come as the monitoring period
starts.




36
        The Commonwealth has noted that its Use of Force statistics are based on reports received by
SARP and not on actual uses of force. Based on the collection and reporting methods, the SARP figures
do not reflect the total number of uses of force.

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A Description of the Work Conducted by the TCA:
Paragraph 250(a)

During the months of April through September 2018, the TCA conducted site visits of
the following Puerto Rico Police Bureau’s Districts:


Adjuntas Police District          Hoare Police District
AguasBuenas Police District       Las Marias Police District
Anasco Police District            Naguabo Police District
Camuy Police District             Rio Grande Police District
Cayey Police District             Salinas Police District
Cidra Police District             Utuado Police District
Dorado Police District            Vega Alta Police District
Fajardo Police District           Yabucoa Police Districts
Hatillo Police District


Purpose of the TCA visits were:


   o The TCA reviewed the most recent command completion rates of training
     involving Use of Baton, Use of Force Policy, Electronic Control Device (Taser),
     Chemical Agent (Pepper Spray), Arrest and Citations, Ethics, and Dealing with
     the Transgender population.

   o To assess the operational levels of effectiveness and efficiency of the police
     commands.

   o Review training and personnel files of each command to ensure that they were
     current.

   o To further ensure that training recordkeeping of command personnel were up-to-
     date, as outlined in the Agreement.

   o To determine if the commands overall compliance was properly maintaining up-
     to-date policies and forms relating to use of force for review by command
     personnel and the public.


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     o To determine the Command’s overall compliance with the Agreement for the
       Sustainable Reform of the Puerto Rico Police Bureau.

     o Inspection of records of meetings held with Community Interaction Councils.

     o Determination of the precinct commander’s knowledge concerning public
       information and his or her ability to interact with the public and the community.

     o Determination of the precinct commander’s knowledge and understanding of
       community policing and existing programs and its value to the precinct.

     o To determine if commands were knowledgeable in the eleven (11) Plans of
       Action developed by PRPB.

     o To evaluate the command’s available resources and equipment.

     o To evaluate the command’s rank structure.

     o To evaluate individual agent’s knowledge of subjects covered in the Agreement.


In connection with the above, the following areas were reviewed:


The Command Structure of the District


The TCA found that many commanding officers had been recently assigned to a district.
In one case, an individual had been there only several days. The TCA feels that this is
not consistent with best practice and it contributes to a lack of uniformity at the
command level and it is unreasonable to expect these individuals to have a good
knowledge of their district.37 The TCA did not review data on Time in Post for district


37
         The PRPB argues that the PRPB has ample legal authority and managerial discretion to order
transfers and refers to a Puerto Rico Supreme Court Decision, Gracia Ortiz V. Puerto Rico Police, 140 DPR
247. The TCA has not questioned the legal authority of the PRPB, even as the Commonwealth is also
legally bound by the requirements of the Agreement concerning transfers. The TCA has noted that this
is not a “best practice” and that, in certain instances, these transfers may have been inconsistent with
the demands of the Agreement.

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commanders in a systematic way. The TCA will adopt moving forward a more systemic
approach to address this issue, including collecting information from HR on Time-in-
Post and calculating means and averages.


A review at the sergeant level showed that in many cases, the commanding officer did
not have accurate information that clarified how many sergeants were assigned to his or
her command. It was found that many of the supervisors in the commands were not
available for various reasons, such as other assignments, military leave, in the process
of retiring, or utilizing a leave of absence, etc. This led to instances where agents were
assigned as supervisors of tours due to lack of a supervisor, something the TCA
concludes is not appropriate. In the continental United States, there have been
successful lawsuits filed where individuals argue that if they are acting as a supervisor,
they should be compensated at a supervisor’s salary.

In the case of agents, the TCA found similar circumstances, specifically, relating to
agents not available due to the reasons mentioned above.


The lack of necessary and proper supervision is vital to the success of a police agency.
PRPB needs to conduct a review of its commands to determine the actual number of
supervisors available for duty in each district and make adjustments accordingly, to
ensure proper supervision. The recent management study that was conducted in
identifying numbers of individuals being assigned to each district should be utilized.


Tours of Duty


The tours performed by command personnel were consistent, although some
commands deviated by one (1) hour.

4:00 a.m. – 12:00 p.m.
12:00 p.m. – 8:00 p.m.
8:00 p.m. – 4:00 a.m.


Commands that utilized motorcycles and/or bike patrol varied the hours of operation
depending on the assignment and geographical location. It should be noted that there
were no complaints regarding the tours of duty.


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Patrol Vehicles per Tour


Most of the commands visited, reported fielding one to two patrol vehicles per tour along
with a supervisor vehicle. This is simply unacceptable for any type of effective
preventive patrol. The station of Hoare reported having 61 vehicles, but only one or two
were available for service per tour.


Command Vehicles Fleet


During discussions with the commanding officers of the commands visited and based
on visual inspections by the TCA, the Team determined that on the average,
approximately 35% of the vehicles assigned to commands were in various stages of
disrepair, therefore, not available for patrol. In addition, almost all the vehicles (with the
exception of the newer vehicles) were high mileage. In the continental United States,
normally a police vehicle is taken out of service after 50,000 to 75,000 miles. Another
issue is the type of vehicle that is assigned to the geographical terrain. Several TCA
members come from places where there is much snow and are aware that a normal
police vehicle cannot operate in this terrain or mountainous areas, without sufficient
four-wheel drive vehicles. For example, in Denver, most of the fleet of vehicles are
SUVs. Given the age and high mileage of the vehicles and the terrain of some
commands, it is understandable that the fleet, as it currently exists, would breakdown,
despite PRPB’s best effort to maintain their vehicles. Interestingly, almost all of the
motorcycles assigned to the commands were operational.


Communications


Radio Communications


Almost all the commands visited by the TCA, the TCA reported continuing problems
communicating with their personnel in the field. In many instances, the communication
with personnel is conducted by personal cell phone or radios purchased by individual
officers (to speak to each other). PRPB should engage with the community to problem
solve this deficiency. In the United States, many private companies are willing to assist
police departments by donating equipment or funds. The communication problem is an

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officer safety issue and must be addressed immediately. The lives of PRPB personnel
are in jeopardy by lack of communication.38


The PRPB is experiencing a serious radio communication problem. This is due in part to
the topography of the area covered by the commands, residual effect of Hurricane
Maria, inefficient radio frequencies and in some cases the vast distances from the base.
The TCA recommends that PRPB revisit this issue with the goal of finding a suitable
solution to the problem. A study should be initiated to determine what radio systems:
Motorola or Johnson are appropriate. In several of the commands it was reported that
studies have been done, but there has been no change in results.


Internet Service


Most of the commands reported limited internet service, especially in the field.


Landline Telephone Service


All police districts reported operational landlines in their commands.


Portable Radios


It is evident based on the TCAs site visits that the shortage of portable radios
throughout the PRPB is a major problem, not only communication-wise, but also as it
relates to officer safety, as stated above. All commands except Yabucoa, reported
single digit radio (portable) inventories. Many commands reported an insufficient
number of working batteries for their portable radios. The response by officers in those
commands was to purchase their own portable radios. This is unacceptable, not best
practices, a police organization must provide its members with sufficient equipment to
do their job.



38
         PRPB’s Self Report includes information on the number and assignment of new radios. The TCA
will assess this information during the Compliance period.

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It is the understanding of the TCA that PRPB has purchased a large amount of new
portable radios. The Team recommends that PRPB distribute these radios to field
commands and make the carrying of portable radios mandatory by field personnel for
safety and accountability reasons.


Availability/Access to PRPB Policies/Consent Agreement/PRPB Action Plans


During the TCA’s site visits, the Team verified whether commands had hard copies of
General Orders relating to Use of Force, as well as hard copies of the Consent
Agreement and PRPB Actions Plans for review by command personnel and the public.
Most commands had some, if not all, of the above. However, in some instances, the
copies of the policies were outdated versions of the General Order. During the August
visit, the TCA found copies of a policy that was dated in 2012. Each command should
ensure that all policies, procedures and agreements are up-to-date and current. This
issue also influences supervision. It is incumbent that all supervisors ensure their
agents have up-to-date information and are held accountable. The proposed Virtual
Library should help to resolve this issue once this is implemented in June 2019.


Use of Force


All commands maintain information on use of force by its personnel either in a
computerized database or on a spreadsheet, with the exception of two locations
(Yabucoa & Hoare).


As it relates to use of force incidents, all commands are required to prepare a “Daily
Notification of Incident of Use of Force” form, (PPR-928) for all arrest by its personnel
and maintain the form at the desk officer’s position. Most commands visited were in
compliance with this requirement. However, some commands either did not prepare the
forms as required or failed to maintain them in the command.


The TCA recommends that commands also maintain on file copies of forms PPR-928 of
specialized units that utilize force in the geographical areas of the command for
purposes of having accurate information relating to all use force incidents occurring
within the confines of the command.


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The TCA has conducted many site visits to precincts/districts throughout the PRPB to
evaluate how the commands report, investigate, document and process reports of use
of force by its members. A common theme in all of the visits is that the commands have
no protocol in place to document compliance with General Order Chapter 600, Section
605, “Report and Investigation of Use of Force” as it relates to verifying that supervisors
are completing their investigation of use of force in five (5) days as stated in the policy
and in compliance with paragraph 45 of the Consent Agreement. To address this issue,
the TCA recommends that PRPB add the following to General Order 600-605:


Precincts/districts in compliance with this policy will utilize a computerized spreadsheet
to record the following information relating to use of force incidents, Date Officer
completed Use of Force Report (PPR-605.1), Date Supervisor Completed Investigation
of Use of Force (PPR-605.1) and Date Director of Precinct/District Reviewed
Investigation (PPR-605.1).


Arrests


Most commands visited by the TCA provided information relating to the FBI Part 1 and
Part 2 arrest by personnel of their command with the exception of Hoare, Salinas and
Yabucoa. Approximately, 47% of arrests in the commands visited were for Ley 54
(Domestic Violence).


Questions Asked At Each Command of Individual Agents and Supervisors


The following questions were asked of individual agents and supervisors to determine
their level of knowledge concerning the Agreement and Action Plans:

             o Tell me about the Reform Agreement and why it is important to the
               PRPB.
             o Explain the four levels of Force (Nivel #1, etc.)
             o Why are ethics important to police officers?
             o Why is community policing important to the PRPB?
             o Why should the PRPB worry about discrimination?
             o What can the PRPB do to make your job easier?
             o What things can the PRPB do to provide you with better training?

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             o What training topics are important to you?
             o If you were Commissioner what things would you change?
             o Do you attend community meetings to learn about the community’s
               problems?
             o What are the traits of a good Supervisor
             o Explain Stop and Frisk
             o How can the PRPB improve
             o Explain the Action Plans


Training


The TCA was encouraged that all the commands visited during this time period had
computer spreadsheets, except the Naguabo Police District which identified the
percentage of officers trained in use of force and related policies. However, most of the
commands had incomplete personnel training records in their files. This is a reoccurring
problem found in most precincts/districts visited by the TCA TCA. This is due in part to
an apparent disconnect between the PRPB Academy which provides the documentation
to the precincts/districts.


The TCA recommends that PRPB have precincts/districts coordinate with the PRPB
Police Academy to ensure that all training certification records of its officers are up-to-
date. The Team further recommends that the PRPB Academy initiate a protocol
whereby supervisors from precincts/districts, with the written authorization of their
commanding officer, be allowed to appear at the Academy to receive documentation to
update command training records of its personnel. PRPB has agreed to develop a
database to resolve this problem.


Training Completion and Extension Request


The following tables were distributed to use as a guide in determining training
completion and extension requests.

UOF-2                           Activity 1.15 to develop training on use and
management of electronic systems to complete electronic incident reports Discussion
regarding other factors that may impact the completion of this training beyond the
NIBRS order and manual. PRPB reported that development of training materials is

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underway. PRPB to provide a timeframe for the completion of training materials on
5/14.

UOF-3                           Activity 1.2 to train 50% of members in CIT   PRPB
reported on its work developing training for G.O. 628, which is intended to cover all
MPPR and hostage negotiators. Discussion whether this activity meets requirements of
Paragraph 56 and the Action Plans. Parties to discuss this activity and extension
request during the TCA’s May 2018 visit.

UOF-4                              Activity 1.3 to develop training on response to
behavioral crisis and mental health for MPPR. This activity was discussed as part of
the prior activity regarding CIT. PRPB reported on its work training all MPPR. USDOJ
understands that training on G.O. 628 is intended for all MPPR and agrees that it should
continue while issues regarding CIT are resolved by the Parties. Parties to discuss this
activity and extension request during the TCA’s May 2018 visit.

POL-1                             Activity 1.3 revise General Order 100-106 on the
creation of the Field Operations Superintendency      PRPB reported that G.O. 106 will
need to be revised in accordance with new management plans to regionalize PRPB.
Discussion regarding staffing plan under Paragraph 13, due on June 30, 2018, which
may inform the development of regionalization plans. Based on this explanation,
USDOJ agreed with this extension request.

CMP-1                           Activity 4.1 to revise Regulation on drug testing .
There is an existing Regulation. PRPB requested a six-month extension because a
change in law or modification of the Agreement may be necessary to implement
Paragraph 200 concerning testing for steroids. Parties to discuss during the TCA’s May
2018 visit.

CMP-2(a)                       Activity 1.1 to develop procedure for public safety
statement                      PRPB explained that procedures for public safety
statements are being addressed as part of the Parallel Proceedings (Garrity) Protocol.
PRPB requested a six-month extension to complete negotiations on a Memorandum of
Understanding with PRDOJ. Based on this explanation, USDOJ agreed with this
extension request.

CMP-2(b)                        Activity 1.2 to train 50% of SARP and OAL on
administrative investigations   PRPB reported that training on administrative
investigations for SARP and OAL is under development and awaiting completion of the
SARP Manual. PRPB anticipates that it will be able to train 100% (rather than just 50%)


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of covered personnel within 12 months. PRPB to send a revised extension request by
5/14.

CMP-7                             Activity 3.1 create training program for officers on
reporting misconduct, failing to accept complaints, and providing false information.
USDOJ explained that these are discrete topics that could be covered through existing
training, rather than through an entirely new and separate training program. PRPB to
review whether these topics can be incorporated into existing training programs.
Parties to discuss during the TCA’s May 2018 visit.

SUP-3                              Activity 1.10 to train 100% of Officers in the
Inspections Division on Inspection Procedures PRPB        reported   that     there  are
approximately 60 officers assigned to the Inspections Division. The original extension
request considered the time needed to develop, review, and approve the Inspection
Division’s Manual. PRPB believes that it can complete training of personnel assigned to
the Inspection Division within 6 months. PRPB to revise this extension request
projecting an approval date for training materials of January 2019, and training 100% of
covered personnel by June 30, 2019. PRPB to send a revised extension request by
5/14.


Police Academy


In August, the TCA conducted a site visit of the PRPB Academy. Included in the visit
was one member of the Reform Team, Sergeant Romero. Also, in attendance were
Colonel Orlando Rivera; Ms. Gloria Baquero, President of National University; and Ms.
Dolymaria Garcia, Dean of Program Development for National University. The meeting
commenced with a PowerPoint presentation by Dolymaria Garcia regarding the new
virtual training system, which has been developed by the PRPB Academy staff and
National University (see attached PowerPoint).          Many members of the PRPB
participated in the making of the virtual training courses and their feedback has been
instrumental in the development of excellent courses.


During our visit to the Police Academy the TCA observed the course materials on
search and Seizure and Use of Force. The materials included learning objectives and
goals, videos, scenarios, and an examination at the end of the training. The materials
were professionally done and impressed the TCA.



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The new virtual training system has proven to be invaluable to the PRPB and is helping
the Academy meet their training goals. Several members of the TCA observed areas
set aside by the various Districts for virtual training. Comments received from PRPB
personnel at the Tuesday and Wednesday site visits were all extremely positive,
especially the fact that certification forms can be printed immediately after the course
has been completed.


While at the Police Academy the TCA attended a meeting for Crisis Intervention
Instructors, Course 628. First responders including members of PRPB, mental health
personnel, fire fighters, hospital personnel, and suicide prevention professionals were in
attendance. All of the attendees were very enthusiastic about the new Crisis Prevention
Training. The TCA provided some input to the group and recommended that a Crisis
Intervention Training Manual be established as soon as possible. The training course
for General Order 628 is under review for improvements.


Virtual Training


The PRPB has recently initiated “Virtual Training” in its field commands. The commands
visited by the TCA, after the implementation of the program, have dedicated specific
areas of the command for the training. It should also be noted upon successful
completion of the training a certification is issued and maintained at the command.


The following documents show the completion rate by members of the PRPB in the new
Virtual Training courses. Also included in this document is a timeline and proposed
schedule of Virtual Training courses.


Best Practices of Training Academies


The TCA met with Colonel Rivera and reviewed Police Academy Best Practices. The
PRPB should ensure that academy training, field training, and continuing education of
officers reinforces community-centered values and skills. In the past, the U.S.
Department of Justice has funded community-based experts to provide required training
to new police recruits and in-service officers on:

   o Procedural justice and fairness in policing.

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     o   Implicit bias.
     o   Institutional bias in enforcement patterns.
     o   Relationship-based policing and community interaction.
     o   Crisis intervention, mediation, conflict resolution, and rumor control.
     o   Appropriate engagement with youth based on the science of adolescent brain
         development.
     o   De-escalation and minimizing the use of force in certain common situations,
         including vehicle pursuits, coping with mentally ill or cognitively disabled
         individuals, and encounters with youth.
     o   Increase language proficiency and cultural competency among law enforcement
         officers to effectively engage and partner with immigrant communities
     o   Appropriate engagement with LGBTQ, transgender and gender nonconforming
         community members.
     o   Documenting, preventing and addressing sexual harassment, abuse and assault
         by local law enforcement agents.
     o   These ten subjects have been identified by Academy Directors in the continental
         United States as being the most important for modern police academies. Director
         Rivera indicates that all these ten Best Practices subject matters are being
         currently taught in the PRPD Academy or will be taught in the near future.




Section II
PRPB’s Action Plans (“Plans”): Paragraph 250(b) and
250(c)


On September 22, 2018, the Court ordered that “the monitoring phase in this case shall
commence on October 8, 2018.” It further noted that, as advanced by the Court during
the August status conference, “no extensions to this date will be allowed (except for
those limited matters the parties and TCA agreed upon, and the Court approved).” 39 In
this manner, the period of capacity building under the timeframes set forth by the Action
Plans ended on October 7, 2018 and the period of compliance and monitoring started
on October 8, 2018.

39
         For the court order, see: Case 3-12-cv-02039-GAG. Docket No. 954 (Filed 9/22/2018)

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On October 12, 2018, consistent with the Court order in Docket 954, the Parties filed a
joint motion to extend the timeframes for certain activities in the Commonwealth’s Action
Plans.40The request for extension included 33 activities or clusters of activities (when an
item included multiple activities or a cluster of activities). Although the Court has
dismissed the motion without prejudice until the motion is filed with an attachment in
English, the Parties have agreed to extend the timeframes and the Court has indicated
that it will approve them once this filing deficiency is corrected. The requested activities
were included as Attachment A in the Status Report and they are available in English to
the Court, the United States, the TCA, and the Public.41


In accordance with the Agreement, in 2017, the Commonwealth filed eleven Action
Plans with 568 activities designed to implement and achieve compliance with each of
the Agreement’s substantive provisions.42 The PRPB had been working with the United
States and the TCA on these Action Plans since July 2014. The Action Plans included
timeframes for completing and implementing each activity, pursuant to Paragraph 235
of the Agreement. These activities were to be completed by the end of the four-year
capacity-building period on October 7, 2018.The capacity-building period was
scheduled originally to expire on June 7, 2018, four years after the appointment of TCA.
For good cause, the TCA agreed to extend the capacity building period by four months
to October 7, 2018, at the Commonwealth’s request and with the authority conferred by
Paragraph 239 of the Agreement.43




40
        For the extension request, see: Case 3-12-cv-02039-GAG. Docket No. 978 (Filed 10/12/2018)
41
        For the PRPB Status Report, see: Case 3-12-cv-02039-GAG. Docket No. 958 (Filed 09/28/2018).
42
        For the Action Plans, see: Case 3-12-cv-02039-GAG. Docket No. 550 (Filed 04/30/2017).
43
         “Paragraph 239. Should PRPD need to modify any of the timeframes set forth in the Action
Plans, PRPD shall explain to the TCA, in writing, why such modification is necessary. For good cause,
which may include budgetary or funding limitations, the TCA may extend any timeframe by up to four
months. However, the TCA shall not extend the initial timeframe by more than four months without the
approval of DOJ. DOJ shall not unreasonably withhold approval. Any modification to an Action Plan,
including extensions approved by the TCA and DOJ, shall be filed with the Court for approval. Extensions
submitted to the court shall be effective, absent further action from the Court, 30 days after submission
to the court. Disputes on approval for extensions may be submitted to the Court for resolution. The
Parties agree that should PRPD need to extend the time for completing an Action Plan beyond the time
frame originally.”

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In a joint motion, the Parties agreed to make a request for 21 extensions involving
multiple activities in March 2018 after the Court instructed the Parties and the TCA to
“revise existing deadlines and agree to realistic ones,” as part of its Order Regarding
Aftermath of Hurricane Maria.44 The Parties then requested that the Court hold its
consideration of these requested 21 extensions until the Commonwealth determined
whether additional extensions in other areas were necessary. 45 Following negotiations
that lasted months, the Parties agreed that the Commonwealth’s request for twelve
additional extensions were necessary under Paragraph239 of the Agreement. For good
cause, the Commonwealth argued that these delays were used to funding limitations
and operational constraints. The TCA submits that there were other reasons for the
delay as reported in prior six-month reports. There was one area where agreement was
not possible, and no extension was requested.


Once approved by the Court, the TCA is to consider these 33 extensions when
assessing the Commonwealth’s compliance with the Agreement under Paragraph 242
after the capacity-building ended on October 7, 2018.46 In their joint submission to the
Court, the Parties did not anticipate that extending the timeframe for the 33 activities or
cluster of activities at issue will alter their original estimate of achieving full and effective
compliance with the Agreement within ten years, as set forth in Paragraph 300.47As the
Parties have indicated, the ten year framework was a good faith estimate. However, the
TCA is less than confident that this estimate will not be impacted.


It was just in 2017, three years after the appointment of the TCA, that the
Commonwealth submitted these Plans to the Court as addenda to the Agreement. All


44
       For the Status Report, see: Case 3-12-cv-02039-GAG. Docket No. 624 (Filed 10/04/2018).
45
       For the Status Report, see: Case 3-12-cv-02039-GAG. Docket No. 775.
46
         “Paragraph 242. Four years after the Appointment Date and in accordance with the provisions
of the approved Action Plans, the TCA shall begin to regularly conduct compliance reviews to assess
PRPD’s compliance with each of the Agreement provisions in Sections III through XIII. The TCA shall
assess and report whether PRPD has, for each Agreement requirement: (a)incorporated the
requirement into an implemented policy; (b) trained all relevant personnel in the requirement and
policy; and (c) fully implemented in practice. These compliance reviews shall contain both quantitative
elements as necessary for reliability and comprehensiveness.”
47
       “Paragraph 300. Ten years after the Effective Date, either Party may seek to terminate this
Agreement.”

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eleven Plans were in full effect since June 2017. With the submission to the Court, the
Parties treated the Plans as fully incorporated, enforceable terms of this Agreement. As
set forth in the Agreement, since June 2014, the Parties and the TCA worked together
and identified appropriate activities and steps to be taken to build capacity and enhance
each of the following substantive areas of compliance: (1) Professionalization; (2) Use
of Force; (3) Searches and Seizures; (4) Equal Protection and Non-Discrimination; (5)
Recruitment, Selection, and Hiring; (6) Policies and Procedures; (7) Training; (8)
Supervision and Management; (9) Civilian Complaints, Internal Investigations, and
Discipline; (10) Community Engagement and Public Information; and (11) Information
Systems and Technology.


To carry out these capacity building reforms, the PRPB began to develop specific,
tailored made Action Plans for each of these substantive areas. These Plans contained
temporal benchmarks and set forth in detail the steps agreed upon to execute and
implement the reforms and achieve the desired outcomes in each area within generally
accepted professional standards. These steps and reforms required the implementation
of policies, practices, training, documentation, internal review, technological
improvements, and oversight. The Plans described temporal benchmarks and detailed
activities and steps agreed upon to execute and implement the required reforms and to
achieve the desired outcomes in each substantive area. Paragraphs 231 through 240
discussed in detail their development, implementation, and assessment. The Plans
were to examine policies and any required revisions, mandatory training, resources,
staffing, budgetary requirements, and a schedule for when specific policies are to
become field operational.


Consistent with Paragraph 234, the PRPB, with assistance from the Reform Unit,
drafted the Plans that set forth the detailed steps the PRPB was to take to implement
and achieve compliance with each of the Agreement’s provisions in Sections III through
XIII of the Agreement. Under Paragraph 236, the TCA and USDOJ reviewed these
Plans to ensure that they specified actions necessary to comply with all applicable
substantive provisions of the Agreement and that timelines, implementation strategies,
budgetary allocations and funding sources are reasonable, achievable, and prioritized to
promote efficiency. In November 2016, the TCA and the USDOJ staff completed their
review of all these Plans. The eleven Plans were approved as drafted. They were
drafted in Spanish. Pursuant to Paragraph 238, the Plans were translated into English
and were submitted to the Court. After months of additional review by the Parties and
the TCA, the PRPB completed the translation of the Action Plans on May 31, 2017.



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In 2016 and in 2017, the TCA recommended that the Parties renegotiate an extension
of the capacity building period of, at least, one additional year. This recommendation
was rooted on the fact that it took more than three years of cooperative work between
the Parties and the TCA to complete the eleven Action Plans for all compliance areas
and that there were unanticipated delays in some areas of the Agreement. In May
2017, the PRPB submitted a request for an extension of only four months of the
capacity building period based on Paragraph 239 of the Agreement. Pursuant to his
authority the TCA extended the capacity-building period by four months. In June 2017,
The TCA granted the requested four-month extension based on the TCA’s authority
under Paragraph 239.48 After carefully reviewing the PRPB proposal, the TCA agreed
that the request was in good cause. However, the cautioned the Commonwealth that
the implementation of Act 20-2017 was likely to create unintended disruption and
additional delays which should be quickly identified to prevent further delays. The TCA
never received confirmation that the PRPB adopted my recommendation and that
potential obstacles for compliance related to the implementation of Act 20-2017 were
promptly acknowledged.


The TCA submits that the PRPB has requested extensions in all areas in which in past
reports the TCA identified substantial lack of progress back in 2017. In the last TCA
Seventh Six-Month Report, the Report’s assessment was that the PRPB was not going
to be able to meet the original four-year capacity-building timeframe (including the TCA
granted four-month extension) set forth in the Agreement and the Action Plans. This is
the case still today.




48
         Under Paragraph 239, “[S]hould PRPB need to modify any of the timeframes set forth in the
Action Plans, PRPB shall explain to the TCA, in writing, why such modification is necessary. For good
cause, which may include budgetary or funding limitations, the TCA may extend any timeframe by up to
four months. However, the TCA shall not extend the initial timeframe by more than four months
without the approval of DOJ. DOJ shall not unreasonably withhold approval. Any modification to an
Action Plan, including extensions approved by the TCA and DOJ, shall be filed with the Court for
approval. Extensions submitted to the court shall be effective, absent further action from the Court, 30
days after submission to the court. Disputes on approval for extensions may be submitted to the Court
for resolution. The Parties agree that should PRPB need to extend the time for completing an Action
Plan beyond the time frame originally contemplated in the approved Action Plan for operational or
budgetary reasons, such an extension shall be permitted upon agreement of the Parties and the TCA or
upon leave of Court.”

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To make this determination, the TCA has reviewed and has assessed whether the
PRPB has met the timeline for each detailed step specified in the Agreement and the
Action Plans. Although the timeline has been met in certain detailed steps, particularly
steps concerning the production of policies and training materials, there are important
detailed steps - including policy drafting and training steps - for which the
Commonwealth has requested additional time extensions because it has not been or
will not be able to meet the agreed upon milestones. In reviewing the reasons for these
delays, my assessment shows that Hurricanes Irma and Maria are neither the sole nor
the main explanation for the Commonwealth not meeting the agreed upon timeframes.
Other reasons account for these delays including the implementation of the Department
of Public Safety (“DPS”), the lack of leadership, and the current situation of
organizational instability with a Police Department that does not have enough officers to
provide the required services.


In past reports, the TCA noted that the most significant current PRPB failures in meeting
the timelines set forth in the Information Systems and Technology, Supervision and
Management, Community Engagement and Public Information, and the
Professionalization Action Plans.        With regards to the interruptions in the
implementation of the Professionalization Action Plan, I emphasized in past reports the
reason for delays affecting Paragraph 13 (the Staffing Allocation and Resource Study
[“The Staffing Study”]). The TCA also identified how the leadership crisis caused by the
implementation of Act 20-2017 and leading to the January 2018 separation of Police
Commissioner Dr. Michelle Fraley along with the subsequent re-organization of the
PRPB’s top leadership, resulted in additional delays.


It is the TCA’s current assessment that there has been partial or very limited progress in
meeting required deadlines from October 2017 to the end of this reporting period
October 7, 2018.


Beyond meeting deadlines, the Report is to assess from a substantive point of view
whether the Commonwealth of Puerto Rico is making satisfactory progress towards the
implementation of the Agreement. The TCA’s overall assessment is one of partial
compliance with unsatisfactory progress made in key compliance areas. The PRPB is
for the most part in full or partial compliance in meeting policy and procedure
development as well training development steps in the Action Plans. However, at
detailed in the Tables in Attachment 4, the Commonwealth is in partial or non-
compliance in key data collecting and reporting objectives as well as implementation
objectives defined in the Action Plans. Furthermore, there are areas such as

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Professionalization, Supervision and Management, Administrative Complaints, and
Information Systems and Technology where the PRPB is non-compliant in key steps
and is far from making satisfactory progress towards the implementation of the
Agreement.


To make this determination, the TCA has assessed whether the PRPB has made
satisfactory progress in each detailed step specified in the Action Plans. While the
PRPB has either fully complied or partly complied with many policy and training
development steps that were crucial in the first three years of the Agreement, although
the TCA is seeing that certain policy revisions are not being attended to, there are very
important, significant detailed steps scheduled for the four year of the Agreement for
which the Commonwealth has not made satisfactory progress and has been rated non-
compliant.


Although a detailed analysis of each step is to be found on the body of the Report and
the appendix with the specific tables, the TCA would like to address in greater detail
here my overall assessment of partial compliance with unsatisfactory progress made in
certain key compliance areas.         This rating is consistent with my previous
assessment and with a simple review of the areas for which the Commonwealth has
requested extensions.49


Here the TCA highlights that the first challenge to the successful implementation of the
Agreement is to undertake real, effective capacity-building in the compliance area of
Information Systems and Technology and in the PRPB’s analytical and reporting
capacity. It is now quite apparent that the less than substantial progress made in the 52
months in terms of creating a reliable data gathering/reporting and IT infrastructure for
the PRPB has affected the operational and tactical response of the PRPB in the
provision of basic policing services.


The second documented challenge is the actual progress in implementing a robust and
solid strategic staffing work plan as required under Paragraph 13 of the Agreement. 50

49
        See: Docket No. 624.
50
        See Paragraph 13. “PRPB shall assess the appropriate number of sworn and civilian personnel
to perform the different department functions necessary to fulfill its mission. To do so, PRPB shall
conduct a staffing allocation and resource study. The study shall form the basis for a staffing and
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This is still the case today, even as the study is completed as of April 2018 and the
staffing plan was also completed in October.51 During this reporting period from April
2018 through October 2018, as in the past, my assessment is that it is blatantly
apparent that the lack of a consistent staffing approach for more than two years has
continued to limit the PRPB operationally and strategically. This is evident when the
current staffing is 11% below the baselined level in the study and approximately 38%
below the roster in 2013 when the Agreement was signed. 52To the problems of the past
(e.g., compensation, overtime, increased sick leave, impermissible protest by officers),
one must add the persistent and constant loss of officers accentuating the current
staffing deficit.53Every month it goes by without a new class of recruits, the gap between
the desired level and the actual levels widens. It is for this reason that the TCA has
been calling for the setting of a new police class for more than two years to happen
immediately. The order of Judge Gelpi on October 19, 2018 is consistent with these
concerns raised.54


There are also other challenges and recommendations, such as the need to
reinvigorate community outreach or the demands for an immediate strengthening of civil
rights and civil liberties protections when conducting police operations that I also identify
as areas for urgent action.


For example, in recent months, the TCA has evaluated compliance with both the equal
protection Action Plan and the internal disciplinary process. The main finding is that a


resource allocation plan that is consistent with community-oriented policing principles and supports the
systematic use of partnerships and problem-solving techniques. To foster community-oriented policing,
the plan shall consider deployment practices that offer officers opportunities to serve the communities
in which they reside.”
51
        The study was completed in April 2018. The findings of the study were presented before the
Court during a public hearing scheduled for May 16, 2018. The Staffing Plan
52
        In 2007, there were 18,262 police officers in Puerto Rico. In 2011, at the time the United States
completed its investigations, there were approximately 17,000 (See Docket No. 1). In March 2018, there
were 10,511 active police officers.
53
         See: Docket No. 203. TCA, First Six-Month Report (June 6, 2014 – December 6, 2016. Submitted
to the Court: February 9, 2015. Page 7).
54
        See. Docket No. 989.

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system for investigating and addressing administrative complaints, in particular
complaints of equal protection and non-discrimination, continues to lag far behind where
it must be. The PRPB’s capture and use of officer performance data in order to build
an effective Early Intervention System (“EIS”) to guide it in the delivery of services,
supervision and professional development of officers, and risk management also
requires significant attention from the top leadership over the coming months. The
proposed policy by the PRPB has been deficient for months. This involves compliance
with Paragraphs 147 through 153 which are an essential part of the Supervision and
Management Action Plan. Similarly, even as the PRPB made limited strides in
implementing necessary technological platforms, the Agreement-required Information
Technology and Systems Action Plan demands that the PRPB puts in place promptly
systems and processes that ensure that the PRPB is up to date in technological
investments. Similarly, much work remains on bringing about significant operational
and technological changes to the performance evaluation systems as well as the
investigative and disciplinary processes affecting the PRPB personnel. The PRPB must
improve immediately their processes for investigating and reviewing use of force,
investigating officer misconduct, supervising problem-prone officers, managing
personnel resources, and imposing discipline if they want to have credibility both before
the public and their employees. Finally, there is an increasing backlog of administrative
complaints that raises concerns about the expediency of the progress made in past
years.


There are other issues that have emerged in my assessment of the PRPB activities in
2018. In recent months, I have conducted a thorough assessment of the infrastructure
and budgetary needs required “to place the PRPB in a position to implement” each of
the Agreement’s provisions within four years from my appointment date and in
accordance with the implementation schedules set forth in the Action Plans. 55 The
budget picture is highly problematic. My assessment is straightforward on this issue:
the administrative hurdles created by the implementation of Act 20-2017 have just
accentuated structural deficiencies identified in the past regarding the budgetary
autonomy of the PRPB. In my assessment, these budgetary obstacles are preventing
the PRPB from making satisfactory progress toward implementation of the Agreement
and the Action Plans.


Finally, this Report continues the tabular format when measuring compliance with the
Agreement and Action Plans. The Report consists of tables that describe what the


55
       See Paragraph 237.

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PRPB said they would accomplish and the TCA’s reviews and observations assessing
whether the PRPB achieved or failed to achieve what they claimed in the Action Plans.
There is a short methodological note that defines with precision findings, assessment,
and ratings. After more than five years since the signing of the Agreement, it is certainly
useful to present a paragraph-by-paragraph accounting of the general state of the
PRPB’s compliance with the specific requirements of the Agreement. Although this
approach runs the risk of being an over-simplification, there is a solid qualitative
assessment regarding compliance in the body of the Report.


The Report uses the following rating structure and color code:


Non-Compliance. [RED] The PRPB has not yet complied with the relevant provision of
the Action Plan. This includes instances in which the PRPB’s work or efforts have
begun but cannot yet be certified by the TCA Team as compliant with a material
component of the Action Plan requirement.


Partial Compliance. [YELLOW] The PRPB has made sufficient initial strides or
sufficient partial progress toward compliance toward a material number of key
components of the step of the Action Plan – but has not achieved real, effective
operational compliance. This includes instances where policies, processes, protocols,
trainings, systems, or the like exist on paper but do not exist or function in day to-day
practice. It may capture a wide range of compliance states or performance, from the
PRPB having taken only very limited steps toward operational compliance to being
nearly in full compliance. It also includes situations where the PRPB has made notable
progress to technically comply with the requirement and/or policy, process, procedure,
protocol, training, system, or other mechanism of the Action Plan such that it is in
existence or practice operationally – but has not yet demonstrated, or not yet been able
to demonstrate, meaningful adherence to or effective implementation, including across
time, cases, and/or incidents.


Full Compliance. [GREEN] The PRPB has complied fully with the requirement and the
requirement has been demonstrated to be meaningfully adhered to and/or effectively
implemented across time, cases, and/or incidents. This includes instances where it can
be shown that the PRPB has effectively complied with a requirement fully and
systemically.



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Evaluation Deferred. [BLUE] This category reflects those limited instances where work
in a given area has been intentionally and affirmatively deferred in order to work on
other, necessary prerequisites. In these areas, the PRPB could have made more
progress in a given area but, for project management, budgetary, or operational
reasons, have appropriately focused attention on other areas.


In considering this classification scheme, readers of this report should keep some
important things in mind. First, a designation of “Partial Compliance” does not
necessarily or in itself mean that the lack of progress is something that the TCA finds
problematic under the circumstances. In some instances, it does. But there are many
instances where partial compliance includes situations where the PRPB has made
notable progress to technically comply with the requirement of the Action Plan such that
it is in existence or practice operationally – but has not yet demonstrated, or not yet
been able to demonstrate, meaningful adherence to or effective implementation,
including across time, cases, and/or incidents.


Second, the Monitoring Team’s conception of “partial compliance” requires more than
the PRPB simply taking some limited or initial steps toward adhering to a specific step
of an Action Plan or an Agreement requirement. That is, a “partial compliance”
determination is not used simply because some small amount of work has been
conducted. Instead, “non-compliance” becomes “partial compliance” when the PRPB
has made sufficient material progress toward compliance – suggesting that the PRPB
has graduated from the stages of initial work to more well-developed and advanced
refinement or various reforms.


Third, the compliance that this report discusses is with respect to compliance with the
various, specific provisions of the Action Plans – and not with respect to the “Full and
Effective Compliance” with the whole of the Agreement which is defined in Paragraphs
10 (bb), 294 and 301.56 Such “Full and Effective Compliance” will be reached when the
PRPB has reached “sustained compliance with all requirements of this Agreement, or
sustained and continuing improvement in constitutional policing, as demonstrated
pursuant to the Agreement’s outcome measure.”

56
        Paragraph 11, bb, defines Full and Effective Compliance. “Full and Effective Compliance means
sustained compliance with all substantive provisions of this Agreement and sustained and continuing
improvement in PRPB policing. The substantive provisions of this Agreement are all provisions
contained in Sections III through XIII.”

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During this last period of capacity building, the PRPB has demonstrated that they still
have a substantial distance to travel to comply with all of the Action Plans’ steps. There
is no way for the PRPB to meet the preponderance of the evidence standard to reach
full compliance with all the activities and detailed steps set forth in the Action Plans. We
enter the phase of compliance with severe limitations.


The various tables in Appendix4 involve intentionally condensed summaries of the
requirements in each paragraph. For the sake of space and clarity, we do not reprint
the entire Action Plans and/or Agreement in the document. Any imprecision detected
by these condensed or summarized requirements is unintended and, in any event, can
be cured with reference to the original Agreement and Action Plans language
themselves. This is the reason why we have added the Paragraphs and activities in the
tables.


Further, the TCA Team bases its assessments on its current understandings,
knowledge, and information gained through ongoing field work document reviewing,
data gathering, and discussing with PRPB, the Parties, and other stakeholders. During
this capacity building phase, the assessments are often less formal to the extent that
not all of them are necessarily informed by the type of exhaustive quantitative
compliance and outcome measurements that are a critical component of the Agreement
under Paragraphs 242 and 243. In this sense, it is important to understand that the
summary determinations here do not take the place of these more structured, systemic
analyses. Ongoing, rigorous quantitative assessments will provide a more
comprehensive picture during the compliance phase as work under the Agreement
proceeds. However, this task is just impossible at present given the data gathering
limitations of the PRPB.


The terms adopted here – including Non-Compliance, Partial, and Full Compliance –
are terms that appear in the Agreement. Categorizing the state of compliance with the
steps of the Action Plans and the Agreement requirements by using these terms is a
method that the TCA has internalized to explain and discuss the substantive work and
progress that the PRPB has made in a systematic, straightforward way. This is not
unique. The rating approach is similar to the methodological approach used by police
monitors in Cleveland, Albuquerque, Cincinnati, Detroit, East Haven, Los Angeles, New
Orleans, and others, as well as consent decrees in non-police contexts.


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Section III
Current and      Anticipated Challenges in the
Implementation of the Agreement and the Plans:
Paragraph 205(d)


In this part of the Report, the TCA examines three relevant detailed issues involving
capacity building that were reviewed and found not to have been, fully or, partially
implemented in practice during this reporting period. It also discusses, when
appropriate, the TCA’s recommendations regarding necessary steps to achieve
compliance.


Building Information Systems and Technology                                      (“IT”)
Capacity in the aftermath of Irma and Maria

In the aftermath of Irma and Maria, one of the most significant capacity-building
challenges for the PRPB is to undertake real, effective capacity-building in the
compliance area of Information Systems and Technology. The below synopsis of
observations summarizes PRPB’s Information Technology transformation activities for
the reporting period April through October 2018.


During this span, the TCA’s subject matter expert on IT conducted multiple on-site visits
were conducted for the purpose of evaluating PRPB IT Transformation. Of note during
this time, significant attention was paid to PRPB’s Kronos development and selection of
an industry project management expert for Kronos in accordance with Judge Gelpi’s
orders following a July 2018 hearing.


PRPB continues to make progress but it must be acknowledged that, as the Capacity
Building phase comes to a close, the PRPB is not yet ready in many areas. PRPB is
questionably able to fully comply with this Compliance Area. It is unclear whether the
requested extension will fundamentally change that assessment. Further, the PRPB

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leadership’s inability or unwillingness to properly resource the Bureau of Technology
with IT subject matter experts and project management experts continues to be a
detriment to the effective transformation progress. (On September 24, 2018, the PRPB
signed the contract for the Project management Office Service, which was long
overdue).


The May on-site assessment for IT was intentionally focused on Kronos development
status, specifically on the Overtime Module given the PRPB’s lack of compliance with
the Overtime Consent Decree.57Following the cursory assessment of time and
attendance (T&A) processes and IT equipment done between January 22 and 25, 2018,
interviews were conducted with PRPB’s HR, Bureau of Technology and Reform staff, IT
support staff at the Commandancia of Guayama, and with the HR contactor (Interboro)
performing the IT development.


A summary of observations included that unfortunately at that time as result of the
hurricanes and damage to fiber networks Kronos was not 100% available to PRPB staff.
And when functioning, total hours worked were recorded and used to calculate “regular”
attendance hours for the purpose of computing base pay. But PRPB was still unable to
use Kronos to reconcile overtime hours in excess of regular hours and manual
processes were needed to override Kronos calculations.            This situation also
necessitated manual use of hard copy Form PPR-432 to record, approve and submit
overtime hours worked. This condition is inefficient and cumbersome, is not timely and
deviates from what should be a computer or other enabled devices ability to keep track
of “end to end” timekeeping. Complicating factors that remained included: network
disconnects due to the hurricanes, de-coupled training from the development schedule
of Kronos, failure of supervision to adequately ensure that time keeping procedures
were followed and incomplete training.


Recommendations included; Completing the ongoing PPR-432 development phase to
digitally replace form PPR-432, performing testing, suspending further development,
gathering lessons learned, preparing an Analysis of Alternatives (AOA) and rough order
magnitude resourcing estimates, developing the step 2 alternatives into a
comprehensive project plan incorporating lessons learned from prior experiences with
Kronos, implementing the project plan option to re-design T&A processes for staff and
supervision and operationalizing the future state “Cloud” solution for delivery of T&A.


57
      Consent Judgment; Case 3:16-cv-02849-CCC Document 4-1, Filed 10/19/16

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In July a second onsite assessment was conducted to again review Kronos and testify
before Judge Gelpi regarding Kronos development. Also, to assess the forty-six IT
Action Plan items and capacity building progress in light of the nearing monitoring
phase. Of concern, continuing dialog with PRPB regarding Kronos, General Orders and
manuals revealed incompleteness of life cycle and logistical elements needed for
operationalization such as training materials. And although commendable that PRPB
continues to make progress against the Action Plan following the hurricanes, only fully
completed IT systems/applications with integrated training and implemented outcomes
will demonstrate success. They are not in place to date.


On Wednesday the 18th of July, the TCA and his subject matter expert on IT provided
testimony to the Court and the Parties. Beginning with the origination of the
requirement for past inspection culminating with the continuous assessment, the TCA
concluded that:


   o Opinions and statement expressed in the January assessment remained
     pertinent.
   o Although staff work diligently toward success, the Kronos project was
     inadequately staffed and the number of SME’s available to PRPB and to overall
     IT management were insufficient.
   o Because Kronos is widely in use today it is hard to grasp why PRPD has
     struggled to implement only some of the features.
   o While it is common to place blame at the project and Bureau level regarding
     progress, the fact is that the PRPB management and leadership must be held
     accountable for the success or failure of a critical system such as Kronos and
     that these shortcomings are assignable to the lack of resources, prioritization,
     and the like.


During other visits, the emphasis was placed on follow through with Judge Gelpi’s
orders that PRPB should hire a subject matter expert for program management support
of the Kronos development. Two interviews were conducted, and a candidate was
selected to be contracted with. The candidate was to be hired expeditiously and added
to the project management team to implement the Overtime feature of Kronos. Until
September it was unclear whether the PRPB had executed a contract to hire the
selectee. (The contract was signed on September 18, 2018).


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During this period, a meeting was held with Puerto Rico Emergency Management
Agency (PREMA) to understand their recovery efforts in Puerto Rico in regard to
emergency communications restoral and to contrast them with PRPB’s post Maria
efforts. It is PREMA’s contention that the PRPB is resisting efforts to effectively
coordinate, incorporate or integrate with other agencies to the detriment of PRPB. It is
also their view that the PRPB staff are inadequately experienced in communications
and technology vision and implementation to effectively plan and exploit FEMA and
PREMA strategy and goals. An example of this can be seen in lack of any PRPB
integration of CAD systems with PREMA and municipalities. PREMA states that their
efforts are dedicated to fullest integration of daily and emergency communications in
various modalities as well as CAD to ensure interoperability to the fullest extent across
the island.


PREMA also brought into question the current PRPB management and hosting of the
Fusion Center. PREMA’s perspective is that the Fusion Centers fullest and most
effective use is as a coordination and intelligence center, and tool for the governor,
deployed at the lowest level of policing and intelligence gathering. This is in contrast to
what PREMA suggested as PRPB using the Fusion Center exclusively as a PRPB tool
and failing to fully exploit and integrate information and effectively “flying blind.”


The objectives during this site visit were to participate in a TCA led meeting regarding
the monitoring methodology, to also meet with the PRPB CIO and Angel Diaz from the
Reform Unit, and to confirm that the PRPB had in fact hired a project manager for
Kronos development.


In summary, the PRPB and the PRPB’s CIO continue to make progress. But there is no
overwhelming indication that either is definitively in control of progress, the resources
required are in place, or the pace of development ultimately needed to execute a project
within parameters scoped or on time. An example of this is the plan for IT pilot
implementation of CAD Mobile targeted for August of 2017. Although initiated in the
field, CAD implementation as of summer 2018 remained incomplete as training from
SAEA was reported as not yet completed. And although training is not “operational”,
any use of CAD/Mobile could be challenged as inconsistent and therefore use of CAD in
any phase of implementation is ambiguous and un-certifiable. In closing, it is critical to
appreciate that development, implementation and use of any IT system is only as
effective as holistic integration of those tools with the flow of work processes.


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From a strategic vantage point, the PRPB should consider the potential opportunity of a
major “step function” or phased modernization of the IT infrastructure. The potential
success of wholesale change and re-engineering may never be more opportune than at
the present when much of the infrastructurre is a candidate for replacement rather than
repair.


Building HR/Staffing Capacity: The Staffing Allocation and
Resource Study (Paragraph 13)

The second area where the PRPB continues to face a significant strategic and
operational challenge is the lack of development and progress in creating an
implementable staffing strategy based on the findings of the staffing study and the
conclusions of the staffing work plan as required under Paragraph 13 of the
Agreement.


Both the study and the work plan have finally been submitted during this reporting
period. However, the findings are devastating and confirmed why this study was
needed in 2016. The most important fact is that, compared to the staffing situation in
2013 and 2014, there is a deficit of near 1,200 officers to meet the workload demands.
In addition, there is evidence that more than 2,000 officers could be better utilized with
proper civilianization of certain police operations. In the aftermath of Irma and Maria, it
is apparent that the lack of a consistent staffing approach has limited the PRPB
operationally and strategically. The staffing levels are extraordinarily low. The effects
of an inconsistent staffing approach can be felt in all operations.


Under the Agreement, the substantive area of Professionalization has three key
objectives and three main interrelated activities: the development of a staffing plan
(Paragraph 13), the adoption of merit-based promotions (Paragraphs 14 through 20),
and the implementation of a developmental career path (Paragraph 21). The goal of
these three interconnected activities is for the PRPB to develop processes and
mechanisms that promote professional, ethical, and respectful policing services to
effectively address Puerto Rico’s public safety challenges. To attain these goals in
Professionalization, the PRPB were take reasonable measures to achieve performance
expectations in this area of the Agreement. However, delays have dominated the
PRPB’s response.

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Paragraph 13 required the PRPB to conduct a staffing allocation and resource study to
assess human resource needs for the entire organization. The study is the cornerstone
of the professionalization reforms and the basis for a staffing and resource allocation
master plan rooted in community-oriented policing principles. This requirement was
part of the approved Plan on Professionalization, which detailed steps and timelines
were fully incorporated, enforceable terms of this Agreement.


Paragraph 13 of the Agreement, entitled “Staffing and Community Policing,” reads as
follows:

       “PRPB shall assess the appropriate number of sworn and civilian personnel to
       perform the different department functions necessary to fulfill its mission. To do
       so, PRPB shall conduct a staffing allocation and resource study. The study shall
       form the basis for a staffing and resource allocation plan that is consistent with
       community-oriented policing principles and supports the systematic use of
       partnerships and problem-solving techniques. To foster community-oriented
       policing, the plan shall consider deployment practices that offer officers
       opportunities to serve the communities in which they reside.” (The underline is
       mine)


The fact is that the PRPB has completed the capacity building period and the findings
corroborate what the TCA has been claiming since his first report: the staffing and
human resource strategy of the PRPB fails to meet the demands of the Agreement and
the Action Plans in all areas, from recruitment to promotion or supervision. As the TCA
has documented time and time again and the facts on the ground are confirming, the
cost of this failure are extraordinarily high in terms of public safety and the trust in the
commitment of the PRPB to sustainable reform. Hurricanes Irma and Maria and the
implementation of Act 20 have further accentuated the administrative and operational
failures of the PRPB in the area of staffing. The damage is done and cannot be undone
easily if left unattended. From a strategic vantage point, the PRPB should consider the
potential opportunity of a major modernization of the staffing structure and the need for
a new recruitment strategy.




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Building Civil Rights’ Protection Capacity (I):
Administrative Complaints and the Police Response
to the Mass Demonstrations of May 2018

The TCA interviewed the SARP (Superintendency for Professional Responsibility)
leadership on January 23, 2018 in order to gain a better understanding of the effects of
Hurricanes Irma and Maria on the operations, organizational management, and the
process related to the investigations and assessment of complaints filed on police
personnel. The findings of this assessment were reported in the Seventh Annual
Report.


During this reporting, the TCA continued to document the deficiencies found in the early
part of 2018.


The TCA visited SARP on April 17, 2018 with the purpose of reviewing domestic
violence complaints filed from January 2017 through May 2018. The purpose of the
review was to identify patterns and practices related to the filing and processing of
domestic violence cases with SARP. That is, domestic violence cases that involve a
police officer or member of the police department (civilian). In addition, the TCA visited
the Oficina de Asuntos Legales (OAL) in order to assess the processing of domestic
violence cases by this particular office.


Processing Domestic Violence Complaints:


During the visit to SARP, the following data was acquired which illustrates the domestic
violence cases received by SARP during 2017 and in the first few months of 2018:

*In 2017, there were a total of 99 domestic violence cases received by SARP

*In 2018 (January 1, 2018—April 17, 2017), there were a total of 21 domestic violence
cases received by SARP.

*When comparing the domestic violence cases filed with SARP in January through
March of each year, the following was found:

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Month                 2017                  2018                   Difference

January               12                    7                      5
February              16                    4                      12
March                 12                    4                      8
TOTAL                 40                    15                     25


It is interesting to note that there is an apparent decrease on the number of domestic
violence cases filed each month in 2018 when compared to the same months in the
previous year. There is a decline of 25 less domestic violence cases filed so far this
year when compared to the previous year. If this trend continues, a determination will
need to be made in order to attempt at understanding the reasons for the declining
trend.


2017


The profile of domestic violence cases filed in 2017 was as follows:

   o *A total of 82 of the 99 domestic violence complaints (83%) filed were initiated by
     civilians.
   o A total of 90 of the 99 domestic violence complaints (91%) were filed by women.
   o In 8 of the domestic violence cases filed, both victim and alleged offender were
     police officers.
   o Of the 99 domestic violence complaints received, 93 of them showed that a male
     was the subject to the complaint while in 6, a female was the subject of the
     complaint.
   o In all of the 99 domestic violence complaints, at least one of the subjects was a
     sworn PRPD police officer.


2018


The profile of domestic violence cases filed between January 1, 2018 and March 31,
2018, was as follows:



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   o A total of 15 domestic violence complaints filed this month, 1 was filed by a
     sworn police officers from the PRPD while 14 of them were filed by civilians.
   o In 1 case, both the victim and the alleged offender were sworn police officers
     from the PRPD.
   o In all of the 15 domestic violence complaints, the alleged offenders were male.
   o Case Studies:


A total of 5 domestic violence cases were reviewed from the total population of 99
cases filed with SARP in 2017. The following represents the findings specific to each
case. It should be noted that only in one case was the violation of the 90-day processing
time limit (as per policy) was violated without the proper justification or exemption as
given to this timeline on complaints filed before or during Hurricane Maria.



                Case 1         Case 2        Case 3         Case 4         Case 5
                (103)          (297)         (206)          (86)           (29)
Complaint       3/24/17        12/15/17      7/12/17        2/15/17        1/10/17
Received by
SARP
Complaint     4/5/17           1/2/17        7/28/17        2/16/17        1/23/17
Assigned
Investigation 7/13/17          3/9/17        1/2/18         4/21/17        3/6/17
Completed
Violation of Yes               No            Yes,     but No               No
90 Day Rule                                  within
                                             Hurricane
                                             Maria
                                             Exemption


Oficina de Asuntos Legales (OAL):


The TCA visited with the OAL in order to assess the manner in which domestic violence
complaints filed with SARP were being handled by this office. Given that all domestic
violence complaints are considered criminal in nature, they are then sent to the OAL in
order for the internal legal process to commence. The findings related to this visit are
as follows:


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      o Domestic violence complaints filed with SARP are given by the OAL a
        designation of Code 24.
      o All domestic violence complaints are considered not be “typical” cases; thus,
        requiring individualized attention, according to OAL.
      o Upon receipt of the domestic violence complaint, OAL notifies the accused of
        being suspended through possible violation of rule 54. A receipt showing the
        signature of the accused acknowledging receipt is provided.


The OAL is made up of the following:


      o 21 total individuals working for the OAL.
      o 17 of the 21 are attorneys (including director).
      o 9 of the 17 attorneys are contracted and they mostly work on complaints;
        particularly, domestic violence complaints.
      o 4 of the 21 individuals working for OAL are staff.
      o Although it is not clear on the exact percentage, the OAL estimates that
        approximately less than 20% of all cases worked on by this office, are specific
        to domestic violence.
      o The OAL handles both criminal and civil matters related to the PRPD
        including, but not exclusive of, cases that are filed by outside parties in a civil
        proceeding.


Key Findings:


It was clear that the domestic violence complaints handled by SARP are being
processed in a systematic manner and that an effort is being made to process them
within the 90-day time period, as specified by the internal policy. It is also positive to
know that the new software system will aim at capturing the data being processed
through SARP in a manner that will make it a realistic goal to quantify and analyze it in
real-time.


During the visit, it was found that, when the OAL receives the domestic violence
complaint from SARP, it coordinates with the District Attorney (DA) and “suspends” the
internal investigation of the incident pending the resolution and final disposition of the
case by the District Attorney. This protocol is not consistent with best practices and
may pose the risk of violating the rights of the accused through unnecessary delays

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throughout the process. Further, suspending the internal investigation by citing the
involvement of the DA in the criminal aspect of the case, is not only unnecessary but
also poses of risk of violating the 90-day rule in the policy related to the processing of
cases. It should also be noted that the standard of proof of an internal investigation by
the OAL is the preponderance of evidence while the criminal aspect of the case,
handled by the DA, relies on reasonable doubt. Therefore, the internal matters related
to these investigations by OAL should not be dependent on any investigation and
processing of the case by the District Attorney.


TCA Visit to Fajardo Police Area in the municipality of Rio Grande (SARP):


In a previous report, the TCA identified three areas of Puerto Rico whose local SARP
personnel were still unable to communicate and file complaints with headquarters given
electricity shortages, after Hurricane Maria. One of these three areas was Fajardo,
whose local SARP personnel are based in Rio Grande. As such, the TCA visited Rio
Grande and met with the SARP commander from the region in order to identify and
assess conditions in the Fajardo/Rio Grande SARP Office.


It became apparent, during the visit, that the Rio Grande SARP has experienced a
serious organizational trauma since the arrival of Hurricanes Irma (September 6, 2017)
and Maria (September 20, 2017). All personnel were assigned to various posts in order
to support the relief effort. Further, the Rio Grande SARP office, which services
Vieques, Culebra, Ceiba, Fajardo, Luquillo and Rio Grande, was simply put “paralyzed”
during the time of the hurricanes and the post recovery time period.


In spite the fact that the electricity has not returned to the Rio Grande SARP Office (as
of January 5, 2018), the transition post Hurricane Maria has affected this particular
office in terms of the number of personnel assigned to SARP to process complaints and
the volume of work. That is, see below for personnel and work load trends:


Pre-Maria SARP Personnel Assigned to Rio Grande:

             o   Total of 8 individuals assigned to SARP Rio Grande
             o   Of the 8, three (3) were sergeants
             o   Of the 8, two (2) were lieutenants
             o   Of the 8, one (1) was at the officer rank

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                o Of the 8, two (2) were reserve officers

Post-Maria SARP Personnel Assigned to Rio Grande:

                o   Total of 4 individuals assigned to SARP Rio Grande
                o   Of the 4, two (2) are lieutenants
                o   Of the 4, one (1) is a sergeant
                o   Of the 4, one (1) is at the officer rank


Note that SARP Rio Grande personnel was largely reduced to half of the pre-Hurricane
Maria personnel.58 Yet, the jurisdiction and scope of work remains the same. When
asked as to the reasons why the personnel were significantly reduced, SARP noted that
this has to been due to various reasons including, but not exclusive of, retirements,
transfers, and contracts not renewed.


With regards to workload and volume of complaints processed, SARP Rio Grande notes
the following number of complaints processed:


January 1, 2017----April 19, 2017………24 complaints received
January 1, 2018----April 19, 2018……...23 complaints received


With regards to pre and post Hurricane Maria, the workload and nature of complaints
were as follows:

Pre-Hurricane Maria:

January 1, 2017------September 18, 2017………….66 complaints received
Nature of average complaint: Subordination and Absenteeism




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        The PRPB has recently challenged these numbers. The PRPB argues that there were 6
individuals assigned pre-Maria and 6 individuals assigned post-Maria. The PRPB has asked that the
findings and recommendations are revised accordingly. This analysis was initially shared with the Parties
and the PRPB and neither the numbers nor the findings were challenged. This Report stands by this
analysis and findings.

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Post-Hurricane Maria:

September 18, 2017---December 31, 2017 …….…..23 complaints received
Nature of average complaint: Subordination and Absenteeism

Total in 2017…… 89 complaints received by the SARP Rio Grande Office.


Key Findings:


Perhaps one the most significant finding made on the analysis of the SARP Rio Grande
Office relates to the fact that the SARP personnel assigned to this office has been
reduced to half from the pre-Hurricane Maria period. Restated, the work load has
dramatically increased for each of the current SARP members assigned to this office.
In fact, pre-Hurricane Maria, the average number of complaint cases handled by each
SARP staff member was four (4). However, post-Hurricane Maria, the average number
of complaint cases handled by each SARP employee is sixteen (16). This constitutes a
workload increase of 300% in complaint cases being processed in this particular
jurisdiction.


Another key finding relates to the “criteria” currently being utilized when processing and
designating complaints. That is, the TCA learned that when the complainant visits with
the SARP intake officer, the initial complaint form is completed and submitted to the
local SARP command staff for review. During this review process, the SARP command
staff member literally looks up a list of possible violations with their respective policy
number, based on the circumstances of the allegation, and designates only ONE of
these violations to the complaint. The issue here is that ONLY ONE violation is
designated to a case while there may be circumstances (as it is often the case) where
MULTIPLE violations may have taken place. When asked, the SARP Rio Grande
Command Staff member explained that the “system” does not allow them to enter more
than one complaint violation per incident/case.


Further, the fact that the criteria related to the selection of the possible policy violations
(assuming there may be multiple), is being left up to one individual, without a clearly
specified guideline to govern his or her discernment, does not follow best practices and
is simply “troubling”.



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After this assessment, the TCA continued to evaluate the conditions of SARP. At the
request of Col. Ramirez from SARP, the TCA performed a site visit of the Inspections
Unit in Rincon on June 26, 2018. The purpose of the visit was to attempt at
understanding the current capabilities and operations of the Inspections Unit, which
operates within SARP. The additional objective was to find out more about the current
status of production related to the Inspections Manual, which is to be developed and
implemented as part of the general orders of the Puerto Rico Police Department.


Findings:


The TCA met with the individual in charge of Inspections, Inspector Eduardo Morales
Perez. During the visit, Inspector Morales Perez made a power point presentation with
the following information relevant to the current capabilities of the Inspections Unit:


   a) There is a total of 6 individuals assigned to the Inspections Unit for the entire
      island, which is made up of 13 police areas; all are subject to inspections. Of the
      personnel assigned, there is 1 inspector, 1 captain, 1 lieutenant, and 3
      sergeants.

   b) Throughout Puerto Rico, there are 4 regional offices which have been designated
      for the Inspections Unit. Of these, only a few are operational given personnel
      shortage. Specifically, the Section Region Norte and Section Region Sur, do
      have any personnel assigned. Thus, these regions of the island are seldom
      inspected.

   c) The headquarters or center of operation for the Inspections Unit is situated in the
      remote area of Rincon.

   d) The 4 regional offices have the following geographical oversight:

                  i.   Region Oeste: Mayaguez, Aguadilla, Arecibo.
                 ii.   Region Sur: Ponce, Utuado, Guayama, Aibonito.
                iii.   Region Norte: San Juan, Carolina, Bayamon.
                iv.    Region Este: Fajardo, Humacao, Caguas.

   e) Currently, there are 563 units, which belong to SAOC and SAIC, throughout the
      island of Puerto Rico, which are subject to inspections by the Inspections Unit.


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   f) In terms of distances covered within the 4 regional offices, the Inspections Unit
      has to perform inspections within the following demographical areas:


                  i.   Region Oeste: 153 kilometers
                 ii.   Region Sur: 117 kilometers
                iii.   Region Este: 87.4 kilometers
                iv.    Region Norte: 65.6 kilometers

   g) The Inspections Unit reports to have inspected, during 2017, a total of 6 areas
      within the Island. These 6 areas include Aguadilla, Mayaguez, Utuado, Arecibo,
      Ponce and Fajardo.

   h) Regarding the interruption of inspections services, caused by both Hurricane
      Irma and Maria, the Inspections Unit reports to have worked January through
      August 2017 without interruptions. However, from August through
      December2017, the Inspections Unit was assigned to support police services,
      which led to the interruption of inspections. However, the Inspections Unit
      resumed inspections-related work in January 2018 until now.


   i) In terms of productivity, from January 2017 until December 2017, a total of 51
      units, 369 MPPR (police personnel), and 137 police vehicles, were inspected. In
      2018, from January until May, a total of 17 units, 109 MPPR and 40 vehicles
      have been inspected.


   j) In 2018, the areas of Mayaguez, Arecibo and San Juan have been inspected.


   k) There are currently 4 vehicles assigned to inspectors, for purposes of island-wide
      inspections.


Assessment:


The TCA found the visit and review of documentation to have been insightful and
productive. The TCA commends Inspector Morales Perez for taking various initiatives
to start the Inspections Unit. For instance, Inspector Morales Perez is responsible for
drafting the inspections sheets (templates), for designing the patches worn by the
inspectors, and for tracking some of the data relevant to the productivity of the
Inspections Unit.
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Despite these efforts, it is clear to the TCA that the Inspections Unit is in need of
modernizing its data collection mechanism. Currently, the Unit collects information on a
single inspection, by hand, and enters this information accordingly. Further, the Unit
Inspectors, when performing an inspection, use paper copies of the inspection
document which then they have to use as a reference when entering the data in the
single computer they share in the small office that houses the unit in Rincon. This
current practice may lead to data errors which then will produce inaccurate reports.


It was noted, during the TCA visit, that when inspectors flag a particular police site or
individual as not being in compliance, the inspectors produce a report which is kept
locally (in Rincon). That is, this report flagging a police unit or individual as not being in
compliance is NEVER sent to SARP for their records. Therefore, in cases, when the
police site or individual address the compliance issue raised by inspectors, within the 30
days issued, SARP will never learn of the findings made by the Inspections Unit. This is
troubling given the fact that the violation of rules and regulations identified by inspectors
is never transmitted or recorded in headquarters by SARP and therefore, never part of
an assessment of performance of local command staff as well as police personnel.


According to the Inspections Unit, on the average, 1 or 2 out of every 10 inspections
result in violations of policies or regulations. However, the Inspections Unit claims that in
most of these cases, the violators address the issues raised and when re-inspected,
they are almost always in compliance. In those rare instances when compliance is not
attained within the 30 days specified, the case is referred to SARP. However, it was
found that SARP never reports back to the Inspections Unit, the final resolution of the
case. Again, this is a failure of communication and one that needs to be addressed. It is
important, and within best police practices, that SARP communicate back to the
Inspections Unit, the final resolution of the case.


With regards to the Inspections Manual, the Inspections Unit reported that this creation
of this manual is the sole jurisdiction of the Reform Unit, and not the Inspections Unit.
When consulted, the Reform Unit claims that this manual is being drafted and that at
some point, early on, it was discussed whether the document would be drafted in the
form of a manual or general policy. Regardless of the format, it is clear that without this
manual the Inspections Unit is left without specific guidelines on the manner in which
inspections are performed, recorded, reported, and addressed.




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In addition, it should be noted that there was no clear explanation given as to
justification on why the Inspections Unit is located in the remote area of Rincon. Given
the shortage of resources and personnel, this location does not make sense. Further, it
provides a challenge for the current personnel to inspect locations throughout the island
that may be hard to reach from the extreme western area of Puerto Rico. It is also the
case, that the permanent physical presence of the commander in charge of inspections,
at the headquarters building, may provide a stronger venue of communication and
coordination between SARP and the Inspections Unit.


Overall, there are some critical areas that should be addressed right away regarding the
Inspections Unit of the Puerto Rico Police Department, as outlined in this report. The
TCA will continue to monitor the daily operational activities of this specific unit and will
provide assistance, as needed, in the development of the Inspections Manual.


Finally, the TCA recently visited SARP Headquarters in San Juan, Puerto Rico. Prior to
the visit, the TCA made a request to review all of the files relevant to complaints made
against line officer and command staff members during the past 5 years. During the
visit, complaint files (both administrative and non-administrative) were made available to
the TCA for review. The process relevant to the review of complaint files is long and
time consuming as it became obvious, during the visit, that the punitive
recommendation made by the original investigative officer does not necessary adhere to
the same language or entry made in the computerized system. Thus, a series of
physical inspections became necessary to review a single file. The following tables
represent the information analyzed relevant to the data obtained for the ranks of
Captain, Inspector, Commander, Lieutenant Coronel (LTC), and Coronel (COL):


Complaints on Colonels (COL):


   •    There is a total of 9 colonels.
   •
           o Of the 9 colonels in place, 6 were subject to complaints.
           o Of the 6 colonels subject to complaints, 2 were subject to 1 complaint
             each (the least number of complaints recorded).
           o Of the 6 colonels subject to complaints, 1 of them was subject to 4
             complaints (the most received by a colonel)



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            o Of the 6 colonels subject to complaints, 2 of them were subject to 3
                complaints each (second most significant number of complaints received
                by a colonel).
   •    A total of 15 complaints were filed against 6 colonels, during the time period
        specified.
   •    A total of 14 complaints (out of 15) showed that they had been finalized.
   •    When considering the initial disciplinary recommendation with the final
        disciplinary outcome, some of the complaints showed that a change had
        occurred. A physical inspection of these is required to determine the “reason” for
        this change.
   •    NONE of the 14 complaints filed against colonels resulted in a disciplinary action.


Complaints on Lieutenant Colonels (LTC):

   •    There is a total of 33 lieutenant colonels.
            o Of the 33 lieutenant colonels in place, 26 were subject to complaints.
            o Of the 26 lieutenant colonels subject to complaints, 11 were subject to 1
                complaint each (the least number of complaints recorded).
            o Of the 26 lieutenant colonels subject to complaints, 1 of them was subject
                to 7 complaints (the most received by a lieutenant colonel)
            o Of the 26 lieutenant colonels subject to complaints, 1 of them was subject
                to 5 complaints (second most significant number of complaints received by
                a lieutenant colonel).
   •    A total of 60 complaints were filed against 26 lieutenant colonels, during the time
        period specified.
   •    A total of 47 complaints (out of 60) showed that they had been finalized.
   •    When considering the initial disciplinary recommendation with the final
        disciplinary outcome, some of the complaints showed that a change had
        occurred. A physical inspection of these is required to determine the “reason” for
        this change.
   •    ONLY 1 complaint filed against lieutenant colonels resulted in a disciplinary
        action.

Complaints on Commanders:

   •    There is a total of 42 commanders.
           o Of the 42 commanders in place, 29 were subject to complaints.
           o Of the 29 commanders subject to complaints, 11 were subject to 1
              complaint each (the least number of complaints recorded).


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            o Of the 29 commanders subject to complaints, 1 of them was subject to 8
                complaints (the most received by a commander)
            o Of the 29 commanders subject to complaints, 1 of them was subject to 6
                complaints (second most significant number of complaints received by a
                commander).
   •    A total of 67 complaints were filed against 29 commanders, during the time
        period specified.
   •    A total of 45 complaints (out of 67) showed that they had been finalized.
   •    When considering the initial disciplinary recommendation with the final
        disciplinary outcome, some of the complaints showed that a change had
        occurred. A physical inspection of these is required to determine the “reason” for
        this change.
   •    Only 1 complaint filed against a commander resulted in a suspension while 10
        resulted in “orientation”. The latter is a rather informal process by which the
        subject of disciplinary action is simply reminded of the rules and regulations that
        govern the department.


Complaints on Inspectors:

   •    There is a total of 57 inspectors.
            o Of the 57 inspectors in place, 37 were subject to complaints.
            o Of the 37 inspectors subject to complaints, 22 were subject to 1 complaint
                each (the least number of complaints recorded).
            o Of the 37 inspectors subject to complaints, 6 of them were subject to 6
                complaints (the most received by an inspector).
   •    A total of 65 complaints were filed against 37 inspectors, during the time period
        specified.
   •    A total of 42 complaints (out of 65) showed that they had been finalized.
   •    When considering the initial disciplinary recommendation with the final
        disciplinary outcome, some of the complaints showed that a change had
        occurred. A physical inspection of these is required to determine the “reason” for
        this change.
   •    ONLY 2 complaints filed against inspectors resulted in a disciplinary action.


Complaints on Captains:


   •    There is a total of 82 captains.
           o Of the 82 captains in place, 55 were subject to complaints.
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            o Of the 55 captains subject to complaints, 24 were subject to 1 complaint
                each (the least number of complaints recorded).
            o Of the 55 captains subject to complaints, 1 of them was subject to 8
                complaints (the most received by a captain).
   •    A total of 127 complaints were filed against 55 captains, during the time period
        specified.
   •    A total of 79 complaints (out of 127) showed that they had been finalized.
   •    When considering the initial disciplinary recommendation with the final
        disciplinary outcome, some of the complaints showed that a change had
        occurred. A physical inspection of these is required to determine the “reason” for
        this change.
   •    ONLY 3 complaints filed against captains resulted in suspensions while 9
        resulted in “orientation”. The latter is a rather informal process by which the
        subject of disciplinary action is simply reminded of the rules and regulations that
        govern the department.


Key Findings:


        1. The current paper-based system in place with SARP on all complaints
           presents serious challenges to monitor and/or evaluate data related to the
           complaint process and complaints filed/reviewed.
        2. The codes utilized on most physical files do not match the computer version
           of these; making it very difficult if not impossible to verify if the information
           recorded is accurate. Hence, negating the ability for an external source (i.e.,
           monitors) to validate the data.
        3. The “justifications” given to explain the change between the original
           disciplinary recommendation issued by the investigator and the final
           disciplinary outcome (often issued by a SARP supervisor), are not sufficient to
           justify or explain the change. Therefore, posing serious questions regarding
           the rationale that supports the change on the discipline administered to
           command staff members.
        4. With regards to the data reviewed:
               a. It is statistically improbable (and perhaps even impossible) that out of
                   the 334 complaints filed against 153 members of the command staff,
                   only 7 resulted in disciplinary action beyond an “orientation”. It would
                   be interested and insightful to compare these outcomes with
                   complaints filed against members of the police department with lesser
                   ranks.


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             b. The data suggests that the higher the rank, the less likely the individual
                is to receive any discipline at all. (i.e., none of the complaints filed
                against colonels resulted in a disciplinary action).
             c. Of the 223 members of the command staff, 153 were subject to a
                complaint. Restated, a total of 69% of the command staff at the
                PRPD, were subject to a complaint.
             d. There are serious concerns regarding the quality of the reporting and
                recording mechanisms in place related to complaints filed with SARP.
                Further, the analysis of the data leads to questions on the integrity of
                the process as it relates to final disposition of cases and the manner in
                which discipline is administered. A further review is in order.


In addition to all of this work, under Paragraph 227, the TCA conducted an audit on the
PRPB’s policing of mass demonstrations deemed appropriate by the Court. On May 4,
2018, the United States District Court in case Number 3:12-cv-02039 issued an order
authorizing the TCA to assess the events of May 1, 2018, and report on findings. This
report is currently under review and will be submitted soon to the Court after receiving
comments from the Parties. The TCA will report on these findings in his next report or
as soon as the report is available for public dissemination.




Section IV
Projected Activities: Paragraph 205(e)

Consistent with Paragraph 250 (e), the Monitor will continue to work in the upcoming six
months reporting on compliance with the Agreement. Here the TCA discusses the
current workplan of the TCA submitted to the Court and the Parties in the context of the
required methodology.


Roadmap for a Consensus-based, Validated Methodology to Assess Compliance
(Agreement ¶ 241-249).

On or before October 4, 2018, the Parties and the Monitor agreed on the following:

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1.   The meaning of policy, training, and practice compliance, pursuant to Paragraph
242;

2.     A rating scale that measures change for each of the Paragraph 242 requirements
(policy, training, practice);

3.     A preliminary methodology that describes data sources, evaluation methods, and
related outcome measures; and

4.    A calendar for completing compliance reviews and outcome assessments,
pursuant to Paragraph 245.
   • From October 8, 2018 through January 8, 2019, the Monitor and the Parties will
      jointly conduct a baseline assessment and gap analysis to assess current
      conditions and validate the preliminary methodology through field visits.
      Specifically, the Monitor and the Parties will: determine whether predicted data
      sources are existent and viable; identify gaps in data sources and concerns with
      data integrity; validate proper evaluation methods, including appropriate
      sampling; develop appropriate compliance thresholds; and update outcome
      measures.
   • From January 9 – March 8, 2019, the Monitor will design logical models and
      specific audits and compliance reviews based on the validated methodology.
      The Monitor will develop standard document and data requests, which will be
      supplemented on an ongoing basis with non-standard requests in accordance
      with the Agreement.
   • From March 9 – April 8, 2019, the Monitor and the Parties will agree upon an
      updated and complete methodology to be applied beginning on April 9 for the
      Tenth Semi-Annual Report (“SMR-10”). The complete methodology will include
      data sources, evaluation methods, compliance thresholds, and related outcome
      measures. The Ninth Semi-Annual Report (“SMR-9”), covering October 8, 2018
      to April 8, 2019, will report on the results of the baseline assessment and gap
      analysis, including identifying which paragraphs are measurable using the
      agreed-upon methodology. For those paragraphs that are not measurable, the
      Commonwealth will develop a corrective action plan.
   • From March 9, 2019 – October 8, 2019, the Monitor will design complete
      outcome assessment logical models and data collection based on the validated
      methodology. The Monitor will develop standard document and data requests,
      which will be supplemented on an ongoing basis with non-standard requests in
      accordance with the Agreement.
   • The TCA and the Parties will review the updated and complete methodology on
      an ongoing basis, as needed, to consider whether modifications are necessary
      as additional data management systems are implemented and additional data
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      sources become available and based on the TCA’s and the Parties’ experience
      implementing the monitoring methodology. At least one review of the monitoring
      methodology shall occur six years after the Appointment Date as part of the
      Comprehensive Reassessment under Paragraph 249.


Meeting the goals and requirements of the Agreement requires a comprehensive review
of the PRPB’s current policies, practices and systems; performing both a “baseline” and
a “gap analysis” to understand how those current policies, trainings, practices and
systems differ from the Agreement’s requirements and best practices; revising policies,
practices and systems to incorporate the Agreement’s requirements and best practices;
training PRPB personnel so they can fulfill their responsibilities under the Agreement’s
requirements; and implementing the Agreement’s requirements into practice.


The Roadmap is based on Paragraph 242. Paragraph 242 sets forth as follows:


“Four years after the Appointment Date and in accordance with the provisions of the
approved Action Plans, the TCA shall begin to regularly conduct compliance reviews to
assess PRPB’s compliance with each of the Agreement provisions in Sections III
through XIII. The TCA shall assess and report whether PRPB has, for each Agreement
requirement: (a) incorporated the requirement into an implemented policy; (b) trained all
relevant personnel in the requirement and policy; and (c) fully implemented in practice.
These compliance reviews shall contain both quantitative and qualitative elements as
necessary for reliability and comprehensiveness.


For purposes of assessing and reporting on each of the three compliance levels of
Paragraph 242, the Monitor shall use the following definitions for each paragraph of the
Agreement:

   (a) “incorporated the requirement into an implemented policy” shall mean that PRPB
       has in place operational and effective policies and procedures that are designed
       to guide officers, supervisors, commanders, and other relevant personnel in the
       performance of the tasks that are set forth in the Agreement and generally-
       accepted policing practice. This will be referred to as Primary or Policy
       Compliance.

   (b) “trained all relevant personnel in the requirement and policy” shall mean that
       PRPB has developed all necessary training materials and sufficiently trained to

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        competency all pertinent personnel in the performance of the tasks that are set
        forth in the Agreement and applicable policies and procedures. This will be
        referred to as Secondary or Training Compliance.

     (c) “fully implemented in practice” shall mean consistent and verified adherence to
         the requirements of the Agreement and applicable policies and procedures in the
         day-to-day operation of PRPB where personnel are held accountable for
         performing the requirements of applicable policies and procedures as written by
         their superiors. This will be referred to as Operational Compliance.

     (d) The Monitor has recommended to the Parties and the Parties have agreed in
         principle that the idea of “full implementation in practice” must take into
         consideration and is operationalized through the assessment of resources,
         human resources and staffing, data collection and data analysis protocols, and
         operational implementation.

This three-step Critical Path (policy, training, and operational or implementation in
practice compliance) lays out the steps the Commonwealth and the PRPB must take to
successfully achieve full and effective compliance with the Agreement, and how the
Monitor will assess the compliance. This process will take place for the duration of the
compliance phase and will began its implementation during the first six month of the
compliance period and prior to the Monitor’s issuance of the first Six-Month Compliance
Report pursuant to Paragraph 251. These tasks are divided into four broad phases:

           a. conducting a “current baseline assessment” and “gap analysis” of the
              PRPB and Commonwealth’s current state of affairs;
           b. revising or creating policies;
           c. training and implementation; and
           d. the Monitor’s issues audits and reports assessing change and progress
              made.

In short, the Agreement requires the Commonwealth and the PRPB to achieve full and
effective compliance as determined by the Court. For the Commonwealth and the PRPB
to be in compliance with an Agreement requirement, Paragraphs 242 and 251 demand
that the requirement59 must be:



59
         Paragraph 251 does not add a new requirement to the three compliance levels in Paragraph
242. Paragraph 251(b)(3) requires that the TCA indicate in his reports whether a particular paragraph
was reviewed or audited by the TCA during the monitoring period.

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          a. incorporated into implemented policy;
          b. the subject of sufficient training provided to all relevant PRPB officers and
             employees;
          c. reviewed or audited by the Monitor and the PRPB’s own self-assessment
             to determine whether the requirement has been fully implemented in
             actual practice; and
          d. found by the Monitor to have been fully implemented in practice.
             (Agreement ¶ 242, 251)


Some areas of attention during the next six months are as follows:


   1. Consistent with Paragraph 250 (e), the TCA will continue to work in the upcoming
      six months providing technical assistance and review for the policies that the
      PRPB will submit in subsequent months once the requested extensions are
      approved by the Court.

   2. Will assess and report on the effect the police “flight” has on compliance with the
      Agreement

   3. Will work with the Parties on the implementation of a new framework for the
      Agreement in the aftermath of Hurricanes Irma and Maria, including technical
      assistance in the development of a recovery and resiliency plan as well as a
      Continuity of Operations (“COOP”) plan

   4. Will continue to provide support to the Police Academy while emphasizing more
      comprehensive IT technical assistance.

   5. Will continue to conduct random visits to districts, precincts and units to
      determine that records relating to incidents of use-of-force have been prepared
      and completed.

   6. Will conduct random visits to districts, precincts and units to determine whether
      the Supervisors of the PPR have conducted reviews and investigations on use-of
      force.

   7. Will continue to monitor the implementation of the NIBRS policy. The TCA will
      review the production schedule and will interview IT staff to monitor it.

   8. Will continue to support the implementation of Paragraph 13.
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   9. Provide support to the Court in the implementation and execution of Public
      Hearings.

   10. Continue to monitor evidence rooms inspections.

   11. Continue to implement next steps in the implementation of Paragraph 241

   12. Continue to meet with stakeholders to ensure Reform information is properly
       disseminated and relations are developed.

   13. Conduct ride-alongs to verify compliance with new established policies and
       trainings.

   14. Continue to monitor the progress of the PRPB Information Technology
       Infrastructure development; and,


   15. Continue to assess the progress of the Drug, Vice, and Illegal Firearms Division.




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                        Appendix 1
Paragraph 250(b-d): Compliance Tables


    SIX-MONTH REPORT OF THE
 TECHNICAL COMPLIANCE ADVISOR
    APRIL 1 – OCTOBER 7, 2018


   Office of the Technical Compliance Advisor to the
     Agreement for the Sustainable Reform of the
             Puerto Rico Police Department
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TCA Reports under the Agreement

Paragraph 250 of the Agreement:

“During the first four years, from the Appointment Date, the TCA shall file with the Court,
written public reports every six months that shall include:

   a) a description of the work conducted by the TCA;

   b) a listing of each detailed step in the Action Plans and its timeframe indicating
      whether the timeframe has been met, and whether the Commonwealth of Puerto
      Rico is making satisfactory progress toward implementation of the Agreement by
      rating PRPD in full, partial, or non-compliance steps in the Action Plan;

   c) the methodology and specific findings for each review conducted, where
      appropriate, and redacted as necessary for privacy concerns. An un-redacted
      version shall be filed under seal with the Court and provided to the Parties. The
      underlying data for each audit or review shall not be publicly available, but shall be
      retained by the TCA and provided to either or both Parties upon request;

   d) for any detailed steps that were reviewed and found not to have been fully
      implemented in practice, the TCA’s recommendations regarding necessary steps
      to achieve compliance; and

   e) a projection of the work to be completed during the upcoming reporting period and
      any anticipated challenges or concerns related to implementation of the
      Agreement.”




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Methodological notes for the reader:1


In accordance with Paragraphs 240 and 250, the TCA must file with the Court, every six
months, written, public reports during the first four years from the Appointment Date [June
6, 2014]. The purpose of these reports is for the TCA to determine whether PRPB is
“making satisfactory progress toward implementation of the Agreement” (Paragraph 250)
and “evaluate PRPB’s compliance with this Agreement by assessing PRPB’s progress
against its Action Plans.” (Paragraph 240) To determine compliance, among other things,
the TCA must perform two distinct tasks:


“The TCA shall assess whether PRPB has met the timeline for each detailed step
specified in the Action Plans, and whether PRPB is in full, partial, or noncompliance with
the detailed steps.” (Paragraph 240)2


Generally, the report must describe the work conducted by the TCA during the period
covered by the report and outline which requirements from the Agreement and Action
Plans have been incorporated into policy, trained for, and carried out in actual practice.
This is the TCA’s seventh report in satisfaction of his ongoing obligation to review, assess,
and report.

1
  Here we follow closely the structure of the reports of the Cleveland Police Monitoring Team and the Seattle Police
Monitoring Team. There are other reports from other jurisdictions that have also framed the content and format of
this Report.
2
  Paragraph 240. See 250 (b).
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In the first two years since the TCA’s appointment date, my team and I avoided the use
of tables, report cards, ratings, and similar devices to measure compliance. It was the
opinion of the team and their lengthy professional experience that the over-simplification
of measuring progress or compliance through a table sidetracked the discussion about
the substance of the PRPB’s compliance. The tables limited the TCA from his ability to
openly discuss the work that the PRPB engaged in to achieve compliance.


However, the TCA and his team agree with the position of the USDOJ that five years into
the Agreement and four years into the capacity building period, it is useful to present a
paragraph-by-paragraph accounting of the state of the PRPB’s compliance with the
specific requirements of the Agreement and the steps of the Action Plans. Although the
risk over-simplification persists, the Team and I concluded that this approach of
measuring compliance through tables is beneficial to the Parties and the Court.


Consequently, each of the following sections of this appendix displays with a table –
activity by activity, step by step – the state of the PRPB’s compliance with the
requirements of the Action Plans.


The Report use the following rating structure and color code:


Non-Compliance. The PRPB has not yet complied with the relevant provision of the
Action Plan. This includes instances in which the PRPB’s work or efforts have begun but

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cannot yet be certified by the TCA Team as compliant with a material component of the
Action Plan requirement.


Partial Compliance. The PRPB has made sufficient initial strides or sufficient partial
progress toward compliance toward a material number of key components of the step of
the Action Plan – but has not achieved real, effective operational compliance. This
includes instances where policies, processes, protocols, trainings, systems, or the like
exist on paper but do not exist or function in day to-day practice. It may capture a wide
range of compliance states or performance, from the PRPB having taken only very limited
steps toward operational compliance to being nearly in full compliance. It also includes
situations where the PRPB has made notable progress to technically comply with the
requirement and/or policy, process, procedure, protocol, training, system, or other
mechanism of the Action Plan such that it is in existence or practice operationally – but
has not yet demonstrated, or not yet been able to demonstrate, meaningful adherence to
or effective implementation, including across time, cases, and/or incidents.


Full Compliance. The PRPB has complied fully with the requirement and the requirement
has been demonstrated to be meaningfully adhered to and/or effectively implemented
across time, cases, and/or incidents. This includes instances where it can be shown that
the PRPB has effectively complied with a requirement fully and systemically.


Evaluation Deferred. This category reflects those limited instances where work in a given
area has been intentionally and affirmatively deferred in order to work on other, necessary

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prerequisites. In these areas, the PRPB could have made more progress in a given area
but, for project management, budgetary, or operational reasons, have appropriately
focused attention on other areas.


In considering this classification scheme, readers of this report should keep some
important things in mind. First, a designation of “Partial Compliance” does not necessarily
or in itself mean that the lack of progress is something that the TCA finds problematic
under the circumstances. In some instances, it does. But, there are many instances
where partial compliance includes situations where the PRPB has made notable progress
to technically comply with the requirement of the Action Plan such that it is in existence
or practice operationally – but has not yet demonstrated, or not yet been able to
demonstrate, meaningful adherence to or effective implementation, including across time,
cases, and/or incidents.


Second, the Monitoring Team’s conception of “partial compliance” requires more than the
PRPB simply taking some limited or initial steps toward adhering to a specific step of an
Action Plan or an Agreemement requirement.             That is, a “partial compliance”
determination is not used simply because some small amount of work has been
conducted. Instead, “non-compliance” becomes “partial compliance” when the PRPB has
made sufficient, material progress toward compliance – suggesting that the PRPB has
graduated from the stages of initial work to more well-developed and advanced
refinement or various reforms.



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Third, the compliance that this report discusses is with respect to compliance with the
various, specific provisions of the Action Plans – and not with respect to the “Full and
Effective Compliance” with the whole of the Agreement which is defined in Paragraphs
10 (bb), 294 and 301.3 Such “Full and Effective Compliance” will be reached when the
PRPB has reached “sustained compliance with all requirements of this Agreement, or
sustained and continuing improvement in constitutional policing, as demonstrated
pursuant to the Agreement’s outcome measure.”


The various charts that begin sections of this report involve intentionally condensed
summaries of the requirements in each paragraph. For the sake of space and clarity, we
do not reprint the entire Action Plans and/or Agreement in the document. Any imprecision
detected by these condensed or summarized requirements is unintended and, in any
event, can be cured with reference to the original Agreement and Action Plans language
themselves. This is the reason why we have added the Paragraphs and activities in the
tables.


Further, the TCA Team bases its assessments on its current understandings, knowledge,
and information gained through ongoing field work document reviewing, data gathering,
and discussing with PRPB, the Parties, and other stakeholders. During this capacity
building phase, the assessments are often less formal to the extent that not all of them



3
  Paragraph 11, bb, defines Full and Effective Compliance. “Full and Effective Compliance means sustained
compliance with all substantive provisions of this Agreement and sustained and continuing improvement in PRPD
policing. The substantive provisions of this Agreement are all provisions contained in Sections III through XIII.”
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are necessarily informed by the type of exhaustive quantitative compliance and outcome
measurements that are a critical component of the Agreement under Paragraphs 242 and
243. In this sense, it is important to understand that the summary determinations here
do not take the place of these more structured, systemic analyses. Ongoing, rigorous
quantitative assessments will provide a more comprehensive picture during the
compliance phase as work under the Agreement proceeds. However, this task is just
impossible at present given the data gathering limitations of the PRPB.


The terms adopted here – including Non-Compliance, Partial, and Full Compliance – are
terms that appear in the Agreement. Categorizing the state of compliance with the steps
of the Action Plans and the Agreement requirements by using these terms is a method
that the TCA has internalized to explain and discuss the substantive work and progress
that the PRPB has made in a systematic, straightforward way. This is not unique. The
rating approach is similar to the methodological approach used by police monitors in
Cleveland, Albuquerque, Cincinnati, Detroit, East Haven, Los Angeles, New Orleans, and
others, as well as consent decrees in non-police contexts.


In the next report, the Report will also include additional differentiation between six crucial
categories of compliance: policy compliance, staffing compliance, resource compliance,
training compliance, documentation compliance, and outcome compliance. For example,
policy compliance means (a) that there are sufficient written policies and procedures in
place so that, if they were implemented, compliance would be achieved; and (b) that there
are no policies and procedures in place that are inconsistent with the requirement.

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There are two other minor comments. Compliance with a policy deadline is determined
by the date the PRPB submitted the policy for review, not the date the policy was
approved.   Unless otherwise noted, the training statistics are based on PRPB self-
reported data on the percentage of members of the PRPB trained and certified out of the
total members of the PRPB




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                 Compliance Tables for Professionalization Action Plan

                                    Section III. Professionalization
                                       Requirements: 12 to 21


I.     Policy and Procedure Development Objectives:

       Activity III.I.1.1

     III.I.1.1              Collaborate in the review of the Puerto Rico Police Department Personnel
                            Regulation (No. 4216) to tailor it to the requirements of the Agreement
                            for the Sustainable Reform of the Puerto Rico Police Department in
                            relation to the following matters: promotions, transfers, and
                            responsibilities and duties by rank.

                            This policy is part of the Policies and Procedures Compliance Area Action
                            Plan.

     Due Date               November 2017

     TCA Assessment         See Policies and Procedures Compliance Area Action Plan.

     Recommendations This activity was jointly revised in working session of July/2018. No
                     comment was made on it.
     TCA Rating             See Policies and Procedures Compliance Area Action Plan.




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Activity III.I.1.2

  III.I.1.2          Review General Order, Chapter 600, Section 617, entitled “Code of
                     Ethics of the Members of the Puerto Rico Police Department”

                     Paragraphs 12, 87, 109, 113 and 205

  Due Date           April 2015

  TCA Assessment     The PRPB met the formal requirement to draft the policy. The current
                     effective date was 6/20/2018.

                     The PRPD reported that the Superintendent signed the “Code of Ethics
                     for PRPD Members on April 23, 2015 as part of the activities related to
                     police ethics.

                     Training is ongoing. In March 2018, there was 99.92% compliance with
                     training based on PRPB reporting.

  Recommendations    The TCA will continue annual reviews in accordance with Agreement
                     requirements. The PRPB reports that virtual re-training is in the process
                     of being developed. They did not specify the date when it will be ready.
  TCA Rating         Timeframe was met.

                     The Commonwealth of Puerto Rico is in full compliance with this step of
                     the Action Plan




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Activity III.I.1.3

  III.I.1.3          Review General Order No. 2010-12, entitled “Rules and Procedures for
                     Transfer Transactions of Rank System Personnel” to tailor it to the
                     requirements of the Agreement for the Sustainable Reform.

                     Paragraphs 13, 14, 16 through 20, 113,136, and 137

  Due Date           May 2016. Current effective date is 5/15/2017 for last revision.

  TCA Assessment     The PRPB met the formal requirement to draft the policy. On May 15,
                     2017, the Police Commissioner signed this policy.

                     The TCA is concerned about transfer transactions in practice. See
                     Section III of the TCA Sixth Report.

  Recommendations    The TCA will continue annual reviews in accordance with Agreement
                     requirements. These reviews include the findings of the TCA assessment
                     of 2017. This activity was revised in working session of July/2018.
                     General Order is in the process of its annual review. It was sent in
                     June/2018.
  TCA Rating         Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of
                     the Action Plan




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Activity III.I.1.4


  III.I.1.4          Review the Interagency Collaborative Agreement between the PRPB and
                     the PR Office of Government Ethics signed on March 16, 2015, for the
                     purpose of joining efforts through SAEA and promoting an exchange of
                     training opportunities.

                     Paragraphs 12, 21, 113, and 143
  Due Date           July 2016



  TCA Assessment     The PRPB met the formal requirement to draft the policy on 03/16/2015



  Recommendations    The TCA will continue annual reviews in accordance with Agreement
                     requirements. The MOU continues in force. This activity was revised in
                     working session of July/2018. Two action are pending: certification from
                     the OEG and number of PRPB staff that took the training.
  TCA Rating         Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of
                     the Action Plan




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Activity III.I.1.5

  III.I.1.5          Repeal Regulation No. 6644, entitled “Regulation for Promotions Based
                     on Merit and/or Heroism up to Rank of Captain,” and the “Regulation for
                     the Administration of Promotion Exams” to develop a new regulation
                     establishing that written exams will be administered up to the rank of
                     Captain.

                     Paragraphs 14, 16, 17 20,21, 84,113, 136, and 137

  Due Date           December 2016. Compliance with the Activity: 06/30/2018

  TCA Assessment     The TCA is concerned about the way in which the PRPB handled 2015 and
                     2016 promotions.

                     TCA is also concerned about the impact of Act 20 and the derogation of
                     Act 53.

                     Regulation is in the process of its review. It was sent in June/2018 as
                     requested in the first extension. There is no date regarding the effective
                     date.

  Recommendations Continue annual review in accordance with Agreement requirements.
                  This activity was revised in working session of July/2018
  TCA Rating         Timeframe was not originally met. An extension was granted for this
                     activity. Timeframe was then met.

                     The Commonwealth of Puerto Rico is in partial compliance with this step
                     of the Action Plan




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Activity III.I.1.6

  III.I.1.6          Develop General Order establishing the descriptions, functions, duties,
                     responsibilities, and minimum requirements of each position included
                     in the PRPB Rank System.

                     Paragraphs 15, 113, and 135

  Due Date           September 2016. Compliance with the Activity: 06/30/2018

  TCA Assessment     The TCA is concerned about the way in which the PRPB handled 2015
                     and 2016 promotions.

                     TCA is also concerned about the impact of Act 20 and the derogation of
                     Act 53.

                     Regulation is in the process of its review. It was sent in June/2018 as
                     requested in the first extension. There is no date regarding the effective
                     date.

  Recommendations    Continue annual review in accordance with Agreement requirements


  TCA Rating         Timeframe was not originally met. An extension was granted for this
                     activity. Timeframe was then met.


                     The Commonwealth of Puerto Rico is in in partial compliance with this
                     step of the Action Plan




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II. Training Development Objectives:

Activity III.II.1.1

 III.II.1.1            Through the Auxiliary Superintendency for Education and Training
                       (SAEA, Spanish acronym), the PRPB will create a multitopic

                       Training Program to develop employees’ ethical and
                       professional judgment and values with the collaboration of the
                       Office of Government Ethics (OGE), as stipulated in the
                       Collaborative Agreement between the two agencies. These
                       training courses will be part of continuing education and will be
                       certified as contact hours by the OGE.

                       The Program will include, but not be limited to the following topics:
                          (Table 6)
                              1.1.1 General Order 617: MPRPB Code of Ethics
                              1.1.2 police ethics and integrity
                              1.1.3 ethical leadership
                              1.1.4 ethical attitudes in the workplace
                              1.1.5 ethical principles in management and supervision (this
                                      training course is contemplated in the Supervision and
                                      Management Compliance Area Action Plan)
                              1.1.6    managing emotions for ethical coexistence
                             1.1.7    community policing principles (this training course is
                                      contemplated in the Community Interaction and Public
                                      Information Compliance Area Action Plan)
                              1.1.8 techniques to guide and manage MPRPBs in an effective
                                     manner and promote effective and ethical police practices
                                     (effective supervision) (this training is contemplated in the
                                     Supervision and Management Compliance Area Acton
                                     Plan), and
                              1.1.9 Federal and commonwealth non-discrimination laws and
                                     PRPB policy (this training is contemplated in the Equal
                                     Protection and Non-Discrimination Compliance Area Action
                                     Plan).

                       Paragraphs 12, 21, and 143



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Due Date          May 2016

TCA Assessment    In past reporting periods, the TCA reviewed these training materials. The
                  TCA approved the training designs (syllabus) of the topics that will be
                  object of the Multitopic Training Program.

                  These trainings were scheduled to begin in February 2017 to June 2017.
                  However, the PRPB was delayed in the development phase of the
                  materials needed for these training.

                  The TCA highlights that the PRPB has been offering the training of the
                  General Order 617: MPRPB Code of Ethics (1.1.1). This policy was
                  developed in compliance with the Agreement. However, other training
                  materials must be added.

                  The PRPB statistics show 99% compliance in Code of Ethics training.
                  (Note to the reader: In this Report, unless otherwise noted, the training
                  statistics are based on PRPB self-reported data on the percentage of
                  members of the PRPB trained and certified out of the total members of
                  the PRPB)

                  The PRPB reported that training was already developed by the Academy
                  and has already passed to National University College to be prepared and
                  integrated platform virtual trainings. There is no available the date will
                  be posted on the virtual platform.

Recommendations   Continue review of training materials in accordance with Agreement
                  requirements. This activity was revised in working session of July/2018.

TCA Rating        Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe has
                  not been met for 1.1.2 through 1.1.9

                  The Commonwealth of Puerto Rico is in full compliance with 1.1.1. The
                  Commonwealth of Puerto Rico is in non-compliance with 1.1.2 through
                  1.1.9




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Activity III.II.2.1

 III.II.2.1           PRPB, through the Auxiliary Superintendency for Education and Training
                         (SAEA, Spanish acronym), will create a Training Program for all
                         members of the Promotion Exams Board to guarantee that
                         promotions in the PRPB are in accordance with equal employment
                         opportunity principles and non-discrimination laws and comply with
                         the three (3) areas of educational activities—cognitive, affective, and
                         psychomotor—necessary to perform successfully the management
                         and supervisory tasks related to the requirements of the rank that
                         the candidates aspires to obtain.

                      The Program will include, but not be limited to, the following topics:
                           (Table 7)
                      2.1.1 Agreement for the Sustainable Reform of the Puerto Rico Police
                           Department
                      2.1.2 designing exams to measure cognitive activities
                      2.1.3 drafting questions that will measure knowledge, comprehension,
                           application, and analysis, and
                      2.1.4 designing and preparing question banks for each topic that will
                           be examined.

                      Paragraphs 12, 21, and 143

 Due Date             Activity was carried out in June 2016. The next dates will be set once
                      the Superintendent constitutes the Exams Board.

 TCA Assessment       The PRPB met the formal requirement of developing the training
                      program. This activity was revised in working session of July/2018. No
                      comment was made on it.

 Recommendations      Continue review of training materials in accordance with Agreement
                      requirements. The TCA would like to train members of the Board on the
                      requirements of the Agreement (2.1.1)

 TCA Rating           Timeframe was met.

                      The Commonwealth of Puerto Rico is in full compliance with this step
                      of the Action Plan




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Activity III.II.3.1

  III.II.3.1          With the purpose of professionalizing the personnel who perform
                      supervisory and management tasks, training courses will be developed to
                      provide them with the resources needed to carry out effective and direct
                      supervision in accordance with the Constitution and laws of the U.S. and
                      the Commonwealth of Puerto Rico, and generally accepted police
                      practices. These training courses are contemplated in the Supervision and
                      Management Compliance Area Action Plan.

  Due Date            n/a

  TCA Assessment      This policy is part of the Supervision and Management Compliance Area
                      Action Plan.

  Recommendations     This activity was revised in working session of July/2018. No comment
                      was made on it.
  TCA Rating
                      This policy is part of the Supervision and Management Compliance Area
                      Action Plan.




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III. Training Implementation Objectives:

Activity III.III.1.1

  III.III.1.1            With the purpose of promoting the development of ethical judgment
                         and their professional development, the PRPB will implement training
                         courses for all its employees. In relation to MPRPBs, the training courses
                         will be focused on police ethics and integrity pursuant to generally
                         accepted police practices and applicable laws.

                         Paragraphs 12 and 21

  Due Date               Within the twelve (12) months following the final approval of the
                         training material and the incorporation of the recommended changes,
                         the SAEA will simultaneously train fifty percent (50%) of PRPB personnel
                         through its certified instructors, with the collaboration of personnel
                         from Ethical Judgment Development Center (CDPE, Spanish acronym)
                         at the Office of Government Ethics to develop ethical and professional
                         standards and values. The remaining fifty percent (50%) of the PRPB
                         personnel will be trained within the following twelve (12) months, once
                         the training of the first group has been completed. Training will begin
                         on the date indicated in the announcement issued by the SAEA and the
                         training plan provided by each police area and auxiliary
                         superintendency once approved by SAEA. (Table 8)

                         Training courses will be implemented as indicated in Appendix C –
                         Training Implementation Process.
  TCA Assessment         Except for the training on General Order 617: MPRPB Code of Ethics
                         (1.1.1), trainings were scheduled to begin between February 2017 to June
                         2017. However, the PRPB continues in the development phase of the
                         materials needed for these training.

                         GO 617 training is underway. The PRPB statistics show 93% compliance
                         in Code of Ethics training.

  Recommendations        PRPB must complete all remaining ethical trainings


  TCA Rating             Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe
                         for 1.1.2 through 1.1.9 has not been met.




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               Having met the 50% requirement on or before October 2016, the
               Commonwealth of Puerto Rico is in full compliance with G.O 617
               training. With 99% current compliance, the Commonwealth of Puerto
               Rico is well underway to achieve full compliance by March 2018.

               The Commonwealth of Puerto Rico is in non-compliance with 1.1.2
               through 1.1.9 during this reporting period.




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Activity III.III.1.2

  III.III.1.2          1.2 The PRPB will begin by training MPRPBs who are first responders and
                            provide direct service to communities:
                       1.2.1 personnel assigned to Zones of Excellence (SAOC)
                       1.2.2 Bureau of Drugs, Narcotics, Vice Control, and Illegal Weapons
                       (SAIC)
                       1.2.3 districts, precincts, and posts (SAOC).

                       Paragraphs 14, 16, 17, 19, and 20

  Due Date             Training courses will be implemented as indicated in Appendix C –
                       Training Implementation Process.
  TCA Assessment       Except for the training on General Order 617: MPRPB Code of Ethics
                       (1.1.1), trainings were scheduled to begin between February 2017 to June
                       2017. However, the PRPB continues in the development phase of the
                       materials needed for these training.

                       GO 617 training is underway. The PRPB statistics show 93% compliance
                       in Code of Ethics training.

  Recommendations      PRPB must complete all remaining ethical trainings.


  TCA Rating           Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe
                       for 1.1.2 through 1.1.9 has not been meet.

                       For SAOC and SAIC, having met the 50% requirement on or before
                       October 2016, the Commonwealth of Puerto Rico is in full compliance
                       with G.O 617 training. With above 90% current compliance,
                       respectively, both SAOC and SAIC units are well underway to achieve
                       full compliance by March 2018.

                       The Commonwealth of Puerto Rico is in non-compliance with 1.1.2
                       through 1.1.9 during this reporting period.




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Activity III.III.1.3

 III.III.1.3           The PRPB will continue training by giving priority to the MPRPBs who
                       belong to the following Divisions and Units:

                                1.3.1 Division of Tactical Operations (DTO) (SAOC)
                                1.3.2 Division of Special Weapons and Tactics (SWAT) (SAOC)
                                1.3.3 Bureau of Highway Patrols (SAOC)
                                1.3.4 Bureau of Vehicle Theft Investigations (SAIC)
                                1.3.5 Arrests and Extraditions Division (SAIC)
                                1.3.6 Force Investigation Unit (FIU) (SARP)
                                1.3.7 Members of Joint Task Forces (SAIC)
                                1.3.8 K-9 Division (SAIC)
                                1.3.9 remaining personnel of the Auxiliary Superintendency for
                                       Field Operations
                                1.3.10 remaining personnel of the Auxiliary Superintendency for
                                        Criminal Investigations
                                1.3.11 Auxiliary Superintendency for Professional Responsibility
                                1.3.12 Auxiliary Superintendency for the La Fortaleza Police, and
                                1.3.13 Auxiliary Superintendency for Managerial Services

                       Paragraphs 12 and 21

 Due Date              Training courses will be implemented as indicated in Appendix C – Training
                       Implementation Process.
 TCA Assessment        Except for the training on General Order 617: MPRPB Code of Ethics (1.1.1),
                       trainings were scheduled to begin between February 2017 to June 2017.
                       However, the PRPB continues in the development phase of the materials
                       needed for these training.

                       GO 617 training is underway. The PRPB statistics show 93% compliance in
                       Code of Ethics training.

 Recommendations       PRPB must complete all remaining ethical trainings


 TCA Rating            Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe for
                       1.1.2 through 1.1.9 has not been met.

                       Having met the 50% requirement on or before October 2016, the
                       Commonwealth of Puerto Rico is in full compliance with G.O 617 training.


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               With 93% current compliance, the Commonwealth of Puerto Rico is well
               underway to achieve full compliance by March 2018.

               The Commonwealth of Puerto Rico is in non-compliance with 1.1.2 through
               1.1.9 during this reporting period.




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Activity III.III.2.1

  III.III.2.1          Through the Auxiliary Superintendency for Education and Training
                       (SAEA), the PRPB will create a Training Program for all members of the
                       Promotion Exams Board to guarantee that promotions in the PRPB are
                       in accordance with equal employment opportunity principles and non-
                       discrimination laws. (Table 9)

                       Paragraphs 14, 16, 17, 19, and 20

  Due Date             The first Exams Board established after the Agreement was trained in
                       March 2015. The next dates will be 60-90 days after the Superintendent
                       constitutes a new Promotion Exams Board.
  TCA Assessment       The training was adequate to the Task.

  Recommendations      n/a


  TCA Rating           Timeframe was met.

                       The Commonwealth of Puerto Rico is in full compliance with this step
                       of the Action Plan.




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IV. Implementation Objectives:

Activity III.IV.1.1

  III.IV.1.1            The PRPB will establish a working group constituted by a representative
                        from the auxiliary superintendency and from each auxiliary
                        superintendent. The leader of the working group will be the Auxiliary
                        Superintendent for Managerial Services, who will be responsible for
                        developing a work plan that will define the responsibilities of each
                        member of the working group and allow for conducting a personnel and
                        resources allocation study that will result in an effective assignment of
                        the personnel. The purpose of the study is to consider the appropriate
                        number of personnel in the rank and classified systems to fulfill the
                        operational and administrative work necessary to fight crime. The
                        results of the study will help to appropriately distribute all PRPB
                        personnel and to group tasks, which will redound in: reducing costs,
                        hiring and promotion processes, redirecting work and appropriately
                        deploying personnel in work units based on service demands,
                        availability, and the feasibility of the community policing philosophy.
                        (Table 10)

                        Paragraphs 13, 80, 87, 135, 136, and 137

  Due Date              December 2016

  TCA Assessment        The PRPB noted in the Plan that they had sufficient internal human
                        resources and no obstacles were anticipated. However, there was no
                        commitment from PRPB leadership to get this activity done in a timely
                        fashion.

                        The Working Group was constituted last semester, prior to the
                        compliance date established by the Action Plan.

                        The Work Plan of the Working Group team was sent for review
                        December 2017; and, reviewed and discussed by the TCA in January
                        2017.

                        The Working Group drafted the Request for Proposal (RFP) necessary
                        for the hiring of the consultant that will carry out the study required in
                        paragraph 13 of the Agreement.


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                  The contract for the consultant that will carry out the study was
                  executed in April. The selected consultant began to work on the study
                  in May 2017.

                  In the last revision of the Professionalization Action Plan, the
                  compliance date for the delivery of the study was changed to December
                  2017.

                  The TCA understands that the delays in the fulfillment of Paragraph 13
                  had a negative impact in the decision making in the PRPB. The
                  completion of the study is essential for the PRPB to improve its level of
                  compliance with all areas covered by the Agreement.


Recommendations   See Section III of the TCA Sixth Report

TCA Rating        Timeframe was met.

                  The Commonwealth of Puerto Rico is in full compliance with the step
                  of the Action Plan.




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Activity III.IV.1.2

  III.IV.1.2          Conduct a study of PRPB human resources, taking into consideration
                      their status and the operational and administrative work performed by
                      employees to identify existing needs and subsequently in decision-
                      making. (Table 11)

                      Paragraphs 13, 80, 87, 135, 136, and 137

  Due Date            April 2018 [original December 2017]

  TCA Assessment      See Message from the TCA and TCA Sixth Report.

  Recommendations     See Message from the TCA and TCA Sixth Report.

  TCA Rating          Original timeframe was not met. There is a new deadline that was met.

                      From the perspective of the TCA, the Commonwealth has been non-
                      compliant for most of the reporting period. The progress made in the
                      first three months of 2018 changed that. At present, the
                      Commonwealth of Puerto Rico is in full compliance with the step of the
                      Action Plan.




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Activity III.IV.1.3

  III.IV.1.3          The superintendent will make decisions regarding the reassignment of
                      human resources, the opening of new announcements for promotions,
                      and/or recruitment of personnel that are consistent with the
                      community policing principles of equality and non-discrimination and in
                      accordance with generally accepted police practices based on service
                      needs so that the PRPB can fulfill its mission. This plan will be based on
                      the study that will be conducted. (Table 12)

                      Paragraphs 13, 80, 87, 135, 136, and 137

  Due Date            December 2018 [Original: December 2017]

  TCA Assessment      See Message from the TCA and TCA Sixth and Seventh Report. The Plan
                      was sent on September 16, 2018. This is item 1 in the extension request.
                      Contract in place.

  Recommendations     See Message from the TCA and TCA Sixth Report.


  TCA Rating          Original timeframe was not met. There is a new deadline that was met.

                      From the perspective of the TCA, the Commonwealth has been non-
                      compliant for most of the reporting period. The progress made in the
                      first three months of 2018 changed that. At present, the
                      Commonwealth of Puerto Rico is in partial compliance with the step of
                      the Action Plan. It is unclear how community policing principles are fully
                      incorporated in the workplan and what decisions the Police
                      Commissioner will ultimately make.




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Activity III.IV.2.1


  III.IV.2.1          The superintendent will appoint the members of the Promotion Exams
                      Board to carry out the procedures related to promotion exams
                      established by regulation. The PRPB will develop the promotion exams
                      in consultation with the TCA based on generally accepted police
                      practices and the applicable federal and state law.

                      Select and appoint the members of the Promotion Exams Board.
                      (Table 13)

  Due Date            6-12 months prior to the date of the Promotion Exams Announcement
                      once determined by the superintendent, after considering the needs
                      and allocation of fiscal resources for said purpose. The Promotion
                      Exams Board is constituted by the superintendent while there are
                      promotion exams scheduled; once the exams are administered, the
                      Board will be dissolved.
  TCA Assessment      For additional information on promotions, see TCA Sixth Report



  Recommendations     For the recommendations of the TCA regarding promotions, see TCA
                      Sixth Report
  TCA Rating          Timeframe was met.

                      The Commonwealth of Puerto Rico is in full compliance.




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Activity III.IV.2.2

                      The SAEA will offer consultation for the development and
  III.IV.2.2          administration of promotion exams to ensure that they are tailored to
                      generally accepted learning performance measurement standards. It
                      will also evaluate performance-related qualifications in accordance with
                      the needs of the rank, as established in the Agreement for the
                      Sustainable Reform of the PRPB and in applicable policies and
                      procedures. (Table 14)

  Due Date            The first Exams Board constituted after the Agreement was trained in
                      March 2015. The next dates will be 60-90 days after the superintendent
                      constitutes a new Promotion Exams Board.
  TCA Assessment      For additional information on promotions, see TCA Sixth Report

  Recommendations     For the recommendations of the TCA regarding promotions, see TCA
                      Sixth Report
  TCA Rating          Timeframe was met.

                      The Commonwealth of Puerto Rico is in full compliance.




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Activity III.IV.2.3

  III.IV.2.3          The Promotion Exams Board will develop the tests for the candidates to
                      promotion and it will also organize and carry out all activities related to
                      the administration and scoring of said tests. (Table 15)

  Due Date            Session I: Sergeant: August 29, 2015
                      Session II: Captain and Lieutenant I: October 24, 2015
                      Session III: Lieutenant II: December 5, 2015

                      The date of the Promotion Exams Announcement will depend on the
                      needs identified and the fiscal resources allocated for said purpose.

                      Exams will be completed on the date determined by the Promotion
                      Exams Board.
  TCA Assessment      For additional information on promotions, see TCA Sixth Report

  Recommendations     For the recommendations of the TCA regarding promotions, see TCA
                      Sixth Report
  TCA Rating          Timeframe was met.

                      The Commonwealth of Puerto Rico is in full compliance.




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V. Self-Assessment Objectives:
Activity III.V.1.1

 III.IV.1.1             1.1 The PRPB, through the Office of Reform, will use various data
                            collection strategies and will conduct periodic, specific, and random
                            monitoring of the different activities, operations, services,
                            investigations, and training courses it provides, starting with Zones
                            of Excellence and gradually continuing through all thirteen (13)
                            police areas and offices of auxiliary superintendents, such as:

                                 1.1.1   Use the training plan and the training announcement
                                         issued by the SAEA for each of the courses to identify
                                         their start date, the time police areas and the
                                         corresponding auxiliary superintendencies have to
                                         complete the training, and the work units that will be
                                         given training priority. The training plans for each of
                                         the thirteen (13) police areas and Auxiliary
                                         Superintendencies, as approved by the SAEA, will also
                                         be considered to check the specific dates during which
                                         each training course identified in this Action Plan will
                                         be provided. The Office of Reform will verify that
                                         MPRPBs are participating in scheduled training courses
                                         by using the above-mentioned sources and the
                                         attendance records for each course.
                                 1.1.2   Making random visits to each of the thirteen (13) police
                                         areas and auxiliary superintendencies using the
                                         training plan approved by the SAEA for each of the
                                         training courses developed for this Compliance Area in
                                         order to guarantee that PRPB personnel are being
                                         trained in accordance with the syllabi, instructor
                                         handbooks, presentation, and approved assessment
                                         methodology.

                           1.2   The PRPB, through the Office of Reform, will use various data
                                 collection strategies and conduct periodic, specific, and
                                 random monitoring of the different activities, operations,
                                 services, investigations, training courses it provides, such as:

                                         1.2.1 On an annual basis, compiling a random sample
                                         of data from the Human Resources System and

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                                             comparing it to the data obtained from the reports of
                                             the auxiliary superintendencies to ensure that the
                                             System is maintained up-to-date with transfers and
                                             new assignment of duties.
                                     1.2.2   Monitoring the distribution of personnel as they were
                                             reassigned by visiting the various work units.
                                     1.2.3   Compiling information about personnel who are about
                                             to retire or resign to determine vacancy needs.

                                1.3 On a biannual basis, compiling a random sample of the work
                                    MPRPBs are carrying out to make sure they are performing the
                                    duties corresponding to their ranks. (Table 16)

  Due Date                Ongoing, Not applicable

  TCA Assessment          The PRPB Report adequately documents PRPB’s self-assessment
                          process. PRPB must review more closely the reliability of data to be
                          used in the paragraph 13 study. It should also more closely monitor data
                          from the evaluation of 2015 and 2016 promotions.

  Recommendations         n/a


  TCA Rating              Timeframe was met

                          The Commonwealth of Puerto Rico is in partial compliance.




VI. Budget:

TCA Assessment: The Commonwealth of Puerto Rico is in partial compliance with this step of the
Action Plan for the reasons described in the message of the TCA



VII. Revision of the Action Plan:

TCA Assessment: no applicable




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                    Compliance Tables for Use of Force Action Plan

                  Section IV. Use of Force: Internal Controls and Accountability
                                      Requirements: 22 to 57


I.          Policy and Procedure Development Objectives:

Activity IV.I.1.1

 IV.I.1.1                 Review General Order, Chapter 600, Section 603, entitled “Use and Handling of
                          Impact Weapons.” (Table 1)

                          Paragraphs 22,23, 24(G), and 53

 Due Date                 February 2015. The current effective date is 6/13/2018.

 TCA Assessment           General order Chapter 600, Section 603 Use and Management of Impact
                          Weapons was approved by the Superintendent on January 31, 2015.

                          To date, 96% of members of the PRPB have been trained based on PRPB’s self-
                          reported data. Attachment 13 of the Status Report. Based on Attachment 14 of
                          the Status Report, the percentage is 99%

                          The statement members of the PRPB does refer to the entire PRPB irrespective
                          of rank or division. It is applicable to all sections where the TCA assesses training
                          compliance. The source of the information is the PRPB Police Academy. The
                          information is derived solely from the PRPB; however, the Core Team members
                          during their site visits to Area Commands verify their training numbers.

                          The PRPB reports that virtual re-training is already developed as of 6/29/2018.
                          Training is at 96-99%.

 Recommendations          The TCA will continue the bi-annual review process in accordance with
                          Agreement requirements.

 TCA Rating               Timeframe was met

                          The Commonwealth of Puerto Rico is in full compliance with this step of the
                          Action Plan




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Activity IV.I.1.2

 1.2                  Review General Order, Chapter 600, Section 604, entitled “Use and Handling
                      of Chemical Agents.” (Table 2)

                      Paragraphs 22,23, 24(E), 25, and 53

 Due Date             January 2015. The current effective date is 4/24/2018

 TCA Assessment       General Order Chapter 600, Section 604 Use and management of Chemical
                      Agents was approved by the Superintendent on March 27, 2015.

                      To date, 93% of members of the PRPB have been trained. Virtual training has
                      started.

 Recommendations      The TCA will continue annual review process in accordance with Agreement
                      requirements

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this step of the
                      Action Plan




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Activity IV.I.1.3

 IV.I.1.3           Develop General Order to establish the Force Review Boards. (This policy
                    became General Order, Chapter 500, Section 502, entitled “Creation of Force
                    Review Boards of the Puerto Rico Police Department”). (Table 3)

                    Paragraphs 22, 46 through 47, 53

 Due Date           July 2015. The current effective date is 11/01/2016

 TCA Assessment     General Order Chapter 500, Section 502 creating review Boards to Evaluate
                    Incidents of Use of Force by PRPB Members was approved by Superintendent
                    on July 16, 2015.

                    To date, all board members have been trained by the PRPB Academy, including
                    non-voting legal advisors.

                    The reference to all board members is a reference to second lieutenants and
                    above ranks of the PRPB assigned to Area Command Force Review Boards (FRB).
                    They are required not only to be trained on the policy establishing the Board,
                    but also on the use of force related policies.

                    Annual review was sent on June 30, 2018.


 Recommendations    The TCA will continue annual review process in accordance with Agreement
                    requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the
                    Action Plan




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Activity IV.I.1.4

 IV.I. 1.4          Review General Order 2004-3 entitled “Rules and Procedures for the Use,
                    Carrying, Maintenance, Changing, Seizure, Reassignment, and Disposal of Police
                    Service Weapons” to turn it into the General Order entitled “Use and Handling of
                    Service Weapons.” (This policy was partially repealed by General Order, Chapter
                    600, Section 618, entitled “Use and Handling of Service Weapons.” The section
                    on rearming remains in effect.) (Table 4)

                    Paragraphs 22,23, 24(B), 26, and 53

 Due Date           July 2015. The current effective date is 6/27/2018

 TCA Assessment     General Order Chapter 600 Section 618 Use and Management of Regulation
                    Firearm was signed by Superintendent on June 1, 2015.

                    This policy involves Bureau-issued firearms. Much of the policy addresses
                    administrative requirements. Members of the Bureau are required to qualify in
                    “daylight shooting” and “night shooting”. These trainings, which are held
                    different times of the year at the PRPB’s Firearms Range have a classroom
                    component as well. Members of the Bureau are required to complete the training
                    yearly. Training compliance is 99%.

 Recommendations    The TCA will continue annual review process in accordance with Agreement
                    requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the
                    Action Plan




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Activity IV.I.1.5

 IV.I.1.5           Review General Order, Chapter 600, Section 602, entitled “Use and Handling of
                    Electronic Control Weapon.” (Table 5)

                    Paragraphs 22,23, 24(D), and 53

 Due Date           December 2014. The current effective date 8/24/2016.

 TCA Assessment     General Order Chapter 600, Section 602, Use and Management of Electronic
                    Control Device was approved by the Superintendent on April 10, 2015.

                    Training and retraining commenced on November 30, 2015.

                    To date, 93% of members of the Bureau have been trained on the policy.

                    Various personnel throughout the Bureau have been trained and issued electronic
                    control devices (taser). Not all personnel have been issued the device, partly due
                    to the fact that PRPB is purchasing them in blocks. The devices have been
                    distributed throughout the various commands and units within the PRPB.

                    -The PRPB reports that virtual re-training is already developed.
                    -Training in virtual platform started on June 29, 2018.


 Recommendations    The TCA will continue annual review process in accordance with Agreement
                    requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the Action
                    Plan




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Activity IV.I.1.6

 IV.I.1.6           Review General Order, Chapter 600, Section 601, entitled “Rules for the Use
                    of Force by MPRPBs” to incorporate the recommendations of the TCA and
                    USDOJ. (Table 6)

                    Paragraphs 22,23, 24, and 53

 Due Date           April 2015. The current effective data is 8/24/2016.

 TCA Assessment     PRPB prepared General Order Chapter 600, Section 601, Use of Force. The
                    policy was approved and signed by the Superintendent.

                    To date, 99% of members of the Bureau have been trained on the policy

                    This policy was approved at the same time as G.O. 600-605 Report and
                    Investigating Use of Force Incidents (June 1, 2015). The policy was last revised
                    on February 28, 2018.

                    -The PRPB reports that virtual re-training is already developed.
                    -Training in virtual platform started on June 29, 2018.


 Recommendations    The TCA will continue the bi-annual review process in accordance with
                    Agreement requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the
                    Action Plan




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Activity IV.I.1.7

 IV.I.1.7           Review General Order, Chapter 600, Section 605, “Report and Investigation of Use-
                    of-Force Incidents by Members of the Puerto Rico Police Department” to
                    incorporate the recommendations of the TCA and USDOJ. The PRPB established in
                    this Policy the disclosure of information to the members of the families of the
                    civilians involved in an incident where there was use of force. (Table 7)

                    Paragraphs 22,23, 24, 36 through 39, and 53

 Due Date           April 2015. The current effective date is 8/24/2016

 TCA Assessment     General Order Chapter 600, Section 605, Reporting and Investigating Use of Force
                    Incidents by PRPB Members was approved by the Superintendent on June 1, 2015.

                    To date, 91% of members of the Bureau have been trained on the policy.

                    The PRPB reports that virtual re-training is already developed.

                    Training in virtual platform started on June 29, 2018.


 Recommendations    The TCA will continue annual review process in accordance with Agreement
                    requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the Action
                    Plan




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Activity IV.I.1.8


 IV.I.1.8           Develop General Order to Create Force Investigation Unit (FIU). (This policy
                    became General Order, Chapter 100, Section 113, entitled “Force Investigation
                    Unit (FIU).”) (Table 8)

                    Paragraphs 22, 48 through 53

 Due Date           June 2015. The current effective date is 2/11/2016

 TCA Assessment     PRPB drafted General Order Chapter 100, Section 113, creation of Force
                    Investigating Unit (FIU).

                    The members of FIU have been selected. To date, 100% of FIU personnel have
                    been trained on use of force policies (GO Chapter 600, Sections 601 & 605).
                    100% have been trained in force related policies.

                    The annual review has been stopped. PRPB reports that the revision is
                    pending further meetings with staff of the Division. The Division must certify
                    that its staff is in compliance with all trainings use of force


 Recommendations    The TCA will continue annual review process in accordance with Agreement
                    requirements
 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this step of the
                    Action Plan




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Activity IV.I.1.9


 IV.I.1.9           Review General Order 73-4 entitled “Rules and Procedures for the Tactical
                    Operations Unit.” The Order will include the requirements for eligibility and
                    permanence in specialized units, as well as the recruitment and selection
                    processes that must be followed. It will also include the requirement of
                    documenting activities related to mobilizations and/or activations, as well as
                    the reporting requirement after they are carried out. (This General Order was
                    repealed by General Order, Chapter 100, Section 112, entitled “Reorganization
                    of Tactical Operations Units.”) (Table 9)

                    Paragraphs 22,23, 27 through 31, and 53

 Due Date           July 2015. The current effective date is 7/30/2017.


 TCA Assessment     General Order Chapter 100, Section 112, Reorganization of the Tactical
                    Operations Division (DOT) was approved by the Superintendent on January
                    2016.

                    The PRPB had difficulty with the policy itself, relating to the requirement to
                    qualify for DOT. This caused all related policies to be delayed. Many of the
                    existing personnel who were assigned to DOT could not pass the physical
                    portion of the exam as outlined in the policy.

                    On August 31, 2017, the then Commissioner signed this policy of the Tactical
                    Operations Division (DOT for its acronym in Spanish). This is the first revision
                    of this policy, which in its previous version was tempered for the first time to
                    the Agreement, at the same time the General Order 73-4, titled, “Rules and
                    Procedures for the Tactical Operations Unit” was repealed.

                    Trainings Names: DOT 101; DOT 603; DOT 604; PTF 100; PTF 112 y FEMA.
                    Based on PRPB data, there is a 99% compliance with training.


 Recommendations    The TCA will continue bi-annual review process in accordance with Agreement
                    requirements

 TCA Rating         The PRPB missed the initial deadline and the policy was delayed. However,
                    the timeframe is now met.

                    The Commonwealth of Puerto Rico is in full compliance with this step of the
                    Action Plan




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Activity IV.I.1.10

 IV.I.1.1.10         Develop the General Order for the Mobilization of the Division of Special Weapons
                     and Tactics (SWAT). The Order will include the requirements for eligibility and
                     permanence in the Division, as well as the recruitment and selection processes that
                     must be followed. It will also include the requirement of documenting activities
                     related to mobilizations and/or activations, as well as the reporting requirement
                     after they are carried out. (This policy became General Order, Chapter 100, Section
                     117, entitled “Reorganization of the Division of Special Weapons and Tactics
                     (SWAT).”) (Table 10)

                     Paragraphs 22, 27 through 31, and 53

 Due Date            August 2015. The current effective date is 8/31/2017.

 TCA Assessment      General Order 100, Section 117, Reorganization of the Division of Special Weapons
                     and Tactics (SWAT) was approved by the Superintendent on January 2016.

                     The PRPB had difficulty with the policy itself, relating to the requirement to qualify
                     for DOT. This caused all related policies to be delayed. Many of the existing
                     personnel who were assigned to DOT could not pass the physical portion of the
                     exam as outlined in the policy.

                     On August 31, 2017, the Police Commissioner signed the new version of this General
                     Order.

                     The revision of this order meets, for the second time, the provisions of the Use of
                     Force Action Plan.

                     Trainings Names: SWAT PAF; SWAT CONF; SWAT DD; SWAT IROX. However, there
                     is no sufficient information regarding training.


 Recommendations     The TCA will continue annual review process in accordance with Agreement
                     requirements

 TCA Rating          The PRPB missed the initial deadline and the policy was delayed. However, the
                     timeframe is now met.

                     The Commonwealth of Puerto Rico is in full compliance with this step of the Action
                     Plan




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Activity IV.I.1.11

 IV.I.1.11           Develop General Order for the Use of Less-Lethal Munitions and Any Other
                     Technology. (This policy became General Order, Chapter 600, Section 620,
                     entitled “Rules and Procedures for the Use of Specialized Weapons by
                     Members of the Specialized Tactical Units (STUs).”) (Table 11)

                     Paragraphs 22, 23, 24(F) and 24(H), and 53

 Due Date            October 2015. The current effective date is 08/31/2017

 TCA Assessment      PRPB drafted General Order Chapter 600, Section 620, Procedure for the Use
                     of Intermediate and Specialized Weapons (less than lethal).

                     The policy went in to effect in February of 2016.

                     On August 31, 2017, the then Commissioner signed the new version of this
                     General Order.

 Recommendations     The TCA will continue bi-annual review process in accordance with Agreement
                     requirements.


 TCA Rating          The PRPB missed the initial deadline and the policy was delayed. However,
                     the timeframe is now met.

                     The Commonwealth of Puerto Rico is in full compliance with this step of the
                     Action Plan




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Activity IV.I.1.12

 IV.I.1.12           Develop General Order for Crowd Control and Incident Management. (This
                     policy became General Order, Chapter 600, Section 625, entitled “Crowd
                     Control and Management.”) (Table 12)

                     Paragraphs 22, 32 through 35, and 53

 Due Date            October 2015. Current Effective Date: 04/19/2016

 TCA Assessment      The policy was signed by the Superintendent April 2016.

 Recommendations     The TCA will continue annual review process in accordance with Agreement
                     requirements.
 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of the
                     Action Plan




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Activity IV.I.1.13

 IV.I.1.13           Review General Order, Chapter 600, Section 607, entitled “Rules to Initiate
                     and Manage Foot Pursuits by Members of the PRPB.” (This General Order
                     became General Order, Chapter 600, Section 623, entitled “Rules for the
                     Management of Police Pursuits.”)

                     Paragraphs 22, 23, and 53

 Due Date            November 2015. The Current Effective Date: 03/17/2016

 TCA Assessment      Incorporated into the Vehicle Pursuit policy.

                     -This activity was revised in working session with PRPB of July/2018.
                     -This general order integrated the General Orders 607 and 609.
                     -The trainings of this general order began on January 16, 2016. Training is at
                     80%.
                     -This order has been revised and is pending to be signed by the
                     Commissioner. It wasn’t indicated since when it’s pending for the signature.



 Recommendations     The TCA will continue annual review process in accordance with Agreement
                     requirements. See 1.14 (Signed by the Superintendent March 2016)
 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of the
                     Action Plan




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Activity IV.I.1.14

 IV.I.1.14           Review General Order, Chapter 600, Section 609, entitled “Driving Vehicles in
                     Emergency Situations and Police Pursuits.” (This General Order became General
                     Order, Chapter 600, Section 623, entitled “Rules for the Management of Police
                     Pursuits.”) (Table 14)

                     Paragraphs 22, 23, and 53

 Due Date            November 2015. The Current Effective Date: 03/17/2016

 TCA Assessment      Signed by the Superintendent March 2016. Expanded to include foot pursuits.

                     -This activity was revised in working session of July/2018.
                     -This general order integrated the General Orders 607 and 609.
                     -The trainings of this general order began on January 16, 2016. Training is at 80%
                     -This order has been revised and is pending to be signed by the Commissioner. It
                     wasn’t indicated since when it’s pending for the signature.


 Recommendations     The TCA will continue annual review process in accordance with Agreement
                     requirements

 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of the
                     Action Plan




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Activity IV.I.1.15

 IV.I.1.15           Protocol to Regulate K-9 [Officers] in Patrolling Duties. This policy became
                     General Order, Chapter 100, Section 116, entitled “Reorganization of the K-9
                     Division.” (This GO repealed GO 2010-5, entitled “Reorganization of the K-9
                     Division and Creation of the K-9 Training Center.”). (Table 15)

                     Paragraphs 22, 23, 24 (C), 111(A), and 53

 Due Date            September 2015. Current Effective Date: 04/19/2017

 TCA Assessment      Signed by the Superintendent January 2016.

                     -This activity was revised in working session of July/2018.
                     - The PRPB informed that in June / 2018 and August / 2018 all the personnel of
                     the Canine Division were recertified, including the Kennel Master. This
                     information has been verified.



 Recommendations     The TCA will continue annual review process in accordance with Agreement
                     requirements
 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step of the
                     Action Plan




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II.         Data Collection and Reporting Objectives:

Activity IV.II.1.1

 IV.I.1.1                Develop an information sub-system for the compilation and monthly review of use-
                         of-force incidents using the Criminal Incidence [Data] Collection Information
                         System as a reference. The printed forms used for said purposes, such as Form PPR-
                         854, Use of Force, and Form PPR-877, Supplementary Report, will also be
                         considered. The instrument will document, among other things, a detailed
                         description of the incident and the acts that led to the use of force, any injury to
                         an arrestee or allegation of excessive use of force, and the measures taken to treat
                         the injured. Likewise, any MPRPB who is involved in a use-of-force incident will be
                         under the obligation to notify his or her supervisor immediately unless exigent
                         circumstances exist.

                         This sub-system will be contemplated in the Criminal Incidence Data Collection
                         System included in the Equal Protection and Non-Discrimination Action Plan. Said
                         sub-system will be initially implemented in Zones of Excellence and gradually in all
                         work units, as established in the Information Systems and Technology Compliance
                         Area Action Plan. (Table 16)

                         Paragraphs 36 through 39 and 41 through 52

 Due Date                12 months (once NIBRS and any other policies affecting System are ready)
                         (Approximate date: January 2017)
 TCA Assessment          This activity is part of the Information Technology Compliance Area Action Plan.
                         The TCA has provided technical support to the PRPB in the development of
                         informational sub-systems, data collection methods, and practical implementation
                         of forms.

                         The TCA has monitored the implementation of the NIBRS policy and the
                         subsequent development of the sub-system. Sub-system developed in 2016 and is
                         currently operational.

                         Compliance with activity will depend on the Commonwealth‘s ability to implement
                         contracts executed to develop the crime data collection system mentioned in the
                         Equal Protection and Non-Discrimination Action Plan, since several modules or
                         instruments, such as the one mentioned here, will have to be developed together
                         with system. The TCA continue to have concerns about the ability of the
                         Commonwealth to execute these contracts. They should have been executed on
                         or before January 2017.

 Recommendations

 TCA Rating              This activity is part of the Information Technology Compliance Area Action Plan.
                         See rating there.


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Activity IV.II.1.2

 IV.II.1.2           Develop an information sub-system for the collection and monthly review of
                     information on the activation and mobilization of specialized tactical units (STUs)
                     that will include operational plans and subsequent reports. This sub-system will
                     be contemplated in the Criminal Incidence Data Collection System included in the
                     Equal Protection and Non-Discrimination Action Plan. (Table 30) Said information
                     sub-system will be initially implemented in the Police Areas in which the Zones of
                     Excellence are found and gradually in all other Police Areas, as established in the
                     Information Systems and Technology Compliance Area Action Plan. (Table 17)

                     Paragraphs 22, 23, 30, 31, and 41

 Due Date            12 months (once NIBRS and any other policies affecting System are ready)
                     (Approximate date: January 2017)
 TCA Assessment      This activity is part of the Information Technology Compliance Area Action Plan.
                     NIBRS manual has been approved. The General Order was approved in January
                     2016.

                     Reform Unit states manual has not yet been approved and is under review by
                     TCA. TCA approval memo pending. Superintendent will sign after TCA.

                     At this point the 36-month timeline for training will begin; however, Mobile CAD
                     is already in Pilot. The Pilot may go live in August 2017 with CAD. The subsystem
                     is done but training manual is not complete because the NIBRS manual is not
                     complete.

 Recommendations     With the NIBRS policy in effect, the PRPB should focus on their ability to
                     implement the data collection system contracts.

                     The Pilot should be validated during the demo scheduled for April 2018.
 TCA Rating          This activity is part of the Information Technology Compliance Area Action Plan.




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III.      Review and Investigation Objectives:

Activity IV.III.1.1

 IV.III.1.1            PRPB supervisors must complete the reviews and investigations on use of force
                       within no more than five (5) business days pursuant to the provisions of General
                       Order, Chapter 600, Section 605, entitled “Report and Investigation of Use-of-
                       Force Incidents by Members of the Puerto Rico Police Department,” in order to
                       determine whether the conduct of the MPRPBs was justified or in keeping with the
                       corresponding policies and procedures. (Table 18)
                       Paragraphs 36 through 40, 43 through 47, 137, 139, and 140



 Due Date              12 months (once NIBRS and any other policies affecting the System are ready)
                       (Approximate date: January 2017)
 TCA Assessment        The TCA Core Team continues to conduct site visits to ensure progress is being
                       made towards implementation in the field.
                       The TCA is also checking that all Use of Force Reports are maintained on file at
                       SARP/FIU.
                       The PRPB Reform Units reports they conduct similar activities
                       During the Core Team site visits to precincts/districts one of the
                       questions posed to Commanders was whether sergeants were
                       complying with this section of G.O. 600-605. The commanders
                       responded in the affirmative, however they could offer no
                       documentation.
                       The assessment difficulty here lies with the fact the use of force report
                       (PPR-854) cannot be copied, as per PRPB policy, therefore the
                       command has no documentation once the report leaves the command
                       through channels.
                       The Core Team provided in writing to PRPB the recommendation that a
                       log be established in the command where this information would be
                       entered. The log would then be available for inspection.

 Recommendations       The TCA will continue review in accordance with Agreement requirements

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this step of the
                       Action Plan. A more data-driven assessment could not be determined for this
                       activity based on the fact that there is no data collection which is in itself one of
                       the goals of the activity.




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Activity IV.III.1.2

 IV.III.1.2           The PRPB will use the information sub-system for the collection and monthly
                      review of use-of-force incidents so that use-of-force incidents, the reviews and
                      investigations of said incidents, and the information on the activation and
                      mobilization of the specialized tactical units (STUs) can be tracked in a reliable and
                      precise manner. This sub-system is included in the Equal Protection and Non-
                      Discrimination Action Plan; it will be initially implemented in Zones of Excellence
                      and gradually in all work units, as established in the Information Systems and
                      Technology Compliance Area Action Plan.

                      The PRPB will perform a complete analysis of use-of-force incidents on a yearly
                      basis to identify significant trends. This analysis will help correct the deficiencies
                      that are identified, pursuant to generally accepted police practices, the public
                      policy of the Agency, and federal and state law. (Table 19)

                      Paragraphs 30, 31, 41, and 91

 Due Date             June 2015

 TCA Assessment       Given the IT component necessary to carry out this task, the PRPB has not
                      developed a formal method.

                      PRPB has not, as of yet, developed a formal way to analyze use of force incidents,
                      although the Bureau’s FIU Unit, which the repository for all use of force reports,
                      maintains its own database. This database, developed by FIU, has been solely used
                      by FIU. The IT Section of the PRPB is developing/building an Early Intervention
                      System Component, that among other things will provide analysis of use of force
                      incidents, however to date it has not been completed.

 Recommendations      The TCA will continue review in accordance with Agreement requirements.

 TCA Rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this step of the Action
                      Plan. There is not a complete analysis of use-of-force incidents on a yearly basis
                      identifying significant trends.




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Activity IV.III.1.3

  IV.III.1.3          Perform a study to determine the number of supervisors needed to
                      comply with the requirement. This activity will be part of the
                      Professionalization Action Plan.

  Due Date            December 2017

  TCA Assessment      This activity will be part of the Professionalization Action Plan.


  Recommendations

  TCA Rating          This activity is part of the Professionalization Action Plan.




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IV.      Training Development Objectives:

Activity IV.IV.1.1

General statement. The Action Plan indicates how due dates for training courses will be
determined; but does not actually say what the due dates are. Once a policy is approved and
signed by Commissioner the clock starts. The PRPB Academy immediately prepares the training
module. The due dates for percentages of training, as required by the Agreement, are based on
the date the policy was signed.
As it relates to Use of Force policies and related policies the following are the dates (see
attachment 13 of the PRPB Status Report):
G.O.600-601 & 600-605 June 2018
G.O. 600-602 April 2018
G.O. 600-603 February 2018
G.O. 600-604 March 2018
G.O. 600-623 February 2019

 IV.IV.1.1              Review Training on the Use and Handling of Impact Weapons. (Table 20)

                        Paragraphs 22, 23, 24(G), and 53

 Due Date               Designing training courses corresponding to policies will begin once the policy
                        has been approved and signed in accordance with the process established in
                        Appendix B – Training Design Development Process.

 TCA Assessment         PRPB drafted the training module for impact weapons on June 30, 2015.
                        The module has been reviewed by the TCA and approved.
                        To date: 96% have been trained.
                        The policy has been approved and signed by Police Commissioner. The PRPB
                        Police Academy has prepared the training module. The due dates for
                        percentages of training, as required by the Agreement, are based on the date
                        the policy was signed. As it relates to this policy, G.O. 600-603, the date for
                        100% compliance is February 2018

 Recommendations        The TCA will continue to review training development in accordance with
                        Agreement requirements

 TCA Rating             Timeframe was met

                        The Commonwealth of Puerto Rico is in full compliance with this step with 96%
                        of members trained




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Activity IV.IV.1.2

 IV.IV.1.2           Develop Training on the Use and Handling of Chemical Agents. (Table 21)

                     Paragraphs 22, 23, 24(E), and 53

 Due Date            Designing training courses corresponding to policies will begin once the policy
                     has been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

 TCA Assessment      The TCA had reviewed and approved the module. General Order Chapter 600,
                     Section 604, Use and Management of Chemical Agents was approved by the
                     Superintendent on March 27, 2015.

                     Field training of personnel began on November 22, 2015.

                     To date: 93% have been trained. (95% in prior report)

                     The policy has been approved and signed by the Police Commissioner. The
                     PRPB Academy has prepared the training module. The due dates for
                     percentages of training, as required by the Agreement, are based on the date
                     the policy was signed. As it relates to this policy, G.O. 600-604, the date for
                     100% compliance is March 2018.

 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements

 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.3

 IV.IV.1.3           Develop Training Program for Members of the Force Review Board and the
                     Superintendent’s Force Review Board (SFRB). (Table 22)

                     Paragraphs 46 and 47

 Due Date            Designing training courses corresponding to policies will begin once the policy
                     has been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.
 TCA Assessment      The TCA has reviewed and approved the module. As of December 2015, 100%
                     of the board members were trained, as well as the non-voting legal advisors.

                     Since that date, additional members have been added to the board to replace
                     members on the boards. They have all received the required training.

 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements.

 TCA rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step.




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Activity IV.IV.1.4

  IV.IV.1.4          Review Training on the Use and Handling of Service Weapons. The Training
                     Action Plan will include the mechanism to be used by the SAEA to record and
                     update who has taken the firearm training courses. (Table 37)

                     Paragraphs 22, 23, 24(B), 53, and 54

  Due Date           Designing training courses corresponding to policies will begin once the policy
                     has been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

  TCA Assessment     Training has been ongoing on the following schedule: Jan-March Night-
                     Training; April-September Day-Training; and Oct-Dec Rifle Training. Firearms
                     training is a yearly requirement.

                     It is expected that by the end of year all officers will have completed required
                     firearms training. The training modules for this policy were reviewed by the
                     TCA Core Team and approved by the TCA.

  Recommendations    The TCA will continue to review training development in accordance with
                     Agreement requirements

  TCA rating         Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step. The
                     only caveat is that this training is ongoing and yearly, so the rating can change.




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Activity IV.IV.1.5

  IV.IV.1.5          Review Training on the Use and Handling of Electronic Control Weapon. (Table
                     24)

                     Paragraphs 22, 24(D), and 53

  Due Date           Designing training courses corresponding to policies will begin once the policy
                     has been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

  TCA Assessment     The module has been approved by the TCA. General Order Chapter 600,
                     Section 602, Use and Management of Electronic Control Device was approved
                     by the Superintendent on April 10, 2015. Training and retraining commenced
                     on November 30, 2015. During site visits it was confirmed that all supervisors
                     were equipped with Tasers along with some selected agents. PRPB at this time
                     has a limited number of Tasers. To date, 93% of officers have been trained.

  Recommendations    The TCA will continue to review training development in accordance with
                     Agreement requirements

  TCA rating         Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.6

 IV.IV.1.6           Review Training on Use-of-Force Rules and Report and Investigation of Use-of-
                     Force Incidents by Members of the Puerto Rico Police Department. (Table 25)

                     Paragraphs 22, 24(A), and 53

 Due Date            Designing training courses corresponding to policies will begin once the policy has
                     been approved and signed in accordance with the process established in Appendix
                     B – Training Design Development Process.

 TCA Assessment      The module has been approved by the TCA. PRPB has prepared General Order
                     Chapter 600, Section 601, Use of Force. The policy has been approved and signed
                     by the Superintendent.
                     Training on G.O. 600-601 Use of Force and G.O. 600-605 Report and Investigation
                     of Use of Force commenced when the policies were signed by the Superintendent.
                     As of February 2018, 92% of the Bureau has been trained.

 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements

 TCA rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.7

 IV.IV.1.7           Develop Training for the Force Investigation Unit (FIU). (Table 26)

                     Paragraphs 48 through 53

 Due Date            Designing training courses corresponding to policies will begin once the policy
                     has been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

 TCA Assessment      The TCA has completed his review of the module and it has been approved.
                     The members of FIU have been selected. To Date: one hundred (100) percent
                     of FIU personnel have trained on use of force policies (GO Chapter 600,
                     Sections 601 & 605), all have been trained in force related policies.
                     In June 2016, FIU personnel began and completed training at the PRPB
                     Academy on criminal investigations.

 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements

 TCA rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.8

 IV.IV.1.8           Develop Multi-topic Training on the Mobilization of the Tactical Operations Unit.
                     (Table 27)

                     Paragraphs 22, 27 through 31, and 53

 Due Date            Designing training courses corresponding to policies will begin once the policy has
                     been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

 TCA Assessment      The module has been approved by the TCA. The General Order policy has been
                     finalized by PRPB with the approval of the TCA. The policy went in to effect in
                     February of 2016.
                     This Activity is included in the request for extension of activities not completed in
                     the Action Plans (document OS-4-OR-1-477 / Use of Force, number 2).
                     -The PRPB will deliver the training material on March 4, 2019.
                     -Refer to document SAEA-1-2-176 of July 23, 2018.

                     Training = 73% of officers


 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements

 TCA rating          Timeframe was not met. PRPB requested an extension.

                     The Commonwealth of Puerto Rico is in partial compliance with this step. Once
                     the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.IV.1.9


 IV.IV.1.9           Develop Multi-topic Training on the Mobilization of the Division of Special
                     Weapons and Tactics (“SWAT”). (Table 28)

                     Paragraphs 22, 27 through 31, and 53


 Due Date            Designing training courses corresponding to policies will begin once the policy has
                     been approved and signed in accordance with the process established in
                     Appendix B – Training Design Development Process.

 TCA Assessment      The Module has been developed by PRPB and approved by the TCA.

                     This Activity is included in the request for extension of activities not completed in
                     the Action Plans (document OS-4-OR-1-477 / Use of Force, number 2).
                     -The PRPB will deliver the training material on March 4, 2019.
                     -Refer to document SAEA-1-2-176 of July 23, 2018.


 Recommendations     The TCA will continue to review training development in accordance with
                     Agreement requirements

 TCA rating          Timeframe was not met. PRPB requested an extension until March 4, 2019.

                     The Commonwealth of Puerto Rico is in non-compliance with this step. Once the
                     Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.IV.1.10


 IV.IV.1.10           Develop Training on Special Weapons by Members of the Specialized Tactical
                      Units (STUs). (Table 29)

                      Paragraphs 22, 23, 24(F), 24 (H), and 53

 Due Date             Designing training courses corresponding to policies will begin once the policy
                      has been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

 TCA Assessment       The training has not been developed by PRPB and approved by the TCA.
                      Revisions of OG 600-625 are scheduled for April 2018. Training curriculum for
                      OG 625 (crowd control) is scheduled for May 2018. Training curriculum for OG
                      620 (specialized weapons) is scheduled for August 2018.

                      The PRPB will ask for an extension of approximately five or six months from
                      June 2018. This means that the training will be ready for implementation by
                      December 2018. At present, SWAT has been trained on OG 620 and OG 625,
                      but not STUs.

                      -This Activity is included in the request for extension of activities not completed
                      in the Action Plans
                      -The PRPB will deliver the training material on March 4, 2019.
                      -Refer to document SAEA-1-2-176 of July 23, 2018.
                      -Nevertheless, the PRPB informed that, trainings related to the General Order
                      112: Tactics and Operations and General Order 625: Management and Crowd
                      Control have started.


 Recommendations      The TCA will continue to review training development in accordance with
                      Agreement requirements

 TCA rating           Timeframe was not met. PRPB requested an extension until March 4, 2019.

                      T The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                      the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.IV.1.11


 IV.IV.1.11           Develop Training on Crowd Control and Management for MPRPBs and
                      Specialized Tactical Units (STUs). (Table 30)
                      Paragraphs 27 through 35, and 53


 Due Date             Designing training courses corresponding to policies will begin once the policy
                      has been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

 TCA Assessment       Revisions of OG 600-625 are scheduled for April 2018. Training curriculum for
                      OG 625 (crowd control) is scheduled for May 2018. Training curriculum for OG
                      620 (specialized weapons) is scheduled for August 2018.
                      The PRPB will ask for an extension of approximately five or six months from
                      June 2018. This means that the training will be ready for implementation by
                      December 2018. At present, SWAT has been trained on OG 620 and OG 625,
                      but not STUs.
                      -This Activity is included in the request for extension of activities not
                      completed in the Action Plans.
                      -The PRPB will deliver the training material on March 4, 2019.
                      -Refer to document SAEA-1-2-176 of July 23, 2018.



 Recommendations      The TCA will continue to review training development in accordance with
                      Agreement requirements

 TCA rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                      the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.IV.1.12


 IV.IV.1.12           Develop Training on Rules for the Management of Police Pursuits. (Table 31)

                      Paragraph 53

 Due Date             Designing training courses corresponding to policies will begin once the policy has
                      been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

 TCA Assessment       This has been incorporated into the Vehicle Pursuit Training Module

 Recommendations      The TCA will continue to review training development in accordance with
                      Agreement requirements. This activity was revised in working session of
                      July/2018. Training is at 80%. Compliance date is February 2019.
 TCA rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.13


 IV.IV.1.13           Develop Training on Driving Vehicles in Emergency Situations and Police
                      Pursuits. (Table 32)

                      Paragraph 53

 Due Date             Designing training courses corresponding to policies will begin once the policy
                      has been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

 TCA Assessment       The PRPB has developed the training module and it has been approved by the
                      TCA

 Recommendations      The TCA will continue to review training development in accordance with
                      Agreement requirements

 TCA rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.14

                      Develop Training for Patrol Dog Handlers. (Table 33)
 IV.IV.1.14
                      Paragraphs 22, 24 (C), and 53

 Due Date             Designing training courses corresponding to policies will begin once the policy
                      has been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

 TCA Assessment       The PRPB has developed the training module and it has been approved by the
                      TCA,

 Recommendations      The TCA will continue to review training development in accordance with
                      Agreement requirements

 TCA rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this step




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Activity IV.IV.1.15

                      Develop Training on the Use and Management of the Automated System to
 IV.IV.1.15           Prepare Electronic Incident Reports. This activity will be carried out pursuant
                      to the Equal Protection and Non-Discrimination Action Plan.

 Due Date             Designing training courses corresponding to policies will begin once the policy
                      has been approved and signed in accordance with the process established in
                      Appendix B – Training Design Development Process.

                      The PRPB informed that, the new compliance date will be November 9,
                      2018.

 TCA Assessment       PRPB is required to Develop Training on the Use and Management of the
                      Automated System to prepare Electronic Incident Reports. This is tied to
                      Information Technology and to date the system has been developed.
                      However, due to a lack of a formal training syllabus, it has not been
                      implemented bureau-wide.

 Recommendations

 TCA rating           This activity will be carried out pursuant to the Equal Protection and Non-
                      Discrimination Action Plan.

                      Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this step.




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V.          Training Implementation Objectives

Activity IV.V.1.1

                        To continue with professionalization, achieve a reduction in use-of-force incidents
 IV.V.1.1               and equality in the provision of services, and restore the community’s trust, the
                        PRPB will implement training, new policies and procedures, equipment,
                        technologies, and operational and administrative strategies.

                        Paragraphs 22, 23, 24, and 53

 Due Date               Within the twelve (12) months following the final approval of the training material
                        and the incorporation of the changes recommended, the SAEA will have its
                        certified instructors simultaneously train fifty percent (50%) of MPRPBs. The
                        remaining fifty percent (50%) of the MPRPBs will be trained within the following
                        twelve (12) months, once the training of the first group has been completed.
                        Training will begin on the date indicated in the Announcement issued by the SAEA
                        and the Training Plan provided by each Police Area and Office of the Assistant
                        Superintendent upon SAEA approval.

 TCA Assessment         PRPB is building an Early Intervention System (EIS) platform. The system when
                        functional will be an effective mechanism for enhancing accountability within the
                        PRPB. The system will be a database management tool designed to identify
                        officers in the PRPB whose performance exhibits potential problems, and to then
                        provide interventions, usually counseling or training. It is also a tool for
                        supervision management.

 Recommendations        n/a


 TCA Rating             n/a




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IV.V.1.1a         Training on the Use and Handling of Impact Weapons.

                  Paragraphs 22, 23, 24 (G), and 53

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

                  To date: 96% of the Bureau has been trained

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements

TCA Rating        Timeframe was met for phases I and II.

                  Having met the 50% requirement on or before October 2016, the PRPB was in
                  partial compliance. The PRPB was scheduled to achieve full compliance by
                  October 2017. Currently they are at 95% which is in the range of full
                  compliance.




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                   Training on the Use and Handling of Chemical Agents.
IV.V.1.1b
                   Paragraphs 22, 23, 24 (E), and 53

Due Date           Session #1: twelve (12) months after completion of training design process and
                   approval and incorporation of recommendations.
                   Session #2: twelve (12) months after completion of training of first group.

TCA Assessment     The TCA has been monitoring PRPB’s training schedules and monthly
                   statistical reports on training.

                   To date, 93% of the Bureau has been trained

Recommendations    TCA will continue to review training implementation in accordance with
                   Agreement requirements

TCA Rating         Timeframe was met for phases I and II.

                   Having met the 50% requirement on or before November 2016, the PRPB was
                   in partial compliance. The PRPB was scheduled to achieve full compliance by
                   November 2017. Currently they are at 95% which is in the range of full
                   compliance.




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IV.V.1.1c          Training for the Force Review Board and the Superintendent’s Force Review
                   Board (SFRB).

                   Paragraphs 46 and 47

Due Date           One hundred percent (100%) of members of FRBs and SFRB will be trained
                   within twelve (12) months following training design process and approval and
                   incorporation of recommendations.

TCA Assessment     The TCA has been monitoring PRPB’s training schedules and monthly
                   statistical reports on training.

                   The TCA has reviewed and approved the module. As of December 2015, 100%
                   of the board members were trained, as well as the non-voting legal advisors.

                   Since that date, additional members have been added to the board to replace
                   members on the boards, they have all received the required training.
Recommendations    TCA will continue to review training implementation in accordance with
                   Agreement requirements


TCA Rating         Timeframe was met

                   The Commonwealth of Puerto Rico is in full compliance with this detailed
                   step.




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IV.V.1.1d         Training on Use and Handling of Service Weapons. The Training Action Plan will
                  include the mechanism to be used by the SAEA to record and update who has
                  taken the firearm training courses.

                  Paragraphs 22, 23, 24 (B), 53, and 54

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

                  It is expected that by the end of year all officers will have completed required
                  firearms training.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements.
TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in full compliance with this detailed step.




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                  Training on the Use and Handling of Electronic Control Weapon.
IV.V.1.1e
                  Paragraphs 22, 23, 24 (D), and 53

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.



Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements.
TCA Rating        Timeframe was met for Phase I and II.


                  Having met the 50% requirement on or before December 2016, the PRPB was in
                  partial compliance. The PRPB was scheduled to achieve full compliance by
                  December 2017. Currently they are at 94% which is in the range of full
                  compliance.




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IV.V.1.1f         Training on Use-of-Force Rules and Investigation of Use-of-Force Incidents by
                  Members of the Puerto Rico Police Department.

                  Paragraphs 22, 23, 24 (A), and 53

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

                  Training for members of the Bureau in Use of Force Policy G.O. 600-601 and
                  Report and Investigating Use of Force G.O. 600-605 is at 92%. PRPB has until
                  June 2018 to achieve 100% training levels and be in compliance with the terms
                  of the Agreement. On a monthly basis, during its site visits, TCA Core Team
                  members visit the academy to be briefed on training percentages for Use of
                  Force related policies.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements

TCA Rating        Timeframe was met for Phase I.

                  Having met the 50% requirement on or before June 2017, the PRPB was in
                  partial compliance. The PRPB was scheduled to achieve full compliance by June
                  2018.




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IV.V.1.1g         Training for Force Investigation Unit (FIU).

                  Paragraphs 48 through 52

Due Date          One hundred percent (100%) of FIU members will be trained within twelve
                  (12) months following training design process and approval and incorporation
                  of recommendations.
TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly
                  statistical reports on training.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements

TCA Rating        Timeframe was met.

                  The Commonwealth of Puerto Rico is in full compliance with 100% of FIU
                  members trained.




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                   Multi-topic Training on Mobilization of Tactical Operations Unit.
IV.V.1.1h
                   Paragraphs 22, 23, 27 through 31

Due Date           Session #1: twelve (12) months after completion of training design process and
                   approval and incorporation of recommendations.
                   Session #2: twelve (12) months after completion of training of first group.

TCA Assessment     The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                   with the requirement outlined in the Action Plan and the Agreement.

Recommendations    TCA will continue to review training implementation in accordance with
                   Agreement requirements.

TCA Rating         Original timeframe was not met. There is a new deadline. Extension
                   requested until April 2019.

                   The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                   the Court approves the extension, the TCA will upgrade his ratings.




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                  Multi-topic Training on Mobilization of Division of Special Weapons and Tactics
IV.V.1.1i         (SWAT).

                  Paragraphs 22, 23, 27 through 31

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.
TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements.
TCA Rating        Original timeframe was not met. There is a new deadline. Extension requested
                  until April 2019.

                  The Commonwealth of Puerto Rico is in non-compliance with this step. Once the
                  Court approves the extension, the TCA will upgrade his ratings.




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IV.V.1.1j         Training on Special Weapons by Members of the Specialized Tactical Units
                  (STUs).

                  Paragraphs 22, 23, 24 (F), 24 (H), and 53

Due Date          One hundred percent (100%) of STU members will be trained within twelve (12)
                  months following training design process and approval and incorporation of
                  recommendations.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements
TCA Rating        Original timeframe was not met. There is a new deadline. Extension requested
                  until April 2019.

                  The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                  the Court approves the extension, the TCA will upgrade his ratings.




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                  Training on Crowd Control and Incident Management for MPRPBs and Specialized
IV.V.1.1k         Tactical Units (STUs).

                  Paragraphs 22, 23, 32 through 35, and 53

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations, starting with SWAT and TO as
                  priority groups and, then, the remaining MPRPBs.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    The TCA has been monitoring PRPB’s training schedules and monthly statistical
                  reports on training.

Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements

TCA Rating        Original timeframe was not met. There is a new deadline. Extension requested
                  until April 2019.

                  The Commonwealth of Puerto Rico is in non-compliance with this step. Once the
                  Court approves the extension, the TCA will upgrade his ratings.




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                  Training on Rules for the Management of Police Pursuits.
IV.V.1.1l
                  Paragraph 53

Due Date          Session #1: twelve (12) months after completion of training design process and
                  approval and incorporation of recommendations.
                  Session #2: twelve (12) months after completion of training of first group.

TCA Assessment    Vehicle/Foot Pursuit incorporated into one policy. The TCA has been monitoring
                  PRPB’s training schedules and monthly statistical reports on training.


Recommendations   TCA will continue to review training implementation in accordance with
                  Agreement requirements

TCA Rating        Timeframe was met.

                  The Commonwealth of Puerto Rico is in full compliance with 100% of FIU
                  members trained.




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IV.V.1.1m          Training for Patrol Dog Handlers.

                   Paragraph 24 (C)

Due Date           Session #1: twelve (12) months after completion of training design process and
                   approval and incorporation of recommendations.
                   Session #2: twelve (12) months after completion of training of first group.

TCA Assessment     The TCA has been monitoring PRPB’s training schedules and monthly statistical
                   reports on training.

Recommendations TCA will continue to review training implementation in accordance with
                Agreement requirements.
TCA Rating      Original timeframe was not met. There is a new deadline.

                   The Commonwealth of Puerto Rico is in full compliance.
                   .




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                      a. Training on the Use and Management of the Automated System to
IV.V.1.1n                prepare Electronic Incident Reports. This activity will be carried out in
                         accordance with the Equal Protection and Non-Discrimination Action
                         Plan.

                              1.2 The PRPB will start training MPRPBs who belong to the
                                  following work units:
                                        1.2.1   Members of Joint Forces (SAIC);
                                        1.2.2 Personnel assigned to Zones of Excellence (SAOC)
                                        1.2.3 Division of Tactical Operations – DTO (SAOC)
                                        1.2.4      Division of Special Weapons and Tactics (SWAT)
                                                (SAOC)
                                        1.2.5 Force Investigation Unit – FIU (SARP);
                                        1.2.6 Bureau of Highway Patrols (SAOC);
                                        1.2.7 Motorized Unit (SAOC);
                                        1.2.8 Bureau of Drugs, Narcotics, Vice Control, and
                                                Illegal Weapons (SAIC);
                                        1.2.9 Bureau of Vehicle Theft Investigations (SAIC);
                                        1.2.10 Arrests and Extraditions Division (SAIC).

                              1.3 The PRPB will then train MPRPBs who belong to Districts,
                                   Precincts, and Offices of Assistant Superintendents, taking the
                                   following into consideration:
                              1.3.1     number of incidents per location;
                              1.3.2 number of incidents of domestic violence;
                              1.3.3 number of interventions with intoxicated persons;
                              1.3.4 number of arrests made;
                              1.3.5 number of tickets from police interventions;
                              1.3.6 number of complaints filed with the SARP on the following
                                        grounds: assault; use of unjustified violence; physical
                                        and/or psychological coercion; and assault against MPR
                              1.3.7 distance from support units; and
                              1.1.8       frequency of occurrence of demonstrations (i.e. mass
                  protests)

Due Date          See Action Plans for Equal protection

TCA Assessment    Currently the Incident Report (PPR-468) is one of the PRPB reports in the
                  CAD System.

                  PRPB on or about April 3, 2017 instituted a “Pilot Program” whereby Utaudo
                  Precinct (ZOE) began completing the report digitally however, officers will
                  still be required to prepare the report by hand.

                  The TCA Core Team member Scott Cragg is working with PRPB’s IT Unit
                  personnel in developing the CAD System. The Incident Report (PPR-468) is in


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                  the system; however, not all features and functions are available. They will
                  be rolled out as developed.




Recommendations   Continue review in accordance with Agreement requirements

TCA Rating
                  See Action Plans for Equal protection




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VI.      Behavioral or Mental Health Crisis Response Objective

Activity IV.VI.1.1


  IV.VI.1.1           Develop General Order for the Crisis Intervention Team (CIT).
                      Policy now included in the Policy titled: Hostage Negotiator Order # 600-28

                      Paragraphs 56 and 57

  Due Date            December 2015. Current Effective Date: 04/04/2017

  TCA Assessment      The CIT Policy was incorporated into the Policy titled: Intervention Procedure
                      with Persons in Crisis and Hostages Negotiations Policy, General Order Chapter
                      600 Section 628, signed by Superintendent April 2017. Training was scheduled
                      for

                      Crisis Intervention Policy was initially a policy in itself; however, the PRPB
                      decided to merge it with Negotiations in the Taking of Hostages. This delayed the
                      development of the training. The Core Team in July 2017 approved the proposed
                      training (REA628).

                      Compliance with 50% of the training: Trainings to meet 50%, started 04/16/2018.
                      Compliance with 100% of the training: Projected date: 9/16/2019

                      -This activity was revised in working session of July/2018.
                      -This Activity is including in the request for extension of activities not completed
                      in the Action Plans (document OS-4-OR-1-477 / Use of Force, number 3); sent via
                      email on Friday, August 24, 2018, by Joel Torres, Esq. (PRDOJ) to TCA and USDOJ.
                      -This request for extension is to address the delay in the trainings.
                      -The training material was developed by the PRPB Academy, and training began
                      in April 2018.
                      -However, in the past months and as part of the annual review process of this
                      policy, it was determined the following:
                           (a) Make two new general orders that address the issues of "crisis
                                intervention" and "negotiators" separately. The revision of these two
                                "new policies" is being carried out at the moment (OCT-2018).
                           (b) The PRPB shall create crisis intervention teams (CIT) in each of the 13
                                police areas.
                           (c) The training that is in progress for all the members of PRPB, shall be
                                amended to comply with the recommendations of the USDOJ consultant
                                (DEC/2018).
                           (d) For agents who have taken the original training, the Academy will
                                develop a complementary one that addresses the new aspects that will
                                be included.



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                       (e) The PRPB shall develop the “Crisis Intervention Team (CIT) Training” for
                           the certification of the sworn agents that will be part of teams.
                       (f) All of the above was agreed so that the PRPB fully complies with
                           paragraphs 56 and 57 of the Agreement.




Recommendations The TCA will continue to review in accordance with Agreement requirements


TCA rating         Timeframe was not initially met. However, the timeframe is now met.

                   The Commonwealth of Puerto Rico is in full compliance with this step of the
                   Action Plan




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VII.     MPRPB Crisis Intervention Training Development Objective

Activity IV.VII.1.1

  IV.VII.1.1            Develop Training for Behavioral or Mental Health Crisis Response for MPRPBs
                        belonging to the CIT.

                        Paragraphs 53, 56, and 57

  Due Date              Session #1: twelve (12) months after completion of training design process and
                        approval and incorporation of recommendations.
                        Session #2: twelve (12) months after completion of training of first group.

  TCA Assessment        The CIT Policy was incorporated into the Policy titled: Intervention Procedure
                        with Persons in Crisis and Hostages Negotiations Policy, General Order Chapter
                        600 Section 628, signed by Superintendent April 2017.

                        To date, no training curriculum has been approved and training has not
                        commenced. Training should have started in October 2017. They are currently
                        delayed six months.

                        REA 628: the design of the courses was extended to prepare the instructors by
                        September 2017, including the negotiators. Prior to initiating the training,
                        PRPB must draft the protocols to structure the CIT groups. This means that the
                        PRPB must determine the composition of the board for recruitment,
                        investigations, and evaluations.

                        -This activity was revised in working session of July/2018.
                        -This Activity is included in the request for extension of activities not
                        completed in the Action Plans.
                        -This request for extension is to address the delay in the trainings.
                        -The training material was developed by the PRPB Academy, and training
                        began in April 2018. No data regarding compliance.
                        -However, in the past months and as part of the annual review process of
                        this policy, it was determined the following:
                            (a) Make two new general orders that address the issues of "crisis
                                intervention" and "negotiators" separately. The revision of these
                                two "new policies" is being carried out at the moment (OCT-2018).
                            (b) The PRPB shall create crisis intervention teams (CIT) in each of the
                                13 police areas.
                            (c) The training that is in progress for all the members of PRPB, shall
                                be amended to comply with the recommendations of the USDOJ
                                consultant (DEC/2018).
                            (d) For agents who have taken the original training, the Academy will
                                develop a complementary one that addresses the new aspects
                                that will be included.

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                     (e) The PRPB shall develop the “Crisis Intervention
                         Team (CIT) Training” for the certification of the sworn agents that
                         will be part of teams.
                     (f) All of the above was agreed so that the PRPB fully complies with
                         paragraphs 56 and 57 of the Agreement.




Recommendations   The TCA will continue to review in accordance with Agreement requirements


TCA Rating        Original timeframe was not met. There is a new deadline.

                  The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                  the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.VII.1.2

                      Within the twelve (12) months following the final approval of the training
  IV.VII.1.2          material and the incorporation of the changes recommended, the SAEA will
                      simultaneously train fifty percent (50%) of MPRPBs belonging to the CIT in
                      relation to Behavioral or Mental Health Crisis Response through instructors it has
                      certified.

                      Paragraphs 53, 56, and 57

  Due Date            Session #1: twelve (12) months after completion of training design process and
                      approval and incorporation of recommendations.
                      Session #2: twelve (12) months after completion of training of first group.

  TCA Assessment      Policy signed April 2017.

                      REA 628: the design of the courses was extended to prepare the instructors by
                      September 2017, including the negotiators. See IV.VII.1.1.

                      Refer to the comments made in Activity IV.VI.1.1.
  Recommendations The TCA will continue to review in accordance with Agreement requirements

  Compliance          Original timeframe was not met. There is a new deadline.

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once the
                      Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.VII.1.3


  IV.VII.1.3          Develop Training on Behavioral or Mental Health Crisis Response for MPRPBs.
                      Paragraphs 53, 56, and 57

  Due Date            Session #1: twelve (12) months after completion of training design process and
                      approval and incorporation of recommendations.
                      Session #2: twelve (12) months after completion of training of first group.
  TCA Assessment      Training is scheduled to start on April 16, 2018. Course REA 628. Training
                      currently 40 instructors.

                  See prior observations.
  Recommendations The TCA will continue to review in accordance with Agreement requirements



  Compliance          Original timeframe was not met. There is a new deadline.

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once the
                      Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.VII.1.4

                      Within the twelve (12) months following the final approval of the training
  IV.VII.1.4          material and the incorporation of the changes recommended, the SAEA will
                      simultaneously train fifty percent (50%) of MPRPBs in relation to Behavioral or
                      Mental Health Crisis Response, as established by the Agreement for the
                      Sustainable Reform of the PRPB. The remaining fifty percent (50%) of the
                      MPRPBs will be trained within the following twelve (12) months, once the
                      training of the first group has been completed. Training will begin in
                      accordance with the date indicated in the Announcement issued by the SAIC
                      and the Training Plan provided by each Police Area and Office of the Assistant
                      Superintendent after SAEA approval.

  Due Date            Session #1: twelve (12) months after completion of training design process and
                      approval and incorporation of recommendations.
                      Session #2: twelve (12) months after completion of training of first group.
  TCA Assessment      Policy creating the position signed by Superintendent April 2017.

                      Training is scheduled to start on April 16, 2018. Course REA 628. PRPB must
                      complete 50% by April 16, 2019. Training for all members of the PRPB should
                      be completed by April 16, 2020


  Recommendations     The TCA will continue to review in accordance with Agreement requirements


  TCA Rating          Original timeframe was not met. There is a new deadline.

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                      the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.VII.1.5

                      Within the twelve (12) months following the final approval of the training
  IV.VII.1.4          material and the incorporation of the changes recommended, the SAEA will
                      simultaneously train fifty percent (50%) of MPRPBs in relation to Behavioral or
                      Mental Health Crisis Response, as established by the Agreement for the
                      Sustainable Reform of the PRPB. The remaining fifty percent (50%) of the
                      MPRPBs will be trained within the following twelve (12) months, once the
                      training of the first group has been completed. Training will begin in
                      accordance with the date indicated in the Announcement issued by the SAIC
                      and the Training Plan provided by each Police Area and Office of the Assistant
                      Superintendent after SAEA approval.
                      Training for SAIC, SAOC, DOT, SWAT
                      Paragraphs 53,56, and 57
  Due Date            Session #1: twelve (12) months after completion of training design process and
                      approval and incorporation of recommendations.
                      Session #2: twelve (12) months after completion of training of first group.
                      See appendix C
  TCA Assessment      Policy creating the position signed by Superintendent April 2017.

                      Training is scheduled to start on April 16, 2018. Course REA 628. PRPB must
                      complete 50% by April 16, 2019. Training for all members of the PRPB should
                      be completed by April 16, 2020

                      The PRPB is likely to ask for an extensión.
  Recommendations


  TCA Rating          Original timeframe was not met. There is a new deadline.

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                      the Court approves the extension, the TCA will upgrade his ratings.




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Activity IV.VII.1.6

                      Within the twelve (12) months following the final approval of the training
  IV.VII.1.4          material and the incorporation of the changes recommended, the SAEA will
                      simultaneously train fifty percent (50%) of MPRPBs in relation to Behavioral or
                      Mental Health Crisis Response, as established by the Agreement for the
                      Sustainable Reform of the PRPB. The remaining fifty percent (50%) of the
                      MPRPBs will be trained within the following twelve (12) months, once the
                      training of the first group has been completed. Training will begin in
                      accordance with the date indicated in the Announcement issued by the SAIC
                      and the Training Plan provided by each Police Area and Office of the Assistant
                      Superintendent after SAEA approval.
                      Training by incident, domestic violence incidents, interventions with DWI,
                      arrests.

                      Paragraphs 53,56, and 57


  Due Date            Session #1: twelve (12) months after completion of training design process and
                      approval and incorporation of recommendations.
                      Session #2: twelve (12) months after completion of training of first group.
                      See appendix C
  TCA Assessment      Policy creating the position signed by Superintendent April 2017.

                      Training is scheduled to start on April 16, 2018. Course REA 628. PRPB must
                      complete 50% by April 16, 2019. Training for all members of the PRPB should
                      be completed by April 16, 2020

  Recommendations


  TCA Rating          Original timeframe was not met. There is a new deadline.

                      The Commonwealth of Puerto Rico is in non-compliance with this step. Once
                      the Court approves the extension, the TCA will upgrade his ratings.




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VIII.     Self-Assessment Objectives:

Activity IV.VIII.1.1

           The PRPB, through the Office of Reform, will use various data collection strategies and
           conduct periodic, specific, and random monitoring of the different activities, operations,
           services, investigations, training courses, among others, it provides, starting with Zones
           of Excellence and gradually continuing through all thirteen (13) Police Areas and Offices
           of Assistant Superintendents, such as: (Table 52)



  IV.VIII.1.1a             Using the Training Plan and Training Announcement issued by the SAEA for
                           each of the courses to identify their start date, the time Police Areas and the
                           corresponding Offices of Assistant Superintendents will have to complete it,
                           and the work units that will be given training priority. The Training Plans for
                           each of the thirteen (13) Police Areas and Offices of Assistant
                           Superintendents, as approved by the SAEA, will also be considered to check
                           the specific dates during which each training course identified in this Action
                           Plan will be offered. The Office of Reform will verify that MPRPBs are
                           participating in scheduled training courses by using the above-mentioned
                           sources and the attendance records for each course.

                           Paragraphs 232 and 233

  Due Date                 N/A

  TCA Assessment           During monthly site visits to PRPB Area Commands, the TCA Core Team
                           checks to ensure that PRPB is complying with the above. Documentation
                           relating to training of personnel as well as training calendars are reviewed by
                           the TCA Core Team. During these site visits the TCA Core team is
                           accompanied by Reform Unit Personnel.

                           During these visits, the Core Team meets with the Training Coordinator of
                           the Area. At these meetings coordinators are requested to produce training
                           calendars, as well as training records of random personnel and the
                           certifications of instructors. In addition, the Police Academy also provides
                           training information.

  TCA Rating               The TCA will continue to review in accordance with Agreement requirements

  TCA Rating               Timeframe was met



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                The Commonwealth of Puerto Rico is in partial compliance because it cannot
                explain the relationship between the training and the effects of the training
                in practice




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IV.VIII.1.1b      Making random visits to each of the thirteen (13) Police Areas and Offices of
                  Assistant Superintendents using the Training Plan approved by the SAEA for
                  each of the training courses developed for this Compliance Area in order to
                  guarantee that PRPB personnel are being trained in keeping with the syllabi,
                  instructor handbooks, presentation, and assessment methodology approved
                  by the Technical Compliance Advisor.

Due Date          N/A

TCA Assessment    During monthly ‘Site Visits” to PRPB Area Commands the TCA Core Team
                  checks to ensure that PRPB is complying with the above. During these site
                  visits the TCA Core Team is accompanied by Reform Unit personnel.

Recommendations   The TCA will continue to review in accordance with Agreement requirements

TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance because it cannot
                  explain the relationship between the training and the effects of the training in
                  practice




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IV.VIII.1.1c      Visiting SARP to do random evaluations of the files related to use-of-force
                  incidents in order to determine if they have been prepared and completed at
                  the work units and are under the custody of the SARP as established in
                  General Order 605, Chapter 600, Section 605, entitled “Report and
                  Investigation of Use-of-Force Incidents by Members of the Puerto Rico Police
                  Department.”

Due Date          N/A

TCA Assessment    The TCA Core Team has conducted “site Visit” to SARP to ensure compliance
                  with the above. During these site visits the TCA Core Team is accompanied by
                  Reform Unit personnel.

                  The FIU Section of SARP is the repository for all completed Use of Force
                  Reports. The FIU section reviews all arriving reports in order to determine if
                  they have been prepared and completed. The Core Team, during its monthly
                  site visits, meets with the FIU Commanding Officer. During these visits,
                  random use of force reports are reviewed for accuracy and completeness. In
                  addition, the Core Team discusses with the FIU the percentage of reports
                  that are returned due to incorrect and/or incomplete information.

                  Note: This has been an ongoing problem and to date the percentage of
                  incomplete reports continues to be at an unacceptable level.

Recommendations   The TCA will continue to review in accordance with Agreement requirements



TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance because it cannot
                  explain the relationship between the training and the effects of the training
                  in practice




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                  Making random visits to the districts, precincts, and units to interview and
IV.VIII.1.1d      corroborate whether the Supervisors of the PRPB have performed use-of-
                  force reviews and investigations to evaluate that they are being performed in
                  accordance with the provisions of General Order, Chapter 600, Section 605,
                  entitled “Report and Investigation of Use-of-Force Incidents by Members of
                  the Puerto Rico Police Department.”

Due Date          N/A

TCA Assessment    During monthly ‘Site Visits” to PRPB Districts and Precinct the TCA Core Team
                  checks to ensure that PRPB is complying with the above. During these site
                  visits the TCA Core Team is accompanied by Reform Unit personnel.

                  It should be noted that due to PRPB’s protocol that no Use of Force Report
                  (PPR-605.1) can be copied, the districts/precincts and the Area Commands
                  don’t have any copies of the reports that have been forwarded. During site
                  visits of precincts/districts and Area Commands (FRBs) there have been some
                  Use of Force Reports that are in the pipeline that have not been
                  processed/forwarded. In those situations, the reports are reviewed for
                  compliance with General Order Chapter 600 Section 605. The Core Team has
                  recommended in writing that each PRPB precinct/district maintain a log with
                  pertinent information relating to the investigations of use of force incidents.
                  Currently, in order to review a completed Use of Force Report, it requires
                  going to SARP/FIU.


Recommendations   The TCA will continue to review in accordance with Agreement requirements

TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance because it cannot
                  explain the relationship between the training and the effects of the training
                  in practice




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                   Verifying compliance with the provisions of General Order, Chapter 600,
IV.VIII.1.1e       Section 602, entitled “Use and Handling of Electronic Control Weapon” in
                   relation to the recovery of the data stored in the Electronic Control Weapon
                   (ECW) during the evaluation of the file corresponding to the use-of-force
                   incident in which an ECW was used.

Due Date           N/A

TCA Assessment     This relates to Use of Force by means of Electronic Control Device (Taser).
                   Currently when a member of the PRPB utilizes his/her Electronic Control
                   Device against an individual the stored data becomes part of the
                   documentation. This has been confirmed by the TCA Core Team during its
                   site visits to Area Command Force Review Boards (an incident involving the
                   use of a taser is at the very least a Level 3, which requires that the use of
                   force be evaluated by the Area Command’s FRB).

                   In addition, during the Core Teams visits to Area Commands, the Team has
                   verified that “Electronic Control Weapon Use Record” PPR-892 have been
                   prepared. Generally, this duty is the responsibility of the Area Command
                   Training Coordinator.

Recommendations    The TCA will continue to review in accordance with Agreement
                   requirements.

TCA Rating         Timeframe was met

                   The Commonwealth of Puerto Rico is in partial compliance because it cannot
                   explain the relationship between the training and the effects of the training
                   in practice




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                   Verify that MPRPBs have completed form PPR-892 – “Electronic Control
IV.VIII.1.1f       Weapon Use Record” registering the arcing test, as established in General
                   Order, Chapter 600, Section 602, entitled “Use and Handling of Electronic
                   Control Weapon.”

Due Date           N/A

TCA Assessment     During the Core Teams visits to Area Commands, the Team has verified that
                   “Electronic Control Weapon Use Record” PPR-892 has been prepared.
                   Generally, this duty is the responsibility of the Area Command Training
                   Coordinator.


Recommendations    The TCA will continue to review in accordance with Agreement requirements

TCA Rating         Timeframe was met

                   The Commonwealth of Puerto Rico is in partial compliance because it cannot
                   explain the relationship between the training and the effects of the training
                   in practice




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            Compliance Tables for Search and Seizure Action Plan

             Section V. Search and Seizure: Internal Controls and Accountability
                                   Requirements: 12 to 21

             No extension has been requested for any of the activities of this Action Plan.

I.   Policy and Procedure Development Objectives:

     Activity III.I.1.1

 V.I.1.1                       Review General Order, Chapter 600, Section 615, entitled “Authority
                               of the Puerto Rico Police Department to Conduct Arrests and Serve
                               Citations.”

                               Paragraphs 59, 65 through 73

 Due Date                      December 2014

 TCA Assessment                General Order 600-615 was approved by Superintendent November
                               2015.
                               The TCA conducted the scheduled annual reviews for this general
                               order in February 2016 and August 2017. The 2017 scheduled review
                               was in progress as of March 2018.
                               Current Effective Date: Second annual review, pending the signature
                               of the Commissioner.
                               Compliance with 100% of the training: 99%
                               -It is available on the virtual platform since 06/29/2018.
                               -From that date the agents will have 90 days to take training.
                               -TCA indicates that it is necessary to examine how many arrests,
                               searches and seizures have been held in court

 Recommendations               The TCA will continue to conduct bi-annual reviews in accordance
                               with Agreement requirements.

 TCA Rating                    Timeframe was met

                               The Commonwealth of Puerto Rico is in full compliance with this step
                               of the Action Plan




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Activity V.I.1.2

 V.I.1.2               Review General Order No. 2008-13 entitled “Rules and Procedures
                       for the Receipt, Custody, Delivery, and Disposition of Property
                       Constituting Evidence” with the purpose of ensuring an effective
                       control of the evidence from the beginning of a criminal act, to the
                       collection thereof, and until it is presented at trial.

                       Paragraph 109

 Due Date              September 2016

 TCA Assessment        This General Order was created on September 30, 2016 and
                       reviewed by the TCA in October 2016, with changes incorporated in
                       November 2016.

                       Current Effective Date: 04/27/2017
                       Training Name: Syllabus was approved by the TCA the 07/31/2017

                       -The training will be developed in virtual format.


 Recommendations       The TCA will continue annual reviews in accordance with Agreement
                       requirements.
 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       step of the Action Plan




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Activity V.I.1.3

 V.I.1.3               Review General Order, Chapter 600, Section 612, entitled “Authority
                       of the Puerto Rico Police Department to Conduct Searches and
                       Seizures” to incorporate the recommendations of the TCA and
                       USDOJ.

                       Paragraphs 59, 74 through 77

 Due Date              August 2015 Current Effective Date: 09/18/2017


 TCA Assessment        Approved by Superintendent November 2015.

                       The annual review of this general order was last conducted by the
                       TCA in June 2017. Next review due in June 2018.

                       On September 18, 2017, the Police Commissioner signed an updated
                       new policy.

                       Compliance with 50% of the training: 08/12/2017
                       Compliance with 100% of the training: 12/21/2018 (projected
                       compliance date). Compliance rate at 69%.



 Recommendations       The TCA will continue annual reviews in accordance with Agreement
                       requirements

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this step
                       of the Action Plan




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Activity V.I.1.4

 V.I.1.4               Develop a protocol for the digital recording and storage of
                       communications between the immediate supervisor and the MPRPB
                       through Command Center and Radio Control communication
                       channels in which the MPRPB states the elements of probable cause
                       he or she used to make an arrest for a felony, obstruction of justice,
                       or resisting arrest.

                       Paragraph 66

 Due Date              May 2016

 TCA Assessment        A protocol was created by PRPB and submitted to the TCA on May 31,
                       2016.

                       It was reviewed by the TCA and approved by the Superintendent in
                       October 2016. Current Effective Date: 10/20/2016

                       Legacy system is in place in Zones of Excellence and San Juan Area -
                       no new system yet due to cost considerations.

 Recommendations       The TCA will continue annual reviews in accordance with Agreement
                       requirements. Annual review is due for 2018.

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this step
                       of the Action Plan




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II. Reporting and Data Collection Objectives.
Activity V.II.1.1

 V.II.1.1                    Develop an information subsystem to collect incidents resulting in
                             arrests and searches, using the National Incident-Based Reporting
                             System as a reference. The printed forms used for such purposes
                             (PPR-853, Plan to Carry Out Arrests/Detentions and
                             Searches/Seizures, and PPR-880, Member of the PRPB Incident
                             Report Narrative) will be also taken into consideration.

                             Paragraphs 59, 60,61, and 64

 Due Date                    12 months (once NIBRS and any other policies affecting System are
                             approved and signed by Superintendent). (Estimated date: January
                             2017)
 TCA Assessment              All data gathering is still manual as of the end of March 2018. No
                             change since April 2017.

                             This subsystem will be contemplated in the National Incident-Based
                             Reporting System included in the Equal Protection and Non-
                             Discrimination Compliance Area Action Plan. The subsystem will be
                             initially implemented in the Zones of Excellence and then gradually
                             in all work units, as established in the Information Systems and
                             Technology Compliance Area Action Plan.

                             As of March 2018, TCA reports that the system has been developed
                             and is scheduled to be launched on or before August 2018 with the
                             implementation of CAD.

                             - PRPB informed that compliance with this activity will be in 2019.
                             -The agency currently has a "Dispatch" system that sends
                             information to the "Tiburon Desktop".
                             -There is a system in place in the 205 buildings of the PRPB.


 Recommendations             TCA will continue to monitor implementation of system with TCA IT
                             Expert

 TCA Rating                  Timeframe [January 2017] was not met

                             The Commonwealth of Puerto Rico is in non-compliance with this
                             step of the Action Plan based on non-automated analysis.



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Activity V.II.1.2

 V.II.1.2               When the PRPB incorporates the TCA and USDOJ recommendations
                        into the General Order, Chapter 600, Section 612, entitled “Authority
                        of the Puerto Rico Police Department to Conduct Searches and
                        Seizures,” the Bureau will ensure that all MPRPBs will be required to
                        obtain and document a person’s consent to a voluntary search of his
                        or her person or vehicle unless a search without the person’s
                        consent is legally justified.

                        Paragraphs 77 and 83

 Due Date               August 2015

 TCA Assessment         In past reporting periods, the TCA conducted follow-up site visits to
                        San Juan Drug Unit, Vehículos Hurtados (M/V Theft Unit) Divisions in
                        Humacao, San Juan, Ponce; CIC’s in Fajardo, Humacao, Bayamon,
                        Ponce; and Transit Division in Fajardo.
                        During the period of December 2017 through March 2018, the TCA
                        has inspected dozens of PPR-879’s “Consent to Search” at various
                        CIC’s and Drug Units in Police Areas of Yauco, Humacao, and
                        Aibonito, as well as in the police districts of Las Piedras and Bayamon
                        West. The TCA found that consents to search are being properly
                        recorded in PPR-879 forms.
                        Most police districts report that it is not a practice of their officers to
                        conduct consent searches. They leave searches to Specialized Units.
                        The TCA found that Consents to Search are being properly
                        documented on PPR-879.
                        PRPB informs that there will be at 80% compliance in December /
                        2018.
 Recommendations        TCA will continue to visit police Areas and Districts/Precincts to
                        ensure consent searches are being recorded and will continue to
                        inspect PPR-879 forms.

 TCA Rating             Timeframe was met

                        The Commonwealth of Puerto Rico is in partial compliance with this
                        step of the Action Plan as this process is not automated and the
                        TCA’s assessment is under way.




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Activity V.II.1.3

 V.II.1.3              Upon the annual review of General Order, Chapter 600, Section 615,
                       entitled “Authority of the Puerto Rico Police Department to Conduct
                       Arrests and Serve Warrants,” the PRPB will ensure that it maintains
                       the requirement that MPRPBs continue informing the Command
                       Center and a supervisor immediately after making an arrest, or as
                       soon as possible.

                       Paragraphs 66 and 83

 Due Date              December 2014

 TCA Assessment        In the past, the TCA inspected several sites, including PRPD CIC’s,
                       Vehículos Hurtados (Auto Theft Unit), Drug Units, Transit Units, and
                       Police Areas, and found that supervisors are being notified when an
                       arrest was made.

                       For the present period, December 2017 to March 2018, the TCA
                       visited several Police Areas, districts and precincts in Aibonito, Yauco,
                       Humacao, Las Piedras, Bayamon West, Santurce, Rio Piedras,
                       Guaynabo, Dorado, and Juana Diaz where the TCA inspected dozens
                       of arrest police reports (PPR-880 and PPR-82) and found that almost
                       all indicated that a supervisor was notified via radio (or cellphone
                       when radio or signal was not available) and responded to the scene.
                       Supervisors signed the forms confirming their review.

                       PRPB informs that they will be at 80% compliance in December /
                       2018.

 Recommendations       TCA will continue to monitor arrest reports to ensure continued
                       compliance.
 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       step of the Action Plan.




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Activity V.II.1.4

 V.II.1.4           Develop an automated system for the digital recording and storage of
                    communications between the immediate supervisor and the MPRPB
                    through Command Center and Radio Control communication channels
                    that have been used to communicate the elements of probable cause used
                    to make an arrest for a felony, obstruction of justice, or resisting an
                    MPRPB. This system will be initially implemented in the Zones of
                    Excellence and gradually in the subsequent work units, as established in
                    the Information Systems and Technology Compliance Area Action Plan.

 Due Date           18 months once corresponding policy (NIBRS) is approved

 TCA Assessment     This sub-section is dependent on the Information Systems and Technology
                    Compliance Action Plan, which is being worked on as of April 2017. This
                    subsection is dependent on approval of NIBRS policy which is pending as
                    of May 2017.

                    Equipment has been purchased. System in development. Questionable
                    status of training at SAEA. Projected operational date is unknown as of
                    this date.

 Recommendations    TCA IT expert to continue to monitor compliance
 TCA Rating         For rating, see the Information Systems and Technology Compliance
                    Action Plan




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III. Review and Investigation Objectives:

Activity V.III.1.1

 V.III. 1.1            PRPB Supervisors must review each search and seizure report to evaluate
                       and determine if the search and seizure was conducted in accordance with
                       the provisions of PRPB policies and the Agreement

 Due Date              Not Applicable

 TCA Assessment        For this reporting period, the TCA-CT randomly inspected several search
                       warrant files, including applications and affidavits at several PRPB CIC’s,
                       Vehículos Hurtados (Auto Theft Unit), Homicide Units, Drug Units and
                       Transit Units for compliance.

                       All pertaining PPR forms inspected were completed and signed accordingly
                       (PPR-853, PPR264, PR-879, PPR-468, PPR-880, PR-126, PPR-47, PPR-82,
                       and PR-128, etc.) by supervisors and officers, and appeared to have been
                       checked and approved by supervisors.

                       For the reporting period of December 2017 through March 2018, the TCA
                       visited CIC’s and Drug Units in Police Areas of Yauco, Humacao, Aibonito,
                       and Ponce and inspected tens of search warrant files containing affidavits,
                       applications and reports. They all included reports indicating that the
                       supervisors and an ADA reviewed the documentations and approved
                       them. All pertaining PPR forms inspected were completed and signed
                       accordingly (PPR-853, PPR264, PR-879, PPR-468, PPR-880, PR-126, PPR-47,
                       PPR-82, and PR-128, etc.) by supervisors and officers, and appeared to have
                       been checked and approved by supervisors. There was additional work in
                       this reporting period 2018. Similar findings.

 Recommendations TCA will continue to make visits to PRPD investigative units and inspect
                 search warrant files for compliance.
 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this step
                       of the Action Plan based on non-automated analysis.




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Activity V.III.1.2

 V.III. 1.2          The PRPB will use the information subsystem to collect and review, on a
                     monthly-basis, incidents that result in arrests and seizures. This
                     subsystem will be contemplated in the National Incident-Based Reporting
                     System included in the Equal Protection and Non-Discrimination
                     Compliance Area Action Plan. The subsystem will be initially implemented
                     in the Zones of Excellence and then gradually in all work units, as
                     established in the Information Systems and Technology Compliance Area
                     Action Plan.

                     On a yearly basis, the PRPB will perform a complete analysis of the
                     compiled information about searches and seizures conducted to identify
                     significant trends with the purpose of correcting the deficiencies that are
                     identified, pursuant to the law and generally accepted police practices.

 Due Date            On a yearly basis after approval of corresponding general orders.

 TCA Assessment      This subsystem will be contemplated in the National Incident-Based
                     Reporting System included in the Equal Protection and Non-Discrimination
                     Compliance Action Plan. This sub-section is dependent on the Information
                     Systems and Technology Compliance Action Plan, which is still being
                     worked on as of the end of May 2017.

 Recommendations TCA will continue to monitor through its IT expert
 TCA Rating          For rating see the Equal Protection and Non-Discrimination Compliance
                     Action Plan.




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Activity V.III.1.3

 V.III.1.3           Conduct an evaluation of the PRPB human resources, taking into account
                     their status and the operational and administrative work performed by the
                     employees, in order to identify existing needs and, later on, make
                     decisions in order to determine the number of supervisors needed to meet
                     the requirement. This activity will be part of the Professionalization
                     Compliance Area Action Plan.

 Due Date            N/A

 TCA Assessment      This activity will be part of the Professionalization Compliance Area Action
                     Plan, which is in progress as of May 2107.

 Recommendations


 TCA Rating          For rating, see the Professionalization Compliance Area Action Plan.




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IV. Training Development Objectives:

Activity V.IV.1.1

 V.IV.1.1                  The Auxiliary Superintendency for Education and Training (SAEA) will
                           create courses to train all MPRPBs through instructors certified by
                           SAEA.
                           The training courses are as follows:
                                     1.1.1. Training on General Order, Chapter 600, Section
                                            615, entitled “Authority of the Puerto Rico Police
                                            Department to Conduct Arrests and Serve
                                            Summons”; and
                                     1.1.2. Training on General Order [entitled] “Rules and
                                            Procedures for the Receipt, Custody, Delivery, and
                                            Disposition of Property Constituting Evidence” with
                                            the purpose of ensuring an effective control of the
                                            evidence from the beginning of a criminal act, in the
                                            collection thereof, and until it is presented at trial.

 Due Date                  Designing training courses corresponding to policies will begin once
                           policy has been approved and signed in accordance with process
                           established in Appendix B – Training Design Process.

 TCA Assessment                1.1.1   Training module on GO 600-615, Arrests and Summons,
                                       was reviewed and approved by the TCA; Training is at 95%
                                       Department-wide as of the end of February 2018 and
                                       retraining is on-going.
                               1.1.2   This training module has not been created as of March
                                       2018

 Recommendations           Continue to monitor

 TCA Rating                Timeframe was met for GO 600-615. Timeframe was not met for
                           1.1.2.

                           The Commonwealth of Puerto Rico is in full compliance with this
                           detailed step of the Action Plan for 1.1.1.

                           The Commonwealth of Puerto Rico is in non-compliance with this
                           detailed step of the Action Plan for 1.1.1.




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Activity V.IV.1.2

 V.IV. 1.2             Review training on General Order, Chapter 600, Section 612, entitled
                       “Authority of the Puerto Rico Police Department to conduct Searches
                       and Seizures.”

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed in accordance with process
                       established in Appendix B – Training Design Process.: April 27, 2016

 TCA Assessment        The TCA reviewed and approved the training curriculums on this
                       general order for new police cadets and for in-service training in May
                       2016. As of February 2018, training is on-going and is at 72% of the
                       Department. 100% due in December 2018

 Recommendations       See Section II of the Report regarding prioritization and uneven
                       progress

 TCA Rating            Timeframe was met.

                       The Commonwealth of Puerto Rico is in partial compliance with the
                       detailed step of the Action Plan.




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Activity V.IV.1.3

 V.IV.1.3              Develop a Training Program for Supervisors and High-Ranking
                       Officers on arrest, search, and seizure policies, writing techniques,
                       and report review.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed in accordance with process
                       established in Appendix B – Training Design Process.

 TCA Assessment        In May 2017, policy has been approved; and training is at 72% of the
                       Department and is on-going.

                       The TCA has reviewed signed class rosters at the PRPD Academy and
                       at the Area Police Headquarters where training is also happening.
                       The TCA has also audited a Search and Seizure class at the PRPD
                       Academy. Training rosters submitted by the Academy to the TCA in
                       March 2018.

 Recommendations       Continue to monitor

 TCA Rating            Timeframe was met.

                       The Commonwealth of Puerto Rico is in partial compliance with the
                       detailed step of the Action Plan.




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Activity V.IV.1.4

 V.IV.1.4              Develop training for the personnel assigned to the Command Center
                       and Radio Control on how to use the automated system for the digital
                       recording and storage of the communications between the
                       immediate supervisor and the MPRPB through the Command Center
                       and Radio Control communication channels.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed in accordance with process
                       established in Appendix B – Training Design Process
 TCA Assessment        This sub-section is dependent on the Information Systems and
                       Technology Compliance Area Action Plan, which is being worked on as
                       of end of May 2018. However, training has been reviewed and
                       approved by the TCA.

 Recommendations       Continue to monitor through the TCA IT Expert
 TCA Rating            For rating, see the Information Systems and Technology Compliance
                       Area Action Plan




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V. Training Implementation Objectives:
Activity V.V.1.1

 V.V.1.1                Within the twelve (12) months following the final approval of the
                        training material and the incorporation of the changes recommended,
                        the SAEA will simultaneously train fifty percent (50%) of MPRPBs
                        through its certified instructors. The remaining fifty percent (50%) of
                        the MPRPBs will be trained within the following twelve (12) months,
                        once the training of the first group has been completed. Training will
                        begin on the date indicated in the announcement issued by the SAEA
                        and the training plan provided by each police area and auxiliary
                        superintendency upon SAEA approval.

                         The training to be implemented will cover the following topics:

                                 a. Training on General Order, Chapter 600, Section 615,
                                    entitled “Authority of the Puerto Rico Police Department to
                                    Conduct Arrests and Serve Summons”; and
                                 b. Training on General Order [entitled] “Rules and Procedures
                                    for the Receipt, Custody, Delivery, and Disposition of
                                    Property Constituting Evidence” with the purpose of
                                    ensuring an effective control of the evidence from the
                                    beginning of a criminal act, in the collection thereof, and
                                    until it is presented at trial.
                                 c. Training on General Order, Chapter 600, Section 612,
                                    entitled “Authority of the Puerto Rico Police Department to
                                    Conduct Searches and Seizures.”
                                 d. Training Program for Supervisors and High-Ranking Officers
                                    on the policies, writing techniques, and review of arrests,
                                    searches, and seizures reports.
                                 e. Train personnel assigned to the Command Center and
                                    Radio Control on how to use the automated system for the
                                    digital recording and storage of the communications
                                    between the immediate supervisor and the MPRPB through
                                    the Command Center and Radio Control communication
                                    channels.
                                 f.
 Due Date              Training courses will be implemented as indicated in Appendix C –
                       Training Implementation Process. (50% 12 months after approval of the
                       general orders, and the remaining 50% 12 months thereafter)




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TCA Assessment       a. The TCA has inspected signed training rosters at several Area
                        Police stations and Zones of Excellence districts, as well as at the
                        PRPD Academy. As of the end of February 2018, training on GO
                        600-615, Arrests and Summons, is at 95% (The remaining 5%
                        untrained is due to leave of absences and otherwise officers not
                        available for training).
                     b. Approval of General Order “Rules and Procedures for the
                        Receipt, Custody, Delivery, and Disposition of Property
                        Constituting Evidence” is still pending, therefore, no training has
                        commenced as of March 2018.
                     c. Training on GO 600-612, Search and Seizure, was at 72% as of the
                        end of February 2018, well on its way to 100% which is due in
                        December 2018. However, the current rate is 69% (lower than
                        months ago)
                     d. Training for Supervisors and High-Ranking Officers on GO 600-
                        612, Search and Seizure, is at 72% in general, which includes
                        supervisors and high-ranking officials.
                     e. The policy for this training was approved October 20, 2016,
                        however, no training has been scheduled as of March 2018, as
                        the system is still in development.

Recommendations   TCA to continue to monitor in conjunction with TCA IT expert.

TCA Rating        Timeframe was met.

                  The Commonwealth of Puerto Rico is in partial compliance with the
                  detailed step of the Action Plan.




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Activity V.V.1.2

 V.V.1.2            The PRPB will begin training MPRPBs who belong to the following work
                    units:
                           1.2.1. Criminal Investigation Corps (SAIC);
                           1.2.2. Bureau of Drugs, Narcotics, Vice Control, and Illegal
                    Weapons (SAIC);
                           1.2.3. Bureau of Vehicle Theft Investigations (SAIC);
                           1.2.4. Arrests and Extraditions Division (SAIC);
                           1.2.5. Bureau of Internal Affairs (SARP);
                           1.2.6. Members of Joint Forces (SAIC);
                           1.2.7. Force Investigation Unit (FIU) (SARP);
                           1.2.8. Personnel assigned to Zones of Excellence (SAOC);
                           1.2.9. Division of Tactical Operations (DTO) and Division of Special
                                   Weapons and Tactics (SWAT) (SAOC); and
                           1.2.10. Bureau of Highway Patrols, Motorized Unit, Command
                                   Centers, and Radio Control (SAOC).

 Due Date

 TCA Assessment     The TCA has visited several PRPD sites (CIC’s, Narcotics Unit, Auto Theft
                    Units, Highway Patrol, Zones of Excellence, among others) during the
                    months of December 2017 through March 2018 and has learned that
                    PRPD is prioritizing these units for training on Search and Seizures and
                    Arrests and Summons.

                    The Units inspected by the TCA this period are generally on schedule
                    with this training requirement.

 Recommendations    TCA to continue to monitor
 Compliance         Timeframe was met.

                    The Commonwealth of Puerto Rico is in partial compliance with the
                    detailed step of the Action Plan.




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Activity V.V.1.3

 Activity 1.3      The PRPB will continue training MPRPBs who belong to Districts, Precincts,
                   and auxiliary superintendencies, taking the following into consideration:
                             1.3.1 number of incidents per location;
                             1.3.2 number of incidents of domestic violence;
                             1.3.3 number of interventions with intoxicated persons;
                             1.3.4 number of arrests made;
                             1.3.5 number of tickets from police interventions;
                             1.3.6 number of complaints of incidents on the following
                                    grounds: assault; use of unjustified violence; physical or
                                    psychological coercion; and assault against an MPRPB;
                             1.3.7 distance from support units;
                             1.3.8 frequency of occurrence of demonstrations (i.e. mass
                                    protests); and
                             1.3.9 places inside the district and precinct that have been
                                    identified as having a high compiled criminal incidence.

 Due Date

 TCA Assessment    Training was concentrated at Specialized Units as of May 2017. However,
                   as of March 2018, training has spread Department-wide regarding GO’s
                   under the Search and Seizure Action Plan. The PRPB has complied with the
                   50% training goal and is on its way to comply with the 100% goal.

 Recommendations TCA to continue monitoring
 Compliance        Timeframe was met.

                   The Commonwealth of Puerto Rico is in partial compliance with the
                   detailed step of the Action Plan.




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VI. Feedback Committee Creation Objectives:

Activity V.VI.1.1

 Activity 1.1              Create a protocol to receive comments regularly from the offices of
                           district attorneys, public defenders, and judges of the
                           Commonwealth of Puerto Rico regarding the quality of the
                           investigations, arrests, court testimony, and indications of improper
                           conduct by MPRPBs.


 Due Date                  May, 2016


 TCA Assessment            The TCA received a Protocol draft from PRPD on May 31, 2016.
                           Compliance with the Activity: 09/30/2018.



 Recommendations           TCA to monitor


 Compliance                Timeframe was not met

                           The Commonwealth of Puerto Rico is in non-compliance.




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    II.       Self-Assessment Objectives:

Activity V.VII.1.1

 V.VII. 1.1               PRPB, through the Office of the Reform, will use various data collection
                          strategies and conduct periodic, specific, and random monitoring of the
                          different activities, operations, services, investigations, training courses
                          it provides, starting with Zones of Excellence and gradually continuing
                          through all thirteen (13) police areas and auxiliary superintendencies,
                          such as:

                                   a. Using the training plan and training announcement issued
                                      by the SAEA for each of the courses to identify their start
                                      date, the time police areas and the corresponding auxiliary
                                      superintendencies have to complete the training, and the
                                      work units that will be given training priority. The training
                                      plans for each of the thirteen (13) police areas and auxiliary
                                      superintendencies, as approved by the SAEA, will also be
                                      considered to check the specific dates during which each
                                      training course identified in this Action Plan will be offered.
                                      The Office of Reform will verify that MPRPBs are
                                      participating in scheduled training courses by using the
                                      above-mentioned sources and the attendance records for
                                      each course.

                                   b. Conducting random visits to each of the thirteen (13) police
                                      areas and the corresponding auxiliary superintendencies
                                      using the training plan approved by the SAEA in order to
                                      guarantee that PRPB personnel are being trained in
                                      accordance with the syllabi, instructor handbooks,
                                      presentation, and assessment methodology approved by
                                      the TCA.

                                   c. Visiting each of the thirteen (13) police areas and the
                                      corresponding auxiliary superintendencies and conducting
                                      random reviews of files to verify that PPR-264, “Rights for
                                      Suspects in Custody Form,” has been completed in each
                                      incident where there has been an interrogation, in
                                      accordance with the provisions of General Order, Chapter
                                      600, Section 615, entitled “Authority of the Puerto Rico
                                      Police Department to Conduct Arrests and Serve
                                      Summons.”



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                          d. Visiting each of the thirteen (13) police areas and the
                             corresponding auxiliary superintendencies and conducting
                             random reviews of files to verify that PPR-82, “Conditions
                             of People Arrested and Placed in a Cell,” has been
                             completed in each incident where an arrest and placement
                             in a cell has been reported, in accordance with the
                             provisions of General Order, Chapter 600, Section 615,
                             entitled “Authority of the Puerto Rico Police Department to
                             Conduct Arrests and Serve Summons.”

                          e. Visiting each of the thirteen (13) police areas and
                             conducting random reviews of files to verify that PPR-126,
                             “Seized Property Inventory,” has been completed in each
                             incident where property was seized as a result of either an
                             arrest or a search, and that the seizure has been reported
                             in accordance with the provisions of General Order,
                             Chapter 600, Section 612, entitled “Authority of the Puerto
                             Rico Police Department to Conduct Searches and Seizures.”

Due Date         Not Applicable

TCA Assessment   The TCA has been informed by the Reform Unit that it performs periodic
                 audits of Units and Districts to inspect for training, and proper filling of
                 PRPD forms, such as PPR-126, PPR-468, PPR-264, PPR-853, PPR-82, etc.
                 TCA was present in February 2017 when a Reform Unit Lt. had
                 conversation with Bayamon Auto Theft Unit Director about an audit the
                 Lt. had conducted the week before at his unit.
                 For this reporting period, December 2017 through March 2018, the
                 Reform Unit continues to attend site visits with the TCA.

                 a.     Members of the PRPB have been attending training on these
                 general orders (Search and Seizure Action Plan). TCA has verified that
                 PRPD has attained the 50% goal on time and that it is on schedule to
                 reach 100% on time as of this date.

                 b.       The TCA has been informed by the Reform Unit that it performs
                 periodic audits of Units and Districts to inspect for training, and proper
                 filling of PRPD forms, such as PPR-126, PPR-468, PPR-264, PPR-853, PPR-
                 82, etc.

                 c.      The TCA has been informed by the Reform Unit that it has
                 performed audits of various PRPD Districts/Precincts and Specialized
                 Units. However, the process was cut short somewhat due to the two
                 major hurricanes that heavily affected the island and many of the PRPB

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                  resources during the month of September 2017 and caused the
                  government to declare a state of emergency that lasted for several
                  months.

                  d.      The TCA has inspected dozens of PPR-82 along with members of
                  the Reform Unit during this period, December 2017 through March 2018.
                  They were well completed for the most part. The only faults found were
                  that some in some units were not properly signed by the supervisors.
                  This was called to the attention of the Directors and the Reform Unit for
                  corrective action.

                  e.     The TCA has inspected dozens of PPR-126, “Seized Property
                  Inventory” along with members of the Reform Unit during this period,
                  December 2017 through March 2018. They were well completed.

Recommendations   TCA Monitor to continue to monitor
TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance.




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                    Compliance Tables for Equal Protection and
                         Non-Discrimination Action Plan

                          Section VI. Equal Protection and Non-Discrimination
                                        Requirements: 80 to 100


I.   Policy and Procedure Development Objectives:

     Activity III.I.1.1

 VI.I 1.1                         Collaborate in the review of Regulation 4216, “Puerto Rico Police
                                  Department Personnel Regulation,” so that it establishes mechanisms
                                  that guarantee equal protection of the law in the recruitment
                                  process. This policy will form part of the Recruitment, Selection, and
                                  Hiring Compliance Area Action Plan.

 Due Date

 TCA Assessment                   See Recruitment Action Plan

 Recommendations                  n/a

 TCA Rating                       For rating, see Recruitment Action Plan




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Activity VI.I.1.2

 VI.I 1.2              Collaborate in the review of General Order 2008-3 entitled “Rules and
                       Procedures for the Evaluation of Members of the Police Department
                       and Classified Personnel.” The evaluation process will establish
                       criteria to evaluate MPRPBs in relation to whether they provide
                       unbiased services. This policy will form part of the Supervision and
                       Management Compliance Area Action Plan.

 Due Date

 TCA Assessment        See Supervision Action Plan. For this policy, P. 113 will be activated.

 Recommendations

 TCA Rating            For rating, see Supervision Action Plan




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Activity VI.I.1.3

 VI.I 1.3              Collaborate in the review of the “Regulation to Administer
                       Promotional Exams in the Puerto Rico Police Department” so that
                       these requirements are based on the knowledge, skills, and ability
                       needed to perform administrative and supervisory tasks successfully
                       in the principal substantive areas corresponding to the rank to which
                       [a candidate] aspires to be promoted. This policy will form part of the
                       Professionalization Compliance Area Action Plan.

 Due Date

 TCA Assessment        See Professionalization. Regulation was sent for review on June 30,
                       2018

 Recommendations

 TCA Rating            For rating, see Professionalization Action Plan




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Activity VI.I.1.4

 VI.I 1.4              Review Regulation 6508 entitled “Regulation to Establish the Public
                       Policy and Procedure to File Sexual Harassment Complaints in the
                       Puerto Rico Police Department.” This regulation will be amended and
                       known as “Puerto Rico Police Department Internal Regulation to
                       Prevent Harassment, Discrimination, and Retaliation.”

 Due Date              March 31, 2015 Current Effective Date: 02/29/2016


 TCA Assessment        Focus is now on training and implementation

                       The TCA is aware that the USDOJ found the original assessment and
                       rating of full compliance objectionable. PRPB has not approved a
                       harassment regulation that complies with Title VII, the Settlement
                       Agreement, or the TCA’s resolution of the USDOJ objections.

                       Training Name: VEI-8728

                       -The PRPB reports that virtual course began on 06/29/2018.
                       -Also, it was indicated that the training was sent for review on June
                       30, 2018



 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.5

 VI.I 1.5              Develop the PRPB Regulation to Establish Police Practices without
                       Discrimination, Harassment, Improper Sexual Conduct, and
                       Retaliation. It will cover PRPB processes for interacting with citizens

                       Paragraphs 80,81, 84, 87,88,113,159, 163,167,168, 171, 172, 173,
                       177-181, and 205

 Due Date              March 31, 2015 Current Effective Date: 04/13/2016

 TCA Assessment        Focus is now on training and implementation
                       -The PRPB reports that virtual course began on 06/29/2018. This
                       training is the same as indicated in the previous activity.


 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.6

 VI.I 1.6              Develop General Order for the Investigation of Domestic Violence
                       Incidents, which will repeal General Order 2006-4 entitled “Policy and
                       Procedure for the Criminal Investigation of Domestic Violence
                       Incidents,” to establish clear and detailed guidelines from a victim-
                       centered approach.

                       Paragraphs 83, 98-100, 111(D), 111(E), and 113

 Due Date              June 2015. Current Effective Date: 04/21/2016


 TCA Assessment        Focus is now on training and implementation.

                       -General Order was published on the web page on July 30, 2018.
                       -The version of the general order in its second revision and it has
                       already been signed by the Commissioner. It is not indicated if it has
                       been published.
                       -The information for this policy was revised working session in
                       July/2018.
                       -The PRPB informed that training has a duration of 8.0 hours.
                       -The version of the general order in its second revision, has already
                       been signed by the Commissioner. It is not indicated if it has been
                       published.
                       -TCA highlights the importance of this training: The experience with
                       the Office of the Women's Advocate was that the victims do not
                       trust the system. The statistics published in the Status Report tell a
                       similar story.

                       -The PRPB reported that training was 58% compliance in July 2018.
                       However, the Status Report indicates that the rate is 38%. The
                       other trainings will be given in a virtual way (they will end in October
                       / 2019).
                       -The specialized agents are the ones that channel the help to the
                       victim. They intervene, guide and refer. For this, they have a
                       directory of agencies and organizations that deal with the issue.
                       -Call average January / 2018 to July / 2018: 500 (2.3 daily calls).



 Recommendations       The TCA will continue to conduct annual reviews of the policy



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TCA Rating           Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this
                     detailed step of the Action Plan




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Activity VI.I.1.7

 VI.I 1.7              Review General Order 2006-5 entitled “Reorganization of the Puerto
                       Rico Police Department Domestic Violence Division.”

                       Paragraphs 83, 98-100, 111(D), 111(E), and 113

 Due Date              June 2015 Current Effective Date: 04/21/2016


 TCA Assessment        Focus is now on training and implementation

 Recommendations       The TCA will continue to conduct annual reviews of the policy. See
                       comments above in 1.7

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.8

 VI.I 1.8              Develop an Administrative Order for the Investigation of Domestic
                       Violence Incidents Involving PRPB Employees, which will describe the
                       processes to be followed when a PRPB employee is involved in a
                       domestic violence incident.

                       Paragraphs 83, 98-100, 111(D), 111(E), and 113

 Due Date              June 2015 Current Effective Date: 11/29/2016


 TCA Assessment        Focus is now on training and implementation

                       -The information for this policy was revised working session in
                       July/2018.
                       -The PRPB informed that training has a duration of 8.0 hours.
                       -The version of the general order in its second revision, has already
                       been signed by the Commissioner. It is not indicated if it has been
                       published.
                       -TCA highlights the importance of this training: The experience with
                       the Office of the Women's Advocate was that the victims do not
                       trust the system. The statistics published in the Status Report tell a
                       similar story.

                       -The PRPB reported that training was 58% compliance in July 2018.
                       However, the Status Report indicates that the rate is 38%. The
                       other trainings will be given in a virtual way (they will end in October
                       / 2019).
                       -The specialized agents are the ones that channel the help to the
                       victim. They intervene, guide and refer. For this, they have a
                       directory of agencies and organizations that deal with the issue.
                       -Call average January / 2018 to July / 2018: 500 (2.3 daily calls).




 Recommendations       The TCA will continue to conduct annual reviews of the policy



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TCA Rating           Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this
                     detailed step of the Action Plan




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Activity VI.I.1.9

 VI.I 1.9              Review General Order 2007-1 entitled “Duties and Responsibilities of
                       Sexual Crimes and Child Abuse Divisions” to create a General Order
                       for the Investigation of Sexual Assault Incidents establishing clear and
                       detailed guidelines for investigation processes from a victim-centered
                       approach. The processes to operate the sexual crimes hotline island-
                       wide, 24 hours a day, 7 days a week will also be established.

                       Paragraphs 93-97, 99, 205, 111(D), 111(E), and 113

 Due Date              September 2015 Current Effective Date: 10/02/2017


 TCA Assessment        On October 2, 2017, the Police Commissioner signed this Order.

                       Focus is now on training and implementation

 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.10

 VI.I 1.10             Develop an Administrative Order to Investigate Sexual Assault
                       Incidents for cases in which an incident of sexual assault involving
                       PRPB employees occurs.

                       Paragraphs 93-97, 99, 205, 111(D), 111(E), and 113

 Due Date              September 2015


 TCA Assessment        On August 8, 2017, the Police Commissioner signed the first revision
                       of this policy.

                       Focus is now on training and implementation.

                       Compliance with 50% of the training: 03/07/2018 (74%)


 Recommendations       The TCA will continue to conduct annual reviews of the policy


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.11

 VI.I 1.11             Develop General Order for Interaction with Transgender and
                       Transsexual People to provide guidelines to address matters related
                       to this group, including transportation, booking, custody, and medical
                       treatment.

                       Paragraphs 89, 38, 113, and 205

 Due Date              October 2015

 TCA Assessment        Focus is now on training and implementation. Training rate is at
                       83%.

                       On April 23, 2018 took place the second review of this policy.


 Recommendations       The TCA will continue to conduct annual reviews of the policy


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.12

 VI.I 1.12             Develop General Order for Interaction with Foreigners

                       Paragraphs 87-88,113,159,163, 167-168, 171-173, 177-181, and 205

 Due Date              December 2015 Current Effective Date: 06/20/2018


 TCA Assessment        Focus is now on training and implementation

                       -On April 23, 2018, the second revision of this order was carried out.
                       -PRPB reported that the training of this general order is available in
                       an online course from 06/29/2018.
                       -In the month of July / 2018, a meeting was held with the high level of
                       the PRPB (including the PRPB Commissioner), the USDOJ, PRDOJ, TCA
                       and at least 3 representatives of the Dominican community were
                       present (among them the Vice Consul of the Dominican Republic, the
                       representative of the CIC of Fajardo).
                       -This meeting was held to clarify the changes in the policy.
                       -The representative of the USDOJ explained that the change in policy
                       occurs as a consequence of the federal law that prohibits a state law
                       from placing restrictions on cooperation and/or exchange of
                       information with federal authorities (e.g. ICE).
                       -If so, the federal funds received by the agency are put at risk.
                       -Nevertheless, the general order does not impose the express
                       obligation that the agent inform the federal authorities about the
                       migratory status of the person intervened (which may include a
                       victim). This is so, so that the agent does not become an ICE
                       informant. Yet, the police inform the consulate when a foreigner has
                       been arrested.



 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.13

 VI.I 1.13             Review General Order 2000-3 entitled “Controls on the Use, Filing,
                       and Final Disposition of Incident Reports (NIBRS) at the Puerto Rico
                       Police Department.”

                       Paragraphs 83, 85, 86, 91, 113, and 205

 Due Date              August 2015 (Activity No. 13)

 TCA Assessment        Focus is now on training and implementation Current Effective Date:
                       09/01/2017



 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.14

 VI.I 1.14             Develop General Order for Hate Crime Data Collection and
                       Management.

                       Paragraphs 83, 85, 86, 91, 113, and 205

 Due Date              April 2016 (Activity No. 14)

 TCA Assessment        Focus is now on training and implementation Current Effective Date:
                       10/13/2016


 Recommendations       The TCA will continue to conduct annual reviews of the policy


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.15

 VI.I 1.15             Develop Hate Crime Management and Investigation Manual. The
                       PRPB will use the FBI Hate Crime Data Collection [Guidelines and
                       Training] Manual as a reference.


                       Paragraphs 83, 85, 86, 91, 113, and 205

 Due Date              April 2016 (Activity No. 15) Current Effective Date: 10/13/2016


 TCA Assessment        Focus is now on training and implementation

 Recommendations       The TCA will continue to conduct annual reviews of the policy

                       -PRPB reported that the online course is available from 06/29/2018.


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.16

 VI.I 1.16             Develop an Evaluation Protocol on Compliance with Best Practices for
                       Operational Programs to review documents, forms, policies, and
                       procedures related to arrests, traffic stops, searches, property
                       seizures, and administrative complaints.

                       Paragraphs 83, 85, 86, 91, 113, and 205

 Due Date              June 2016 (Activity No. 16) Compliance with the Activity:
                       09/30/2018

 TCA Assessment        -The Protocol was sent as "new policy" at the end of September /
                       2018. It is being reviewed this month (October / 2018).

 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met initially. However, Police Commissioner
                       requested substantial change to policy.

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       step of the Action Plan




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Activity VI.I.1.17

 VI.I 1.17             Review Special Order 2006-2 entitled “Rules and Procedures for the
                       Criminal Investigation of Institutional Abuse and/or Negligence
                       Complaints Related to Minors in Juvenile Correctional Institutions.”

                       Paragraphs 83, 85-86, 91, 113, and 205

 Due Date              August 2016

 TCA Assessment        -The agencies involved in drafting the document withdrew from the
                       negotiations. In particular, the Department of Corrections objected
                       to signing this MOU.
                       -This policy was presented for review 09/30/2018. It is being
                       reviewed at this time (October / 2018).


 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.I.1.18

 VI.I 1.18             Review “Interagency Agreement for the Investigation of Allegations
                       of Abuse in Juvenile Institutions.”

                       Paragraphs 92, 111 (D, E), and 113

 Due Date              August 2016

 TCA Assessment        PRPB and the other agencies have not finalized and implemented
                       the MOU
                       -The agencies involved in drafting the document withdrew from the
                       negotiations. In particular, the Department of Corrections objected
                       to signing this MOU.
                       -This policy was presented for review 09/30/2018. It is being
                       reviewed at this time (October / 2018).


 Recommendations       The TCA will continue to conduct annual reviews of the policy

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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II. Training Development Objectives:
Activity VI.II.1.1

 VI.II. 1.1                1.1     The Auxiliary Superintendency for Education and Training will
                           create courses to train all MPRPBs through certified instructors.
                           The training courses are as follows:

                           1.1.1 Training on the Puerto Rico Police Department Internal
                           Regulation to Prevent Harassment, Discrimination, and Retaliation
                           (Table 8), and
                           1.1.2 PRPB Regulation to Establish Police Practices Free of
                           Discrimination, Harassment, Improper Sexual Conduct, and
                           Retaliation

                           Paragraphs 80-81, 87-88, 144, 159,163, 167-168, 171-173, 177-181,
                           and 205

 Due Date                  Designing training courses corresponding to policies will begin once
                           policy has been approved and signed according to process
                           established in Appendix B – Training Design Process.

 TCA Assessment            The TCA reviewed and approved the training materials.

                           For course 1.1.1 (the internal regulation), the regulation was signed
                           by the Police Commissioner on February 2016.

                           Training should have commenced on September 2016.                Virtual
                           training was scheduled for September 2017.

                           The virtual training delay has an effect on 1.1.2, 1.1.11, 1.2.1, 1.2.2,
                           and 1.3.7,

                           -PRPB informed that, this training is available on the virtual platform
                           from 06/29/2018. No information regarding compliance rate.

 Recommendations           The TCA will continue to conduct annual reviews of the training
                           materials

 TCA Rating                Timeframe was not met

                           The Commonwealth of Puerto Rico is in partial compliance with this
                           detailed step of the Action Plan



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Activity VI.II.1.2
 VI.II. 1.1            1.1     The Auxiliary Superintendency for Education and Training will
                       create courses to train all MPRPBs through certified instructors.
                       The training courses are as follows:

                       1.1.1 Training on the Puerto Rico Police Department Internal
                       Regulation to Prevent Harassment, Discrimination, and Retaliation
                       (Table 8), and
                       1.1.2 PRPB Regulation to Establish Police Practices Free of
                       Discrimination, Harassment, Improper Sexual Conduct, and
                       Retaliation

                       Paragraphs 80-81, 87-88, 144, 159,163, 167-168, 171-173, 177-181,
                       and 205

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        Training should have commenced on September 2016. Virtual
                       training was scheduled for September 2017.

                       The virtual training delay has an effect on 1.1.2, 1.1.11, 1.2.1, 1.2.2,
                       and 1.3.7,

                       -PRPB informed that, this training is available on the virtual platform
                       from 06/29/2018. No information regarding compliance rate.

 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.3

 VI.II. 1.3            1.1.3 Training on Investigation of Domestic Violence Incidents.

                       Paragraphs 93, 98, 99, and 100

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        The TCA reviewed and approved the training materials

                       -PRPB informed that, trainings for trainers began on 08/21/2018
                       (General Order 627: Domestic Violence Incident Investigation).
                       -This training started on 12/12/2016.
                       -At 10/16/2018 expected: 50%. However, the current compliance
                       rate was 36% as per Status Report
                       -At 10/16/2019: 100%.


 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.4

 VI.II. 1.4            Training on Investigation of Sexual Assault Incidents.

                       Paragraphs 93 through 99

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        On August 31, 2017, the Police Superintendent signed the policy.

                       The TCA reviewed and approved the training materials

                       -At 03/07/2018: 50%.
                       -At 03/07/2019: 100%.


 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.5

 VI.II. 1.5            Training on Identification of and Intervention with People from the
                       Transgender and Transsexual Community.

                       Paragraph 89.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        The TCA reviewed and approved the training materials

                       -PRPB informed that, trainings for trainers began on 06/10/2017.
                       -At 10/26/2019: 100%.


 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.6

 VI.II. 1.6            Training on Intervention with Foreigners

                       Paragraph 87,88, 159, 163, 167, 168, 171-173, 177-181, and 205

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        The TCA reviewed and approved the training materials.

                       Policy was approved on May 26, 2016.

                       Training should have commenced through virtual training which was
                       scheduled for December 2016.

                       The virtual training delay has an effect on 1.1.2, 1.1.11, 1.2.1, 1.2.2,
                       and 1.3.7,

                       There are serious issues pertaining to the technological
                       implementation. PRPD is likely to request an extension of 6-12
                       months.

                       There are at least five activities pending approval: user manual,
                       certification protocol, terms for compliance, determination of hours
                       per course, and run a technological capacity assessment.

                       There are at least five activities pending approval: user manual,
                       certification protocol, terms for compliance, determination of hours
                       per course, and run a technological capacity assessment.

                       PRPB reported that they are not in compliance.

 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan

Observations:
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Activity VI.II.1.7

 VI.II. 1.7            1.1.8 Training on Techniques to Collect Demographic Information.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        See IT Action Plan.
                       -The training required in this activity will be ready in December /
                       2018.


 Recommendations

 TCA Rating            For rating, see IT Action Plan




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Activity VI.II.1.8

 VI.II. 1.8            Training on Techniques to Collect Demographic Information

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        Policy has not been approved. No training materials.
                       -The training required in this activity will be ready in December /
                       2018. This topic will be included in NIBRS training.


 Recommendations
 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.9

 VI.II. 1.9            1.1.9 Training on Hate Crime Data Collection, Management, and
                       Investigation.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed according to process
                       established in Appendix B – Training Design Process.

 TCA Assessment        Policy was approved on October 13, 2016.

                       Virtual training was scheduled for May 2017.

                       The virtual training delay has an effect on 1.1.2, 1.1.11, 1.2.1, 1.2.2,
                       and 1.3.7,

                       -PRPB informed that, this training is available on the virtual platform
                       from 06/29/2018.

 Recommendations


 Compliance            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.10

 VI.II. 1.10           Training on Investigation of Incidents at Juvenile Institutions Related
                       to Complaints of Institutional Abuse and/or Negligence against
                       Minors.

 Due Date              Designing training courses corresponding to policies will begin once
                       policy has been approved and signed in accordance with process
                       established in Appendix B – Training Design Process.

 TCA Assessment        -PRPB informed that, this training is available on the virtual platform
                       from 06/29/2018.
                       - the training was being offered in Ponce and Humacao.
                       -At 12/03/2019: 50% (projected compliance date)
                       -At 12/03/2020: 100% (projected compliance date)


 Recommendations


 Compliance            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.II.1.11

 VI.II. 1.11           Multitopic training

 Due Date              6 months after approval and signing of the “Regulation to Prohibit
                       Discrimination, Harassment, and Retaliation” by superintendent
                       (regulation was approved on April 13, 2016)

 TCA Assessment        Focus is now on implementation

                       Policies were approved in 2016.

                       Virtual training was scheduled for November 2016.

                       The PRPB requested an extension to deliver the training material by
                       January 2019

                       -This activity affects the activity 1.2.3 Training for Employees (page
                       86).
                       -In this training will be included the REA-624 and the training of the
                       GO 626 (1.1.6, page 82).
                       -Also, it will be evaluated to include activities 2.3.5 and 2.3.7 (page
                       248)


 Recommendations       The TCA will continue to conduct annual reviews of the training
                       materials

 Compliance            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan. Once the extension is granted, the
                       TCA will update the rating




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Activity VI.III.1.1

 VI.III. 1.1           To provide police services in an equitable, respectful, and unbiased
                       manner; foster greater professionalization; promote more trust in the
                       community; and prevent more crime, PRPB will implement training ,
                       new policies and procedures, equipment, technologies, operational
                       and administrative strategies, among others.

                       The training to be implemented will cover the following topics:
                       a.      training on Regulation to Prohibit Discrimination, Harassment,
                       and Retaliation (Table 21)
                       b.      training on investigation of domestic violence incidents (Table
                       21)
                       c.      training on investigation of sexual assault incidents (Table 21)
                       d.      training on gender identification and expression in the
                       transgender and transsexual community (Table 20)
                       e.      training on intervention with foreigners (Table 21)
                       f.      use of automated system to prepare electronic incident
                       reports (NIBRS), as established in the Information Systems and
                       Technology Compliance Area Action Plan (Table 21)
                       g.      more effective techniques to collect demographic information
                       accurately (Table 21)
                       h.      training on hate crime data collection, management, and
                       investigation (Table 21)
                       i.      training on investigation of incidents at juvenile institutions
                       regarding complaints of institutional abuse and/or negligence against
                       minors (Table 20)
                       j.      multitopic training aimed at MPRPBs (Table 21)
                       k.      Multitopic training aimed at civilian employees of the PRPB
                       (Table 21)

 Due Date              Within the twelve (12) months following the final approval of the
                       training material and the incorporation of the changes
                       recommended, the SAEA will simultaneously train fifty percent (50%)
                       of PRPB personnel through its certified instructors.

                       The remaining fifty percent (50%) of the MPRPBs will be trained
                       within the following twelve (12) months, once the training of the first
                       group has been completed.




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TCA Assessment      Focus is now on implementation

Recommendations


Compliance          Timeframe was not met

                    The Commonwealth of Puerto Rico is in partial compliance with this
                    detailed step of the Action Plan




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Activity VI.III.1.4

 VI.III. 1.4           Sexual Crimes Hotline to answer calls island-wide 24 hours a day, 7
                       days a week. The Hotline will be implemented in accordance with the
                       provisions and guidelines adopted in the Sexual Crimes General
                       Order.

 Due Date              After approval of policy

 TCA Assessment        Focus is now on implementation. There were 965 calls in 2017
                       based on PRPB reports.
                       -At 04/10/2016: 100%

 Recommendations       Next steps are to audit hotline information


 Compliance            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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Activity VI.III.1.5

 VI.III. 1.4           The SASG, through the Medical Services Office and the Division of
                       Psychology of the PRPB, will implement the corresponding processes
                       to evaluate the competence of MPRPBs who have been involved in
                       sexual assault or domestic violence incidents and determine if their
                       physical and/or mental state warrants disarming or rearming them,
                       according to the corresponding policies of the PRPB.

 Due Date              After approval of policy

 TCA Assessment        Focus is now on implementation

 Recommendations       Next steps are to audit PRPB documentation

 Compliance            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity VI.III.1.6

 VI.III. 1.6           The SASG will establish guidelines and periodically evaluate the
                       effectiveness of the programs, operational plans, initiatives, and
                       activities, as well as the efficiency of its processes. The duties of the
                       corresponding work unit at the SASG will include studying, analyzing,
                       and evaluating work processes in PRPB units, proposing and
                       developing measurement indicators for the service areas of the PRPB,
                       and measuring and documenting the same. The corresponding work
                       unit at the SASG must make recommendations to the superintendent
                       about actions that must be taken to correct the identified
                       deficiencies, taking into consideration generally accepted police
                       practices .

 Due Date              After approval of policy

 TCA Assessment        Focus is now on implementation. Under current revision.

 Recommendations       Next steps are to audit PRPB documentation. To date, the TCA has
                       not seen any protocol for evaluation in compliance with the
                       appropriate schedule

 Compliance            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VI.IV.1.1

 VI.III. 1.6           Develop crime rate data collection system using the criminal incident
                       and resource allocation reporting system as a starting point to
                       prepare electronic incident reports. This system is already being used
                       in the Utuado Zone of Excellence as part of a pilot plan to evaluate its
                       operation and to improve its processes. It will eventually be
                       implemented in the remaining Zones of Excellence and other units as
                       established in the Information Systems and Technology Compliance
                       Area Action Plan. (Table 25)

 Due Date              12 months (once NIBRS and any other policies affecting System are
                       ready) (policy was approved on January 1, 2016)

 TCA Assessment        See IT Action Plan

 Recommendations


 Compliance            For rating, see IT Action Plan




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                 Compliance Tables for Recruitment Action Plan

                       Section III. Recruitment, Selection and Hiring
                                  Requirements: 101 to 108

I.       Policy and Procedure Development Objectives:

Activity VII.I.1.1


 VII.I.1.1             Collaborate in the development of the General Order establishing the
                       profile of PRPB officers as a guideline for the selection of the best suited
                       and most qualified candidates. This profile consists of a description of the
                       abilities, attitudes, and aptitudes that a candidate will need to hold the
                       rank of officer efficiently and is made up of a set of standards describing
                       the following:
                         • basic knowledge candidates must have to be an MPRPB;
                         • abilities candidates must possess;
                         • attitudes candidates must adopt;
                         • aptitudes candidates will apply to demonstrate their competence;
                         • outcomes officers will obtain in the performance of their duties;
                         • contexts in which said performance takes place.
                       This set of standards is based on the ideal performance of an PRPB officer.
                       This General Order is included in the Professionalization Compliance Area
                       Action Plan.

 Due Date              September 2016

 TCA Assessment        TCA has not reviewed a General Order establishing the profile of PRPB
                       officers. Pending review.

 Recommendations The PRPB must make this a priority

 TCA Rating            Timeframe was not met.

                       The Commonwealth of Puerto Rico is in non-compliance with this step of
                       the Action Plan




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Activity VII.I.1.2


 VII.I.1.2           Collaborate in the review of Public Law No. 53-1996, as amended, Puerto
                     Rico Police Department Act, to adapt it to the requirements of the
                     Agreement for the Sustainable Reform of the Puerto Rico Police
                     Department and to require an associate degree or its equivalent as part of
                     the requirements for MPRPB candidates. This activity was completed
                     through Public Law No. 112 of July 30, 2014, which amended the PRPB Act.
                     This policy will form part of the Policy and Procedure Compliance Area
                     Action Plan.

 Due Date            November 2017

 TCA Assessment      Due to new DPS law, Public Law No. 53 has been vacated. Pending review.

 Recommendations TCA has not finished reviewing the General Order establishing the profile
                 of PRPB officers. Pending review.

 TCA Rating          Timeframe was not met. Policy was submitted on July 2018. Memorandum
                     of approval should be petitioned soon.

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity VII.I.1.3

 VII.I.1.3           Collaborate in the development of a draft bill to amend Public Law No. 53
                     of June 10, 1996, as amended, better known as the “Puerto Rico Police
                     Department Act” to establish the probationary period evaluation
                     requirements and the fact that hiring a person for the rank of cadet is
                     provisional until the candidate completes the training, which will include
                     800 hours of field training. Once the above-mentioned requirements are
                     met, the person will be promoted to the rank of officer. This activity is
                     included in the Policy and Procedure Compliance Area Action Plan.

 Due Date            March 2017

 TCA Assessment      Due to new DPS law, Public Law No. 53 has been vacated. Pending review.

 Recommendations TCA assessment has not reviewed a General Order establishing the profile
                 of PRPB officers. Pending review.

 TCA Rating          Timeframe was not met. Policy was submitted on July 2018. Memorandum
                     of approval should be petitioned soon.

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity VII.I.1.4

 VII.I.1.4           Collaborate in the review of Regulations Number 4216, “PR Police
                     Department Personnel Regulations,” to establish eligibility criteria in the
                     MPRPB candidate investigation process that will include a psychological
                     evaluation, credit history, criminal record, employment history, use and
                     abuse of controlled substances (including anabolic steroids), ability to work
                     with diverse communities, and impartiality. To such effect, any candidate
                     who meets the selection requirements and has passed each phase of the
                     recruitment process satisfactorily will be included in a roster of eligible
                     candidates for the rank of cadet. The roster of eligible candidates will be in
                     effect for six (6) months. This policy will form part of the Policies and
                     Procedures Compliance Area Action Plan.

 Due Date            November 2017

 TCA Assessment      Time period for eligible candidate list is still under discussion by the PRPB
                     and DOJ. Pending review.

 Recommendations TCA assessment has not reviewed a General Order establishing the profile
                 of PRPB officers. Pending review.

 TCA Rating          Timeframe was met.

                     The Commonwealth of Puerto Rico is in partial compliance with this step
                     of the Action Plan




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Activity VII.I.1.5

 VII.I.1.5           Collaborate in the review of Regulations No. 6403, “Puerto Rico Police
                     Department Officials and Employees Controlled Substance Detection
                     Program Regulations,” to include the process to have PRPB candidates
                     undergo controlled substance detection tests. This activity is part of the
                     Administrative Complaints Action Plan.

 Due Date

 TCA Assessment

 Recommendations



 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity VII.I.1.6

 VII.I.1.6           Develop a General Order for the MPRPB Recruitment Program establishing
                     clear guidelines and objectives to recruit MPRPB candidates. This General
                     Order will establish the responsibilities of the PRPB Division of Recruitment
                     director, whose duties are equivalent to those of the recruitment officer
                     as established in the Agreement. The director will be responsible for
                     implementing the MPRPB Recruitment Program. (Table 1)

 Due Date            September 2016

 TCA Assessment      Decision to have a recruit class in 2018 has not yet been determined by the
                     PRPB. Impact of General Order remains to be seen.

                     Partial Compliance. After further review by the TCA Core Team, it is
                     recommended that the PRPD receive partial compliance. Full compliance
                     was not accomplished because the Department of Public Safety has not
                     determined under Article 2.07 (Members of the Bureau of the Police:
                     Income and Re-entry. [The Secretary shall establish, by regulation, the
                     requisites of entry and re-entry of every member of the Bureau of the
                     Police and shall have the authority to understand such matters) if the
                     Puerto Rico Police Bureau was going to maintain a recruitment section and
                     under what requirements.

                     Former Commissioner Fraley reports that she had several meetings to
                     determine what tasks of Human Resources would remain with the
                     Commissioner and the Puerto Rico Police Bureau. She stated that she felt
                     that recruitment should remain with the Puerto Rico Police Bureau and
                     they would do the recruiting for regular police officers (cadets) and
                     auxiliary police officers. The policy has been developed, but the
                     Department of Public Safety has not yet made a final decision.

                     -a review of the GO was sent for review on 09/30/2018, 2018 in "redline.
                     -The Strategic Recruitment Plan was sent as an annex to the general order.
                     -As a result of this general order, a committee composed of components
                     of the PRPB will be developed (e.g. press, academy, commissioner's office)
                     -As part of the discussion, the PRPB reported that it is planning to carry out
                     an Academy of 400 cadets, as part of the recommendations given P. 13’s
                     the study.



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Recommendations The Department of Public Safety needs to make a final decision on this
                General Order.

TCA Rating         Timeframe was met

                   The Commonwealth of Puerto Rico is in partial compliance with this
                   detailed step of the Action Plan




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Activity VII.I.1.6


 VII.I.1.7           The recruitment policies for undercover officers will be reviewed to
                     guarantee compliance with the requirements established in the
                     Agreement for the Sustainable Reform of the PRPB. This procedure will
                     be established by the superintendent because of the nature of their
                     duties, the security measures that will be taken, and the danger of the
                     investigations conducted by said personnel. The review and
                     implementation of this policy will, therefore, be strictly confidential.
                     (Table 2)
 Due Date            May 2017

 TCA Assessment      Non-Compliance. The TCA Core Team reviewed a policy in regard to the
                     recruitment for undercover officers in January 2018. The TCA denied
                     additional extensions. Policy should be finalized by April 2018.

 Recommendations     See above


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this
                     detailed step of the Action Plan




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    I.        Training Development Objectives:

Activity VII.II.1.1

 VII.II.1.1               The SAEA will develop a multi-topic training course aimed at the
                          personnel who will work on the various phases of the recruitment
                          process, which will address the following topics:
                          1.1.1 General Order for MPRPB Recruitment (includes candidate
                                eligibility requirements and rules and procedures to follow in each
                                phase of the process);
                          1.2.1 phases of recruitment process;
                          1.3.1 guidance on effective recruitment interview techniques;
                          1.4.1 applicable equal protection and non-discrimination statutes, as
                                well as generally accepted police practices;
                          1.5.1 candidate profile;
                          1.6.1 informational guide on recruitment process; and
                          1.7.1 techniques to interview members of community organizations.
                                (Table 3)
 Due Date                 Designing training courses corresponding to policies will begin once the
                          policy has been approved and signed in accordance with the process
                          established in Appendix B – Training Design Process.
 TCA Assessment           Given that the training course has not yet been developed, the TCA has
                          not reviewed this multi-topic training course aimed at personnel who will
                          work on the various phases of the recruitment process.

 Recommendations          The TCA will continue training reviews in accordance with Agreement
                          requirements.
 TCA Rating               Timeframe was not met

                          The Commonwealth of Puerto Rico is in non-compliance with this
                          detailed step of the Action Plan




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Activity VII.II.1.2

 VII.II.1.2           The SAEA will create a field investigations training course together with
                      personnel from the Office of Safety and Protection assigned to SAIC in
                      order to train investigators on criminal record investigation techniques
                      and PRPB candidate recruitment procedures to continue
                      professionalizing the personnel and to strengthen the community’s trust
                      and help provide police services in an equitable, respectful, and unbiased
                      manner in accordance with generally accepted police practices. (Table 4)
 Due Date             Designing training courses corresponding to policies will begin once the
                      policy has been approved and signed in accordance with the process
                      established in Appendix B – Training Design Process
 TCA Assessment       Given that the training course has not yet been developed, the TCA has
                      not reviewed this

 Recommendations      Continue review in accordance with Agreement requirements


 TCA Rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this
                      detailed step of the Action Plan




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    II.        Implementation Objectives:

Activity VII.III.1.1

 VII.III.1.1               The recruitment officer of the PRPB superintendent will be the Division
                           of Recruitment director, who will be responsible for implementing the
                           General Order for the PRPB Recruitment Program together with a task
                           force that includes officers with various work experiences and for
                           establishing alliances with historically unrepresented groups in the PRPB.
                           (Table 5)
 Due Date                  August 2017

 TCA Assessment            Partial Compliance. After further review by the TCA Core Team, it is
                           recommended that the PRPD receive partial compliance. Full
                           compliance was not accomplished because the Department of Public
                           Safety has not determined under Article 2.07 (Members of the Bureau
                           of the Police: Income and Re-entry. [The Secretary shall establish, by
                           regulation, the requisites of entry and re-entry of every member of the
                           Bureau of the Police and shall have the authority to understand such
                           matters) if the Puerto Rico Police Bureau was going to maintain a
                           recruitment section and under what requirements.

 Recommendations           Continue review in accordance with Agreement requirements.


 TCA Rating                Timeframe was met

                           The Commonwealth of Puerto Rico is in partial compliance with this
                           detailed step of the Action Plan




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Activity VII.III.1.2

 VII.III.1.2           With the purpose of defining and standardizing the various phases that
                       make up the PRPB recruitment process and guarantee the uniformity of
                       the same for all candidates for the position of cadet, the recruitment
                       officer and his or her task force will develop a flowchart of the various
                       phases of the recruitment process, from the announcement to the
                       selection, which will allow for the specification and standardization of the
                       process in equal conditions for all candidates. The limitations and
                       weaknesses of the process will be discovered by analyzing it to make it
                       more streamlined and efficient to successfully attract and promote the
                       hiring of qualified candidates, pursuant to the applicable non-
                       discrimination statutes and protecting candidates’ rights in accordance
                       with generally accepted police practices. This flowchart will be included in
                       the General Order for the MPRPB Recruitment Program. (Table 6)
 Due Date              September 2016

 TCA Assessment        A recruitment flowchart has not been developed or submitted to the TCA
                       Core Team.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this detailed
                       step of the Action Plan




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Activity VII.III.1.3

 VII.III.1.3           Develop an informational and procedures brochure or guide for
                       candidates for the position of cadet at the PRPB that will provide
                       guidance and help them identify various aspects of the recruitment
                       process so that they can successfully complete it.
 Due Date              September 2016

 TCA Assessment        A hard copy recruitment guide/brochure has not been developed by the
                       PRPD, however, there is one available on the PRPD website.


 Recommendations       Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance
                       with this detailed step of the Action Plan




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Activity VII.III.1.4

 VII.III.1.4           Develop and implement an attractive advertising campaign to promote
                       recruiting PRPB candidates targeted at various sectors of the community
                       in educational institutions (including high schools), job fairs, shopping
                       centers, press, radio, military bases, social networks, public service
                       programs offered by the television media, and the PRPB webpage. To
                       such effect, the PRPB will carry out the following activities:
                          • Publish the minimum requirements established to qualify for the
                            position of cadet on the PRPB webpage and the government portal.
                            The announcement and requirements for candidates will also be
                            published in local, regional, and national newspapers.
                          • Develop informational brochures about the recruitment process
                            including the minimum requirements and steps to follow to
                            complete the process successfully, which will be distributed at the
                            various job fairs that will be organized throughout the island.
                          • Design a recruitment poster with the requirements that must be
                            met to become a candidate for the position of cadet and general
                            information about the recruitment process, which will be
                            distributed at various universities, technical colleges, and
                            educational, shopping, and community centers. (Table 8)
 Due Date              Once the Superintendent has made the decision and vacant positions
                       and budgets have been identified.
 TCA Assessment        Decision to have a recruit class in 2018 has not yet been determined by
                       the PRPD. Pending review.


 Recommendations       Continue review in accordance with Agreement requirements.

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VII.III.1.5

 VII.III.1.5           The PRPB Office of Safety and Protection will establish an Analysis, Control,
                       and Quality Committee to guarantee the integrity and reliability of job
                       candidate investigations. (Table 9)
 Due Date              When recruitment process begins.

 TCA Assessment        Decision to have a recruit class in 2017 has not yet been determined by the
                       PRPB. TCA assessment has not reviewed information on Analysis, Control,
                       and Quality Committee. Pending review.



 Recommendations Continue review in accordance with Agreement requirements.



 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this detailed
                       step of the Action Plan




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Activity VII.III.1.6

 VII.III.1.6           The PRPB and the SAEA will establish performance evaluation
                       requirements that comply with the objectives required by the PRPB. The
                       evaluation of cadets will establish parameters to evaluate their
                       performance, aptitude, and abilities during their training period at the
                       PRPB Academy, which will include 800 hours of field training. Once they
                       have passed the training, they will be promoted to the rank of officer.
                       (Table 10)
 Due Date              After recruitment and after training requirements are met cadets will be
                       officers.
 TCA Assessment        Performance evaluation requirements have been established by the
                       PRPB and SAEA.
                       General Order 702 for the SAEA was signed and published, as well as the
                       General Order that pertains to cadet training and performance
                       evaluation requirements. The curriculum (all course material) has to be
                       revised every 6 months regardless of scheduled classes. The General
                       Order identifies the months that the revisions are required. Additionally,
                       performance evaluations for faculty members was included in the
                       General Order.
 Recommendations       Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this detailed
                       step of the Action Plan




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Activity VII.III.2.1

 VII.III.2.1           Within the twelve (12) months following the final approval of the training
                       material of the Recruitment Manual and the Multi-topic Workshop on
                       the recruitment process and the incorporation of the changes
                       recommended, the SAEA will have its certified instructors simultaneously
                       train fifty percent (50%) of PRPB employees. The remaining fifty percent
                       (50%) of the personnel will be trained within the following twelve (12)
                       months, once the training of the first group has been completed.
                       Training will begin on the date indicated in the Announcement issued by
                       the SAEA and the Training Plan provided by each Police Area and Office
                       of the Assistant Superintendent upon SAEA approval. The following
                       topics will be addressed:
                       2.1.1 General Order for MPRPB Recruitment (includes candidate
                               eligibility requirements and rules and procedures to follow in each
                               phase of the process);
                       2.1.2 phases of recruitment process;
                       2.1.3 guidance on effective recruitment interview techniques;
                       2.1.4 applicable equal protection and non-discrimination statutes, as
                               well as generally accepted police practices;
                       2.1.5 candidate profile;
                       2.1.6 informational guide on recruitment process; and
                       2.1.7 techniques to interview members of community organizations.
                               (Table 11)

 Due Date              Training will be implemented as indicated in Appendix C – Training
                       Implementation Process.
 TCA Assessment        Decision to have a recruit class in 2017 has not yet been determined by
                       the PRPB. Pending review.


 Recommendations       Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan


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IV Self-Assessment Activities:
Activity VII.IV.1.1

 VII.IV.1.1            The PRPB, through the Office of Reform, will conduct periodic, specific, and
                       random monitoring of the different activities, services, investigations, and
                       training courses.
 Due Date              May 2017

 TCA Assessment        The PRPB Report adequately documents PRPB’s self-assessment process.
                       Members of the Reform conduct random monitoring of the different
                       activities, services, investigations and training courses with Members of
                       the TCA Core Team on site visits.

 Recommendations Continue review in accordance with Agreement requirements.



 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this detailed
                       step of the Action Plan




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Activity VII.IV.1.2


 VII.IV.1.2           On an annual basis, [the PRPB] will compile a random sample of the work
                      MPRPBs are performing to verify the positions available.
 Due Date             May 2017

 TCA Assessment       The PRPB Report adequately documents PRPB’s self-assessment process



 Recommendations      Continue review in accordance with Agreement requirements.



 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VII.IV.1.3

 VII.IV.1.3           The Implementation and Compliance Section of the Office of Reform,
                      together with the Analysis, Control, and Quality Committee of the Office of
                      Safety and Protection, will develop a Candidate Investigation Monitoring
                      Program to ensure compliance with the Job Candidate Investigation Guide
                      and guarantee high-quality, efficient investigations.
 Due Date             May 2017

 TCA Assessment       The TCA Core Team has not reviewed a Job Candidate Investigation Guide
                      will guarantee high-quality, efficient investigations.

 Recommendations Continue review in accordance with Agreement requirements.



 TCA Rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this detailed
                      step of the Action Plan




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Activity VII.IV.1.4

 VII.IV.1.4           The Implementation and Compliance Section of the Office of Reform,
                      together with the Analysis, Control, and Quality Committee of the Office of
                      Safety and Protection, will design the evaluation instrument to conduct
                      efficient, high-quality monitoring of the components of the recruitment
                      process.
 Due Date             May 2017

 TCA Assessment       The TCA Core Team has not reviewed a Job Candidate Investigation Guide
                      will guarantee high-quality, efficient investigations.


 Recommendations Continue review in accordance with Agreement requirements.



 TCA Rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this detailed
                      step of the Action Plan




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         Compliance Tables for Policies and Procedures Action Plan

                              Section VIII. Policies and Procedures
                                   Requirements: 109 to 116



Compliance Area Summary:
Assessment: no applicable


I.         Policy and Procedure Development Objectives:

Activity VIII.I.1.1


     VIII.I.1.1            Develop a draft bill to amend Public Law Number 53 of June 10, 1996,
                           as amended, known as the “Puerto Rico Police Department Act,” to
                           adapt it to the requirements established in the Agreement for the
                           Sustainable Reform of the PRPB.

                           Paragraphs 109, 110

     Due Date              March 2017 Current Effective Date: 04/10/2017

     TCA Assessment        With the implementation of the new DPS law (Act 20-2017), Law
                           Number 53 (Act 53-1996) has been vacated

     Recommendations       See TCA Message. PRPB needs administrative and operational
                           framework under Act 20.
     TCA Rating            Timeframe was not met

                           The Commonwealth of Puerto Rico is in non-compliance with this
                           detailed step of the Action Plan. To date, PRPB has not addressed the
                           issue of how will codify relevant provisions of the Agreement in the
                           absence of Law 53.




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Activity VIII.I.1.2


  VIII.I.1.2          Review General Order, Chapter 100, Section 102, entitled
                      “Reorganization of the Puerto Rico Police Department Organizational
                      Structure,” with the purpose of adjust said General Order to the
                      changes resulting from the creation and reorganization of other work
                      units and the Agreement.

                      Paragraphs 109, 110

  Due Date            September 2017.

  TCA Assessment      See TCA Message. PRPB needs administrative and operational
                      framework under Act 20. This was submitted on June 2018. TCA
                      approved October 1, 2018.
  Recommendations     Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was not met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan.




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Activity VIII.I.1.3

                      Review General Order, Chapter 100, Section 106, entitled “Creation of
  VIII.I.1.3          the Office of the Assistant Superintendent for Field Operations,” to
                      incorporate the changes in the structure and duties of the Office of the
                      Assistance Superintendent for Field Operations and the Zones of
                      Excellence.
                      Paragraphs 109, 110, 111 (a)

  Due Date            November 2016

  TCA Assessment      PRPB reviewed the above policy with TCA input during the past
                      reporting period. The new revision should be ready by September 2018.
                      PRPB is likely to request an extension. New policy must take into
                      account new structure of PRPB under Act 20 and other organizational
                      changes.

  Recommendations Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was initially met. Timeframe was not met for first annual
                      revision. Policy reviewed and submitted on September 2018.

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan.




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Activity VIII.I.1.4

                      Review General Order, Chapter 100, Section 111, entitled “Creation and
  VIII.I.1.4          Functional Organization of the Office of Reform,” to adjust it to the
                      changes that have been made after its creation.

  Due Date            October 2016

  TCA Assessment  Signed by Superintendent April 2015.
                  Revised October 2016.
                  Under current revision (October 2018)
  Recommendations Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met. However, the annual revision has been delayed.

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.1.5

  VIII.I.1.5          Review General Order, Chapter 100, Section 107, entitled “Creation of
                      the Office of the Assistant Superintendent for Criminal Investigations,”
                      to incorporate the changes made in the organizational structure to
                      comply with the provisions of the Agreement.

  Due Date            September 2016 Current Effective Date: 30/06/2017

  TCA Assessment      PRPB reviewed above order with TCA input during the past reporting
                      period. Currently under revision.

  Recommendations     Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.1.6

                      Develop a General Order establishing the organizational and functional
  VIII.I.1.6          structure of the Bureau of Drugs, Narcotics, Vice Control, and Illegal
                      Weapons, as well as its duties and responsibilities, in accordance with
                      the Agreement and generally accepted police practices.

  Due Date            April 2016 Current Effective Date: 06/25/2018

  TCA Assessment      PRPB developed the above order with TCA input during last reporting
                      period
                      Signed by Superintendent Sept/2016. Review is pending PC signature

  Recommendations     Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.2.1
                      Review Regulations No. 4216, entitled “Puerto Rico Police Department
  VIII.I.2.1          Personnel Regulations,” in its entirety to adapt it to Public Law No. 53-
                      1996, as amended, known as the “Puerto Rico Police Department Act of
                      1996;” to Public Law No. 184-2004, as amended, known as the “Public
                      Service Human Resources Administration Act;” to other applicable
                      legislation; and to the requirements of the Agreement for the
                      Sustainable Reform of the PRPB. The Regulations will also clarify that
                      they will only apply to the personnel belonging to the PRPB Rank
                      System.

  Due Date            November 2017

  TCA Assessment      See TCA Message. PRPB needs administrative and operational
                      framework under Act 20.
                      Policy is under review to adapt to Ley 20-2017, Ley 26-2017 y Ley 8-
                      2017.
                      Reviewed in September 2018.
  Recommendations     Continue review in accordance with Agreement requirements

                      Under deliberation.
  TCA Rating          Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this
                      detailed step of the Action Plan.




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Activity VIII.I.3.1

                      Review AO 2015-1-IV, entitled “Administrative Order for Traffic Stops,” to
  VIII.I.3.1          adapt it to the new generally accepted police practices in relation to the
                      services provided to people and police interventions with them. ORDEN
                      GENERAL 619

  Due Date            March 2016 Current Effective Date: 05/25/2016

  TCA Assessment      Training pending, waiting approval of the Superintendent.


  Recommendations     Continue review in accordance with Agreement requirements

  TCA Rating          Timeframe was met

                      APROBADA PENDIENTE DE FIRMA.

                      The Commonwealth of Puerto Rico is in full compliance with this detailed
                      step of the Action Plan




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Activity VIII.I.3.2

                      Review Uniform Crime Reporting Handbook (NIBRS).
  VIII.I.3.2

  Due Date            November 2016
  TCA Assessment      NIBRS manual approved Jan 2016. Current Effective Date: 09/01/2017


  Recommendations     Continue review in accordance with Agreement requirements. Review
                      Pilot status and forms in July and August with PRPB (see IT Action Plan
                      Section IV.1.2.1 Table 30)

  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan until NIBRS training is in place.




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Activity VIII.I.4.1

                      Review the corresponding Memoranda of Understanding with federal
  VIII.I.4.1          and state agencies to adapt them to the Agreement and establish
                      requirements that federal agencies must meet to request the services
                      of PRPB officers, procedures that federal agencies must follow in
                      relation to MPRPBs assigned to task forces in order to comply with the
                      Agreement, and required processes, such as training, performance
                      evaluations and reporting of any incident of improper conduct or use of
                      force by MPRPBs under their supervision, among others.

  Due Date            February 2017

  TCA Assessment      The PRPB submitted a list of proposed changes. The TCA reviewed the
                      list but has not seen these changes implemented.

  Recommendations     Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan until TCA recommendations are in
                      place.




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Activity VIII.I.4.2

                       Develop an Operations Manual establishing the rules and procedures
  VIII.I.4.2          that MPRPBs assigned to the investigation units of the Bureau of Drugs,
                      Narcotics, Vice Control, and Illegal Weapons will follow to incorporate the
                      new and revised policies in accordance with state and federal laws and
                      generally accepted police practices related to searches, seizures, arrests,
                      and extraditions. This Operations Manual will be classified as confidential
                      due to the nature of the operations conducted, the protection and
                      confidentiality of the logistics during the time it takes to search for
                      information, the danger of the investigations, and the security measures
                      that these MPRPBs must take.

  Due Date            November 2016

  TCA Assessment      It is the understanding of the TCA that this Manual is currently being
                      worked on. PRPB is checking status.


  Recommendations Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.4.3

                      Develop a Procedures Manual for Investigators of the Criminal
  VIII.I.4.3          Investigation Corps to standardize the processes conducted during the
                      entire criminal investigation in order to meet the fundamental
                      requirements in accordance with the law and generally accepted police
                      practices and to safeguard the confidentiality of the same. This
                      Operations [sic] Manual will be classified as confidential due to the nature
                      of the operations conducted, the protection and confidentiality of the
                      logistics during the time it takes to search for information, the danger of
                      the investigations, and the security measures that these MPRPBs must
                      take.

  Due Date            November 2016

  TCA Assessment      Procedures Manual for CIC Investigators developed by PRPB and
                      approved by TCA during the past reporting period. Annual revision was
                      scheduled for April 2018. Not signed yet. FBI contributed to this policy.
  Recommendations Continue review in accordance with Agreement requirements



  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.5.1

                      Review Special Order No. 2010-7, entitled “Local Monthly Academies,’”
  VIII.I.5.1          to establish the procedure that will be followed when developing the
                      continuous monthly training and at the beginning of each shift or service
                      periods; and to record and certify the discussion of general orders
                      and/or administrative orders during local “academies” as an alternate
                      valid method to the training offered by the SAEA in order to supplement
                      the 40 hours of formal training in accordance with the Supervision and
                      Management Compliance Area.

  Due Date            October 2016

  TCA Assessment      The Special order has been developed, and approved by the TCA. Under
                      review.

  Recommendations Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.6.1

                      Develop a General Order to create the Virtual Library on the PRPB
  VIII.I.6.1          webpage where all policies and procedures in force, as well as the
                      different forms, will be published and indexed so that PRPB employees
                      can easily access them and the general public can also have access to the
                      information. Thus, people from the community and MPRPBs will be able
                      to access laws, regulations, policies, and procedures applicable to the
                      PRPB that are not confidential. A section will be established in this
                      webpage where people from the community can submit comments about
                      policies and procedures in process or approved by the superintendent.
                      The comments will be evaluated and analyzed by the Office of Reform
                      and, if they are in keeping with generally accepted police practices and
                      the respective Constitutions and laws of the United States of America and
                      the Commonwealth of Puerto Rico, they will be incorporated, as
                      appropriate, during the annual reviews. This activity is included in the
                      Information Systems and Technology Action Plan.


  Due Date            December 2016 Compliance with the Activity: 07/31/2018. Pending to
                      go in effect.
  TCA Assessment      To date has not been established by IT Bureau. According to IT Action
                      Plan pending finalization of all policies before implemented.

                      The PRPB is likely to request an extension. New Policy should be
                      scheduled for July 2018.

  Recommendations


  TCA Rating          Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this
                      detailed step of the Action Plan




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Activity VIII.I.6.2

                      Develop an Administrative Order establishing the rules and
  6.2                 procedures PRPB personnel must follow to protect the copyrights of
                      graphic works and photos and the source codes of software, among
                      others, produced by the PRPB. (Table 15)

  Due Date            October 2016

  TCA Assessment      Changed from Administrative Order to a Regulation. The Regulation
                      required process through PR Administrative Law. It was approved, but
                      never implemented. The PRPB will create a General Order.

                      Policy was approved, but not signed.
  Recommendations     Continue review in accordance with Agreement requirements


  TCA Rating          Timeframe was met


                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan until General Order is developed




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Activity VIII.I.7.1

                      Review General Order 73-4, entitled “Rules and Procedures for the
  VIII.I.7.1          Tactical Operations Unit.” This policy is included in the Use of Force
                      Action Plan.

  Due Date

  TCA Assessment      See Use of Force (boxes)


  Recommendations


  TCA Rating          For rating, see the Use of Force Action Plan.


Activity VIII.I.7.2

                       Develop General Order for the Mobilization of the Division of Special
  VIII.I.7.2           Weapons and Tactics (SWAT). This policy is included in the Use of
                       Force Action Plan.

  Due Date

  TCA Assessment       See use of Force (boxes)

  Recommendations


  TCA Rating
                       For rating, see the Use of Force Action Plan.

Activity VIII.I.7.3

                       Develop Protocol to Regulate K-9 [Officers] in Patrolling Duties. This
  VIII.I.7.3           policy is included in the Use of Force Action Plan.

  Due Date

  TCA Assessment       See Use of Force (boxes)




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  Recommendations


  TCA Rating
                       For rating, see the Use of Force Action Plan.




Activity VIII.I.7.4


  VIII.I.7.4          Develop General Order for Crowd Control and Incident Management.
                      This policy is included in the Use of Force Action Plan.

  Due Date

  TCA Assessment      See Use of Force (Boxes)


  Recommendations

  TCA Rating
                      For rating, see the Use of Force Action Plan.

Activity VIII.I.7.5


  VIII.I.7.5          Develop General Order to Create Force Investigation Unit (FIU). This
                      policy is included in the Use of Force Action Plan.

  Due Date

  TCA Assessment      See use of Force (boxes)

  Recommendations


  TCA Rating
                      For rating, see the Use of Force Action Plan.




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Activity VIII.I.7.6


  VIII.I.7.6          Review General Order 2010-14, entitled “Creation of the Office of the
                      Assistant Superintendent for Professional Responsibility.” This policy is
                      included in the Administrative Complaints Action Plan.

  Due Date

  TCA Assessment      See administrative complaints (boxes)


  Recommendations


  TCA Rating
                      For rating, see the Administrative Complaints Action Plan.

Activity VIII.I.7.7

                      Review Regulations 6506, entitled “Regulations to Process
  VIII.I.7.7          Administrative Complaints against Members of the Force and Civilian
                      Personnel who Work at the PRPB,” to adopt the new “Regulations to
                      Receive, Process, and Manage Administrative Complaints.” This policy is
                      included in the Administrative Complaints Action Plan.

  Due Date

  TCA Assessment      See administrative complaints (boxes)



  Recommendations



  TCA Rating          For rating, see the Administrative Complaints Action Plan.




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Activity VIII.I.7.8

                      Develop the Administrative Complaint Investigation Procedures Manual.
  VIII.I.7.8          This policy is included in the Administrative Complaints Action Plan.

  Due Date

  TCA Assessment      See administrative complaints (boxes)


  Recommendations



  TCA Rating          For rating, see the Administrative Complaints Action Plan.


Activity VIII.I.7.9

                       Review General Order 2010-1, entitled “Reorganization of the Internal
  VIII.I.7.9           Audit Office.” This policy is included in the Supervision and
                       Management Action Plan.

  Due Date

  TCA Assessment       See Supervision Action Plan (boxes)


  Recommendations


  TCA Rating           For rating, see the Supervision Action Plan.




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Activity VIII.I.7.10

                        Develop Procedures Manual establishing Guidelines to Conduct
  VIII.I.7.10           Operational and Administrative Inspections. This policy is included in
                        the Supervision and Management Action Plan.

  Due Date

  TCA Assessment        See Supervision Action Plan (boxes)



  Recommendations


  TCA Rating            For rating, see the Supervision Action Plan.


Activity VIII.I.7.11

                       Review Regulations No. 6403, entitled “Puerto Rico Police Department
  VIII.I.7.11          Officials and Employees Controlled Substance Detection Program
                       Regulations.” This policy is included in the Administrative Complaints
                       Action Plan.

  Due Date

  TCA Assessment       See Administrative Complaints (boxes)



  Recommendations

  TCA Rating           For rating, see the Administrative Complaints Action Plan.



Activity VIII.I.7.12

                       Review General Order, Chapter 600, Section 605, entitled “Report and
  VIII.I.7.12          Investigation of Use-of-Force Incidents by Members of the Puerto Rico
                       Police Department.” This policy is included in the Use of Force Action
                       Plan.

  Due Date

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  TCA Assessment       See Use of Force (boxes)




  Recommendations




  TCA Rating
                       For rating, see the Use of Force Action Plan.

Activity VIII.I.7.13

                       Develop General Order to establish the Force Review Boards. This policy
  VIII.I.7.13          is included in the Use of Force Action Plan.

  Due Date

  TCA Assessment       See Use of Force (boxes)


  Recommendations

  TCA Rating
                       For rating, see the Use of Force Action Plan.

Activity VIII.I.7.14

                       Develop General Order for the Investigation of Domestic Violence
  VIII.I.7.14          Incidents. This policy is included in the Equal Protection and Non-
                       Discrimination Action Plan.

  Due Date

  TCA Assessment       See Equal Protection (boxes)




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  Recommendations


  TCA Rating
                       For rating, see the Equal Protection Action Plan.

Activity VIII.I.7.15

                       Develop Administrative Order for Intervention in Domestic Violence
  VIII.I.7.15          Incidents Involving PRPB Employees. This policy is included in the Equal
                       Protection and Non-Discrimination Action Plan.

  Due Date

  TCA Assessment       See Equal Protection (boxes)


  Recommendations


  TCA Rating
                       For rating, see the Equal Protection Action Plan.


Activity VIII.I.7.16

                        Develop General Order for the Investigation of Sexual Assault
  VIII.I.7.16           Incidents. This policy is included in the Equal Protection and Non-
                        Discrimination Action Plan.

  Due Date

  TCA Assessment        See Equal Protection (boxes)


  Recommendations


  TCA Rating
                        For rating, see the Equal Protection Action Plan.




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Activity VIII.I.7.17

                        Develop General Order for the Investigation of Sexual Assault
  VIII.I.7.17           Incidents. This policy is included in the Equal Protection and Non-
                        Discrimination Action Plan.
  Due Date

  TCA Assessment        See Equal Protection (boxes)



  Recommendations



  Compliance
                        For rating, see the Equal Protection Action Plan.

Activity VIII.I.7.18

                       Develop Administrative Order to Investigate Sexual Assault Incidents for
  VIII.I.7.18          cases in which an incident of sexual assault involving PRPB employees
                       occurs. This policy is included in the Equal Protection and Non-
                       Discrimination Action Plan.

  Due Date

  TCA Assessment       See Equal Protection (boxes)


  Recommendations


  TCA Rating
                       For rating, see the Equal Protection Action Plan.

Activity VIII.I.7.19

                       Develop General Order for the MPRPB Recruitment Program establishing
  VIII.I.7.19          clear guidelines and objectives to recruit MPRPB candidates. This policy
                       is included in the Recruitment, Selection, and Hiring Action Plan.

  Due Date



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  TCA Assessment       See Recruitment Action Plan (boxes)


  Recommendations


  TCA Rating
                       For rating, see the Recruitment Action Plan.

Activity VIII.I.7.20

                        Develop General Order establishing the rules and procedures for the
  VIII.I.7.20           Cadet Training Program. This policy is included in the Training Action
                        Plan.

  Due Date

  TCA Assessment        See Training Action Plan



  Recommendations


  TCA Rating
                        For rating, see the Training Action Plan.

Activity VIII.I.7.21

                       Review General Order, Chapter 700, Section 701, entitled “Creation of
  VIII.I.7.21          the Operational Supervision Officers Program.” This policy is included in
                       the Training Action Plan.

  Due Date

  TCA Assessment       See Training Action Plan


  Recommendations



  TCA Rating
                       For rating, see the Training Action Plan.


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Activity VIII.I.7.22

                       Review Operations Manual of the Field Training Program (FTOs). This
  VIII.I.7.22          policy is included in the Training Action Plan.

  Due Date

  TCA Assessment       See Training Action Plan


  Recommendations


  TCA Rating
                       For rating, see the Training Action Plan.

Activity VIII.I.7.23

                       Develop Administrative Order establishing the rules and procedures for
  VIII.I.7.23          the development and implementation of training and re-training for
                       PRPB employees. This policy is included in the Training Action Plan.

  Due Date

  TCA Assessment       See Training Action Plan


  Recommendations


  TCA Rating
                       For rating, see the Training Action Plan.




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II. Training Development Objectives:

Activity VIII.II.1.1

                       The Office of the Assistant Superintendent for Education and Training
  VIII.II.1.1          will develop a Multi-topic Training Program to train all MPRPBs assigned
                       to SAIC on the law, applicable case law, and the rules and procedures to
                       follow when conducting criminal investigations. The Program will begin
                       with training on the following topics: (Table 16)
                            1.1.1    criminal law;
                            1.1.2    Rules of Criminal Procedure;
                            1.1.3    evidence law;
                            1.1.4    constitutional and civil rights;
                            1.1.5    criminal investigation techniques;
                            1.1.6    interview and interrogation techniques;
                            1.1.7    scene work;
                            1.1.8    court testimony;
                            1.1.9    criminal photography; and
                            1.1.10 preparation of files and reports.

                          MPRPBs assigned to the SAIC will also take training corresponding to
                          the following policies during the period established on the timeline:
                          1.1.11 General Order, Chapter 100, Section 107, entitled
                                    “Creation of the Office of the Assistant Superintendent for
                                    Criminal Investigations”; and
                          1.1.12 Operational Manual for Criminal Investigation Corps
                                    Investigator Procedures.

  Due Date

  TCA Assessment       Training module not yet developed



  Recommendations


  TCA Rating           Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VIII.II.1.2

  VIII.II.1.2          The Office of the Assistant Superintendent for Education and Training
                       will develop a Multi-topic Training Program to train all MPRPBs
                       assigned to the Bureau of Drugs, Narcotics, Vice Control, and Illegal
                       Weapons on the following topics: (Table 17)
                            1.2.1   criminal law;
                            1.2.2   Rules of Criminal Procedure;
                            1.2.3   evidence;
                            1.2.4   criminal investigation techniques;
                            1.2.5   interview and interrogation techniques;
                            1.2.6   Confidential Special Order 2010-1;
                            1.2.7   police corruption;
                            1.2.8   identification of controlled substances;
                            1.2.9   undercover operations;
                            1.2.10 controlled substance sale surveillance;
                            1.2.11 court testimony;
                            1.2.12 forensic photography and video
                            1.2.13 General Order to create the “Bureau of Drugs, Narcotics,
                                    Vice Control, and Illegal Weapons”; and
                            1.2.14 Operations Manual establishing the rules and procedures
                                    that MPRPBs assigned to the investigation units of the
                                    Bureau of Drugs, Narcotics, Vice Control, and Illegal
                                    Weapons will follow.

  Due Date

  TCA Assessment       Training module not yet developed except for corruption (1.2.7) that
                       should be completed by December 2018.
  Recommendations


  TCA Rating           Timeframe was not met. Extension requested.

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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Activity VIII.II.1.3

                        The Office of the Assistant Superintendent for Education and Training
  VIII.II.1.3           will develop a training course aimed at all MPRPBs on the law,
                        applicable case law, and the rules and procedures to follow when
                        conducting traffic stops in various scenarios, answering emergency
                        calls, and inspecting motor vehicles, among others. (Table 18)

  Due Date

  TCA Assessment        Training module not yet developed



  Recommendations

  TCA Rating            Timeframe was not met

                        The Commonwealth of Puerto Rico is in non-compliance with this
                        detailed step of the Action Plan


Activity VIII.II.1.4

                       The Office of the Assistant Superintendent for Education and Training
  VIII.II.1            will develop a training course aimed at all MPRPBs on the Uniform Crime
                       Reporting Handbook (NIBRS). (Table 19)

  Due Date             MANUAL DE NIBRS, EN PROCESO PENDIENTE DE NUEVO ENVIO JUNTO A
                       LA ORDEN GENERAL

  TCA Assessment       Training module not yet developed. This should be ready by November
                       2018
  Recommendations


  TCA Rating           Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this
                       detailed step of the Action Plan




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III. Training Implementation Objective:

Activity VIII.III.1.1

                        Within the twelve (12) months following the final approval of the
  VIII.III.1.1          training material and the incorporation of the changes recommended,
                        the SAEA will have its certified instructors simultaneously train fifty
                        percent (50%) of all MPRPBs assigned to the SAIC on the topics included
                        in the Multi-topic Program. The remaining fifty percent (50%) of the
                        personnel will be trained within the following twelve (12) months, once
                        the training of the first group has been completed. Training will begin on
                        the date indicated in the Announcement issued by the SAEA and the
                        Training Plan provided by each Police Area and Office of the Assistant
                        Superintendent upon SAEA approval. The Multi-topic Training Program
                        that will be implemented will address the following topics:
                                              i. criminal law;
                                             ii. Rules of Criminal Procedure;
                                            iii. evidence law;
                                            iv. constitutional and civil rights;
                                             v. criminal investigation techniques;
                                            vi. interview and interrogation techniques;
                                           vii. scene work;
                                          viii. court testimony;
                                            ix. criminal photography;
                                             x. preparation of files and reports;
                                            xi. General Order, Chapter 100, Section 107, entitled
                                                 “Creation of the Office of the Assistant
                                                 Superintendent for Criminal Investigations”; and
                                           xii. Operational Manual for Criminal Investigation
                                                 Corps Investigator Procedures.

  Due Date

  TCA Assessment


  Recommendations


  TCA Rating            Timeframe was not met. Extension requested.

                        The Commonwealth of Puerto Rico is in non-compliance with this
                        detailed step of the Action Plan


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Activity VIII.III.1.2

                        Within the twelve (12) months following the final approval of the
  VIII.III.1.2          training material and the incorporation of the changes recommended,
                        the SAEA will have its certified instructors simultaneously train fifty
                        percent (50%) of all MPRPBs assigned to the Bureau of Drugs,
                        Narcotics, Vice Control, and Illegal Weapons. The remaining fifty
                        percent (50%) of the personnel will be trained within the following
                        twelve (12) months, once the training of the first group has been
                        completed. Training will begin on the date indicated in the
                        Announcement issued by the SAEA and the Training Plan provided by
                        each Police Area and Office of the Assistant Superintendent upon
                        SAEA approval.

                        The Multi-topic Training Program that will be implemented will
                        address the following topics: (Table 21)
                                1.1.1 criminal law;
                                1.1.2 Rules of Criminal Procedure;
                                1.1.3 evidence law;
                                1.1.4 criminal investigation techniques;
                                1.1.5 interview and interrogation techniques;
                                1.1.6 Special Confidential Order 2010-1;
                                1.1.7 police corruption;
                                1.1.8 controlled substances identification;
                                1.1.9 undercover operations;
                                1.1.10 controlled substance sale surveillance;
                                1.1.11 court testimony;
                                1.1.12 forensic photography and video;
                                1.1.13 General Order to create the “Bureau of Drugs,
                                        Narcotics, Vice Control, and Illegal Weapons”; and
                                1.1.14 Operations Manual establishing the rules and
                                        procedures that MPRPBs assigned to the investigation
                                        units of the Bureau of Drugs, Narcotics, Vice Control,
                                        and Illegal Weapons will follow.


  Due Date

  TCA Assessment




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  Recommendations


  TCA Rating             Timeframe was not met

                         The Commonwealth of Puerto Rico is in non-compliance with this
                         detailed step of the Action Plan

Activity VIII.III.1.3

                        Within the twelve (12) months following the final approval of the
  VIII.III.1.3          training material and the incorporation of the changes recommended,
                        the SAEA will have its certified instructors simultaneously train fifty
                        percent (50%) of all MPRPBs on the law, applicable case law, and the
                        rules and procedures that must be followed when conducting traffic
                        stops in various scenarios, answering emergency calls, and inspecting
                        motor vehicles, among others. The remaining fifty percent (50%) of the
                        personnel will be trained within the following twelve (12) months, once
                        the training of the first group has been completed. Training will begin on
                        the date indicated in the Announcement issued by the SAEA and the
                        Training Plan provided by each Police Area and Office of the Assistant
                        Superintendent upon SAEA approval.

  Due Date

  TCA Assessment


  Recommendations

  TCA Rating            Timeframe was not met

                        The Commonwealth of Puerto Rico is in non-compliance with this
                        detailed step of the Action Plan




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Activity VIII.III.1.4

                        Within the twelve (12) months following the final approval of the
  VIII.III.1.4          training material and the incorporation of the changes recommended,
                        the SAEA will simultaneously train fifty percent (50%) of all MPRPBs on
                        the Uniform Crime Reporting Handbook (NIBRS). The remaining fifty
                        percent (50%) of the personnel will be trained within the following
                        twelve (12) months, once the training of the first group has been
                        completed. Training will begin on the date indicated in the
                        Announcement issued by the SAEA and the Training Plan provided by
                        each Police Area and Office of the Assistant Superintendent upon SAEA
                        approval.

  Due Date

  TCA Assessment


  Recommendations

  TCA Rating            Timeframe was not met

                        The Commonwealth of Puerto Rico is in non-compliance with this
                        detailed step of the Action Plan




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    IV.      Implementation Objectives:

Activity VIII.IV.1.1

                        The PRPB will develop a Strategic Plan for Implementation in Zones of
                        Excellence establishing the goals, objectives, and activities aimed at
  VIII.IV.1.1           measuring the percentage of MPRPBs who have been trained on each of
                        the implemented policies to comply with the procedures related to the
                        eleven (11) compliance areas included in the Reform Agreement. (Table
                        24)
  Due Date

  TCA Assessment        TCA has not seen strategic plan. However, training progress is above
                        90% in all areas

  Recommendations



  TCA Rating            Timeframe was met

                        The Commonwealth of Puerto Rico is in full compliance with this
                        detailed step of the Action Plan




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Activity VIII.IV.1.2

                       Hold local “academies” at each work unit based on the guidelines
  VIII.IV.1.2          provided by the PRPB to ensure that the PRPB personnel know the
                       policies and procedures established by the Agency.
  Due Date             ongoing

  TCA Assessment       The TCA has visited local academies during the Core Team filed visits
                       and has reviewed training logs
  Recommendations      Continue review in accordance with Agreement requirements


  TCA Rating           Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this
                       detailed step of the Action Plan




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    V.         Self-Assessment Objectives

Activity VIII.V.1.1

                          The PRPB, through the Office of Reform, will evaluate the effectiveness of
  VIII.V.1.1              the rules and procedures adopted in its policies and the knowledge
                          acquired in the training of PRPB employees. The results of these
                          evaluations will be analyzed to measure the level of knowledge, attitudes,
                          aptitudes, and abilities; to identify if there is a substantial deficiency; and,
                          if necessary, to take the corrective actions in the policies, training courses,
                          and re-training courses so that the procedures adopted are feasible,
                          operationally enforceable, and sustainable. This activity will be conducted
                          through an Evaluation Protocol on Compliance with Operational
                          Programs Best Practices, which will help measure the effectiveness of the
                          rules and training of PRPB employees by reviewing documents, forms,
                          policies, and procedures related to arrests, traffic stops, searches,
                          property seizures, and administrative complaints to ensure that police
                          services are provided in an equitable, respectful, and unbiased manner;
                          attaining ongoing professionalization of MPRPBs; restoring the
                          community’s trust; and effectively preventing crime based on generally
                          accepted police practices and without prejudice on the basis of race,
                          color, ethnicity, national origin, religion, sex, age, disability, sexual
                          orientation, gender identity or expression, or political beliefs or affiliation
                          and pursuant to the rights, privileges, and immunities guaranteed or
                          protected by the respective Constitutions and laws of the United States
                          and the Commonwealth of Puerto Rico. The development of this Protocol
                          will be part of the Equal Protection and Non-discrimination Compliance
                          Area Action Plan.
  Due Date                ongoing

  TCA Assessment



  Recommendations Continue review in accordance with Agreement requirements


  TCA Rating              Timeframe was met

                          The Commonwealth of Puerto Rico is in full compliance with this
                          detailed step of the Action Plan




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Activity VIII.V.1.2

                      The PRPB, through the Office of Reform, will submit a monthly report
  VIII.V.1.2          to the superintendent on the policies and procedures scheduled as of
                      the date submitted so that collaborators from the various Offices of the
                      Assistant Superintendents can provide draft policies and procedures in
                      advance on the date scheduled for each of them and avoid affecting
                      their delivery to the TCA and USDOJ.
  Due Date            ongoing

  TCA Assessment


  Recommendations     Continue review in accordance with Agreement requirements

  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.V.1.3

                      The PRPB, through the Office of Reform, will submit a monthly report to
  VIII.V.1.3          the superintendent on the progress of the policies and procedures,
                      according to the due date and status of each with the TCA and USDOJ.
  Due Date            ongoing

  TCA Assessment


  Recommendations



  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.V.1.4

                      On a monthly basis, the PRPB, through the Office of Reform, will verify
  VIII.V.1.4          that the corresponding policies have been delivered as scheduled,
                      including the annual reviews established in the Agreement. In the event
                      of noncompliance, it will evaluate the situation that resulted in not
                      delivering the policy or procedure on the scheduled date and prepare a
                      report for the superintendent stating the reasons for the noncompliance,
                      its findings and recommendations, and any agreements reached with the
                      TCA and USDOJ.
  Due Date            ongoing

  TCA Assessment


  Recommendations


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.V.1.5

                      The Implementation and Compliance Section of the Office of Reform will
  VIII.V.1.5          compile the statistical data and information needed to ensure that
                      MPRPBs are being informed about the new and revised policies and
                      procedures established by the PRPB through the local “academies.” This
                      will allow the PRPB to obtain the statistical data and information needed
                      to make sure that MPRPBs are receiving the corresponding training and
                      to measure progress and the level of compliance during the first twelve
                      (12) months and the twelve (12) months following the final approval of
                      the training material, starting with the Zones of Excellence and,
                      afterwards, according to the priority work units established in this Action
                      Plan. It will also identify the aspects that need to be corrected or
                      amended.
  Due Date            ongoing

  TCA Assessment


  Recommendations


  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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Activity VIII.V.1.6

                      The PRPB, through the Office of Reform, will evaluate the
  VIII.V.1.6          recommendations received from all PRPB employees and people from the
                      community in relation to all the policies and procedures in force that are
                      not confidential in nature. The comments will be evaluated and analyzed
                      by the Office of Reform and, if they are in keeping with generally accepted
                      police practices and the respective Constitutions and laws of the United
                      States of America and the Commonwealth of Puerto Rico, they will be
                      incorporated, as appropriate, during the annual reviews.
  Due Date            ongoing

  TCA Assessment



  Recommendations




  TCA Rating          Timeframe was met

                      The Commonwealth of Puerto Rico is in full compliance with this
                      detailed step of the Action Plan




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                    Compliance Tables for Training Action Plan

                                     Section IX. Training
                                   Requirements: 117 to 134


I.   Policy and Procedure Development Objectives:

Activity IX.I.1.1

 IX.I.1.1              Develop a General Order establishing the rules and procedures of the
                       Prior-to-Service Education and Training Program (Cadets) and the review
                       of said curricula.

 Due Date              October 2016 Current Effective Date: 04/12/2017


 TCA Assessment        The TCA has been monitoring PRPB’s progress. To date PRPB has
                       complied with the requirement outlined in the Action Plan. The General
                       Order for pre-service training has been approved, signed and distributed
                       to PRPD personnel. It was signed on 12 April 2017 as OG 700-702.
                       Pending PC signature

 Recommendations Continue annual reviews in accordance with Agreement requirements.

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in full compliance with this detailed
                       step of the Action Plan




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Activity IX.I.1.2

 IX.I.1.2           Develop the new PRPB Academy Student Regulations, which will repeal
                    Regulations No. 7669, entitled “Puerto Rico Criminal Justice College
                    Student Regulations,” to adapt them to the amendments to Public Law
                    No. 53-1996, as amended, known as the “Puerto Rico Police Department
                    Act,” and with the requirements of the Agreement.

 Due Date           July 27, 2017

 TCA Assessment     In progress. Pending PC signature

 Recommendations    Continue review in accordance with Agreement requirements.

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in partial compliance with this
                    detailed step of the Action Plan




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Activity IX.I.1.3

 IX.I.1.3           Review General Order, Chapter 100, Section 108, entitled “Creation of
                    the Office of the Assistant Superintendent for Education and Training,”
                    to incorporate the requirements included in the Reform Agreement and
                    establish, among other things, the powers and responsibilities in relation
                    to guaranteeing that PRPB employees receive full and effective training
                    aimed at protecting their security and that of the people through
                    theoretical and practical training and re-training that integrate
                    community policing principles and that these principles promote
                    equitable, respectful, and unbiased police services. The selection,
                    certification, and recertification processes and the responsibilities of
                    instructors will also be included. Furthermore, the duties and
                    responsibilities of PRPB training coordinators will be established.

 Due Date           September 2016 Current Effective Date: 12/19/2016


 TCA Assessment     General Order entitled “Creation of the Office of the Assistant
                    Superintendent for Education and Training,” has been approved by the
                    Superintendent.

 Recommendations    Continue review in accordance with Agreement requirements.

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity IX.I.1.4

 IX.I.1.4           Develop an Administrative Order establishing the rules and procedures to
                    develop and implement training and re-training for PRPB employees. It will
                    also include the rules and procedures for enrollment, compiling
                    information (statistics), files, and certification of training and re-training
                    taken by PRPB personnel, as well as the electronic distribution of the
                    annual Training Plan prepared by the SAEA and the PRPB training
                    coordinators.

 Due Date           August 2017

 TCA Assessment     Administrative order establishing rules and procedures to develop and
                    implement training and retraining for PRPD employees is currently in
                    place. This is anew order OG 700-703. No information regarding PC
                    signature.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in partial compliance with this
                    detailed step of the Action Plan




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Activity IX.I.1.5

 IX.I.1.5           Review General Order, Chapter 700, Section 701, entitled “Creation of
                    the Operational Supervision Officers Program,” to adapt it to the
                    Operations Manual of the Field Training Program and the requirements
                    of the Agreement.

 Due Date           March 2016 Current Effective Date: 09/13/2016


 TCA Assessment     The TCA has been monitoring PRPB’s progress. To date PRPB has
                    complied with the requirement outlined in the Action Plan.

 Recommendations    Continue review in accordance with Agreement requirements.

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity IX.I.1.6

 IX.I.1.6           Review the Operations Manual of the Field Training Program (FTOs) to
                    adapt it to the new and revised policies established at the PRPB.
 Due Date           March 2016 Current Effective Date: 09/13/2016

 TCA Assessment     Review of the Operational Manual of the Field Training Program has been
                    approved by the TCA and approved by the Superintendent to adapt it to
                    the new and revised policies established at the PRPB.
                    The final Field Operations Manual was approved on 13 September 2016.
                    The OG 700-702 was approved, signed and distributed to PRPD personnel.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity IX.I.1.7

 IX.I.1.7           Review General Order 88-1, entitled “Rules and Procedures for the
                    Appearance of Police Department Personnel at Court and Administrative
                    Proceedings,” to adapt it to the requirements of the Agreement and make
                    sure that appearances at court and administrative proceedings will not
                    affect MPRPB attendance at the training established in the different Action
                    Plans. The Protocols establishing the processes to follow to carry out the
                    appropriate coordination are included in the Searches and Seizures and the
                    Supervision and Management Action Plans.

 Due Date           November 2016 Current Effective Date: 04/24/2018


 TCA Assessment     General Order 88-1 entitled “Rules and Procedures for the Appearance of
                    Police Department Personnel at Court and Administrative Proceedings”
                    has not yet been approved. The TCA has been monitoring PRPB’s progress.
                    PRPB has not complied with the requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating         For rating, see Supervision and Search and Seizure Action Plans [non-
                    compliance]




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II. Pre-service Training Development Objectives:

Activity IX.II.1.1

 IX.II.1.1             The Criminal Justice College ceased to exist on July 30, 2014, with the
                       passing of Public Law No. 112-2014, which repealed Public Law No. 155-
                       1999, as amended, that had created the Criminal Justice College. Thus,
                       the SAEA no longer offers college degrees, and as such, the
                       accreditations of the Puerto Rico Council on Higher Education or the
                       Middle States Association of Colleges and Schools are no longer
                       required. To such effect, the SAEA took steps to request the closing of
                       the CJC and submitted certification number 2015-175 signed by Mr.
                       Ricardo Aponte Parsi, chairman of the Puerto Rico Council on Higher
                       Education, acknowledging the closing of the Gurabo and Villalba
                       campuses of the Criminal Justice College effective July 30, 2014. The TCA
                       requested a copy of the certification. The SAEA has assumed
                       responsibility for the CJC, thus complying with requirement number 118
                       of the Agreement.

 Due Date              See Schedules B & C.

 TCA Assessment        General Order has been approved but may be changed. The TCA has
                       been monitoring PRPB’s progress. PRPB has complied with the
                       requirement outlined in the Action Plan. Training module reviewed in
                       March 2018
                       .
 Recommendations       Continue review in accordance with Agreement requirements.

 TCA Rating            n/a




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Activity IX.II.2.1

 IX.II.2.1           The SAEA will develop a Prior-to-Service Education and Training Program
                     (cadets), which will consist of at least nine hundred (900) contact hours.
                     The Program will be based on an analysis of factors, which will include, but
                     will not be limited to, the following topics:
                     2.1.1 criminology;
                     2.1.2 fundamentals of communication and writing reports and forms;
                     2.1.3 basic techniques in the use and management of force;
                     2.1.4 fundamentals of psychology and human relations in the police
                             context;
                     2.1.5 ethical police principles;
                     2.1.6 criminal law;
                     2.1.7 introduction to human and civil rights;
                     2.1.8 basic use and handling of firearms;
                     2.1.9 physical efficiency;
                     2.1.10 special legislation;
                     2.1.11 criminal procedure;
                     2.1.12 searches and seizures;
                     2.1.13 fundamentals of the administration of the Traffic Act;
                     2.1.14 psychosocial and investigative aspects of domestic violence, sexual
                             harassment, and LGBTTIQ communities;
                     2.1.15 conflict mediation and resolution;
                     2.1.16 intermediate use and handling of firearms;
                     2.1.17 intermediate techniques in the use and management of force;
                     2.1.18 certification in the use and handling of pepper spray;
                     2.1.19 introduction to juvenile justice;
                     2.1.20 Rules of Evidence and court testimony;
                     2.1.21 organizational conduct in the police context;
                     2.1.22 criminal investigation;
                     2.1.23 management and protocol in crisis situations;
                     2.1.24 operational skills simulated scenarios;
                     2.1.25 community policing;
                     2.1.26 cybernetics in criminal investigation;
                     2.1.27 blood pathogens, response in cases of emergency, and basic first-
                             aid skills;
                     2.1.28 interview and interrogation; and
                     2.1.29 equal protection and non-discrimination (homeless persons) and
                             human trafficking.

 Due Date            Designing training courses corresponding to policies will begin once the
                     policy has been approved and signed in accordance with the process
                     established in Appendix B – Training Design Process.


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 TCA Assessment       Prior-to-Service Education and Training Program (cadets) has been
                      approved by the TCA and the Superintendent.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




III. Field Training Development Objectives:

Activity IX.III.1.1

 IX.III.1.1             The SAEA will develop the FTO Training Program to train future FTOs or
                        re-train MPRPBs who have previously acted as FTOs. It will consist of a
                        minimum of eighty (80) contact hours, which include theory and
                        practice. The Training and Re-training Program will be based on an
                        analysis of factors, which will include, but will not be limited to, the
                        following topics: (Table 9)
                        1.1.1 Agreement requirements;
                        1.1.2 introduction to the Field Training Program;
                        1.1.3 use of force and use-of-force incident reports;
                        1.1.4 reports and forms;
                        1.1.5 criminal law and criminal procedure;
                        1.1.6 civil rights (focused on protections against unreasonable
                                searches and seizures and equal protection and non-
                                discrimination);
                        1.1.7 Traffic Act and traffic stops;
                        1.1.8 sexual harassment and other prohibited employment practices;
                        1.1.9 criminal investigation;
                        1.1.10 supervision and management;
                        1.1.11 arrests and citations;
                        1.1.12 mechanics of the arrest;
                        1.1.13 searches and seizures;
                        1.1.14 community policing (effective conflict resolution techniques);
                        1.1.15 interaction with transgender and transsexual persons;
                        1.1.16 intervention with foreigners;
                        1.1.17 weapons authorized by the PRPB;
                        1.1.18 police ethics;

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                  1.1.19 crisis intervention;
                  1.1.20 Operations Manual of the Field Training Program; and
                  1.1.21 basic teaching techniques.

Due Date          Designing training courses corresponding to policies will begin once the
                  policy has been approved and signed in accordance with the process
                  established in Appendix B – Training Design Process.

TCA Assessment    FTO Training Program has been developed, implemented, and approved
                  by the TCA and the Commissioner.
                  The General Order for pre-service training has been approved, signed
                  and distributed to PRPD personnel. It was signed on 12 April 2017 as OG
                  700-702.

Recommendations   Continue review in accordance with Agreement requirements.

TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance with this
                  detailed step of the Action Plan




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Activity IX.III.1.2

 IX.III.1.2           The PRPB will develop the Field Training Program for recently graduated
                      officers, which will consist of at least nine hundred (900) hours of
                      practice and be divided into four (4) phases as detailed below:
                      1.2.1 Phase I – Integration – Response to Incidents Not Constituting an
                                      Emergency;
                      1.2.2 Phase II – Response to Incidents Constituting an Emergency;
                      1.2.3 Phase III – Activities while Patrolling; and
                      1.2.4 Phase IV – Criminal Investigations.

 Due Date             Designing training courses corresponding to policies will begin once the
                      policy has been approved and signed in accordance with the process
                      established in Appendix B – Training Design Process

 TCA Assessment       The Field Training Program has been developed, implemented, and
                      approved by the TCA and the Superintendent.

 Recommendations      Continue review in accordance with Agreement requirements.

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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IV. Training and Re-training Implementation Objectives:

A.      Pre-service Training Program:

Activity IX.IV.A.1.1

 IX.IV.A.1.1           The SAEA will implement a Prior-to-Service Education and Training
                       Program (cadets) that will consist of at least nine hundred (900) contact
                       hours. The Program will be based on an analysis of factors, which will
                       include, but will not be limited to, the following topics: (Table 11)
                       1.1.1 criminology;
                       1.1.2 fundamentals of communication and writing reports and forms;
                       1.1.3 basic techniques in the use and management of force;
                       1.1.4 fundamentals of psychology and human relations in the police
                              context;
                       1.1.5 ethical police principles;
                       1.1.6 criminal law;
                       1.1.7 introduction to human and civil rights;
                       1.1.8 basic use and handling of firearms;
                       1.1.9 physical efficiency;
                       1.1.10 special legislation;
                       1.1.11 criminal procedure;
                       1.1.12 searches and seizures;
                       1.1.13 fundamentals of the administration of the Traffic Act;
                       1.1.14 psychosocial and investigative aspects of domestic violence, sexual
                              harassment, and LGBTTIQ communities;
                       1.1.15 conflict mediation and resolution;
                       1.1.16 intermediate use and handling of firearms;
                       1.1.17 intermediate techniques in the use and management of force;
                       1.1.18 certification in the use and handling of pepper spray;
                       1.1.19 introduction to juvenile justice;
                       1.1.20 Rules of Evidence and court testimony;
                       1.1.21 organizational conduct in the police context;
                       1.1.22 criminal investigation;
                       1.1.23 management and protocol in crisis situations;
                       1.1.24 operational skills simulated scenarios;
                       1.1.25 community policing;
                       1.1.26 cybernetics in criminal investigation;
                       1.1.27 blood pathogens, response in cases of emergency, and basic first-
                              aid skills;
                       1.1.28 interview and interrogation; and
                       1.1.29 equal protection and non-discrimination (homeless persons) and
                              human trafficking.


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Due Date          Training will be implemented as indicated in Appendix C – Training
                  Implementation Process.

TCA Assessment    Prior-to-Service Education and Training Program (cadets) has been
                  approved by the TCA and the Superintendent. The TCA has been
                  monitoring PRPB’s progress. PRPB has complied with the requirement
                  outlined in the Action Plan.

Recommendations Continue review in accordance with Agreement requirements.


TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance with this
                  detailed step of the Action Plan




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B. Field Training Program:

Activity IX.IV.B.1.1

 IX.IV.B.1.1           It will consist of a minimum of eighty (80) contact hours, which include
                       both theory and practice. The Training and Re-training Program will be
                       based on an analysis of factors, which will include, but will not be limited
                       to, the following topics: (Table 12)
                       1.1.1 Agreement requirements;
                       1.1.2 introduction to the Field Training Program;
                       1.1.3 use of force and use-of-force incident reports;
                       1.1.4 reports and forms;
                       1.1.5 criminal law and criminal procedure;
                       1.1.6 civil rights (focused on protections against unreasonable searches
                                and seizures and equal protection and non-discrimination);
                       1.1.7 Traffic Act and traffic stops;
                       1.1.8 sexual harassment and other prohibited employment practices;
                       1.1.9 criminal investigation;
                       1.1.10 supervision and management;
                       1.1.11 arrests and citations;
                       1.1.12 mechanics of the arrest;
                       1.1.13 searches and seizures;
                       1.1.14 community policing (effective conflict resolution techniques);
                       1.1.15 interaction with transgender and transsexual persons;
                       1.1.16 intervention with foreigners;
                       1.1.17 weapons authorized by the PRPB;
                       1.1.18 police ethics;
                       1.1.19 crisis intervention;
                       1.1.20 Operations Manual of the Field Training Program; and
                       1.1.21 basic teaching techniques.

 Due Date              Training will be implemented as indicated in Appendix C – Training
                       Implementation Process.

 TCA Assessment        The Training and Retraining Program has been developed and
                       implemented by PRPB and approved by the TCA and the Superintendent.
                       The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                       requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was met


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Activity IX.IV.B.2.1

 IX.IV.B.2.1           Phase I – Integration – Response to Incidents Not Constituting an
                             Emergency;
                       Phase II – Response to Incidents Constituting an Emergency;
                       Phase III – Activities while Patrolling; and
                       Phase IV – Criminal Investigations. (Table 13)

 Due Date              Training will be implemented as indicated in Appendix C – Training
                       Implementation Process.

 TCA Assessment        The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                       requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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V. In-Service Training and Re-training Development and Implementation Objectives:

Activity IX.V.1.1

 IX.V.1.1            The PRPB, through the SAEA, will create a Multi-topic Training Program to
                     develop employees’ ethical and professional thinking and values with the
                     collaboration of the Office of Government Ethics (OGE), as stipulated in the
                     Mutual-Aid Agreement between the two agencies. These training courses
                     will be part of the continuing education and certified as contact hours by
                     the OGE. The Program will include, but will not be limited to, the following
                     topics:
                     1.1.1 General Order 617 – MPRPB Code of Ethics;
                     1.1.2 Police Ethics and Integrity;
                     1.1.3 Ethical Leadership;
                     1.1.4 Ethical Attitudes in the Workplace;
                     1.1.5 Ethical Principles in Management and Supervision (this training
                            course is contemplated in the Supervision and Management
                            Compliance Area Action Plan);
                     1.1.6 Managing Emotions for Ethical Coexistence;
                     1.1.7 Community Policing Principles (this training course is contemplated
                            in the Community Engagement and Public Information Compliance
                            Area Action Plan);
                     1.1.8 Techniques to guide and manage MPRPBs in an effective manner
                            and promote effective and ethical police practices (effective
                            supervision) (this training is contemplated in the Supervision and
                            Management Compliance Area Action Plan); and
                     1.1.9 Federal and Commonwealth discrimination legislation and PRPB
                            policy (this training is contemplated in the Equal Protection and Non-
                            Discrimination Compliance Area Action Plan).

 Due Date            See Schedules B & C

 TCA Assessment      The TCA has been monitoring PRPB’s progress. PRPB has not complied with
                     the requirement outlined in the Action Plan in its totality.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating          The Commonwealth of Puerto Rico is in partial compliance with this
                     detailed step of the Action Plan



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Activity IX.V.1.2

    IX.V.1.2          The PRPB, through the SAEA, will create a Training Program for all members
                      of the Promotion Exams Board to guarantee that promotions in the PRPB
                      will be in keeping with equal employment opportunity principles and
                      discrimination legislation and comply with the three (3) areas of
                      educational activities—cognitive, affective, and psychomotor—needed to
                      perform successfully the management and supervisory tasks related to the
                      requirements of the rank that the candidates wish to obtain. The Program
                      will include, but will not be limited to, the following topics:
                      1.2.1 Agreement for the Sustainable Reform of the Puerto Rico Police
                             Department;
                      1.2.2 designing exams to measure cognitive activities;
                      1.2.3 (this was blank in the master document)
                      1.2.4 drafting questions that will measure knowledge, comprehension,
                             application, and analysis; and
                      1.2.5 designing and preparing question banks for each topic that will be
                             examined.

    Due Date          See Schedules B & C

    TCA Assessment    The TCA has been monitoring PRPD’s progress. PRPD has not complied
                      with the requirement outlined in the Action Plan. The TCA has not
                      reviewed a training program for all members of the Promotions Exams
                      Board.

    Recommendations Continue review in accordance with Agreement requirements.


    TCA Rating        Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity IX.V.1.3

 IX.V.1.3           The SAEA will create a Multi-topic Training Program to train MPRPBs who
                    have passed the promotion exams before assuming the responsibilities of
                    their new rank. The Program will be designed taking into consideration the
                    profile corresponding to each rank and will consist of at least forty (40)
                    contact hours. These training courses will be contemplated in the
                    Supervision and Management Compliance Area Action Plan.

 Due Date           See Schedules B & C

 TCA Assessment     The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                    requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in partial compliance with this
                    detailed step of the Action Plan




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Training Implementation Activities:
Activity IX.V.1.3

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      PRPB personnel to develop ethical and professional thinking and values
                      through and with the collaboration of the personnel from the Office of
                      Government Ethics Ethical Thinking Development Center (CDPE, Spanish
                      acronym). The remaining fifty percent (50%) of the PRPB personnel will be
                      trained within the following twelve (12) months, once the training of the
                      first group has been completed. Training will begin on the date indicated
                      in the Announcement issued by the SAEA and the Training Plan provided
                      by each Police Area and Office of the Assistant Superintendent upon SAEA
                      approval. The priority groups for training and re-training are established in
                      the Professionalization Action Plan.

 Due Date             See Schedules B & C

 TCA Assessment       The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                      requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating           See Professionalization Action Plan




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B. Use of Force Compliance Area
   Training Development Activities:

 1.1                 To achieve a reduction in use-of-force incidents, promote
                     professionalization, [achieve] equality in the provision of services, and
                     restore the community’s trust, all Members of the PRPB will be trained in
                     use of force at least every two (2) years during the first four (4) years after
                     the Agreement herein comes into effect. Thereafter, all use-of-force
                     policies and training will be evaluated one (1) time per year so that they
                     conform to the applicable law and generally accepted police practices. The
                     training courses corresponding to this compliance area are detailed below:
                     1.1.1 Review Training on the Use and Handling of Impact Weapons;
                     1.1.2 Review Training on the Use and Handling of Chemical Agents;
                     1.1.3 Develop Training Program for the Members of the Force Review
                             Board;
                     1.1.4 Review Training on the Use and Handling of Service Weapons;
                     1.1.5 Review Training on the Use and Handling of Electronic Control
                             Weapon;
                     1.1.6 Review Training on Use-of-Force Rules and Investigation Report on
                             Use-of-Force Incidents by Members of the Puerto Rico Police
                             Department;
                     1.1.7 Develop Training for Force Investigation Unit;
                     1.1.8 Develop Multi-topic Training on the Mobilization of the Tactical
                             Operations Unit;
                     1.1.9 Develop Multi-topic Training on the Mobilization of the Division of
                             Special Weapons and Tactics (“SWAT”);
                     1.1.10 Develop Training on Less-Lethal Munitions and Other Technology;
                     1.1.11 Develop Training on Crowd Control and Incident Management for
                             MPRPBs and Specialized Tactical Units;
                     1.1.12 Develop Training on Rules for the Management of Police Pursuits;
                     1.1.13 Develop Training on Driving Vehicles in Emergency Situations and
                             Police Pursuits;
                     1.1.14 Develop Training for Patrol Dog Handlers;
                     1.1.15 Develop Training on the Use and Management of the Automated
                             System to Prepare Electronic Incident Reports (this activity will be
                             carried out in accordance with the Equal Protection and Non-
                             Discrimination Acton Plan);
                     1.1.16 Develop Training for Behavioral or Mental Health Crisis Response
                             for MPRPBs belonging to the CIT (this activity will be carried out in
                             accordance with the Use of Force Action Plan); and
                     1.1.17 Develop Training on Behavioral or Mental Health Crisis Response
                             for MPRPBs (this activity will be carried out in accordance with the
                             Use of Force Action Plan).


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 Due Date             See Schedules B & C

 TCA Assessment       The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                      requirement outlined in the Action Plan.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA rating           See Use of Force Action Plan



Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      MPRPBs. The remaining fifty percent (50%) of the personnel will be trained
                      within the following twelve (12) months, once the training of the first group
                      has been completed. Training will begin on the date indicated in the
                      Announcement issued by the SAEA and the Training Plan provided by each
                      Police Area and Office of the Assistant Superintendent upon SAEA
                      approval. Priority groups for training and re-training are established in the
                      Use of Force Action Plan.
 Due Date             See Schedules B & C

 TCA Assessment       The TCA has been monitoring PRPB’s progress. PRPB has complied with the
                      requirement outlined in the Action Plan.


 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating           See Use of Force Action Plan




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C. SEARCHES AND SEIZURES COMPLIANCE AREA

Training Development Activities:

 1.1                  To achieve a reduction of civil right violation incidents, promote
                      professionalization, achieve equality in the provision of services, and
                      strengthen the community’s trust, the PRPB will train all its members on
                      the corresponding arrest, search, and seizure policies at least every two
                      years during the first four years after this Agreement comes into effect,
                      and on a yearly basis thereafter. The training courses will be evaluated on
                      a yearly basis so that they are in keeping with the applicable law and
                      generally accepted police practices. The design of the training courses
                      mentioned below is included and duly explained in the Searches and
                      Seizures Action Plan. The Program will include, but will not be limited to,
                      the following topics:
                      1.1.1 Training on General Order, Chapter 600, Section 615, entitled
                             “Authority of the Puerto Rico Police Department to Conduct Arrests
                             and Serve Citations”;
                      1.1.2 Training on General Order, Chapter 600, Section 612, entitled
                             “Authority of the Puerto Rico Police Department to conduct
                             Searches and Seizures.”
                      1.1.3 Training Program for Supervisors and High-Ranking Officers on the
                             policies, writing techniques, and review of arrests, searches, and
                             seizures reports.
                      1.1.4 Training on General Order entitled “Rules and Procedures for the
                             Receipt, Custody, Delivery, and Disposition of Property Constituting
                             Evidence” with the purpose of ensuring an effective control of the
                             evidence from the beginning of a criminal act, to the collection
                             thereof, until it is presented at trial. This activity is included in the
                             Searches and Seizures Compliance Area Action Plan; and
                      1.1.5 Training for the personnel assigned to the Command Center and
                             Radio Control on how to use the automated system for the digital
                             recording and storage of communications between the immediate
                             supervisor and the MPRPB through the Command Center and Radio
                             Control communication channels.
 Due Date             See Schedules B & C.




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 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                      with 1.1.1 through 1.1.4 the requirement outlined in the Action Plan and the
                      Agreement.

                 1.1.5 Training for the personnel assigned to the Command Center and Radio
                 Control on how to use the automated system for the digital recording and
                 storage of communications between the immediate supervisor and the
                 MPRPB through the Command Center and Radio Control communication
                 channels has not been developed.
 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Search and Seizure Action Plan




Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      MPRPBs. The remaining fifty percent (50%) of the MPRPBs will be trained
                      within the following twelve (12) months, once the training of the first group
                      has been completed. Training will begin on the date indicated in the
                      Announcement issued by the SAEA and the Training Plan provided by each
                      Police Area and Office of the Assistant Superintendent upon SAEA
                      approval. The priority groups for training and re-training are established in
                      the Searches and Seizures Action Plan.
 Due Date             See Schedules B & C.

 TCA Assessment       The TCA has been monitoring PRPB’s progress.




 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating           See Search and Seizure Action Plan




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D. EQUAL PROTECTION AND NON-DISCRIMINATION COMPLIANCE AREA

Training Development Activities

 1.1                  To provide police services in an equitable, respectful, and unbiased
                      manner, with greater professionalization; promote more trust in the
                      community; and do more crime prevention, training courses will be
                      developed for PRPB personnel based on best practices, without prejudice
                      on the basis of race, color, ethnicity, national origin, religion, sex, age,
                      disability, sexual orientation, gender identity, gender expression, or
                      political beliefs or affiliation in accordance with the rights, privileges, and
                      immunities guaranteed or protected by the respective Constitutions and
                      laws of the United States and the Commonwealth. The training courses
                      corresponding to this compliance area are detailed below:
                      1.1.1 Training on the PRPB Internal Regulations to Prevent Harassment,
                             Discrimination, and Retaliation;
                      1.1.2 PRPB Regulations to Establish Police Practices without
                             Discrimination, Harassment, Improper Sexual Conduct, and
                             Retaliation;
                      1.1.3 Training on Investigation of Domestic Violence Incidents;
                      1.1.4 Training on Investigation of Sexual Assault Incidents;
                      1.1.5 Training on Identification of and Intervention with Persons from the
                             Transgender, Transsexual, and Intersexual Community;
                      1.1.6 Training on Intervention with Foreigners;
                      1.1.7 Training on Use of Automated System to Prepare Electronic Incident
                             Reports (NIBRS), as established in the Implementation Plan
                             developed by the BT;
                      1.1.8 Training on Techniques to Collect Demographic Information;
                      1.1.9 Training on Hate Crime Data Collection, Management, and
                             Investigation;
                      1.1.10 Training on Investigation of Incidents at Juvenile Institutions Related
                             to Complaints of Institutional Abuse and/or Negligence against
                             Minors in Institutions for Juvenile Delinquents.

 Due Date             Training not yet due.

 TCA Assessment       Syllabus equal protection and non-discrimination training development
                      objective on March 2017 was referred to the TCA for review and approval
                      including CAD 101-System Operator Data Collection. Pending review.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating           See Equal Protection Action Plan

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1.2                  Multi-topic Training Program aimed at MPRPBs will be offered every two
                     (2) years during the first (4) years of the Agreement, and once a year
                     thereafter. The core topics that will sequentially make up the training will
                     include, but will not be limited to, the following:
                     1.2.1 constitutional rights and other legal principles related to equal
                           protection and non-discrimination included in federal and state
                           legislation;
                     1.2.2 protection of civil rights as a cornerstone of the police mission;
                     1.2.3 suspicious, arbitrary, and stereotypical classifications;
                     1.2.4 unbiased police conduct;
                     1.2.5 community perspective on discriminatory police conduct;
                     1.2.6 key points and critical aspects of prohibition against discrimination
                           that could have an effect on incidents and at operational planning
                           levels;
                     1.2.7 interaction with diverse populations, including the homeless,
                           economically disadvantaged people, and the LGBTTIQ community,
                           among others; and
                     1.2.8 methods,        strategies,     and      techniques     to    reduce
                           misunderstandings, conflicts, and complaints resulting from
                           perception of bias or discrimination.

Due Date             See Schedules B & C.

TCA Assessment       Pending review.

Recommendations      Continue review in accordance with Agreement requirements.

TCA Rating           See Equal Protection Action Plan




1.3                  Training courses for PRPB personnel belonging to the Classified System
                     (civilian employees). The Program will include, but will not be limited to,
                     the following topics:
                     1.3.1 Training on PRPB Internal Regulations to Prevent Harassment,
                             Discrimination, and Retaliation; and
                     1.3.2 PRPB Regulations to Establish Police Practices without
                             Discrimination, Harassment, Improper Sexual Conduct, and
                             Retaliation.

Due Date             Training not yet due.


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TCA Assessment       Pending review.

Recommendations      Continue review in accordance with Agreement requirements.

TCA Rating           See Equal Protection Action Plan




1.4                  Multi-topic training aimed at PRPB personnel belonging to Classified
                     System (civilian employees) will be offered every two (2) years during the
                     first four (4) years of the Agreement, and once a year thereafter. The
                     core topics that will sequentially make up the training include the
                     following:
                     1.4.1 constitutional rights and other legal principles related to equal
                             protection and non-discrimination included in federal and state
                             legislation, such as Title VII;
                     1.4.2 interaction with diverse populations, including the homeless,
                             economically disadvantaged people, and the LGBTTIQ community,
                             among others; and
                     1.4.3 methods,         strategies,      and   techniques    to     reduce
                             misunderstandings, conflicts, and complaints resulting from
                             perception of bias or discrimination.
Due Date             See Schedules B & C.

TCA Assessment       Pending review.

Recommendations      Continue review in accordance with Agreement requirements.

TCA Rating           See Equal Protection Action Plan




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Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      MPRPBs. The remaining fifty percent (50%) of the MPRPBs will be trained
                      within the following twelve (12) months, once the training of the first group
                      has been completed. Training will begin on the date indicated in the
                      Announcement issued by the SAEA and the Training Plan provided by each
                      Police Area and Office of the Assistant Superintendent upon SAEA
                      approval. The priority groups for training and re-training are established in
                      the Equal Protection and Non-Discrimination Action Plan.

 Due Date             Training not yet due.

 TCA Assessment       Pending review.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating           See Equal Protection Action Plan




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E. RECRUITMENT, SELECTION, AND HIRING COMPLIANCE AREA

Training Development Activities:

 1.1                  The SAEA will develop a multi-topic training course aimed at the personnel
                      who will work on the various phases of the recruitment process, which will
                      address the following topics:
                      1.1.1 General Order for MPRPB Recruitment (includes candidate eligibility
                            requirements, and rules and procedures to follow in each phase of
                            the process);
                      1.1.2 phases of recruitment process;
                      1.1.3 guidance on effective recruitment interview techniques;
                      1.1.4 applicable equal protection and non-discrimination statutes, as well
                            as generally accepted police practices;
                      1.1.5 candidate profile;
                      1.1.6 informational guide on recruitment process; and
                      1.1.7 techniques to interview members of community organizations.

 Due Date             Training not yet due.

 TCA Assessment       PRPB has not approved a recruit class for 2018.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Recruitment Action Plan



 1.2                    The SAEA will create a field investigations training course together with
                        personnel from the Office of Safety and Protection assigned to SAIC in
                        order to train investigators on criminal record investigation techniques
                        and PRPB candidate recruitment procedures to professionalize the
                        personnel and restore the community’s trust and help provide police
                        services in an equitable, respectful, and unbiased manner in accordance
                        with generally accepted police practices.

 Due Date               Training not yet due.

 TCA Assessment         PRPB has not approved a recruit class for 2018.




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 Recommendations           Continue review in accordance with Agreement requirements

 TCA Rating                See Recruitment Action Plan




Training Implementation Activities:

 1.1                     The recruitment officer assigned by the PRPB superintendent will be the
                         director of Division of Recruitment, who will be responsible for
                         implementing the General Order for the MPRPB Recruitment Program
                         along with a task force that includes officers with various work experiences
                         to establish alliances with historically unrepresented groups in the PRPB.
                         The priority groups for training and re-training are established in the
                         Recruitment, Selection, and Hiring Action Plan.

 Due Date                Training not yet due.

 TCA Assessment          General Order on recruitment has been developed, approved by the TCA,
                         but has yet to be approved by the Superintendent.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating              See Recruitment Action Plan



F. POLICIES AND PROCEDURES COMPLIANCE AREA

       Training Development Activities:

 1.1                     The Office of the Assistant Superintendent for Education and Training will
                         develop a Multi-topic Training Program to train all MPRPBs assigned to SAIC
                         on the law, applicable case law, and the rules and procedures to follow
                         when conducting criminal investigations. The Program will begin with
                         training on the following topics:
                         1.1.1 criminal law;
                         1.1.2 Rules of Criminal Procedure;
                         1.1.3 evidence law;
                         1.1.4 constitutional and civil rights;
                         1.1.5 criminal investigation techniques;
                         1.1.6 interview and interrogation techniques;

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                   1.1.7 scene work;
                   1.1.8 court testimony;
                   1.1.9 criminal photography; and
                   1.1.10 preparation of files and reports.
                   MPRPBs assigned to the SAIC will also take training corresponding to the
                   following policies during the period established on the timeline
                   1.1.11 General Order, Chapter 100, Section 107, entitled “Creation of the
                          Office of the Assistant Superintendent for Criminal Investigations”;
                          and
                   1.1.12 Operational Manual for Criminal Investigation Corps Investigator
                          Procedures.

Due Date           Training not yet due.

TCA Assessment     PRPB has yet to provide the TCA training materials to review.

Recommendations Continue review in accordance with Agreement requirements

TCA Rating         See Policies Action Plan




1.2                  The Office of the Assistant Superintendent for Education and Training
                     will develop a Multi-topic Training Program to train all MPRPBs belonging
                     to the Bureau of Drugs, Narcotics, Vice Control, and Illegal Weapons about
                     the following topics:
                     1.2.1 criminal law;
                     1.2.2 Rules of Criminal Procedure;
                     1.2.3 evidence law;
                     1.2.4 criminal investigation techniques;
                     1.2.5 interview and interrogation techniques;
                     1.2.6 Special Confidential Order 2010-1;
                     1.2.7 police corruption;
                     1.2.8 identification of controlled substances;
                     1.2.9 undercover operations;
                     1.2.10 controlled substance sale surveillance;
                     1.2.11 court testimony;
                     1.2.12 forensic photography and video
                     1.2.13 General Order to create the “Bureau of Drugs, Narcotics, Vice
                             Control, and Illegal Weapons”; and

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                     1.2.14 Operations Manual establishing the rules and procedures that
                            MPRPBs assigned to the investigation units of the Bureau of
                            Drugs, Narcotics, Vice Control, and Illegal Weapons will follow.

Due Date             See Schedules B & C.

TCA Assessment       Training module not yet developed. Operations Manual is being worked
                     on.

Recommendations      Continue review in accordance with Agreement requirements


TCA Rating           See Policies Action Plan




1.3                  The Office of the Assistant Superintendent for Education and Training
                     will develop a training course aimed at all MPRPBs on the law, applicable
                     case law, and the rules and procedures to follow when conducting traffic
                     stops in various scenarios, answering emergency calls, and inspecting
                     motor vehicles, among others

Due Date             See Schedules B & C.

TCA Assessment       Training course reference traffic stops has not been reviewed by the TCA

Recommendations      Continue review in accordance with Agreement requirements


TCA Rating           See Policies Action Plan




1.4                  The Office of the Assistant Superintendent for Education and Training
                     will develop a training course aimed at all MPRPBs on the Uniform Crime
                     Reporting Handbook (NIBRS).

Due Date             See Schedules B & C.




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 TCA Assessment         NIBRS Handbook was approved in January 2016, pending approval by the
                        Superintendent.

 Recommendations        Continue review in accordance with Agreement requirements


 TCA Rating             See Policies Action Plan




Training Implementation Activities;

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      all MPRPBs assigned to the SAIC about topics included in the Multi-topic
                      Program. The remaining fifty percent (50%) of the personnel will be trained
                      within the following twelve (12) months, once the training of the first group
                      has been completed. Training will begin on the date indicated in the
                      Announcement issued by the SAEA and the Training Plan provided by each
                      Police Area and Office of the Assistant Superintendent upon SAEA
                      approval. The Multi-topic Training Program to be implemented will be
                      about the following topics:
                      1.1.1 criminal law;
                      1.1.2 Rules of Criminal Procedure;
                      1.1.3 evidence law;
                      1.1.4 constitutional and civil rights;
                      1.1.5 criminal investigation techniques;
                      1.1.6 interview and interrogation techniques;
                      1.1.7 scene work;
                      1.1.8 court testimony;
                      1.1.9 criminal photography;
                      1.1.10 preparation of files and reports;
                      1.1.11 General Order, Chapter 100, Section 107, entitled “Creation of the
                              Office of the Assistant Superintendent for Criminal Investigations”;
                              and
                      1.1.12 Operational Manual for Criminal Investigation Corps Investigator
                              Procedures.

 Due Date             See Schedules B & C.

 TCA Assessment       Training material not yet developed.


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Recommendations Continue review in accordance with Agreement requirements


TCA Rating         See Policies Action Plan



1.2                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of MPRPBs assigned to the Bureau of Drugs, Narcotics, Vice Control, and
                     Illegal Weapons. The remaining fifty percent (50%) of the personnel will
                     be trained within the following twelve (12) months, once the training of
                     the first group has been completed. Training will begin on the date
                     indicated in the Announcement issued by the SAEA and the Training Plan
                     provided by each Police Area and Office of the Assistant Superintendent
                     upon SAEA Approval.

                     The Multi-topic Training Program that will be implemented will address
                     the following topics:
                     1.2.1 criminal law;
                     1.2.2 Rules of Criminal Procedure;
                     1.2.3 evidence law;
                     1.2.4 criminal investigation techniques;
                     1.2.5 interview and interrogation techniques;
                     1.2.6 Confidential Special Order 2010-1;
                     1.2.7 police corruption
                     1.2.8 identification of controlled substances;
                     1.2.9 undercover operations;
                     1.2.10 controlled substance sale surveillance;
                     1.2.11 court testimony;
                     1.2.12 forensic photography and video;
                     1.2.13 General Order to create the “Bureau of Drugs, Narcotics, Vice
                             Control, and Illegal Weapons”; and
                     1.2.14 Operational Manual for establishing the rules and procedures
                             that MPRPBs assigned to the investigation units of the Bureau of
                             Drugs, Narcotics, Vice Control, and Illegal Weapons will follow.

Due Date             Training not yet due.

TCA Assessment       PRPB has yet to provide the TCA training materials to review.




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Recommendations      Continue review in accordance with Agreement requirements


TCA Rating           See Policies Action Plan



1.3                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of all MPRPBs on the law, applicable case law, and the rules and
                     procedures that must be followed when conducting traffic stops in
                     various scenarios, answering emergency calls, and inspecting motor
                     vehicles, among others. The remaining fifty percent (50%) of the
                     personnel will be trained within the following twelve (12) months, once
                     the training of the first group has been completed. Training will begin
                     on the date indicated in the Announcement issued by the SAEA and the
                     Training Plan provided by each Police Area and Office of the Assistant
                     Superintendent upon SAEA Approval
                     .
Due Date             See Schedules B & C.

TCA Assessment       Training course reference traffic stops has not been reviewed by the TCA.



Recommendations      Continue review in accordance with Agreement requirements

TCA Rating           See Policies Action Plan



1.4                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will simultaneously train fifty percent (50%) of all MPRPBs on the Uniform
                     Crime Reporting Handbook (NIBRS). The remaining fifty percent (50%) of
                     the personnel will be trained within the following twelve (12) months,
                     once the training of the first group has been completed. Training will
                     begin on the date indicated in the Announcement issued by the SAEA
                     and the Training Plan provided by each Police Area and Office of the
                     Assistant Superintendent upon SAEA Approval.

Due Date             See Schedules B & C.



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 TCA Assessment         Training materials has not been approved yet

 Recommendations        Continue review in accordance with Agreement requirements

 TCA Rating             See Policies Action Plan




Training Development Activities

 1.1                  The SAEA will create a Multi-topic Training Program to train MPRPBs who
                      have passed the promotion exams from the rank of sergeant to captain
                      before they assume the responsibilities of their new rank. This Program
                      will be designed taking into consideration the powers, responsibilities, and
                      duties of each rank and will consist of at least forty (40) contact hours. This
                      activity will depend on the availability of vacant positions approved to be
                      filled according to the budget. These training courses will include the
                      following topics, pursuant to the Agreement:
                      1.1.1 management;
                      1.1.2 supervision;
                      1.1.3 leadership;
                      1.1.4 chain of command; and
                      1.1.5 equal employment opportunity (EEO). This training is included in
                             Objective II-1 of Training Development in the Equal Protection and
                             Non-Discrimination Action Plan, activity 1.1, 1.1.1, and 1.1.2.
 Due Date             See Schedules B & C.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                      with the requirement outlined in the Action Plan and the Agreement.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Policies Action Plan




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1.2                The SAEA will create a Multi-topic Program to train all PRPB supervisory
                   personnel taking into consideration the inherent duties of each rank. This
                   Program will be aimed at their level of supervision and management and
                   will include the following topics:
                   1.2.1 techniques to guide and direct MPRPBs effectively and promote
                            effective and ethical police practices (effective supervision);
                   1.2.2 reduce conflict intensity (conflict mediation);
                   1.2.3 evaluation of written reports (reports and forms);
                   1.2.4 risk assessment and management;
                   1.2.5 performance evaluation process;
                   1.2.6 selection and annual award of outstanding employees;
                   1.2.7 applying appropriate, non-punitive disciplinary sanctions and
                            corrective actions. This activity is included in the Administrative
                            Complaints Compliance Area Action Plan;
                   1.2.8 use of the Early Identification System (EIS) to facilitate direct and
                            effective supervision. This training will be designed once the System
                            is running;
                   1.2.9 dissemination of Public Information. This training is included in the
                            Community Engagement and Public Information Compliance Area
                            Action Plan;
                   1.2.10 Procedures Manual regarding supervisor powers, duties, and
                            responsibilities;
                   1.2.11 Equal Employment Opportunity (EEO). This training is included in
                            the Equal Protection and Non-Discrimination Action Plan, activity 1.1,
                            1.1.1, and 1.1.2; and the
                   1.2.12 Executive Committee Interagency Memorandum.

Due Date           See Schedules B & C.

TCA Assessment     The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement.

Recommendations Continue review in accordance with Agreement requirements

TCA Rating         See Policies Action Plan



1.2.13               Every year after these trainings, the MPRPBs with supervisory or
1.3                  management duties will be trained for a minimum of forty (40) contact
                     hours on topics based on the identified needs or trends existing at the
                     time preceding the training. The elements that may be incorporated
                     include: an analysis of factors, including, but not limited to, MPRPB
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                     safety, community concerns, use of force statistics, internal affairs
                     statistics, court decisions, and latest trends in the application of the law,
                     as well as the feedback received from the Interagency Executive
                     Committee and the Citizen Engagement Committees (CICs [Spanish
                     acronym]), among others.

Due Date             See Schedules B & C.

TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                     complied with the requirement outlined in the Action Plan and the
                     Agreement.

Recommendations      Continue review in accordance with Agreement requirements


TCA Rating           See Policies Action Plan




1.3                  The SAEA will create a course to have its certified instructors train all
1.4                  PRPB personnel who carry out management and supervisory duties on
                     the General Order and the Early Identification System (EIS) Procedures
                     Manual.

Due Date             See Schedules B & C.

TCA Assessment       PRPB has yet to provide the TCA training materials and the EIS
                     Procedures Manual to review.

Recommendations      Continue review in accordance with Agreement requirements

TCA Rating           See Policies Action Plan



1.4                The SAEA will create a course to train all personnel assigned to the
1.5                Inspections Division of the Office of the Assistant Superintendent for
                   Professional Responsibility on the Operational and Administrative
                   Inspections Procedures Manual, as well as on the procedures to be
                   followed.

Due Date           See Schedules B & C.

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 TCA Assessment       PRPB has not developed training materials on the Operational and
                      Administrative Inspections Procedures Manual.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Policies Action Plan



Training Implementation Activities

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train one hundred percent
                      (100%) of MPRPBs who have passed the promotion exams before they
                      assume the responsibilities of their new rank. Training will begin on the
                      date indicated in the Announcement issued by the SAEA and the Training
                      Plan.

 Due Date             See Schedules B & C.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                      with the requirement outlined in the Action Plan and the Agreement.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Policies Action Plan



 1.2                    Within the twelve (12) months following the final approval of the training
                        material and the incorporation of the changes recommended, the SAEA
                        will have its certified instructors simultaneously train fifty percent (50%)
                        of the MPRPBs who perform supervisory and management duties
                        (activities 1.3 and 1.4) at their level of management. The remaining fifty
                        percent (50%) of the personnel will be trained within the following
                        twelve (12) months, once the training of the first group has been
                        completed. Training will begin on the date indicated in the
                        Announcement issued by the SAEA and the Training Plan provided by

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                     each Police Area and Office of the Assistant Superintendent upon SAEA
                     approval. The priority groups for training and re-training are established
                     in the Supervision and Management Action Plan.

Due Date             See Schedules B & C.

TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                     complied with the requirement outlined in the Action Plan and the
                     Agreement.

Recommendations      Continue review in accordance with Agreement requirements


TCA Rating           See Policies Action Plan



1.3                Within the twelve (12) months following the final approval of the training
                   material and the incorporation of the changes recommended, the SAEA
                   will have its certified instructors simultaneously train fifty percent (50%) of
                   MPRPBs assigned to the Inspections Division of the Office of the Assistant
                   Superintendent for Professional Responsibility on the Operational and
                   Administrative Inspections Procedures Manual at the level of management
                   they perform. The remaining fifty percent (50%) of the personnel will be
                   trained within the following twelve (12) months, once the training of the
                   first group has been completed. Training will begin on the date indicated
                   in the Announcement issued by the SAEA and the Training Plan provided
                   by each Police Area and Office of the Assistant Superintendent upon SAEA
                   approval.

Due Date           See Schedules B & C.

TCA Assessment     PRPB has yet to provide the TCA training materials to review.


Recommendations Continue review in accordance with Agreement requirements

TCA Rating         See Policies Action Plan



  H. ADMINISTRATIVE COMPLAINTS, INTERNAL INVESTIGATIONS, AND DISCIPLINE COMPLIANCE
     AREA


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Training Development Activities:

 1.1                  The SAEA will create a Multi-topic Training Program to train SARP and OLA
                      personnel on the procedure to receive, classify, process, and manage a
                      complaint for improper conduct and the process of investigating
                      administrative complaints. The Program will begin with training on the
                      following topics:
                      1.1.1 criminal law;
                      1.1.2 criminal procedure;
                      1.1.3 evidence law;
                      1.1.4 constitutional rights;
                      1.1.5 criminal investigation techniques;
                      1.1.6 administrative investigation techniques;
                      1.1.7 cybercrime;
                      1.1.8 scene work;
                      1.1.9 criminal photography; and
                      1.1.10 preparation of files and reports.

 Due Date             See Schedules B & C.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. Pending review.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           See Administrative Complaints Action Plan



 1.2                  After the approval of the Training Program and the incorporation of the
                      recommendations, the SAEA will continue providing training on the topics
                      corresponding to the following policies:
                      1.2.1 training on the procedure to follow to promote collaboration from
                             PRPB employees in the administrative complaint process when
                             criminal proceedings have not been initiated;
                      1.2.2 training on the new “Regulations to Receive, Process, and Manage
                             Administrative Complaints”;
                      1.2.3 training on the Administrative Complaint Investigation Procedures
                             Manual;
                      1.2.4 training on the Public Information Program regarding the Filing of
                             Administrative Complaints




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                   1.2.5 training on the Code of Ethics and Conduct that will be used to
                         determine minor and major offenses and impose disciplinary
                         sanctions;
                   1.2.6 training on the Administrative Order for the Investigation,
                         Management, and Adjudication of Minor Offenses by Supervisors;
                         and
                   1.2.7 training on the amendments to the Controlled Substances Detection
                         Program for Officials and Employees of the PRPB Regulations in
                         relation to detecting anabolic steroids.

Due Date           See Schedules B & C.

TCA Assessment     The TCA has been monitoring PRPB’s progress. Pending review.


Recommendations Continue review in accordance with Agreement requirements


TCA Rating         See Administrative Complaints Action Plan



1.3                  Multi-topic course to train the personnel who perform management and
                     supervisory duties on the procedure supervisors are to follow when they
                     learn that a citizen intends to file an administrative complaint, the time
                     frames supervisors have to hand in a complaint filed for their
                     consideration, and their authority to investigate and take non-punitive
                     corrective or disciplinary measures when they learn about minor
                     offenses or violations of PRPB policies. The responsibilities of high-
                     ranking officers in relation to the evaluation of the investigations, the
                     corrective measures to be taken, and the identification of deficiencies
                     will be part of the training, which will also include learning about the duty
                     to document and inform the SARP about improper conduct, the
                     consequences of refusing to accept a complaint or providing false or
                     deceitful information about a complaint for improper conduct, and the
                     prohibition against retaliating in any way against an MPRPB who reports
                     improper conduct.

Due Date             See Schedules B & C.

TCA Assessment       The TCA has been monitoring PRPB’s progress. Pending review.

Recommendations      Continue review in accordance with Agreement requirements


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TCA Rating           See Administrative Complaints Action Plan




1.4                Multi-topic course to train PRPB personnel on the requirement to report
                   any conduct perceived as improper, the consequences of refusing to
                   accept a complaint or providing false information, their duty to cooperate
                   with any administrative investigation pursuant to the ruling in the case of
                   Garrity v. New Jersey, and the existing mechanisms to file complaints for
                   improper conduct or report the good performance of any MPRPB.

Due Date           See Schedules B & C.

TCA Assessment     The TCA has been monitoring PRPB’s progress. Pending review
                   .

Recommendations Continue review in accordance with Agreement requirements

TCA Rating         See Administrative Complaints Action Plan



1.5                Orientation session to inform PRPB personnel who perform supervisory and
                   management duties how to manage stress to prevent critical incidents and
                   the support and mental health services available to them and their
                   families.

Due Date           See Schedules B & C.

TCA Assessment     The TCA has been monitoring PRPB’s progress. Pending review.


Recommendations Continue review in accordance with Agreement requirements

TCA Rating         See Administrative Complaints Action Plan




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Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      the PRPB personnel. The remaining fifty percent (50%) of the PRPB
                      personnel will be trained within the following twelve (12) months, once the
                      training of the first group has been completed. Training will begin on the
                      date indicated in the Announcement issued by the SAEA and the Training
                      Plan provided by each Police Area and Office of the Assistant
                      Superintendent upon SAEA approval. The priority groups for training and
                      re-training are established in the Administrative Complaints, Internal
                      Investigations, and Discipline Action Plan.

 Due Date             See Schedules B & C.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. Pending review.

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating           See Administrative Complaints Action Plan



       H. COMMUNITY INTERACTION AND PUBLIC INFORMATION COMPLIANCE AREA

Training Development Activities:

 1.1                  To obtain the assistance, advice, and recommendations of the members of
                      the different community sectors; restore the trust of the communities in
                      the PRPB; and foster solid relationships with said communities, Multi-topic
                      Seminars will be developed for the members of the Community Interaction
                      Councils (CICs [Spanish acronym]). The design of the training courses
                      mentioned below is included and duly explained in the Community
                      Interaction and Public Information Action Plan.

 Due Date             See Schedules B & C. In progress.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                      complied with the requirement outlined in the Action Plan and the
                      Agreement.




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Recommendations Continue review in accordance with Agreement requirements.


TCA Rating         See Administrative Complaints Action Plan



1.2                The Office of the Assistant Superintendent for Education and Training will
                   develop Multi-topic Seminars for the members of the CICs on the following
                   topics:
                   1.2.1 Agreement for the Sustainable Reform of the Puerto Rico Police
                           Department;
                   1.2.2 duties and Responsibilities of the Community Interaction Councils,
                           in accordance with GO 801;
                   1.2.3 parliamentary procedure;
                   1.2.4 principles of community policing;
                   1.2.5 S.A.R.A. Problem-Solving Model;
                   1.2.6 creation and preservation of community alliances;
                   1.2.7 functioning of the rank system;
                   1.2.8 PRPB flowchart;
                   1.2.9 duties and responsibilities of the Investigation Units, Specialized
                           Units, Precincts, and Districts;
                   1.2.10 duties and responsibilities of the Office of Reform, TCA, and the
                           USDOJ;
                   1.2.11 administrative complaint filing process;
                   1.2.12 use of force;
                   1.2.13 rights of the individual during searches and seizures;
                   1.2.14 civil rights;
                   1.2.15 crime victim services;
                   1.2.16 PRPB recruitment process;
                   1.2.17 duties and responsibilities of the Community Safety Councils;
                   1.2.18 General Plan for the Implementation of the Community Outreach
                           and Public Information Program; and the
                   1.2.19 Uniform Crime Reporting Handbook (NIBRS).

Due Date           See Schedules B & C. In progress.

TCA Assessment     The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement.

Recommendations Continue review in accordance with Agreement requirements.



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TCA Rating         See Administrative Complaints Action Plan



1.3                  The Office of the Assistant Superintendent for Education and Training
                     will create a Multi-topic Training Program to train the MPRPBs on the
                     principles of community policing. The Program will include the following
                     topics:
                     1.3.1 Principles of community policing;
                     1.3.2 S.A.R.A. Problem-Solving Model;
                     1.3.3 creation and continuation of community alliances;
                     1.3.4 identifying factors that affect quality of life and may affect
                             criminal activity;
                     1.3.5 diverse populations in Puerto Rico;
                     1.3.6 cultural awareness and tolerance towards the communities;
                     1.3.7 identifying their prejudices;
                     1.3.8 effective meeting development;
                     1.3.9 basic elements of the communication process during conflict
                             management;
                     1.3.10 conflict-solving strategies;
                     1.3.11 managing difficult conversations;
                     1.3.12 managing and channeling emotions; and
                     1.3.13 right to freedom of expression.

Due Date             See Schedules B & C. In progress.

TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                     complied with the requirement outlined in the Action Plan and the
                     Agreement.

Recommendations      Continue review in accordance with Agreement requirements.


TCA Rating           See Administrative Complaints Action Plan



1.4                  The Office of the Assistant Superintendent for Education and Training
                     will create a Multi-topic Training Program for the personnel who work at
                     the Central Press Office, in the Areas, and for the high-ranking officers of
                     the PRPB, about the dissemination of public information and about
                     incidents or ongoing investigations from a community perspective and
                     said training will include practical police Q & A scenarios before the
                     press. The Program will include the following topics:

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                     1.4.1 freedom of the press;
                     1.4.2 right to privacy;
                     1.4.3 defamation and libel;
                     1.4.4 ethics in the dissemination of information;
                     1.4.5 what and when something is public information;
                     1.4.6 importance of the media in solving criminal cases;
                     1.4.7 dissemination of public information in ongoing situations;
                     1.4.8 protecting victim and witness information;
                     1.4.9 drafting press releases;
                     1.4.10 oral communication in the media;
                     1.4.11 use of electronic media to disseminate public information;
                     1.4.12 image portrayed in the media; and
                     1.4.13 media management and interviews.

Due Date             See Schedules B & C. In progress.

TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                     complied with the requirement outlined in the Action Plan and the
                     Agreement.

Recommendations      Continue review in accordance with Agreement requirements.

TCA Rating           See Administrative Complaints Action Plan



1.5                  The Office of the Assistant Superintendent for Education and Training
                     will create training for the personnel that performs management and
                     supervisory duties at the PRPB about the dissemination of public
                     information and about incidents or ongoing investigations from a
                     community perspective and said training will include practical police Q &

                     A scenario before the press. The Program will include the following
                     topics:

                     1.5.1   freedom of the press;
                     1.5.2   right to privacy;
                     1.5.3   defamation and libel;
                     1.5.4   ethics in the dissemination of information;
                     1.5.5   what and when something is public information;
                     1.5.6   importance of the media in solving criminal cases;
                     1.5.7   dissemination of public information in ongoing situations;
                     1.5.8   protecting victim and witness information;

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                        1.5.9 oral communication in the media;
                        1.5.10 image portrayed in the media; and
                        1.5.11 media management and interviews.

 Due Date               See Schedules B & C. In progress.

 TCA Assessment         The TCA has been monitoring PRPB’s progress. To date PRPB has not
                        complied with the requirement outlined in the Action Plan and the
                        Agreement.

 Recommendations        Continue review in accordance with Agreement requirements.

 TCA Rating             See Administrative Complaints Action Plan



Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the
                      community policing training material and the incorporation of the changes
                      recommended, the SAEA will have its certified instructors simultaneously
                      train fifty percent (50%) of the personnel. The remaining fifty percent
                      (50%) of the personnel will be trained within the following twelve (12)
                      months, once the training of the first group has been completed. Training
                      will begin on the date indicated in the Announcement issued by the SAEA
                      and the Training Plan provided by each Police Area and Office of the
                      Assistant Superintendent upon SAEA approval. The priority groups for
                      training and re-training are established in the Public Information Action
                      Plan.

 Due Date             See Schedules B & C. In progress.

 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                      complied with the requirement outlined in the Action Plan and the
                      Agreement.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating           See Administrative Complaints Action Plan



       H. INFORMATION SYSTEMS AND TECHNOLOGY COMPLIANCE AREA

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Training Development Activities:

 1.1                  Develop training for the administration, configuration, and diagnosis of
                      radio communication equipment aimed at the personnel of the
                      Communications Division of the Bureau of Technology and
                      Communications of the PRPB.

 Due Date             Designing training courses corresponding to policies will begin once the
                      policy has been approved and signed in accordance with the process
                      established in Appendix B – Training Design Process.

 TCA Assessment       GO 400-404 replaces 73-13. SAEA is lead and will use agents to develop
                      training and to conduct the training. GO signed Jan 2017. Per Diaz, as of
                      4/25, waiting for training material from SAEA and then TCA approval.
                      training start is projected for 7/12/2017 based on policy approval on Jan 13,
                      2017, per decree, 50% to be trained 7/18, 100% trained by 7/19. Training
                      not yet due. The design and training development are expected to be
                      submitted to the TCA for approval on time.

 Recommendations Continue to monitor.

 TCA Rating           See IT Action Plan



 1.2                    Develop training for the use and handling of the radio communication
                        equipment at the PRPB aimed at MPRPBs.

 Due Date               Designing training courses corresponding to policies will begin once the
                        policy has been approved and signed in accordance with the process
                        established in Appendix B – Training Design Process.

 TCA Assessment         GO 400-404 replaces 73-13. SAEA is lead and will use agents to develop
                        training and to conduct the training. GO signed Jan 2017. Per Diaz, as of
                        4/25, waiting for training material from SAEA and then TCA approval.
                        Training start is projected for 7/12/2017 based on policy approval on Jan
                        13, 2017, per decree, 50% to be trained 7/18, 100% trained by 7/19. The
                        design and training development are expected to be submitted to the
                        TCA for approval on time.

 Recommendations        Continue to monitor.


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TCA Rating           See IT Action Plan




1.3                  Develop training for the administration and diagnosis of the
                     computerized systems of the Puerto Rico Police Department aimed at
                     the personnel of the Technology Division of the Bureau of Technology
                     and Communications of the PRPB. (Table 17)_

Due Date             May 2017 Designing training courses corresponding to policies will begin
                     once the policy has been approved and signed in accordance with the
                     process established in Appendix B – Training Design Process.

TCA Assessment       GO 400-403 signed Dec 19, 2016. Training start projection June 2017.
                     First 50% trained is targeted June 2018, second 50% targeted June 2019

Recommendations      Continue to monitor.

TCA Rating           See IT Action Plan



1.4                  Develop training on the Manual for the Use and Handling of the
                     Computerized Systems of the Puerto Rico Police Department, geared
                     toward the MPRPBs and the employees of the PRPB classified system.
                     (Table 18).

Due Date             Designing training courses corresponding to policies will begin once the
                     policy has been approved and signed in accordance with the process
                     established in Appendix B – Training Design Process.

TCA Assessment       Projected start of training is June 2017, 50% complete June 2018, 100%
                     June 2019

Recommendations      Continue review in accordance with Agreement requirements.


TCA Rating           See IT Action Plan




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1.5                  Develop training on the Manual for the Use and Handling of the Central
                     Repository for Crime Date Analysis (CIW) at the Puerto Rico Police
                     Department, aimed at the MPRPBs and the employees of the PRPB
                     classified system assigned to the Center for the Analysis of Criminal
                     Activity and Crime Monitoring; the Criminal Intelligence Collection,
                     Analysis, and Dissemination Center, the Crime Statistics Division, as well
                     as for the employees who collect statistical data in the Police Areas.
                     (Table 19)
Due Date             Designing training courses corresponding to policies will begin once the
                     policy has been approved and signed in accordance with the process
                     established in Appendix B – Training Design Process.
TCA Assessment       Pending review.


Recommendations      Continue monitoring

TCA Rating           See IT Action Plan



1.6                  Develop training on accessing and using the Information Systems of the
                     National Crime Information Center (NCIC) and the Integrated Crime
                     Registry (ICR) aimed at MPRPBs (Table 20).

Due Date             Designing training courses corresponding to policies will begin once the
                     policy has been approved and signed in accordance with the process
                     established in Appendix B – Training Design Process.

TCA Assessment       Pending review.

Recommendations      Continue monitoring

TCA Rating           See IT Action Plan




1.7                  Develop training on accessing and using the criminal activity map aimed
                     at MPRPBs. (Table 21).

Due Date             Designing training courses corresponding to policies will begin once the
                     policy has been approved and signed in accordance with the process
                     established in Appendix B – Training Design Process.

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 TCA Assessment         Pending review.

 Recommendations        Continue monitoring.

 TCA Rating             See IT Action Plan



Training Implementation Activities:

 1.1                  Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the changes recommended, the SAEA
                      will have its certified instructors simultaneously train fifty percent (50%) of
                      all MPRPBs and the employees assigned to the Bureau of Technology and
                      Communications. The remaining fifty percent (50%) of the members of the
                      PRPB will be trained within the following twelve (12) months, once the
                      training of the first group has been completed. Training will begin on the
                      date indicated in the Announcement issued by the SAEA and the Training
                      Plan provided by each Police Area and Office of the Assistant
                      Superintendent upon SAEA approval. The training that will be
                      implemented will address the following topics:
                      a. use and handling of radio communications equipment;
                      b. use and management of the computerized systems of the Puerto Rico
                          Police Department.

                      The priority groups for training and re-training are established in the
                      Information Systems and Technology Action Plan.

 Due Date             See Schedules B & C. The trainings will be implemented as stated in
                      Appendix C– Training Implementation Process.

 TCA Assessment       PRPB has yet to provide the TCA evidence of training materials for review
                      concerning the use and handling of radio communications equipment.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating           See IT Action Plan




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1.2                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of the employees assigned to the Communications Division on the
                     administration, configuration, and diagnosis of radio communications
                     equipment. The remaining fifty percent (50%) of the employees assigned
                     to the Communications Division will be trained within the following
                     twelve (12) months, once the training of the first group has been
                     completed. Training will begin on the date indicated in the
                     Announcement issued by the SAEA and the Training Plan provided by
                     each Police Area and Office of the Assistant Superintendent upon SAEA
                     approval.

Due Date             The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.

TCA Assessment       PRPB has yet to provide the TCA evidence of training materials for review
                     concerning the administration, configuration, and diagnosis of radio
                     communications equipment.

Recommendations      Continue review in accordance with Agreement requirements.


TCA Rating           See IT Action Plan




1.3                Within the twelve (12) months following the final approval of the training
                   material and the incorporation of the changes recommended, the SAEA
                   will have its certified instructors simultaneously train fifty percent (50%) of
                   the employees assigned to the Technology Division on the administration
                   and diagnosis of the computerized systems of the PRPB. The remaining fifty
                   percent (50%) of the employees assigned to the Technology Division will be
                   trained within the following twelve (12) months, once the training of the
                   first group has been completed. Training will begin on the date indicated
                   in the Announcement issued by the SAEA and the Training Plan provided
                   by each Police Area and Office of the Assistant Superintendent upon SAEA
                   approval.

Due Date           The trainings will be implemented as stated in Appendix C– Training
                   Implementation Process.



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TCA Assessment     PRPB has yet to provide the TCA evidence of training materials for review
                   concerning the administration and diagnosis of the computerized systems
                   of the PRPB.

Recommendations Continue review in accordance with Agreement requirements.


TCA Rating         See IT Action Plan




1.4                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of MPRPBs and the employees of the PRPB classified system assigned to
                     the Center for the Analysis of Criminal Activity and Crime Monitoring; the
                     Criminal Intelligence Collection, Analysis, and Dissemination Center; the
                     Crime Statistics Division; as well as the employees who collect statistical
                     data in the Police Areas and Offices of the Assistant Superintendents on
                     the Handbook for the Use and Handling of the Central Crime Information
                     Warehouse (CIW). The remaining fifty percent (50%) of the members of
                     the PRPB and employees of the PRPB classified system will be trained
                     within the following twelve (12) months, once the training of the first
                     group has been completed. Training will begin on the date indicated in
                     the Announcement issued by the SAEA and the Training Plan provided
                     by each Police Area and Office of the Assistant Superintendent upon
                     SAEA approval.

Due Date             The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.


TCA Assessment       PRPB has yet to provide the TCA evidence of training materials for review
                     concerning the Handbook for the Use and Handling of the Central Crime
                     Information Warehouse (CIW), employees assigned to the center for the
                     analysis of crime activity and crime monitoring, the criminal intelligence
                     collection.


Recommendations      Continue review in accordance with Agreement requirements.

TCA Rating           See IT Action Plan


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1.5                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of all MPRPBs on the Use and Management of the Information Systems of
                     the National Crime Information Center (NCIC) and the Integrated Crime
                     Registry (ICR). The remaining fifty percent (50%) of the members of the
                     PRPB will be trained within the following twelve (12) months, once the
                     training of the first group has been completed. Training will begin on the
                     date indicated in the Announcement issued by the SAEA and the Training
                     Plan provided by each Police Area and Office of the Assistant
                     Superintendent upon SAEA approval. The priority groups for training and
                     re-training are established in the Information Systems and Technology
                     Action Plan.

Due Date             The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.

TCA Assessment       PRPB has yet to provide the TCA evidence of training materials for review
                     concerning the Use and Management of the Information Systems of the
                     National Crime Information Center (NCIC) and the Integrated Crime
                     Registry (ICR).

Recommendations      Continue review in accordance with Agreement requirements.


TCA Rating           See IT Action Plan




1.6                  Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of all MPRPBs on the Use and Management of the Crime Mapping
                     Application. The remaining fifty percent (50%) of the members of the
                     PRPB will be trained within the following twelve (12) months, once the
                     training of the first group has been completed. Training will begin on the
                     date indicated in the Announcement issued by the SAEA and the Training
                     Plan provided by each Police Area and Office of the Assistant
                     Superintendent upon SAEA approval. The priority groups for training and
                     re-training are established in the Information Systems and Technology
                     Action Plan.


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Due Date              The trainings will be implemented as stated in Appendix C– Training
                      Implementation Process.

TCA Assessment        PRPB has yet to provide TCA with adequate evidence of materials
                      concerning a training course reference handling of radio
                      communications equipment

Recommendations

TCA Rating            See IT Action Plan




      II.   IMPLEMENTATION OBJECTIVES




1.1                   Develop and implement an information sub-system for keeping digitized,
                      complete, and precise records of the curricula, teaching plans, and other
                      materials used to develop trainings and re-training courses at the SAEA.
                      This sub-system will enable document storage by category and access
                      level. This activity is included in the Training Action Plan. (Table 35)

                      The focus and scope of the information system that will be developed to
                      maintain digitized, complete, and precise records of the curricula,
                      teaching plans, and other materials used to develop training and re-
                      training courses are described in the following phases:

Due Date              December 2016

TCA Assessment        In development but needs to be merged with HR system (Kronos)
                      The Commonwealth of Puerto Rico is in non-compliance with this
                      detailed step of the Action Plan


Recommendations       Continue effort.

TCA Rating            See IT Action Plan




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1.2                  Develop and implement an information sub-system to offer virtual (online)
                     training and/or re-training, in order to maximize MPRPB service time and
                     provide greater accessibility and flexibility so that they may fulfill their
                     work commitments without affecting the performance and quality of the
                     services they offer to the community. This activity is included in the
                     Training Compliance Area Action Plan.

Due Date             12 months after the corresponding policies have been approved.

TCA Assessment       Contract for on-line training awarded to Natl Univ College. Work started to
                     develop training packages. The first ten (10) courses are expected to start
                     on September 2017. A list of the courses will be provided as soon as
                     possible. The Commonwealth of Puerto Rico is in partial compliance with
                     this detailed step of the Action Plan

                     PRPB comment: the first ten (10) courses are expected to start on
                     September 2017. A list of the courses will be provided as soon as possible.

Recommendations Continue monitoring.

TCA Rating           See IT Action Plan




      II.   SELF ASSESSMENT OBJECTIVES:

1.1                  The PRPB, through the Office of Reform, will evaluate the effectiveness of
                     the rules and procedures adopted in its policies and the knowledge
                     acquired in the training of PRPB employees. The results of these
                     evaluations will be analyzed to measure the level of knowledge, attitudes,
                     aptitudes, and abilities, identify if there is a substantial deficiency, and, if
                     necessary, take the corrective actions in the policies, training, and re-
                     training so that the procedures adopted are feasible, operationally
                     enforceable, and sustainable. This activity will be conducted through an
                     Evaluation Protocol on Compliance with Operational Programs Best
                     Practices, which will help measure the effectiveness of the rules and
                     training of PRPB employees by reviewing documents, forms, policies, and
                     procedures related to arrests, traffic stops, searches, property seizures,
                     and administrative complaints with the purpose of ensuring that police
                     services are provided in an equitable, respectful, and unbiased manner;
                     attaining ongoing professionalization of Members of the PRPB;
                     strengthening the community’s trust; and effectively preventing crime,

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                   based on generally accepted police practices and without prejudice on the
                   basis of race, color, ethnicity, national origin, religion, sex, age, disability,
                   sexual orientation, gender identity or gender expression, or political beliefs
                   or affiliation and pursuant to the rights, privileges, and immunities
                   guaranteed or protected by the respective Constitutions and laws of the
                   United States and the Commonwealth of Puerto Rico. The development of
                   this Protocol will be part of the Equal Protection and Non-discrimination
                   Compliance Area Action Plan.

Due Date           See Schedules B & C.

TCA Assessment     The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement.

Recommendations Continue review in accordance with Agreement requirements.

TCA Rating         See IT Action Plan


1.2                The PRPB, through the Office of the Reform, will use various data collection
                   strategies and conduct periodic, specific, and random monitoring of the
                   different activities, operations, services, investigations, training courses,
                   among others, it provides, starting with Zones of Excellence and gradually
                   continuing through all thirteen (13) Police Areas and Offices of Assistant
                   Superintendents.

                   a.   Using the Training Plan and Training Announcement issued by the
                        SAEA for each of the courses to identify their start date, the time Police
                        Areas and the corresponding Offices of Assistant Superintendents will
                        have to complete it, and the work units that will be given training
                        priority. The Training Plans for each of the thirteen (13) Police Areas
                        and Offices of Assistant Superintendents, as approved by the SAEA,
                        will also be considered to check the specific dates during which each
                        training course identified in this Action Plan will be provided. The
                        Office of Reform will verify that MPRPBs are participating in scheduled
                        training courses by using the above-mentioned sources and the
                        attendance records for each course.

                   b. Making random visits to each of the thirteen (13) Police Areas and
                      Offices of Assistant Superintendents using the Training Plan approved
                      by the SAEA for each of the training courses developed for this
                      Compliance Area to guarantee that the PRPB personnel are being

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                       trained in keeping with the syllabi, instructor handbooks,
                       presentations, and assessment methodology approved by the
                       Technical Compliance Advisor.

                  c.   Making random visits to the Office of the Assistant Superintendent for
                       Education and Training (SAEA) to check that the training records of the
                       sworn and classified personnel, the curricula, and the lesson plans,
                       among others, are maintained digitalized, centralized, updated,
                       complete, and accurate and that the training records contain the
                       course description and duration, curriculum, location of the training,
                       and name of the instructor, among other details.

Due Date          See Schedules B & C. Not yet due.

TCA Assessment    The TCA has been monitoring PRPB’s progress. To date PRPB has not
                  complied with the requirement outlined in the Action Plan and the
                  Agreement.

Recommendations Continue review in accordance with Agreement requirements.

TCA Rating        See IT Action Plan




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 Compliance Tables for Supervision and Management Action Plan


                         Section X. Supervision and Management
                                Requirements: 135 to 158


Compliance Area Summary:


    I. Policy and Procedure Development Objectives:

Activity X.I.1.1

 X.I.1.1              Collaborate in the development of the General Order on Detailed Job
                      Description by Rank and in establishing the requirements for the position
                      of supervisor, clearly defining the supervisor duties, responsibilities, and
                      minimum qualifications in keeping with generally accepted police
                      practices. This policy will form part of the Professionalization Compliance
                      Area Action Plan.

 Due Date             October 2016

 TCA Assessment       The TCA has been monitoring PRPB’s progress. To date PRPB has not
                      complied with the requirement outlined in the Action Plan and the
                      Agreement. TCA assessment has not reviewed a detailed job description
                      by rank. Pending review.
 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating           See Professionalization Action Plan




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Activity X.I.1.2

 X.I.1.2           Develop a General Order on Supervisor Powers, Duties, and Responsibilities
                   establishing guidelines and clear strategies for effective and efficient
                   supervision and management.

 Due Date          October 2016

 TCA Assessment    The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement. TCA assessment has not reviewed a General Order on
                   Supervisor Powers, Duties, and Responsibilities. Pending review.


 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating        Timeframe was not met.

                   The Commonwealth of Puerto Rico is in non-compliance.




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Activity X.I.2.1

 X.I.2.1           Collaborate in the review of Regulation No. 4216, entitled “Puerto Rico
                   Police Department Personnel Regulations”, Article 13, Section 14.2, and
                   adapt the general rules that will govern the Performance Evaluation
                   System for the Employees of the PRPB to the requirements provided in the
                   Agreement for the Sustainable Reform. This policy will form part of the
                   Policies and Procedures Compliance Area Action Plan.

 Due Date          December 2016

 TCA Assessment    The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement. TCA has not reviewed a PRPB personnel regulations, which
                   will govern the Performance Evaluation System.


 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.I.2.2

 X.I.2.2           Review General Order 2008-3, entitled “Rules and Procedures for the
                   Evaluation of the Members of the Police and Classified Personnel”, to
                   establish a specific system for accurately evaluating the performance of all
                   PRPB employees. (Table 2)

 Due Date          December 2016 Current Effective Date: 06/20/2018

 TCA Assessment    The TCA has been monitoring PRPB’s progress. To date PRPB has not
                   complied with the requirement outlined in the Action Plan and the
                   Agreement. TCA has not reviewed a specific system for accurately
                   evaluating the performance of all PRPB employees. Pending review.

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.I.3.1

 X.I.3.1           Develop a General Order for the Creation of the Early Identification System
                   to establish procedures to support effective supervision and management
                   that identifies risk conduct patterns in the employees of the Rank System
                   and the Classified System, as well as to prevent and correct improper
                   conduct.

 Due Date          October 2017

 TCA Assessment    In progress. The policy is undergoing full revision


 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating        Timeframe was met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.I.3.2

 X.I.3.2            Develop a Procedures Manual for the Use of the Early Identification System
                    that establishes the correct way to operate the system and analyze the
                    data obtained. (Table 4)
 Due Date           November 2017

 TCA Assessment  In progress. The policy is undergoing full revision. The PRPB is likely to
                 request an extension and the manual should be scheduled for September
                 2018.
 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.I.4.1

 X.I.4.1           Review General Order No. 2010-1, entitled “Reorganization of the Internal
                   Audit Office” to ensure the establishment of an internal audit system that
                   identifies administrative and operational deficiencies, analyzes
                   contributing causes and factors, and for effective measures to be
                   implemented.
 Due Date          July 2016

 TCA Assessment    approved

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in full compliance with this step of
                   the Action Plan




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Activity X.I.4.2

 X.I.4.2           Develop a Procedures Manual establishing Guidelines for Operational and
                   Administrative Inspections and ensure that all offices and divisions of the
                   PRPB receive the proper level of services based on the generally accepted
                   police practices, seek operational efficiency, internal control, and promote
                   a culture of organizational responsibility and improvement. This
                   responsibility will rest with the Inspections Division of the Office of the
                   Assistant Superintendent for Professional Responsibility.
 Due Date          August 2016

 TCA Assessment    Compliance with the Activity: 09/28/2018

 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.I.5.1

 X.I.5.1           Develop an Inter-Agency Memorandum among the PRPB, the federal and
                   state justice systems, the Administrative Office of the Courts, the
                   Municipal Police Commissioners to establish the Executive Coordination
                   Committee.
 Due Date          July 2016

 TCA Assessment


 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.II.1.1

 X.II.1.1           The SAEA will create a course aimed at training all supervisory personnel
                    and all MPRPB on equal employment opportunity. This training is included
                    in the Equal Protection and Non-Discrimination Action Plan.

 Due Date           Session I: Sergeants: October 2015
                    Session II: Captain and Lieutenant I: December 2015
                    Session III: Lieutenant II: January 2016

 TCA Assessment     Training materials have been developed. Pending review.

 Recommendations Continue review in accordance with Agreement requirements.


 TCA Rating         For rating, see Equal Protection Action Plan




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Activity X.II.1.2

 X.II.1.2           The SAEA will create a Multi-Topic Training Program to train MPRPBs who
                    have passed the promotional exams from the rank of Sergeant to Captain
                    before they assume the responsibilities of their new rank. This Program
                    will be designed taking into consideration the powers, responsibilities, and
                    duties of each rank and will consist of at least forty (40) contact hours. This
                    activity will depend on the availability of vacant positions approved to be
                    filled according to the budget. These training courses will include the
                    following topics, pursuant to the Agreement: (Table 8)
                    1.1.1 Management;
                    1.1.2 Supervision;
                    1.1.3 Leadership;
                    1.1.4 Chain of Command; and
                    1.1.5 Equal Employment Opportunity (EEO). This training is included in the
                           Equal Protection and Non-Discrimination Action Plan activity 1.1, 1.1.1,
                           and 1.1.2.

 Due Date           Session I: Sergeants: October 2015
                    Session II: Captain and Lieutenant I: December 2015
                    Session III: Lieutenant II: January 2016
 TCA Assessment     Training materials have been developed. Pending review.


 Recommendations Continue review in accordance with Agreement requirements.

 TCA Rating         For rating, see Equal Protection Action Plan




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Activity X.II.1.3

 X.II.1.3           The SAEA will create a Multi-Topic Training Program to train all PRPB
                    supervisory personnel, taking into consideration the inherent duties of
                    each rank. This Program will implement Action Plan Section X. Supervision
                    and Management be aimed at their level of supervision and management
                    and will include the following topics: (Table 9)
                    1.3.1 Techniques to effectively guide and direct the MPRPBs and
                            promote effective and ethical police practices (effective
                            supervision);
                    1.3.2 Reduce conflict intensity (conflict mediation);
                    1.3.3 Evaluation of written reports (reports and forms);
                    1.3.4 Investigation of use of force by MPRPBs.
                    1.3.5 Responding to and investigating allegations of improper conduct by
                            an MPRPB.
                    1.3.6 Risk assessment and management;
                    1.3.7 Performance evaluation process;
                    1.3.8 Selection and annual award of outstanding employees;
                    1.3.9 Applying appropriate non-punitive disciplinary sanctions and
                            corrective actions. This activity is included in the Administrative
                            Complaints Compliance Area Action Plan.
                    1.3.10 Use of the Early Identification System (EIS) to facilitate direct and
                            effective supervision. This training will be designed once the System
                            is running;
                    1.3.11 Dissemination of Public Information. This training is included in the
                            Community Engagement and Public Information Compliance Area
                            Action Plan.
                    1.3.12 Procedures Manual regarding supervisor powers, duties, and
                            responsibilities.
                    1.3.13 Equal Employment Opportunity (EEO). This training is included in
                            the Equal Protection and Non-Discrimination Action Plan activity
                            1.1, 1.1.1, and 1.1.2.
                    1.3.14 Executive Committee Inter-agency Memorandum
 Due Date           Designing training courses corresponding to policies will begin once the
                    policy has been approved and signed in accordance with the process
                    established in Appendix B – Training Design Process.
 TCA Assessment     Training materials have not been fully developed. Extension requested.

 Recommendations Continue review in accordance with Agreement requirements.



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TCA Rating      Timeframe was not met

                The Commonwealth of Puerto Rico is in non-compliance with this step of
                the Action Plan. Once extension granted, the TCA will review its rating.




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Activity X.II.1.4

 X.II.1.4           Every year after these trainings, the MPPR with supervisory or management
                    duties will be trained for a minimum of forty (40) contact hours on topics
                    based on the identified needs or trends existing at the time prior to the
                    training. The elements that may be incorporated include: an analysis of
                    factors, including, but not limited to, MPRPB safety, community concerns,
                    use of force statistics, internal affairs statistics, court decisions, and latest
                    trends in the application of the law; as well as the feedback received from
                    the Inter-Agency Executive Committee and the Citizen Engagement
                    Committees, among others.
 Due Date           Designing training courses corresponding to policies will begin once the
                    policy has been approved and signed in accordance with the process
                    established in Appendix B – Training Design Process.
 TCA Assessment     Training materials have not been fully developed. Pending review.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.II.2.1

 X.II.2.1           The SAEA will create a course to train all MPRPBs who carry out supervisory
                    and management duties on the General Order and the Procedures Manual
                    for the Early Identification System (EIS) through instructors it has certified.
 Due Date           Designing training courses corresponding to policies will begin once the
                    policy has been approved and signed in accordance with the process
                    established in Appendix B – Training Design Process.

 TCA Assessment     Not developed

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.II.3.1

 X.II.3.1           The SAEA will create a course to train all personnel assigned to the
                    Inspections Division of the Office of the Assistant Superintendent for
                    Professional Responsibility on the Operational and Administrative
                    Inspections Procedures Manual, as well as on the procedures to be
                    followed.
 Due Date           Designing training courses corresponding to policies will begin once the
                    policy has been approved and signed in accordance with the process
                    established in Appendix B – Training Design Process.
 TCA Assessment     The TCA has not reviewed a course to train all personnel assigned to the
                    Inspections Division of the Office of the Assistant Superintendent for
                    Professional Responsibility on the Operational and Administrative
                    Inspections Procedures Manual.

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.III.1.1

 X.III.1.1           Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train one hundred percent (100%) of all MPRPBs who
                     have passed the promotional exams before they assume the
                     responsibilities of their new ranks, through instructors it has certified.
                     Training will begin in accordance with the date indicated in the
                     Announcement issued by the SAEA and the Training Plan. (Table 13)
 Due Date            Session I: Sergeants: October 2015
                     Session II: Captain and Lieutenant I: December 2015
                     Session III: Lieutenant II: January 2016
 TCA Assessment      The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                     with the requirement outlined in the Action Plan and the Agreement.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance




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Activity X.III.1.2

 X.III.1.2           Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train one hundred percent (50%) of all MPRPBs who
                     perform supervisory and management duties at their level of supervision,
                     through instructors it has certified. The remaining fifty percent (50%) of
                     the personnel will be trained during the following twelve (12) months, once
                     the training of the first group has been completed. Training will begin in
                     accordance with the date indicated in the Announcement issued by the
                     SAEA and the Training Plan provided by each Police Area and Office of the
                     Assistant Superintendent after SAEA approval. (Table 14)
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                     with the requirement outlined in the Action Plan and the Agreement.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance




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Activity X.III.1.3

 X.III.1.3           The PRPB will begin by training the MPRPBs who are first responders:
                     1.3.1 Personnel assigned to the Zones of Excellence (SAOC);
                     1.3.2 Districts, Precincts, Posts (SAOC). The priority of each one will be
                     based on the following:
                             1.3.2.1 Number of use-of-force incidents per location;
                             1.3.2.2 Number of domestic violence incidents per location;
                             1.3.2.3 Number of interventions with intoxicated persons;
                             1.3.2.4 Number of traffic stops;
                             1.3.2.5 Number of arrests made;
                             1.3.2.6 Administrative complaints for the following: violations of
                                     civil rights, sexual harassment, discrimination, assault or
                                     unjustified use of force, physical or psychological coercion;
                             1.3.2.7 Aggression against an MPRPB;
                             1.3.2.8 Number of mass protests; and
                             1.3.2.9 Distance from support units.
                     1.3.3 Motorized Unit (SAOC).
                     1.3.4 Bureau of Highway and Traffic Patrols (SAOC);
                     1.3.5 Bureau of Drugs, Narcotics, Vice Control, and Illegal Weapons
                     (SAIC);
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      In progress; pending review.

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.1.4

 X.III.1.4           The PRPB will continue to give training priority to the MPRPBs who are first
                     responders and who belong to the following divisions and units:
                     1.4.1 Personnel assigned to the Office of the Superintendent;
                     1.4.2 Division of Tactical Operations – DTO (SAOC);
                     1.4.3 Division of Special Weapons and Tactics – SWAT (SAOC);
                     1.4.4 Bureau of Vehicle Theft Investigations (SAIC);
                     1.4.5 Arrests and Extraditions Division (SAIC);
                     1.4.6 Use-of-Force Investigations Division – FIU (SARP);
                     1.4.7 Members of Joint Forces (SAIC);
                     1.4.8 Canine Division (SAIC);
                     1.4.9 Remaining personnel of the Office of the Assistant Superintendent
                            for Field Operations;
                     1.4.10 Remaining personnel of the Office of the Assistant Superintendent
                            for Criminal Investigations;
                     1.4.11 Office of the Assistant Superintendent for Professional
                            Responsibility;
                     1.4.12 Office of the Assistant Superintendent for the La Fortaleza Police;
                     1.4.13 Office of the Assistant Superintendent for Education and Training;
                            and
                     1.4.14 Office of the Assistant Superintendent for Managerial Services.
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      In progress; pending review.


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.1.5

 X.III.1.5           Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train one hundred percent (50%) of the MPRPBs that
                     perform supervisory or administrative duties on the Performance
                     Evaluation System for the MPRPBs through instructors it has certified. The
                     remaining fifty percent (50%) of the personnel will be trained during the
                     following twelve (12) months, once the training of the first group has been
                     completed. Training will begin in accordance with the date indicated in the
                     Announcement issued by the SAEA and the Training Plan provided by each
                     Police Area and Office of the Assistant Superintendent after SAEA approval.
                     (Table 15)
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      PRPB has requested an extension.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met. Extension requested.

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan. Once the Court approves the extension, the ration will be
                     re-evaluated.




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Activity X.III.1.6

 X.III.1.6           The PRPB will begin by training the MPRPBs who are first responders:
                     1.6.1 Personnel assigned to the Zones of Excellence (SAOC);
                     1.6.2 Districts, Precincts, Posts (SAOC). The priority of each one will be
                            based on the following:
                            1.6.2.1 Number of use-of-force incidents per location;
                            1.6.2.2 Number of domestic violence incidents per location;
                            1.6.2.3 Number of interventions with intoxicated persons;
                            1.6.2.4 Number of traffic stops;
                            1.6.2.5 Number of arrests made;
                            1.6.2.6 Administrative complaints for the following: violations of
                                     civil rights, sexual harassment, discrimination, assault or
                                     unjustified use of force, physical or psychological coercion;
                            1.6.2.7 Aggression against an MPRPB;
                            1.6.2.8 Number of mass protests;
                            1.6.2.9 Distance from support units;
                            1.6.2.10 Motorized Unit (SAOC); and
                            1.6.2.11 Bureau of Drugs, Narcotics, Vice Control, and Illegal
                                     Weapons (SAIC);
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      TCA assessment has not reviewed the materials on the Performance
                     Evaluation System for the MPRPBs. Pending review.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.1.7

 X.III.1.7           The PRPB will continue to give training priority to the MPRPBs who are first
                     responders and who belong to the following divisions and units:
                     1.7.1 Personnel assigned to the Office of the Superintendent;
                     1.7.2 Division of Tactical Operations – DTO (SAOC);
                     1.7.3 Division of Special Weapons and Tactics – SWAT (SAOC);
                     1.7.4 Bureau of Highway and Traffic Patrols (SAOC);
                     1.7.5 Bureau of Vehicle Theft Investigations (SAIC);
                     1.7.6 Arrests and Extraditions Division (SAIC);
                     1.7.7 Use-of-Force Investigations Division – FIU (SARP);
                     1.7.8 Members of Joint Forces (SAIC);
                     1.7.9 Canine Division (SAIC);
                     1.7.10 Remaining personnel of the Office of the Assistant Superintendent
                            for Field Operations;
                     1.7.11 Remaining personnel of the Office of the Assistant Superintendent
                            for Criminal Investigations;
                     1.7.12 Office of the Assistant Superintendent for Professional
                            Responsibility;
                     1.7.13 Office of the Assistant Superintendent for the La Fortaleza Police;
                     1.7.14 Office of the Assistant Superintendent for Education and Training;
                     1.7.15 Office of the Assistant Superintendent for Managerial Services.
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      TCA assessment has not reviewed the materials on the Performance
                     Evaluation System for the MPRPBs. Pending review.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.1.8

 X.III.1.8           Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train one hundred percent (50%) of the employees that
                     perform supervisory or administrative duties on the Early Identification
                     System (EIS) Procedures Manual and General Order through instructors it
                     has certified. The remaining fifty percent (50%) of the personnel will be
                     trained during the following twelve (12) months, once the training of the
                     first group has been completed. Training will begin in accordance with the
                     date indicated in the Action Plan Section X. Supervision and Management
                     Announcement issued by the SAEA and the Training Plan provided by each
                     Police Area and Office of the Assistant Superintendent after SAEA approval.
 Due Date            The trainings will be implemented as stated in Appendix C– Training
                     Implementation Process.
 TCA Assessment      Not developed

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.1.9

 X.III.1.9           The PRPB will begin by training the MPRPBs who are first responders:
                     1.9.1 Personnel assigned to the Zones of Excellence (SAOC);
                     1.9.2 Districts, Precincts, Posts (SAOC). The priority of each one will be
                            based on the following: (Table 16)
                            1.9.2.1 Number of use-of-force incidents per location;
                            1.9.2.2 Number of domestic violence incidents per location;
                            1.9.2.3 Number of interventions with intoxicated persons;
                            1.9.2.4 Number of traffic stops;
                            1.9.2.5 Number of arrests made;
                            1.9.2.6 Administrative complaints for the following: violations of
                                     civil rights, sexual harassment, discrimination, assault or
                                     unjustified use of force, physical or psychological coercion;
                            1.9.2.7 Aggression against an MPRPB;
                            1.9.2.8 Number of mass protests; and
                            1.9.2.9 Distance from support units.
                     1.9.3 Motorized Unit (SAOC).
                     1.9.4 Bureau of Drugs, Narcotics, Vice Control, and Illegal Weapons
                            (SAIC);
                     1.9.5 The PRPB will continue to give training priority to the MPRPBs who
                            are first responders and who belong to the following divisions and
                            units:
                     1.9.6. Personnel assigned to the Office of the Superintendent;
                     1.9.7 Division of Tactical Operations – DTO (SAOC);
                     1.9.8 Division of Special Weapons and Tactics – SWAT (SAOC);
                     1.9.9 Bureau of Highway and Traffic Patrols (SAOC);
                     1.9.10 Bureau of Vehicle Theft Investigations (SAIC);
                     1.9.11 Arrests and Extraditions Division (SAIC);
                     1.9.12 Use-of-Force Investigations Division – FIU (SARP);
                     1.9.13 Members of Joint Forces (SAIC);
                     1.9.14 Canine Division (SAIC);
                     1.9.15 Remaining personnel of the Office of the Assistant Superintendent
                            for Field Operations;
                     1.9.16 Remaining personnel of the Office of the Assistant Superintendent
                            for Criminal Investigations;
                     1.9.17 Office of the Assistant Superintendent for Professional
                     Responsibility;
                     1.9.18 Office of the Assistant Superintendent for the La Fortaleza Police;
                     1.9.19 Office of the Assistant Superintendent for Education and Training;
                     1.9.20 Office of the Assistant Superintendent for Managerial Services.

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Due Date          The trainings will be implemented as stated in Appendix C– Training
                  Implementation Process.
TCA Assessment    Not developed

Recommendations Continue review in accordance with Agreement requirements


TCA Rating        Timeframe was not met

                  The Commonwealth of Puerto Rico is in non-compliance with this step of
                  the Action Plan




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Activity X.III.1.10

 X.III.1.10           Within the twelve (12) months following the final approval of the training
                      material and the incorporation of the recommended changes, the SAEA
                      will simultaneously train one hundred percent (100%) of the personnel
                      assigned to the Inspections Division of the Office of the Assistant
                      Superintendent for Professional Responsibility, on the Operational and
                      Administrative Inspections Manual, through instructors it has certified.
                      Training will begin on the date indicated in the Announcement issued by
                      the SAEA and the Training Plan.
                      (Table 17)
 Due Date             The trainings will be implemented as stated in Appendix C– Training
                      Implementation Process.
 TCA Assessment       An extension has been requested.


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating           Timeframe was not met. Submitted on September 2018. It is currently
                      under development.

                      The Commonwealth of Puerto Rico is in non-compliance with this step of
                      the Action Plan. Once the Court approves the extension, the ration will be
                      re-evaluated.




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Activity X.III.2.1

 X.III.2.1           The PRPB will develop an automated Performance Evaluation System that
                     will enable the personal and professional development of its employees in
                     order to achieve the goals set forth in its policies and procedures and to
                     see whether the evaluated employees meet the expected performance
                     and conduct standards. This activity will form part of the Information and
                     Technology Systems Compliance Area Action Plan.
 Due Date            Six months after the policy takes effect.

 TCA Assessment      TCA assessment has not reviewed an automated Performance Evaluation
                     System. Pending review.


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met. Extension requested.

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.3.1

 X.III.3.1           Develop a plan to organize and conduct inspections whereby the
                     operational and administrative deficiencies of the different inspected work
                     units of the PRPB are identified and the contributing causes are studied
                     (Table 18).
 Due Date            Six months after the policy takes effect.

 TCA Assessment      Extension requested


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met. Submitted on September 2018. It is currently
                     under development.


                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan. Rating will be re-evaluated after extension is granted.




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Activity X.III.3.2

 X.III.3.2           Implement the periodic, specific, and random Inspections Plan to ensure
                     that all work units and personnel are complying with the policies and
                     procedures established by the PRPB; identify operational and
                     administrative deficiencies; and recommend potential corrective
                     measures to address the deficiencies identified. (Table 18)
 Due Date            Six months after the policy takes effect.

 TCA Assessment      TCA assessment has not reviewed a policy reference a random inspections
                     plan. Pending review.

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.4.1

 X.III.4.1           Designate the representatives of each Executive Coordination Committee.
                     (Table 19)
 Due Date            July 2016

 TCA Assessment      Pending review.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.5.1

 X.III.5.1           Consider the results of the Work Plan included in the Professionalization
                     Action Plan, which will be carried out with the purpose of evaluating the
                     human resources of the PRPB, taking into consideration their status and
                     the operational and administrative work that they perform, in order to
                     identify existing needs and then make decisions, to foster the correct
                     distribution of personnel based on criminal activity and on the philosophy
                     of community policing. (Table 20)
 Due Date            Once the Superintendent decides to make the promotions.

 TCA Assessment      Linked to P.13


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.5.2

 X.III.5.2           Once considered by the Superintendent, identify the number of
                     supervisors needed per rank and issue announcements for Promotional
                     Exams so that the PRPB may meet the need for supervisors and provide
                     the proper number of same.
 Due Date            Once the Superintendent decides to make the promotions.

 TCA Assessment      Linked to P.13



 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.III.5.3

 X.III.5.3           Based on the results of the promotional exams and on the needs previously
                     identified in the Work Plan, assign the front-line supervisors who have
                     satisfactorily completed the training required for the rank and that meet
                     any other requirements established by the PRPB.
 Due Date            Once the Superintendent decides to make the promotions.

 TCA Assessment      Linked to P.13


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this step of
                     the Action Plan




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Activity X.IV.1.1

 X.IV.1.1           The Office of the Assistant Superintendent for Managerial Services and its
                    Bureau of Technology and Bureau of Human Resources will call upon
                    SARP and OLA to evaluate the Early Identification System (EIS). They will
                    identify the specifications that the database to be used must have
                    according to their needs to collect the information related to the
                    identification of the improper conduct and of the work that must be
                    acknowledged among the employees of the agency. This system will form
                    part of the Information and Technology Systems Compliance Area Action
                    Plan.
 Due Date           August 2017

 TCA Assessment     Not developed. PRPB states that this will be in placed in October 2018.


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.IV.1.2

 X.IV.1.2           The Office of the Assistant Superintendent for Managerial Services, its
                    Bureau of Human Resources, in collaboration with the Bureau of
                    Technology, will maintain a Performance Evaluation System to evaluate the
                    performance of all PRPB employees. They will identify the specifications
                    that the database to be used must have in order to collect performance
                    evaluation information. This system will form part of the Information and
                    Technology Systems Compliance Area Action Plan.
 Due Date           August 2017

 TCA Assessment     Not developed

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.IV.1.3

 X.IV.1.3           The PRPB will use the Early Identification System (EIS) to document all
                    improper conduct, performance evaluations of the employees of the
                    PRPB, and the services that they provide. This system will also document
                    all work that is performed with excellence by the employees of the PRPB
                    and will be integrated into the Human Resources Information System.
                    (Table 21)
                    1.3.1 All use-of-force incidents;
                    1.3.2 Injuries and deaths of persons in custody;
                    1.3.3 All complaints and their solutions;
                    1.3.4 Data compiled with the mechanisms for obtaining information
                           (stop data);
                    1.3.4 All criminal proceedings initiated, in addition to all administrative
                           complaints filed, related to the performance or aptitudes of an
                           MPRPB, including, but not limited to, domestic violence and
                           protective orders;
                    1.3.6 All judicial proceedings involving domestic violence, protective
                           orders, and any other judicial proceeding that may be related to
                           the performance of a MPRPB.
                    1.3.7 All instances when a fiscal authority informs the PRPB that the
                           refusal to process a crime was based, totally or partially, on
                           questions about the credibility of a PRPB employee, or that a
                           motion to suppress evidence was granted on the basis of a
                           constitutional violation by a member or civilian employee of the
                           PRPB;
                    1.3.8 All disciplinary actions taken against a member or civilian
                           employee of the PRPB;
                    1.3.9 All non-punitive corrective actions required for a member or
                           civilian employee of the PRPB;
                    1.3.10 All acknowledgments and rewards received by a member or
                           civilian employee of the PRPB;
                    1.3.11 Training history of every member or civilian employee of the
                           PRPB;
                    1.3.12 Identification information for every member or civilian employee
                           of the PRPB;
                    1.3.13 Demographics of each civilian involved in a use-of-force or search
                           and seizure incident, sufficient to evaluate the existence of bias.
 Due Date           August 2017

 TCA Assessment     Not developed


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Recommendations   Continue review in accordance with Agreement requirements

TCA Rating        Timeframe was not met

                  The Commonwealth of Puerto Rico is in non-compliance with this step of
                  the Action Plan




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Activity X.IV.2.1

 2.1                The Office of the Assistant Superintendent for Managerial Services,
                    through its Bureau of Technology, will develop, in coordination with the
                    SARP, an information system for the collection of relevant data and
                    information about all Operational and Administrative Inspections
                    performed by the SARP. This system will enable the identification and
                    analysis of operational and administrative deficiencies, and of causes and
                    contributing factors, to facilitate the implementation of the appropriate
                    corrective measures. The system will provide periodic reports about the
                    inspections and their results. (Table 22)
 Due Date           December 2017

 TCA Assessment     Not developed


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating         Timeframe was not met

                    The Commonwealth of Puerto Rico is in non-compliance with this step of
                    the Action Plan




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Activity X.V.1.1

 X.V.1.1           The PRPB, through the Office of Reform, will consistently use data
                   collection strategies and periodically conduct specific and random
                   monitoring of the different activities, operations, services, investigations,
                   trainings, among others offered by the PRPB, such as:
                   1.1.1 Use the Training Plan and the Training Announcement issued by the
                          SAEA for every course, in order to identify the start date of each one,
                          the period of time that the Police Areas and the Offices of the
                          Assistant Superintendents will have to complete it, and the work
                          units that will be given training priority. Likewise, the Training Plans
                          of each of the thirteen (13) Police Areas and the Offices of the
                          Assistant Superintendents, as approved by the SAEA, will be
                          considered, to verify the specific dates during which each one of the
                          trainings identified in this Action Plan will be offered. The Office of
                          the Reform will use the sources mentioned above and the
                          attendance records of each training to ensure that the MPRPBs are
                          participating in the scheduled trainings.
                   1.1.2 Make random visits to each of the thirteen (13) Police Areas and
                          Offices of Assistant Superintendents using the Training Plan
                          approved by the SAEA for each of the training courses developed for
                          this Compliance Area in order to guarantee that PRPB personnel are
                          being trained in keeping with the syllabi, instructor handbooks,
                          presentations, and assessment methodology approved by the
                          Technical Compliance Advisor.
 Due Date          Unknown.

 TCA Assessment    The TCA has been monitoring PRPB’s progress. To date PRPB has complied
                   with the requirement outlined in the Action Plan and the Agreement.


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating        Timeframe was met

                   The Commonwealth of Puerto Rico is in partial compliance




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Activity X.V.1.2

 X.V.1.2           Evaluate the implementation of the quarterly meetings with the members
                   of the Executive Coordination Committee and the purpose for which they
                   were created.
 Due Date          Unknown.

 TCA Assessment    Pending review.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.V.1.3

 X.V.1.3           Measure progress of internal audits so that the officers in charge of all
                   work units may take the appropriate corrective measures to correct
                   operational deficiencies found. This will foster a culture of continuous
                   improvement in all the divisions and among PRPB personnel.
 Due Date          Unknown.

 TCA Assessment    TCA assessment has not reviewed materials reference measuring progress
                   of internal audits. Pending review.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan




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Activity X.V.1.4

 X.V1.4            Monitor to ensure that the required ratio of front-line supervisors to
                   MPRPBs is established and maintained so that there may be direct and
                   effective supervision in keeping with the generally accepted police
                   practices. (Table 23)
 Due Date          Eighteen (18) months after the approval of the Action Plan.

 TCA Assessment    This is included in the extension request.

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating        Timeframe was not met

                   The Commonwealth of Puerto Rico is in non-compliance with this step of
                   the Action Plan. Once the extension is granted, the TCA will update his
                   rating.




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            Compliance Tables for Administrative Complaints Action Plan

      Section XI: Administrative Complaints, Internal Investigations, and Discipline
                                Requirements: 159 to 204

I.   Policy and Procedure Development Objectives:

     Activity XI.I.1.1

 XI.I.1.1                Develop an Administrative Order to create a Public Information Program
                         regarding the filing of administrative complaints and posters and flyers
                         informing people how to file administrative complaints

 Due Date                June 2015

 TCA Assessment          PRPB has developed the Administrative Order and created posters
                         explaining the complaint process, has updated their website to also
                         outline the complaint process, and has advertised in the newspaper. TCA
                         will obtain the media contract as an example of proof of compliance.
                         This has not been signed

 Recommendations In the public information literature and the posters there is clause,
                 ”Complaint letters will also be accepted but must be the original (no
                 copies) and contain an original signature,” which at minimum contradicts
                 their practice of accepting complaints from all sources in any format. This
                 may be construed to be a deterrent to filing written complaints. The TCA
                 recommends that all relating literature not contain this clause, and that it
                 is also clear that signatures are optional.

                         During the 6th reporting period PRPB advised the Superintendent intends
                         to revise the complaint requirement

                         Continue review in accordance with Agreement requirements
 TCA Rating              Timeframe was met

                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan



Activity XI.I.1.2


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XI.I.1.2          Develop a Collaborative Agreement between the Puerto Rico Police
                  Department and the Puerto Rico Department of Justice to establish a
                  procedure for the PRPB to consult with the District Attorney’s Office in
                  order to determine whether to continue or suspend an administrative
                  investigation, to avoid affecting a criminal proceeding and safeguard the
                  constitutional rights of subject of a criminal investigation
Due Date          August 2017

TCA Assessment    Reviewed in September 2018 and October 2018


Recommendations Continue review in accordance with Agreement requirements

TCA Rating        Timeframe was not met. Extension requested. Documents submitted on
                  September 2018.

                  The Commonwealth of Puerto Rico is in non-compliance with this step of
                  the Action Plan




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Activity XI.I.1.3

 XI.I.1.3           Review Regulations 6506 entitled “Regulations to Process Administrative
                    Complaints against Members of the Force and Civilian Personnel who
                    Work at the PRPB” to adopt the new “Regulations to Receive, Process,
                    and Manage Administrative Complaints,” which will specify the process
                    and mechanisms available for the receipt, tracking, processing, and final
                    disposition of any administrative complaint that is submitted.

 Due Date           October 2015 Current Effective Date: 10/31/2016

 TCA Assessment     PRPB advised that the Regulation 6506 has been approved in 2016.




 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.1.4

 XI.I.1.4           Develop the Administrative Complaint Investigation Procedures Manual,
                    which will establish that, when investigating, all pertinent evidence will
                    be taken into consideration and all investigative findings must be
                    consistent with the facts and be supported by a preponderance of the
                    evidence

 Due Date           December 2015 Current Effective Date: 10/31/2016

 TCA Assessment     PRPB advised that Manual has been completed but awaiting approval
                    consistent with the ALPU (Uniform Administrative Law of Puerto Rico).
                    Pending Commissioner’s signature.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.2.1

 XI.I.2.1           Review Regulations 4216 entitled “Puerto Rico Police Department
                    Personnel Regulations” to establish the Code of Ethics and Conduct,
                    identify minor and major violations and impose disciplinary actions.

 Due Date           January 2016

 TCA Assessment     PRPB has published the Code of Ethics and Conduct on its website, and it
                    is out for public comments and awaits the signature from the Secretary
                    of State of Puerto Rico. Pending PC’s signature.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.2.2

 XI.I.2.2           Develop an Administrative Order for Supervisors on the Investigation,
                    Management, and Adjudication of Minor Violations that establishes the
                    procedure supervisors are to follow when they learn about improper
                    conduct by a PRPB employee and authorizing them to investigate and
                    take appropriate non-punitive corrective action or recommend
                    disciplinary action when appropriate.
 Due Date           March 2016

 TCA Assessment     See 2.1 (above). Waiting for approval of Regulation 4216. No signature


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.2.3

 XI.I.2.3           Develop an Administrative Order to create the Puerto Rico Police
                    Department Personnel Assistance and Support Program through which
                    some of the corrective, non-punitive measures available will be
                    established

 Due Date           July 2016

 TCA Assessment     TCA must confirm with the General Services Administration concerning
                    this policy; not within SARP control

                    In 6th period PRPB advised Administrative Order has been published in
                    2017, but this is not a SARP issue. Training manual approved in July 2018



 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.3.1

 XI.I.3.1           Review General Order 2010-14 entitled “Creation of the Office of the
                    Assistant Superintendent for Professional Responsibility” establishing
                    internal recruitment requirements, selection criteria, and performance
                    evaluation criteria for continued assignment to SARP

 Due Date           May 2015

 TCA Assessment     PRPB has revised the General Oder that has been approved and appears
                    on their website. See GO 100-114

                    During 6th period, PRPB advised this activity is undergoing annual review

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating         Timeframe was met

                    The Commonwealth of Puerto Rico is in full compliance with this detailed
                    step of the Action Plan




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Activity XI.I.4.1

 XI.I.4.1           Review Regulations 6403 entitled “Controlled Substance Detection
                    Program for Puerto Rico Police Department Officials and Employees
                    Regulations” to include the requirement of detecting anabolic steroids

 Due Date           December 2016

 TCA Assessment     PRPB will check Regulation 6403 to determine if anabolic steroids has
                    been added to program as a drug to be detected for employee use.

                    During this period, PRPB advised the law is still pending. PRPB submitted
                    a new regulation in September 2018.



 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating         Timeframe was met initially for submission. However, the timeframe was
                    not met in terms of approval of the policy.

                    The Commonwealth of Puerto Rico is in non-compliance with this detailed
                    step of the Action Plan




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Training objectives
Activity XI.II.1.1

    XI.II.1.1                  1.1   The Office of the Assistant Superintendent for Education and
                                     Training will create1 a Multi-topic Training Program to train SARP
                                     and OLA personnel on the procedure to receive, classify, process,
                                     and manage a complaint for improper conduct and the process
                                     of investigating administrative complaints. The Program will
                                     begin with training on the following topics:
                                     a. criminal law;
                                     b. criminal procedure;
                                     c. evidence;
                                     d. constitutional rights;
                                     e. criminal investigation techniques;
                                     f. administrative investigation techniques;
                                     g. cybercrime;
                                     h. on-scene work;
                                     i. criminal photography;
                                     j. preparation of files and reports.

                               After the approval of the Training Program and the incorporation of
                               the recommendations, the SAEA will continue providing training on
                               the topics corresponding to the following policies: (Table 10)
                                     k. training on the procedure to follow on parallel administrative
                                         and criminal investigations
                                     l. training on the new “Regulation to Receive, Process, and
                                         Manage Administrative Complaints”;
                                     m. training on the Administrative Complaint Investigation
                                         Procedures Manual;
                                     n. training on the Public Information Program regarding the
                                         Filing of Administrative Complaints;
                                     o. training on the Code of Ethics and Conduct that will be used
                                         to determine minor and major offenses and impose
                                         disciplinary sanctions;
                                     p. training on the Administrative Order for the Investigation,
                                         Management, and Adjudication of Minor Offenses by
                                         Supervisors; and
                                     q. training on the amendments to the Controlled Substances
                                         Detection Program for Officials and Employees of the Puerto
                                         Rico Police Department Regulations in relation to detecting
                                         anabolic steroids.

1
    See Appendix B – Training Development Process

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Due Date          SEE SCHEDULES B & C

TCA Assessment    The PRPB requested an extension. Training will start in October 2018.




Recommendations Continue review in accordance with Agreement requirements




TCA Rating        Timeframe was not met

                  The Commonwealth of Puerto Rico is in non-compliance with this detailed
                  step of the Action Plan




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Activity XI.II.1.2

 XI.II.1.2           Within the twelve (12) months following the final approval of the training
                     material and the incorporation of the changes recommended, the SAEA
                     will have its certified instructors simultaneously train fifty percent (50%)
                     of SARP and OLA personnel. The remaining fifty percent (50%) of the
                     MPRPBs will be trained within the following twelve (12) months, once the
                     training of the first group has been completed. Training will begin on the
                     date indicated in the Announcement issued by the SAEA and the Training
                     Plan provided by each Police Area and Office of the Assistant
                     Superintendent upon SAEA approval
 Due Date            SEE SCHEDULES B & C

 TCA Assessment      The PRPB requested an extension until July 2019.




 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.2.1

 XI.II.2.1           The SAEA will create a multi-topic course to train the personnel who
                     perform management and supervisory duties on the procedure supervisors
                     are to follow when they learn that a citizen intends to file an administrative
                     complaint, the time frames supervisors have to hand in a complaint filed
                     for their consideration, and their authority to investigate and take non-
                     punitive corrective or disciplinary measures when they learn about minor
                     offenses or violations of PRPB policies. The responsibilities of high-ranking
                     officers in relation to the evaluation of the investigations, the corrective
                     measures to be taken, and the identification of deficiencies will be part of
                     the training, which will also include learning about the duty to document
                     and inform the SARP about improper conduct, the consequences of
                     refusing to accept a complaint or providing false or deceitful information
                     about a complaint for improper conduct, and the prohibition against
                     retaliating in any way against an MPRPB who reports improper conduct

 Due Date            See Appendix B

 TCA Assessment      The PRPB requested an extension until August 2019. Time will start from
                     that moment.


 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.2.2


 XI.II.2.2           During the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train fifty percent (50%) of the personnel who perform
                     management and supervisory duties through instructors it has certified.
                     The SAEA will train the remaining MPRPBs who perform supervisory duties
                     during the following twelve (12) months, once the training of the first group
                     has been completed. Training will begin in accordance with the date
                     indicated in the Announcement issued by the SAEA and the Training Plan
                     provided by each Police Area and Office of the Assistant Superintendent
                     after SAEA approval.

 Due Date            SEE SCHEDULES B & C

 TCA Assessment      Same as above


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.2.3


 XI.II.2.3               The PRPB will begin by training Supervisors who belong to the following
                         work units:
                     2.3.1           Members of Joint Forces (SAIC);
                     2.3.2           Personnel assigned to Zones of Excellence (SAOC);
                     2.3.3           Division of Tactical Operations – DTO (SAOC);
                     2.3.4            Division of Special Weapons and Tactics – SWAT (SAOC);
                     2.3.5           Bureau of Highway and Traffic Patrols (SAOC);
                     2.3.6                 Bureau of Drugs, Narcotics, Vice Control, and Illegal
                     Weap.
                     2.3.7           Bureau of Vehicle Theft Investigations (SAIC);
                     2.3.8            Special Arrests and Extraditions Division (SAIC);
                     2.3.9            Criminal Investigations Corps – CIC (SAIC);
                     2.3.10          Canine Division, K-9 (SAIC); and
                     2.3.11          Motorized Unit (SAOC).


 Due Date            See Appendix C

 TCA Assessment


 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.2.4


 XI.II.2.4           The PRPB will continue training Supervisors who belong to Districts and
                     Precincts, taking the following into consideration: (Table 13)
                     2.4.1     number of use of force incidents per location;
                     2.4.2     number of domestic violence incidents per location;
                     2.4.3     number of interventions with intoxicated persons;
                     2.4.4      number of arrests made;
                     2.4.5     number of traffic stops;
                     2.4.6      number of administrative complaints for the following: illegal or
                     unreasonable arrests or detentions; use of unjustified force; physical
                     coercion or psychological violence against an arrestee; illegal or
                     unreasonable searches and seizures; discrimination; unjustified or
                     excessive assault; assault against MPRPBs; domestic violence; sexual
                     harassment; and obstructing, preventing, or interrupting the legal exercise
                     of freedoms.

 Due Date            Appendix C

 TCA Assessment



 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.3.1

 XI.II.3.1           The SAEA will create a multi-topic course to train PRPB personnel on the
                     requirement to report any conduct perceived as improper, the
                     consequences of refusing to accept a complaint or providing false
                     information, their duty to cooperate with any administrative investigation
                     pursuant to the ruling in the case of Garrity v. New Jersey, and the existing
                     mechanisms to file complaints for improper conduct or report the good
                     performance of any MPRPB
 Due Date            See Appendix B

 TCA Assessment



 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.3.2

 XI.II.3.2           During the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train fifty percent (50%) of PRPB personnel through
                     instructors it has certified. The SAEA will train the remaining fifty percent
                     (50%) of Puerto Rico Police Department personnel during the following
                     twelve (12) months, once the training of the first group has been
                     completed. Training will begin in accordance with the date indicated in the
                     Announcement issued by the SAEA and the Training Plan provided by each
                     Police Area and Office of the Assistant Superintendent after SAEA approval

 Due Date            See Appendix C

 TCA Assessment


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.3.3

 XI.II.3.3           The PRPB will begin by training PRPB personnel who belong to the following
                     work units:
                     3.3.1 Members of Joint Forces (SAIC);
                                      3.3.2Personnel assigned to Zones of Excellence (SAOC);
                                      3.3.3Division of Tactical Operations – DTO (SAOC);
                                      3.3.4Division of Special Weapons and Tactics – SWAT
                                      (SAOC);
                                      3.3.5Bureau of Highway and Traffic Patrols (SAOC);
                                      3.3.6Bureau of Drugs, Narcotics, Vice Control, and Illegal
                                      Weapons (SAIC);
                                      3.3.7Bureau of Vehicle Theft Investigations (SAIC);
                                      3.3.8Special Arrests and Extraditions Division (SAIC);
                                      3.3.9Criminal Investigations Corps – CIC (SAIC);
                                      3.3.10Canine Division, K-9 (SAIC); and
                                      3.3.11Motorized Unit (SAOC).


 Due Date            SEE SCHEDULES B & C

 TCA Assessment



 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.3.4

 XI.II.3.4                     The PRPB will continue training PRPB personnel who belong to
                               Districts and Precincts, taking the following into consideration:
                                   3.4.1 number of uses of force incidents per location;
                             3.4.2 number of domestic violence incidents per location;
                             3.4.3 number of interventions with intoxicated persons;
                             3.4.4 number of arrests made;
                             3.4.5 number of traffic stops; and
                             3.4.6 number of administrative complaints for the following:
                                     illegal or unreasonable arrest or detention; use of
                                     unjustified force; physical coercion or psychological
                                     violence against an arrestee; illegal or unreasonable
                                     searches and seizures; discrimination; unjustified or
                                     excessive assault; assault against MPRPBs; domestic
                                     violence; sexual harassment; and obstructing, preventing,
                                     or interrupting the legal exercise of freedoms.

 Due Date            SEE SCHEDULES B & C

 TCA Assessment



 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.4.1

 XI.II.4.1           The Division of Psychology and Social Work will develop the design of the
                     informational session to inform PRPB personnel who perform supervisory
                     and administrative duties about how to manage stress to prevent critical
                     incidents and the support and mental health services available to them and
                     their families.

 Due Date            See Appendix B

 TCA Assessment      Training started in March 2018

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in partial compliance with this
                     detailed step of the Action Plan until TCA verifies training attendance
                     records and materials including stress related training




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Activity XI.II.4.2

 XI.II.4.2           During the twelve (12) months following the final approval of the training
                     material and the incorporation of the recommended changes, the SAEA
                     will simultaneously train fifty percent (50%) of PRPB personnel who
                     perform supervisory and administrative duties through instructors it has
                     certified. The remaining fifty percent (50%) of the personnel will be trained
                     during the following twelve (12) months, once the training of the first group
                     has been completed. Training will begin in accordance with the date
                     indicated in the Announcement issued by the SAEA and the Training Plan
                     provided by each Police Area and Office of the Assistant Superintendent
                     after SAEA approval

 Due Date            See Appendix C

 TCA Assessment



 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.4.3

 XI.II.4.3                  The PRPB will begin by training PRPB personnel who perform
                            supervisory and administrative duties who belong to the following
                            work units:
                            4.3.1 Members of Joint Forces (SAIC);
                            4.3.2 Personnel assigned to Zones of Excellence (SAOC);
                            4.3.3 Division of Tactical Operations – DTO (SAOC);
                            4.3.4 Division of Special Weapons and Tactics – SWAT (SAOC);
                            4.3.5 Bureau of Highway and Traffic Patrols (SAOC);
                            4.3.6 Bureau of Drugs, Narcotics, Vice Control, and Illegal Weapons
                            (SAIC);
                            4.3.7 Bureau of Vehicle Theft Investigations (SAIC);
                            4.3.8 Special Arrests and Extraditions Division (SAIC);
                            4.3.9 Criminal Investigations Corps – CIC (SAIC);
                            4.3.10 Canine Division, K-9 (SAIC); and
                            4.3.11 Motorized Unit (SAOC).

 Due Date            SEE SCHEDULES B & C

 TCA Assessment




 Recommendations Continue review in accordance with Agreement requirements



 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.II.4.4

 XI.II.4.4                   The PRPB will continue training PRPB personnel who perform
                             supervisory and administrative duties who belong to Districts and
                             Precincts, taking the following into consideration:
                             4.4.1    number of uses of force incidents per location;
                             4.4.2    number of domestic violence incidents per location;
                             4.4.3    number of interventions with intoxicated persons;
                             4.4.4    number of arrests made;
                             4.4.5 number of traffic stops; and
                              4.4.6      number of administrative complaints for the following:
                     illegal or unreasonable arrest or detention; use of unjustified force;
                     physical coercion or psychological violence against an arrestee; illegal or
                     unreasonable searches and seizures; discrimination; unjustified or
                     excessive assault; assault against MPRPBs; domestic violence; sexual
                     harassment; and obstructing, preventing, or interrupting the legal exercise
                     of freedoms.
 Due Date            SEE SCHEDULES B & C

 TCA Assessment      PENDING REVIEW

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.III.1.1

 XI.III.1.1           The Office of the Assistant Superintendent for Managerial Services and
                      its Bureau of Technology and Bureau of Human Resources will call upon
                      SARP and OLA to evaluate the Information System they must acquire.
                      SARP and OLA will identify the needs of the work units involved in the
                      process of recording and evaluating complaints for improper conduct for
                      receiving, processing, and resolving them.
 Due Date             February 2016

 TCA Assessment       PRPB has contracted with a consulting firm for Information Technology
                      needs.

                      During 6th period, PRPB advised the firm is called Consulting 2 Success.

                      Implementation occurred in August 2018


 Recommendations      Continue review in accordance with Agreement requirements

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.III.1.2

 XI.III.1.2           After making an inventory of the MPRPB files, SARP, OLA, and SASG, with
                      its Bureau of Technology and Bureau of Human Resources, will establish
                      the procedures to digitalize improper conduct investigation records for a
                      minimum of five (5) years after the MPRPB has been discharged from the
                      Agency

 Due Date             May 2016

 TCA Assessment       The process has started. Not completed.




 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.III.1.3

 XI.III.1.3           Digitalize the physical files of employees with administrative complaints
                      and dispose of the rest, as identified during the inventory process. The
                      digitalization process will be carried out in accordance with the Protocol
                      developed by the PRPB Bureau of Technology together with the SARP


 Due Date             December 2017

 TCA Assessment       PRPB states the system is available. SARP is converting records.
                      Approximately 5000 of 7000 records in the first phase.


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in non-compliance with this detailed
                      step of the Action Plan




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Activity XI.III.1.4

 XI.III.1.4           The Bureau of Technology will evaluate the current conditions of its
                      automated systems and those that are in the process of being acquired
                      or implemented to determine if they can be modified to meet the needs
                      raised by SARP and OLA

 Due Date             February 2017

 TCA Assessment       PRPB working with their IT consultant (Consultant 2 Success) concerning
                      this requirement. SARP has been involved in the discussions



 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating           Timeframe was not met

                      The Commonwealth of Puerto Rico is in non-compliance with this detailed
                      step of the Action Plan




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Activity XI.III.1.5

 XI.III.1.5           Discuss the requirements for the development of the automated system
                      with technology consultants or companies so that they can evaluate their
                      ability to provide their services to the PRPB

 Due Date             April 2017

 TCA Assessment       PRPB working with their IT consultant (Consultant 2 Success) concerning
                      this requirement




 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating
                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.III.1.6

 XI.III.1.6           Request formal proposals from technology consultants or companies for
                      the development of the information system, which will be evaluated by a
                      Committee created to select the contractor

 Due Date             June 2017

 TCA Assessment       PRPB working with their IT consultant (Consultant 2 Success) concerning
                      this requirement. Document request------see if they put out a contract
                      and for what

 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating
                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.III.1.7

 XI.III.1.7           Once the Proposal to develop the Administrative Complaints Information
                      System is awarded, the selected consultant or company must meet the
                      terms and conditions included in the Proposal.


 Due Date             18 months after Proposal award date

 TCA Assessment       PRPB working with their IT consultant (Consultant 2 Success) concerning
                      this requirement




 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating
                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.III.1.8

 XI.III.1.8           Train SARP and OLA personnel in the use of the Administrative Complaints
                      Information System to record the receipt and processing of complaints for
                      improper conduct as established in the Information Systems and
                      Technology Compliance Area Action Plan.

 Due Date             18 months after Information System design is completed

 TCA Assessment       PRPB working with their IT consultant (Consultant 2 Success) concerning
                      this requirement

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto Rico is in partial compliance with this
                      detailed step of the Action Plan




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Activity XI.IV.1.1

 XI.IV.1.1           The PRPB will use the various mass media available to develop a Promotion
                     Plan to inform communities about their rights and the mechanisms
                     available to file complaints for improper conduct against MPRPBs.
                     Communities will also be informed about the alternatives available to
                     recognize their good service. This activity will be developed together with
                     the Community Engagement and Public Information Compliance Area

 Due Date            September 2015

 TCA Assessment      In addition to PRPB’s efforts to publicize procedures for citizen
                     complaints, PRPB also created form PPR 888 to capture citizen
                     compliments of officers.

                     During 6th period, PRPB advised they are still using Form PRR 888

 Recommendations Continue review in accordance with Agreement requirements



 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in full compliance with this detailed
                     step of the Action Plan




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Activity XI.IV.2.1

 IV                  The PRPB Division of Psychology will provide psychological and
 2.1                 therapeutic services to treat cases referred through the Program
                     (Personnel Assistance and Support Program)
 Due Date            March 2017

 TCA Assessment      TCA will check with the PRPB Division of Psychology to determine the
                     contours of this program. This is not within SARP control

                     During 6th period, PRPB advised the Employee Assistance Program (PAE)
                     was approved February 2017.

                     The ratio officer: expert is too high


 Recommendations Continue review in accordance with Agreement requirements


 TCA Rating          Timeframe was met

                     The Commonwealth of Puerto Rico is in partial compliance with this
                     detailed step of the Action Plan




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Activity XI.IV.2.2

 XI. IV.2.2          The SAEA will re-train employees who have been referred through the
                     Program after identifying a deficiency in their performance that can be
                     corrected through re-training. This activity will be part of the Training
                     Action Plan.

 Due Date            SEE SCHEDULES B & C

 TCA Assessment      This will become part of the PRPB Early Intervention System once
                     developed. TCA will also confirm with SAEA about the training materials
                     for this program.



 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          See Training Action Plan




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Activity XI.IV.3.1

 XI.IV.3.1           SARP will conduct a study to determine the number of employees needed
                     to investigate administrative complaints within the parameters established
                     in the corresponding policies

 Due Date            February 2016

 TCA Assessment      SARP is conducting an assessment of their workload and personnel.
                     However, they also await a scientific department-wide human resource
                     study.
                     See Paragraph 13 of the Agreement

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.IV.3.2

 IV                  Conduct an internal recruitment process to identify possible candidates
 3.2                 to be assigned to the SARP

 Due Date            May 2016

 TCA Assessment      SARP will await a department-wide human resource study before
                     creating specific recruitment materials, which would include designing
                     ideal job qualifications.

                     During 6th period, PRPB advised SARP currently has position openings

 Recommendations Continue review in accordance with Agreement requirements

 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.IV.3.3

 IV                  Carry out personnel selection and internal transfer processes to provide
 3.3                 the necessary personnel to the SARP
 Due Date            August 2016

 TCA Assessment      SARP will await a department-wide human resource study before
                     creating specific recruitment materials, which would include designing
                     ideal job qualifications.

                     During 6th period, PRPB advised a General Order was approved to
                     transfer officers into SARP listing entry requirements.


 Recommendations Continue review in accordance with Agreement requirements




 TCA Rating          Timeframe was not met

                     The Commonwealth of Puerto Rico is in non-compliance with this detailed
                     step of the Action Plan




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Activity XI.V.1.1

 V                          The PRPB, through the Office of Reform, will use various data
 1.1                        collection strategies and conduct periodic, specific, and random
                            monitoring of the different activities, operations, services,
                            investigations, and training courses, among others they provide,
                            starting with Zones of Excellence and gradually continuing
                            through all thirteen (13) Police Areas and Offices of Assistant
                            Superintendents, such as: (Table 31)

                            a. Using the Training Plan and Training Announcement issued by
                               the SAEA for each of the courses to identify their start date,
                               the time Police Areas and the corresponding Offices of
                               Assistant Superintendents will have to complete it, and the
                               work units that will be given training priority. The Training
                               Plans for each of the thirteen (13) Police Areas and Offices of
                               Assistant Superintendents, as approved by the SAEA, will also
                               be considered to check the specific dates during which each
                               training course identified in this Action Plan will be offered.
                               The Office of Reform will verify that MPRPBs are participating
                               in scheduled training courses by using the above-mentioned
                               sources and the attendance records for each course.

                            b. Making random visits to each of the thirteen (13) Police Areas
                               and Offices of Assistant Superintendents using the Training
                               Plan approved by the SAEA for each training course
                               developed for this compliance area in order to guarantee that
                               PRPB personnel are being trained in keeping with the training
                               materials approved by the Technical Compliance Advisor.

                            c. Verifying that complaints sent to SARP are assigned for
                               investigation within no more than five (5) business days.
                            d. Corroborating that any person can file a complaint through
                               the various means available.
                            e. Visiting each of the thirteen (13) Administrative Complaint
                               Investigation Divisions to randomly review files to verify that
                               administrative investigations are being completed within no
                               more than ninety (90) days from the receipt of the complaint.
                               If complaints exceed said period, the file must include the
                               authorization for an extension.


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                          f. Randomly reviewing administrative complaint files sustaining
                             an allegation in order to check that the PRPB is notifying the
                             respondent of the decision and corresponding disciplinary
                             measure no later than thirty (30) days after the decision that
                             the allegation is sustained.

                          g. Randomly reviewing administrative complaint files to
                             corroborate that the recommendation for each of the
                             complaints is one of the following final dispositions:
                             unfounded, sustained, not sustained, or exonerated.

                          h. Randomly reviewing administrative complaint files to
                             corroborate that for every complaint received at the SARP,
                             the complainant was given written notice of the complaint
                             number assigned, the investigator assigned the complaint,
                             any extensions granted, the final disposition and any non-
                             punitive disciplinary measure or action applied, and the right
                             to request a review of the final disposition.

                          i.   Making random visits to command offices, districts, precincts,
                               posts, and units in the thirteen (13) Police Areas and Offices
                               of Assistant Superintendents to corroborate that the
                               guidance posters on how to file complaints and recognitions
                               are visible and that they have forms PPR-111 and PPR-888
                               available.



Due Date         May 2016

TCA Assessment   This is the umbrella task and responsibility for complaint intake and
                 investigation for the Reform Unit as it relates to the Reform Unit ensuring
                 accountability within PRPB. The enumerated activities identify with
                 specificity how the Reform Unit will examine implementation of the
                 intake, investigation, and timeliness of all complaints through field on-site
                 audits and inspections.

                 During 6th period, PRPB advised that this Unit now has 1 Captain, 3 First
                 LTs, 2 Second LTs, 3 Sgts, and 4 Agents




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Recommendations Continue review in accordance with Agreement requirements




TCA Rating        Timeframe was met

                  The Commonwealth of Puerto Rico is in partial compliance with this
                  detailed step of the Action Plan




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                  Compliance Tables for Community Action Plan

                   Section XII. Community Interaction and Public Information
                                   Requirements: 205 to 217


I.   Policy and Procedure Development Objectives:

     Activity XII.I.1.1

 XII.I.1.1                Review General Order, Chapter 800, Section 801, entitled “Functioning
                          of the Central Committee and the Area community interaction councils
                          with the Puerto Rico Police Department” (hereinafter OG 801)
                          establishing the way in which its members will review and evaluate the
                          policies and procedures. (Table 1)

 Due Date                 March 2015 Current Effective Date: 04/20/2017

 TCA Assessment           During this period, the TCA conducted the annual review of the General
                          Order 800-801: Citizens Interaction Committees. After being revised, it
                          was approved by the TCA in March 2017.
                          Compliance with 50% of the training: 02/28/2019 (projected compliance
                          date)
                          Compliance with 100% of the training: 10/30/2019 (projected compliance
                          date)
                          Training Name: “REA-803: Policía Comunitaria”

 Recommendations Continue review in accordance with Agreement requirements.

 Compliance               Timeframe was met

                          The Commonwealth of Puerto Rico is in full compliance with this detailed
                          step of the Action Plan




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   Activity XII.I.3.2

XII. I.3.2              Review General Order 2005-7, entitled “Reorganization and Re-naming of
                        the Public Information Office as the Press Office” to establish the manner
                        in which to communicate the information in ongoing investigations or
                        incidents, through the media, including social media, websites, and other
                        electronic platforms, in accordance with the best and generally accepted
                        practices, and with the principles of community policing. (Table 4)

Due Date                June 2016

TCA Assessment          -The review process of this policy began last semester.

                        -The General Order 2005-7: Reorganization and Re-naming of the Public
                        Information Office as the Press Office, became General Order 100-125:
                        Press Office and General Order 600-634: Dissemination of Incident
                        Information. Both policies were approved by the TCA in the month of
                        December 2016.

                        -As a result of the reaction of the media of both orders, they have been
                        subjected to a new review process where the recommendations given by
                        the press should be considered.

                        -In May 2017, review meeting of General Order 100-125: Press Office was
                        held. The TCA presented its comments and recommendations at that
                        meeting.

                        -As for General Order 600-634: Dissemination of Incident Information,
                        TCA has now received a new draft of this policy during the period covered
                        by this report.

Recommendations Continue review in accordance with Agreement requirements.

Compliance              Timeframe was met

                        The Commonwealth of Puerto Rico is in full compliance with this detailed
                        step of the Action Plan




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   Activity XII.II.3.1

XII.II.3.1               The Auxiliary Superintendency for Education and Training will create a
                         Multi-Topic Training Program for the personnel that works at the Central
                         Press Office, in the Areas, and for the high-ranking officers of the PRPB,
                         about the dissemination of public information and about incidents or
                         ongoing investigations from a community perspective and said training
                         will include practical police Q & A scenarios before the press. The Program
                         will include the following topics: (Table 7)

                                  1.1.1.    freedom of the press
                                  1.1.2.    right to privacy
                                  1.1.3.    defamation and libel
                                  1.1.4.    ethics in the dissemination of information
                                  1.1.5.    what and when something is public information
                                  1.1.6.    importance of the media in solving criminal cases
                                  1.1.7.    dissemination of public information in ongoing
                                            situations
                                  1.1.8.    protecting victim and witness Information
                                  1.1.9.    drafting press releases
                                  1.1.10.   oral communication in the media
                                  1.1.11.   use of electronic media to disseminate public
                                            information
                                  1.1.12.   image portrayed in the media, and
                                  1.1.13.   media management and interviews.

Due Date                 Designing training courses corresponding to policies will begin once the
                         policy has been approved and signed in accordance with the process
                         established in Appendix B – Training Design Process.

TCA Assessment           The processes related to this activity have been stopped, until the
                         following policies are approved again: General Order 100-125: Press
                         Office and General Order 600-634: Dissemination of Incident
                         Information. Make reference to the information provided in the activity
                         I.3.2.
                         No progress until Manual is in place

Recommendations Continue review in accordance with Agreement requirements.


Compliance               Timeframe was not met
                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan


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   Activity XII.II.3.2

XII.II.3.2               The Auxiliary Superintendency for Education and Training will create
                         training for the personnel that carries out management and supervisory
                         duties at the PRPB about the dissemination of public information and
                         about incidents or ongoing investigations from a community perspective
                         and said training will include practical police Q & A scenarios before the
                         press. The Program will include the following topics: (Table 8)
                                   1.1.1. freedom of the press
                                   1.1.2. right to privacy
                                   1.1.3. defamation and libel
                                   1.1.4. ethics in the dissemination of information
                                   1.1.5. what and when something is public information
                                   1.1.6. importance of the media in solving criminal cases
                                   1.1.7. dissemination of public information in ongoing
                                            situations
                                   1.1.8. protecting victim and witness information
                                   1.1.9. oral communication in the media
                                   1.1.10. image portrayed in the media, and
                                   1.1.11. media management and interviews.

Due Date                 Designing training courses corresponding to policies will begin once the
                         policy has been approved and signed in accordance with the process
                         established in Appendix B – Training Design Process.

TCA Assessment           The processes related to this activity have been stopped, until the
                         following policies are approved again: General Order 100-125: Press
                         Office and General Order 600-634: Dissemination of Incident
                         Information. Make reference to the information provided in the activity
                         I.3.2.
                         No progress until Manual is in place

Recommendations Continue review in accordance with Agreement requirements.

Compliance               Timeframe was not met

                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan




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  Compliance Tables for Information and Technology Action Plan


                         Section XIII. Information and Technology
                                Requirements: 218 to 224


Section I. Policy & Procedure Development

Activity XIII.I.1.1

 XIII.1.1.1 1 – 11    1.1 Collaborate in the development of the Administrative Order that will
                          create the Public Information Program regarding the filing of
 (Table 1)                administrative complaints, as well as the posters and fliers informing
                          people how to file administrative complaints. This policy will form part
                          of the Administrative Complaints Compliance Area Action Plan.

                      The policy was signed on November 2, 2015. The Commonwealth of
                      Puerto Rico is in full compliance in this detailed step of the Action Plan)

                      1.2 Collaborate in the revision of General Order 2000-3, entitled
                          “Controls on the Use, Filing, and Final Disposition of Incident Reports
                          (NIBRS) at the Puerto Rico Police Department”. This policy will form
                          part of the Equal Protection and Non-Discrimination Compliance Area
                          Action Plan.

                      The policy was signed on January 1, 2016. The Commonwealth of Puerto
                      Rico is in full compliance in this detailed step of the Action Plan)

                      1.3 Collaborate in the review of General Order 2007-1 “Duties and
                          Responsibilities of the Sex Crimes and Child Abuse Divisions”. This
                          policy will be part of the Equal Protection and Non-Discrimination
                          Compliance Area Action Plan.

                      The policy was signed on April 21, 2016. The Commonwealth of Puerto
                      Rico is in full compliance in this detailed step of the Action Plan)

                      1.4 Collaborate in the review of Regulations 6506, entitled “Regulations
                          for the Processing of Administrative Complaints against Members of
                          the Force and Civilian Personnel who Work at the PRPB” to adopt the
                          new “Regulations for Receiving, Processing, and Managing
                          Administrative Complaints”. This policy will form part of the

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                Administrative Complaints Compliance Area Action Plan.

             The policy was signed on October 31, 2016. The Commonwealth of
             Puerto Rico is in full compliance in this detailed step of the Action Plan)

             1.5 Collaborate in the development of the General Order for Hate Crime
                 Data Collection and Management. This policy will be part of the Equal
                 Protection and Non-Discrimination Compliance Area Action Plan.

             The policy was signed on October 13, 2016. The Commonwealth of
             Puerto Rico is in full compliance in this detailed step of the Action Plan)

             1.6 Collaborate in the development of the protocol for the digital
                 recording and storage of communications generated between
                 immediate supervisors and MPRPBs through the Command Center
                 and Radio Control communication channels. This policy will form part
                 of the Searches and Seizures Compliance Area Action Plan.

             The policy was signed on October 13, 2016. The Commonwealth of
             Puerto Rico is in full compliance in this detailed step of the Action Plan)

             1.7 Collaborate in the revision of General Order 2010-1, entitled
                 “Reorganization of the Internal Audit Office”. This policy will form part
                 of the Supervision and Administration Compliance Area Action Plan.

             The policy was signed on November 1, 2016. The Commonwealth of
             Puerto Rico is in full compliance in this detailed step of the Action Plan)

             1.8 Collaborate in the revision of General Order 2008-3 entitled, “Rules
                 and Procedures for the Evaluation of MPRPBs and Classified
                 Personnel”. This policy will form part of the Supervision and
                 Administration Compliance Area Action Plan.

             The policy is under evaluation. The Commonwealth of Puerto Rico is in
             full compliance in this detailed step of the Action Plan.

             1.9 Collaborate in the development of policy to protect the copyrights of
                 the PRPB in the creation of policies, training courses, posters, and
                 printed and/or electronic media. This policy will form part of the
                 Policies and Procedures Compliance Area Action Plan.

             The policy is being evaluated by the LPAU. The Commonwealth of Puerto
             Rico is in full compliance in this detailed step of the Action Plan)


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                  1.10     Collaborate in the development of a General Order for the
                     Creation of the Early Identification System (EIS). This policy will be
                     part of the Supervision and Administration Compliance Area Action
                     Plan.

                  Planned submission to TCA scheduled for October 2017. The
                  Commonwealth of Puerto Rico is in full compliance in this detailed step
                  of the Action Plan

                  1.11     Collaborate in the development of a Procedures Manual for the
                     Use of the Early Identification System (EIS). This policy will form part
                     of the Supervision and Administration Compliance Area Action Plan.

                  Planned submission to TCA scheduled for November 2017. The
                  Commonwealth of Puerto Rico is in full compliance in this detailed step
                  of the Action Plan

Due Date          Varied

TCA Assessment    BT continues to collaborate with all elements of PRPB in these areas

                  Note: that these tasks are found primarily in other AP Areas.

Recommendations Continue Collaboration between TCA and PRPB

TCA Rating        Timeframe: see above

                  The Commonwealth of Puerto Rico is in full compliance with this detailed
                  step of the Action Plan, except for EIS that is non-compliance




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Activity XIII.I.1.12

 XIII.I.1.12           1.12 Review General Order Chapter 100, Section 101, entitled
                       “Reorganization of the Office of the Assistant Superintendent for
 Table 1               Managerial Services”, in order to efficiently and effectively adapt it to the
                       implementation of the Agreement

 Due Date              August 2016. The current effective date is 01/25/2017.

 TCA Assessment        The Superintendente signed the GO on January 2017. No revision.

 Recommendations       Implement & Monitor

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto is in full compliance with this detailed step
                       of the Action Plan




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Activity XIII.I.1.13

 XIII.I.1.13           1.13 Develop a General Order establishing the processes and procedures
                       of the Bureau of Technology for updating and implementing the
 Table 2               information and technology systems infrastructure, including hardware,
                       software, and communications. Additionally, establish IT governance
                       methodology and processes in keeping with the best practices. (Table 2)

 Due Date              August 2016

 TCA Assessment        The General Order 100-123 invokes necessary roles and responsibilities
                       for the BT and therefore throughout the other AP’s and Decree. It was
                       signed January 23, 2017. The current effective date is 4/25/2018 is for
                       policy 1 and 12/19/2016 for policy 2.

 Recommendations       Implement & Monitor. BT must execute IAW the GO and the PRPB must
                       resource and enforce the intent of the GO. Special attention must be
                       placed on the distribution of requirements definition in other offices and
                       accountability for managing to successful outcomes regarding system
                       development, training, data collection etc. Follow up monitoring requires
                       evidence of this behavior. Reforma and CIO claim that the final decision
                       on the DPS standup (DHS Equivalent) is a pacing gate for fullest
                       implementation of the above. Complete, recommend close. PRPB is the
                       process of developing the training. See also REA-404 on radios and CAD-
                       101.

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto is in full compliance with this detailed step
                       of the Action Plan




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Activity XIII.I.2.1

 XIII.I.2.1           1.1 2.1 Review General Order 73-13, entitled “Rules and Procedures for
                          Walkie-Talkie Use, Control, and Identification”, to standardize the radio
 Table 3                  communications of the PRPB in terms of security and efficiency by
                          establishing the duties and responsibilities of Agency employees when
                          using and managing radio communications, as well as the activities that
                          are carried out at a radio station, including the duties and limitations of
                          the operator. Additionally, establish guidelines and safety procedures for
                          radio frequency use. (Table 3)
                      1.2
 Due Date                 October 2016 -- Signed Jan 13, 2017

 TCA Assessment           Complete, recommend close

 Recommendations Implement & Monitor

 TCA Rating               Timeframe was met

                          The Commonwealth of Puerto is in full compliance with this detailed step
                          of the Action Plan




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Activity XIII.I.2.2

 XIII.I.2.2           1.1 2.2 Establish a Collaborative Agreement with the agencies that make up
                          the Interoperability System and the PRPB in order to facilitate the
 Table 4                  interconnection of the inter-agency communications infrastructures and
                          create a network that will enable the uninterrupted exchange of
                          information through data, radio, video conference, fax, or telephone
                          communication. This collaborative agreement will be updated as new
                          technologies related to the interoperability systems arise. (Table 4)
                      1.2
 Due Date                 Nov 2016

 TCA Assessment           This task is important to the ongoing transformation. Obstacles listed such
                          as “gathering people to meet” are NOT obstacles. They are tasks
                          surmountable through management intervention and attention. Budget
                          Obstacles at the working level are understandable but must be addressed
                          by PRPB leadership. Re-use of budget restrictions, as a means for not
                          accomplishing tasks is “convenient” but not adequate. Monitor Comment
                          -- According to Reforma POC this task was proposed to be moved under
                          the Puerto Rico DPS (DHS equivalent) via a request on 1/29/17 to TCA and
                          DOJ.
                          Reforma Comment -- “PRPB submit a proposal to the TCA and DOJ on
                          those matters, based on a meeting about this action plan activity on
                          December. In addition, Article (1.15) of the Puerto Rico Department of
                          Public Safety Act (Act 20-2017) establishes the interoperability of the
                          agencies.”
                          Not compliant; TCA has asked PRPB to solicit evidence that formally
                          transfers this agreement to the authority of DSP. This has been raised to
                          DSP who have now assumed authority on this task. This is still pending
                          with DPS. It is pending extension.

 Recommendations          Prioritize work and complete tasks. Employ proposed solutions. The law
                          determining scope of authority is not the same as an MOU or MOA
                          defining an operating agreement and the services exchanged

 Compliance               Timeframe was not met. Extension requested.

                          The Commonwealth of Puerto Rico is in non-compliance with this
                          detailed step of the Action Plan. However, PRPB has requested an
                          extension. Once the extension is approved by the Court, the TCA will
                          update the rating.



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Activity XIII.I.2.3

 XIII.I.2.3           2.3 Review General Order 97-16, entitled “Reorganization of the San
                      Juan Command Center and the Radio Command Centers of the Police
 Table 5              Areas and Establishment of Work Guidelines for the 9-1-1 Emergency
                      System”, to redefine their duties and responsibilities, taking into
                      consideration the technological advances that have been positively
                      developed and implemented in the information and communication
                      systems of the agency. Additionally, update the processes and
                      procedures established in the PRPB for the 9-1-1 Emergency System.
                      (Table 5)

 Due Date             December 2016

 TCA Assessment       IT Monitor recommended approval on 5/21/2017. Approval of GO on
                      10/2/2017. This is pending with DPS.

 Recommendations Superintendente Sign, Implement & Monitor

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto is in full compliance with this detailed step
                      of the Action Plan




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Activity XIII.I.3.1

 XIII.I.3.1           1.1 3.1 Develop a General Order for the Use and Handling of Portable
                          Recording Devices for the MPRPBs to establish guidelines for the
 Table 6                  recording, review, use, distribution, and storage of incident recordings,
                          as well as the duties and responsibilities of the MPRPBs who use said
                          equipment. Additionally, guide the processes and procedures for the
                          Supervisors that are needed when interviewing and recording the
                          statements of complainants and witnesses during the investigation of
                          complaints regarding inappropriate use of force or improper conduct or
                          behavior of the MPRPBs. (Table 6)
                      1.2
 Due Date                 May 2017

 TCA Assessment           IT Monitor comment; Partial Signature October 20, 2016 on GO 400-402
                          But Standard

                          Operating Procedures Manual is required which will need to be reviewed
                          by Monitor. Draft policy received in Reforma for review and edit on
                          4/26/2017.

                          Reforma comment: draft policy will be sent to TCA on 5/31/2017.
                          Approval of GO on 10/2/2017

                          Compliance with the Activity: 09/30/2018


 Recommendations Task must be completed

 Compliance               Timeframe was met

                          The Commonwealth of Puerto is in full compliance with this detailed step
                          of the Action Plan




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Activity XIII.I.4.1

 XIII.I.4.1           1.1 4.1 Review General Order, 2003-25, entitled “Rules and Controls for the
                          Use of the Computerized Systems of the Puerto Rico Police Department”,
 Table 7                  in order to update the processes and procedures that have been
                          incorporated into the information systems, communications, and
                          technology services developed and implemented at the PRPB. (Table 7)
                      1.2
 Due Date                 October 2016 Signed December 19, 2016. Current Effective Date:
                          12/19/2016


 TCA Assessment           GO 400-403 signed

 Recommendations Implement & Monitor

 TCA Rating               Timeframe was met

                          The Commonwealth of Puerto is in full compliance with this detailed step
                          of the Action Plan




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Activity XIII.I.4.2

 XIII.I.4.2           4.2 Develop User Manual for the Computer Systems of the Puerto Rico
                      Police Department, in order to update the processes and procedures
 Table 8              that have been incorporated into the information systems,
                      communications, and technology services developed and implemented
                      at the PRPB. (Table 8)

 Due Date             January 2017 Signed December 19, 2016

 TCA Assessment       GO 400-403 pending PC signature

 Recommendations      Implement and Monitor

 TCA Rating           Timeframe was met

                      The Commonwealth of Puerto is in full compliance with this detailed step
                      of the Action Plan




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Activity XIII.I.4.3

 XIII.I.4.3       1.1   4.3 Develop a General Order establishing the Central Crime Data
                        Collection Repository3 (CIW), in order to implement guidelines to
 Table 9                collect and distribute statistics about the incidents registered at the
                        PRPB. Additionally, incorporate the processes and procedures needed
                        to analyze and distribute the information about the criminal activity in
                        all of the pertinent operational and administrative units of the Agency.
                        (Table 9)
                  1.2
 Due Date               Feb 2017 -- IT Monitor recommended approval on 5/21/2017. Current
                        Effective Date: 06/28/2018


 TCA Assessment         This is a major and significant component of being able to collect and
                        assess data relevant to compliance with the Decree and eventual
                        transformation. Completion of the GO signals a commitment to policy.
                        Implementation of CIW and commitment of the resources needed
                        remains to be seen.

 Recommendations        Implement and Monitor

 TCA Rating             Timeframe was met

                        The Commonwealth of Puerto is in partial compliance with this detailed
                        step of the Action Plan




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Activity XIII.I.4.4

 XIII.I.4.4           4.4 Develop a Manual for the Use and Handling of the Central Crime
                      Information Warehouse (CIW). (Table 10)
 Table 10
 Due Date             March 2017 Compliance with the Activity:4/25/17. Pending PC signature as
                      of September


 TCA                  4/25/17 PRPB submitted to TCA in March 2017, TCA responded with
 Assessment           comments on 4/13/2017. PRPB has not received DOJ Comments.

                      5/1/2017 Reforma comment -- PRPB asked for the approval memo from
                      TCA. TCA indicated Reform Unit revisions are ongoing

 Recommendati         Continue to monitor
 ons
 Compliance           Timeframe was met

                      The Commonwealth of Puerto is in partial compliance with this detailed step
                      of the Action Plan



Activity XIII.I.4.5




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Activity XIII.I.4.6

 AP Section I.4.6,    4.6 Develop a General Order regulating access and handling by the
 Table 12, Decree     MPRPDs of the Information Systems of the National Crime Information
 areas: 218,223,      Center (NCIC) and the Integrated Crime Registry (RCI) provided by the
 224                  Division of Information of the U.S. Criminal Justice System and by the
                      Puerto Rico Department of Justice. (Table 12)

 Due Date             July 2017 Compliance with the Activity: 07/30/2018


 TCA Assessment       8/18/17 – reviewed this day collaboratively between PRPD, DOJ and TCA.
                      Edits are required. Bazan recommendations for 5-year retention will be
                      vetted by Reforma.

                      3/21/18 –comments from PR DOJ provided 3/20/18. Redraft will be
                      provided to TCA projected 3/31/18

 Recommendations

 Compliance           Timeframe was met

                      The Commonwealth of Puerto is in partial compliance with this detailed
                      step of the Action Plan




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Activity XIII.I.4.7

 AP Section I.4.7,    Develop a General Order for the Use and Handling of the Crime
 Table 13, Decree     Mapping Application Software. (Table 13)
 areas: 218, 214

 Due Date             October 2017 Current Effective Date: 04/24/2018

 TCA Assessment       Nov/17 – PRPD proposed GO to TCA. Cragg reviewed and responded via
                      TCA that draft was acceptable with changes.

                      PRPD notified 11/10/7. 8/15/17 - In process. 3/21/18 – at Commissioner
                      for signature.

 Recommendations
 Compliance           Timeframe was met

                      The Commonwealth of Puerto is in partial compliance with this detailed
                      step of the Action Plan




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Section II. Training Development Objectives

Activity XIII.II.1.1

 XIII.II.1.1           1.1 Develop training for the administration, configuration, and diagnosis
 Table 14                  of radio communication equipment, geared towards the personnel
                           of the Communications Division of the Bureau of Technology and
                           Communications of the PRPB, (Table 14)

 Due Date              Designing training courses corresponding to policies will begin once the
                       policy has been approved and signed in accordance with the process
                       established in Appendix B – Training Design Process

 TCA Assessment        GO 400-404 replaces 73-13.       SAEA is lead and will use agents to develop
                       training and to conduct the training. GO signed Jan 2017. Per Diaz, as of
                       4/25, waiting for training material from SAEA and then TCA approval.
                       Training start is projected for 7/12/2017 based on policy approval on Jan
                       13, 2017, per decree, 50% to be trained 7/18, 100% trained by 7/19.

                       Reform Unit comment: The design and training development are expected
                       to be submitted to the TCA for approval on time.

                       8/15/17 – Manual approval by the Superintendente is pacing completion
                       of this training.

                       8/17/17 - Expected signature is imminent for manual approval. SAEA says
                       Training is in development, estimate for submission to TCA is 1 Sep 2017.

                       3/21/18 – per PRPB there is no change. This still a SAEA responsibility.
                       PRPB indicated that the training is in the process of being ready, part
                       virtual, virtual in the classroom.

 Recommendations       Continue to monitor

 TCA Rating            Timeframe was not met. Extension requested for March 2019.

                       The Commonwealth of Puerto is in non-compliance with this detailed
                       step of the Action Plan




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Activity XIII.II.1.2

 XIII.II.1.2           1.2 Develop training for the use and handling of the radio communication
                           equipment at the PRPB, geared towards the MPRPBs. (Table 15)
 Table 15
 Due Date              Designing training courses corresponding to policies will begin once the
                       policy has been approved and signed in accordance with the process
                       established in Appendix B – Training Design Process.

 TCA                   GO 400-404 replaces 73-13.        SAEA is lead and will use agents to develop
 Assessment            training and to conduct the training. GO signed Jan 2017. Per Diaz, as of 4/25,
                       waiting for training material from SAEA and then TCA approval. Training start
                       is projected for 7/12/2017 based on policy approval on Jan 13, 2017, per
                       decree, 50% to be trained 7/18, 100% trained by 7/19.

                       Reform Unit comment: The design and training development are expected to
                       be submitted to the TCA for approval on time.

                       8/15/17 – Reforma states that the manual is in development.

                       8/17/17 - SAEA says Training is in development, there is no projected date for
                       this syllabus.

                       3/21/18 – pending SAEA follow through.

                       PRPB indicated that the training is in the process of being ready, part virtual,
                       virtual in the classroom.


 Recommendati          Continue to monitor
 ons
 TCA Rating            Timeframe was not met. Extension requested for January 2019.

                       The Commonwealth of Puerto is in non-compliance with this detailed step of
                       the Action Plan




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Activity XIII.II.1.3

Extension requested.



Activity XIII.II.1.4

 XIII.II.1.4           1.4 Develop training for the administration and diagnosis of the
                       computer system at the Puerto Rico Police Department, geared towards
 Table 17              the personnel of the Technology Division of the Bureau of Technology
                       and Communications of the PRPB, (Table 17)

 Due Date              May 2017 Designing training courses corresponding to policies will begin
                       once the policy has been approved and signed in accordance with the
                       process established in Appendix B – Training Design Process.

 TCA Assessment        GO 400-403 signed Dec 19, 2016. Training start projection June 2017.
                       First 50% trained is targeted June 2018, second 50% targeted June 2019.

                       3/21/18 – per PRPB there is no change. This still a SAEA responsibility.
                       Extension requested.


 Recommendations Continue to monitor
 TCA Rating            Timeframe was not met. Extension requested for April 2019.

                       The Commonwealth of Puerto is in non-compliance with this detailed
                       step of the Action Plan. Extension requested.




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Activity XIII.II.1.5

 XIII.II.1.5           Develop training on the Manual for the Use and Handling of the
                       Computerized Systems of the Puerto Rico Police Department, geared
 Table 18              toward the MPRPBs and the employees of the PRPB classified system.
                       (Table 18)

 Due Date              Designing training courses corresponding to policies will begin once the
                       policy has been approved and signed in accordance with the process
                       established in Appendix B – Training Design Process.

 TCA Assessment        Projected start of training is June 2017, 50% complete June 2018, 100%
                       June 2019. Extension requested.


 Recommendations Continue monitoring

 TCA Rating            Timeframe was not met. Extension requested for January 2019.

                       The Commonwealth of Puerto is in non-compliance with this detailed
                       step of the Action Plan. Extension requested.




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Activity XIII.II.1.6-8

 XIII. II.1 (.6, .7, 8)   Develop training on the Manual for the Use and Handling of the Central
                          Repository for Crime Date Analysis (CIW) at the Puerto Rico Police
 Tables 19, 20, 21        Department, aimed at the MPRPBs and the employees of the PRPB
                          classified system assigned to the Center for the Analysis of Criminal
                          Activity and Crime Monitoring; the Criminal Intelligence Collection,
                          Analysis, and Dissemination Center, the Crime Statistics Division, as well
                          as for the employees who collect statistical data in the Police Areas.
                          (Table 19)

                      1.1 Develop training on accessing and using the Information Systems of the
                          National Crime Information Center (NCIC) and the Integrated Crime
                          Registry (ICR) geared toward the MPRPBs. (Table 20). Policy projected
                          June 2017
                      1.2
                      1.1 Develop training on accessing and using the criminal activity map, geared
                          toward the MPRPBs. (Table 21). Due date Projected Policy submit
                          October 2017.
                      1.2
 Due Date                 Designing training courses corresponding to policies will begin once the
                          policy has been approved and signed in accordance with the process
                          established in Appendix B – Training Design Process.

 TCA Assessment           Extension requested.

 Recommendations Continue monitoring
 TCA Rating               Timeframe was not met. Extension requested for August 2019.

                          The Commonwealth of Puerto is in non-compliance with this detailed
                          step of the Action Plan Extension requested.




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Section III. Training Implementation Objectives


Activity XIII.III.3.7

 XIII. III.1.3.7,        1.3.7 The training courses to be implemented will cover the following
 III.1.4, III.1.5,       topics:
 III.1.6, III.1.7,          a) use and handling of radio communications equipment; (Table 22)
 III.1.10                   b) use and handling of portable recording devices for the MPRPBs;
                                (Table 22)
 Table 22, 23, 24,          c) use and handling of the computerized systems of the Puerto Rico
 25, 26 , 27                    Police Department (Table 22)

                        1.4 Within the twelve (12) months following the final approval of the
                        training material and the incorporation of the changes recommended,
                        the SAEA will have its certified instructors simultaneously train fifty
                        percent (50%) on the administration, configuration, and diagnosis of radio
                        communications equipment. The remaining fifty percent (50%) of the
                        employees assigned to the Communications Division will be trained within
                        the following twelve (12) months, once the training of the first group has
                        been completed. Training will begin on the date indicated in the
                        Announcement issued by the SAEA and the Training Plan provided by
                        each Police Area and Office of the Assistant Superintendent upon SAEA
                        approval. (Table 23)

                        1.5 Within the twelve (12) months following the final approval of the
                        training material and the incorporation of the changes recommended,
                        the SAEA will have its certified instructors simultaneously train fifty
                        percent (50%) the employees assigned to the Technology Division on the
                        administration and diagnosis of the computerized systems of the Puerto
                        Rico Police Department. The remaining fifty percent (50%) of the
                        employees assigned to the Technology Division will be trained within the
                        following twelve (12) months, once the training of the first group has
                        been completed. Training will begin on the date indicated in the
                        Announcement issued by the SAEA and the Training Plan provided by
                        each Police Area and Office of the Assistant Superintendent upon SAEA
                        approval. (Table 24)

                        1.6 Within the twelve (12) months following the final approval of the
                        training material and the incorporation of the changes recommended,

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                 the SAEA will have its certified instructors simultaneously train fifty
                 percent (50%) of the MPRPBs and the employees of the PRPB classified
                 system assigned to the Center for the Analysis of Criminal Activity and
                 Crime Monitoring; the Criminal Intelligence Collection, Analysis, and
                 Dissemination Center; the Crime Statistics Division, as well as the
                 employees who collect statistical data in the Police Areas on the Manual
                 for the Use and Handling of the Central Crime Information Warehouse
                 (CIW). The remaining fifty percent (50%) of the MPRPBs will be trained
                 within the following twelve (12) months, once the training of the first
                 group has been completed. Training will begin on the date indicated in
                 the Announcement issued by the SAEA and the Training Plan provided by
                 each Police Area and Office of the Assistant Superintendent upon SAEA
                 approval. (Table 25)

                 1.7 Within the twelve (12) months following the final approval of the
                 training material and the incorporation of the changes recommended,
                 the SAEA will have its certified instructors simultaneously train fifty
                 percent (50%) of all MPRPBs on the Use and Handling of the Information
                 Systems of the National Crime Information Center (NCIC) and the
                 Integrated Crime Registry (ICR). The remaining fifty percent (50%) of the
                 MPRPBs will be trained within the following twelve (12) months, once the
                 training of the first group has been completed. Training will begin on the
                 date indicated in the Announcement issued by the SAEA and the Training
                 Plan provided by each Police Area and Office of the Assistant
                 Superintendent upon SAEA approval. (Table 26)

                  1.10 Within the twelve (12) months following the final approval of the
                  training material and the incorporation of the changes recommended,
                  the SAEA will have its certified instructors simultaneously train fifty
                  percent (50%) of all MPRPBs on the Use and Handling of the Crime
                  Mapping Application Software. The remaining fifty percent (50%) of the
                  MPRPBs will be trained within the following twelve (12) months, once
                  the training of the first group has been completed. Training will begin on
                  the date indicated in the Announcement issued by the SAEA and the
                  Training Plan provided by each Police Area and Office of the Assistant
                  Superintendent upon SAEA approval. (Table 27)

Due Date         The trainings will be implemented as stated in Appendix C– Training
                 Implementation Process.

TCA Assessment   Per Monitor Youngs -- PRPB has yet to provide TCA with adequate
                 evidence of materials concerning handling of radio communications
                 equipment. Extension requested.


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Recommendations
TCA Rating        Timeframe was not met

                  The Commonwealth of Puerto is in non-compliance with this detailed
                  step of the Action Plan




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Section IV. Information and Technology Systems Development and Implementation Objectives

Activity XIII.IV.1.1

 XII.IV.1.1            1.1 Develop an information system to support the implementation of the
                       Action Plans of the compliance areas included in the Agreement. This
 Table 28              system will be used to follow up on the activities identified in the Action
                       Plans, including their descriptions, start, and the final progress of each
                       effort that is carried out, as well as the specific repetitions for each
                       process established in the approved General Orders and forms. (Table 28)

 Due Date              October 2016

 TCA Assessment        Demonstrated to TCA Monitors on May 24-25, 2017. This deliverable was
                       jointly developed with the IT Monitor and is being implemented by
                       Reforma. It is a “living management tool. It is critically dependent on the
                       finalization of the English translation of the Consolidated Action Plans
                       which as of 5/26/2017 has not yet been released by PRPB.
                       Planned demonstration moved to April 2018

 Recommendations Release the Final Consolidated AP’s in English. Manage, revise and
                 monitor

 TCA Rating            Timeframe was met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan




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Activity XIII.IV.1.2

 XIII.IV.1.2         1.2 Develop and implement the Information System for the collection of
                     the computer-aided Dispatch system (CAD). This information system will
 Table 29            be used to collect data and information about the incidents reported in
                     all of the offices and divisions of the Puerto Rico Police Department.
                     Additionally, the system will include as a basis the forms approved by the
 See also Search     PRPB, such as: the Complaint Card (PPR-84) and the Incident Report
 and Seizure able 5. (PPR-468), the Traffic Accident Report (PPR-93 and 94) in electronic
                     format, among others, as well as the different forms for the operational,
                     investigative, and administrative activities of the MPRPBs. This system
                     will be initially implemented in the Zones of Excellence and then gradually
                     throughout all of the Puerto Rico Police Department. This activity is
                     included in the Equal Protection and Non-Discrimination Action Plan.
                     (Table 29)

 Due Date              36 months (once the NIBRS and any other policy that may affect the
                       system are ready)

 TCA Assessment        CAD is in operation and CAD Mobile is in pilot although without training
                       materials. As such full rollout is being held in abeyance. According to PRPB
                       the CAD Mobile system is in partial use and is limited by the lack of formal
                       training provided by SAEA.

                        • NIBRS manual is approved (Jan 2016 GO was approved).
                        • The CAD Mobile manual is not yet approved. Reforma states that it’s
                          in TCA for review
                        • Superintendente will sign after TCA.
                        • Next phase of CAD Mobile pilot could begin August 2017 with CAD.

                       Update 8/15/17
                        • NIBRS manual is approved by TCA(Jan 2016 GO was approved).
                        • The CAD Mobile manual is not yet approved by TCA. Reforma states
                          that its in TCA for review
                        • Superintendente will sign after TCA.
                        • Next phase of CAD Mobile pilot could begin August 2017 with CAD.

                       CAD is in operation and CAD Mobile is in pilot although without training
                       materials. As such, full rollout is being held in abeyance. According to
                       PRPD the CAD Mobile system is in partial use and is limited by the lack of
                       formal training to be provided by SAEA.



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                  Update 3/21/2018
                  CAB mobile is in implementation

                  PRPB states that only 54% of mobiles are operational. PRPB is asking for a
                  12-month extension. See Docket 775 (3/9/2018). Submitted to Court.
                  This extension was further discussed with PRPB and USDOJ on 3/22/2018
                  meeting with the TCA. Extension requested and pending court approval.

Recommendations   SAEA prioritize CAD Mobile curricula development. Follow Through with
                  CAD Mobile implementation. 3/21/18 – IT Monitor recommends IT
                  compliance is met and that CT Monitors receive a demonstration of
                  CAD/Mobile in order to verify functionality. It is important to note that
                  SAEA has not yet completed training.

TCA Rating        Timeframe was not met

                  The Commonwealth of Puerto Rico is in partial compliance with this
                  detailed step of the Action Plan. No full compliance until a successful
                  demonstration is completed




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Activity XIII.IV.1.2.1

 XIII.IV.1.2.1,          1.2.1 Develop an information sub-system or module for the collection,
                         storage, and distribution of data and information related to the activation
 Table 30                and mobilization of specialized tactical units (STUs) that will include
                         operational and tactical plans, as well as the requirement to report after
                         each activity in which they have participated. This sub-system will provide
                         the scheduled reports needed to review unit activations and
                         mobilizations and identify the MPRPBs that belong to said units. Once per
                         year, the PRPB shall conduct a full analysis of use-of-force incidents in
                         order to identify significant trends and fix the deficiencies that are found,
                         in accordance with the law and the best accepted police practices.
                         Therefore, the system will be modified and adapted to any changes that
                         affect the collection and distribution of data and information. This activity
                         is included in the Equal Protection and Non-Discrimination Action Plan.
                         (Table 30)

 Due Date                36 months (once the NIBRS and any other policy that may affect the
                         system are ready)

 TCA Assessment          NIBRS manual is approved (Jan 2016 GO was approved).
                         Reform states manual is not yet approved and was reviewed and by TCA
                         (Soler). TCA approval memo pending. Superintendente will sign after TCA.
                         At this point the 36-month clock will begin however Mobile CAD is already
                         in Pilot. Maybe go live in august 2017 with CAD. TCA (Romero) –
                         subsystem is done but training manual is not complete because the NIBRS
                         manual is not complete.

                         PRPB states that only 54% of mobiles are operational. PRPB is asking for a
                         12-month extension. See Docket 775 (3/9/2018). Submitted to Court. This
                         extension was further discussed with PRPB and USDOJ on 3/22/2018
                         meeting with the TCA.

 Recommendations Review Pilot status and forms in July and August with PRPB.
                 3/21/18 – to be validated during the demo in April 2018.

 Compliance              Timeframe was met

                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan. No full compliance until a successful
                         demonstration is completed




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Activity XIII.IV.1.2.2

 XIII.IV. 1.2.2          1.2.2 Develop an information sub-system or module for the collection of
                         data and information related to incidents that lead to arrests and
 Table 31                searches, using the forms approved for said purposes (PPR-853, entitled
                         “Plan to Carry Out Arrests/Detentions and Searches/Seizures” and PPR-
 See also Search         880, entitled “MPRPB Incident Report Narrative”). Once per year, the
 and Seizure table       PRPB shall conduct a full analysis of the information on the searches and
 #5                      seizures it conducted, in order to identify significant trends and fix the
                         deficiencies that are found, in accordance with the law and the best
                         accepted police practices. Therefore, the system will be modified and
                         adapted to any changes that affect the collection and distribution of data
                         and information. This activity is included in the Equal Protection and Non-
                         Discrimination Action Plan. (Table 31)

 Due Date                36 months (once the NIBRS and any other policy that may affect the
                         system are ready)

 TCA Assessment          NIBRS manual is approved (Jan 2016 GO was approved).

                         Reform states manual is not yet approved and was reviewed and by TCA
                         (Soler). TCA approval memo pending. Superintendente will sign after TCA.

                         At this point the 36 months clock will begin however CAD is already in Pilot.
                         May go live in August 2017 with CAD. 3/21/18 – to be validated during the
                         demo in April 2018. PRPB requested 12-month extension, Docket 775.
                         Extension requested.

 Recommendations         Review Pilot status and forms in July and August with PRPB

 Compliance              Timeframe was met

                         The Commonwealth of Puerto Rico is in non-compliance with this detailed
                         step of the Action Plan. No compliance until a successful demonstration is
                         completed




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Activity XIII.IV.1.2.3

 XIII.IV.1.2.3           1.2.3 Update and/or incorporate the forms approved by the PRPB
                         needed for collection of data and information about incidents, which
 Table 32                provide statistics, in order to add the processes and mechanisms needed
                         to effectively organize the police work by the police, with local
                         diagnostics, work plans for the problem areas that are identified,
                         monitoring, permanent follow-up, and internal evaluation. These
                         operational forms will be updated whenever changes that may affect it
                         are made to the policy or procedure. Additionally, if the need to collect
                         data and information about statistics needed for the operational,
                         investigative, and/or administrative area were to arise, it will be included
                         in the maintenance of the system for its corresponding evaluation and
                         inclusion in the annual budget. This activity is included in the Equal
                         Protection and Non-Discrimination Action Plan. (Table 32)

 Due Date                36 months (once the NIBRS and any other policy that may affect the
                         system are ready)

 TCA Assessment          NIBRS manual is approved (Jan 2016 GO was approved).
                         Reform states manual is not yet approved and was reviewed and by TCA
                         (Soler). TCA approval memo pending. Superintendente will sign after TCA.
                         At this point the 36 months clock will begin however CAD is already in Pilot.
                         May go live in august 2017 with CAD.
                         Update 3/21/18 – to be validated during the demo in April 2018. PRPB
                         requested 12-month extension, Docket 775.

 Recommendations         Review Pilot status and forms in July and August with PRPB

 TCA Rating              Timeframe was not met

                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan. No full compliance until a successful
                         demonstration is completed




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Activity XIII.IV.1.4

 XIII.IV.1.4           1.4 Develop and implement an information sub-system for keeping
                       digitized, complete, and precise records of the curricula, teaching plans,
 Table 35              and other materials used to develop trainings and re-training courses at
                       the SAEA. This sub-system will enable document storage by category and
                       access level. This activity is included in the Training Action Plan. (Table 35)

                        The focus and scope of the information system that will be developed to
                        maintain digitized, complete, and precise records of the curricula,
                        teaching plans, and other materials used to develop training and re-
                        training courses are described in the following phases:
 Due Date              December 2016

 TCA Assessment        In development but needs to be merged with HR system (Kronos)
                       Update 3/21/18 – PRPB states that the system/application was completed
                       12/16. However, legacy data transfer and validation is unclear with HR.
                       PRPB requested 12-month extension, Docket 775. Extension requested


 Recommendations Continue effort.

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in non-compliance with this detailed
                       step of the Action Plan. No full compliance until a successful
                       demonstration is completed




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Activity XIII.IV.1.5

 XIII.IV.1.5           1.5 Develop and implement an information sub-system to offer virtual
                       (online) training and/or re-training, in order to maximize MPRPB service
 Table 36              time and provide greater accessibility and flexibility so that they may fulfill
                       their work commitments without affecting the performance and quality
                       of the services they offer to the community. This activity is included in the
                       Training Compliance Area Action Plan. (Table 36)

 Due Date              12 months after the corresponding policies have been approved.

 TCA Assessment        Contract for on-line training awarded to Natl Univ College. Work started to
                       develop training packages.

                       Reforma comment: the first ten (10) courses are expected to start on
                       September 2017. A list of the courses will be provided as soon as possible.

                       Update 3/211/18 – PRPB notes that 10 systems are completed, 10 more
                       are in development. Approximately 15 additional systems are to be
                       completed. PRPB requested 12-month extension, Docket 775.

 Recommendations Continue monitoring

 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan. No full compliance until a successful
                       demonstration is completed




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Activity XIII.IV.1.6

 XIII.IV.1.6           1.6 Develop an information system or module for the digital recording and
                       storage of communications generated between immediate supervisors and
 Table 37              MPRPBs through the Command Center and Radio Control channels that
                       have been used to communicate the elements of probable cause for which
                       a MPRPB made a felony arrest for obstruction of justice or resisting arrest.
                       This information sub-system will be implemented in the offices and
                       divisions of the PRPB where necessary, as established in the operational
                       and/or administrative orders of each department, together with the
                       Bureau of Technology and Communications. This activity is included in the
                       Searches and Seizures Action Plan. (Table 37)

 Due Date              18 months after the corresponding policy has been approved.

 TCA Assessment        As of 5/25/17 -- GO 400-402, Policy was approved 10/20/2016. April 2018
                       system is due department wide. In San Juan the legacy system exists but
                       there is no new system since the decree. CIO has requested to buy new
                       systems and infrastructure.

                       Update 3/21/18 – equipment has been purchased. System in development.
                       Questionable status of training at SAEA. Projected operational date is
                       unknown. PRPB requested 12-month extension, Docket 775. Extension
                       requested

 Recommendatio         Continue monitoring
 ns
 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this detailed
                       step of the Action Plan. No full compliance until a successful demonstration
                       is completed




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Activity XIII.IV.1.7

 XIII.IV.1.7           1.7 Develop an information system or module to digitally record and
                       store incident-related videos captured in the portable recording devices,
 Table 38              and the recordings collected by supervisors based on the statements of
                       complainants and witnesses taken as part of the investigation of
                       complaints about inappropriate use of force or improper conduct. This
                       information sub-system will be implemented in the offices and divisions
                       of the PRPB where necessary, as established in the operational and/or
                       administrative orders of each office and division, together with the
                       Bureau of Technology and Communications. (Table 38)

 Due Date              18 months after the corresponding policy has been approved.
 TCA Assessment        Policy was due in May 2017 and drafted. Update 3/21/18 – Policy drafted
                       but unknown what the leadership position is regarding Body Worn
                       Cameras.

 Recommendations
 TCA Rating            Timeframe was not met

                       The Commonwealth of Puerto Rico is in partial compliance with this
                       detailed step of the Action Plan.




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Activity XIII.IV.1.8

 XIII.IV.1.8             Develop an information system or module to collect and distribute data
                         and information about alliances created, activities, specific problems
 Table 39                addressed, measures adopted, and obstacles faced by the PRPB, as well
                         as recommendations for future improvements. This sub-system will
                         serve as basis for the annual report on the alliances that have been
                         created, the activities that have been carried out, and the measures
                         adopted by the PRPB, among other matters. Additionally, the
                         information collected through this mechanism will serve as a work tool
                         for the Office of the Superintendent and related units of the PRPB. This
                         information sub-system will be implemented in the offices and divisions
                         of the PRPB where necessary, as established in the operational and/or
                         administrative orders of each office and division, together with the
                         Bureau of Technology and Communications. This activity is included in
                         the Community Engagement and Public Information Action Plan. (Table
                         39).

 Due Date                January 2017

 TCA Assessment          Update 3/21/18 – System available for implementation. Not observed in
                         use. Training status questionable. IT monitor recommends confirmation.
                         PRPB requested 12-month extension, Docket 775. Extension requested

 Recommendations

 TCA Rating              Timeframe was not met

                         The Commonwealth of Puerto Rico is in partial compliance with this
                         detailed step of the Action Plan.


Activity XIII.IV.1.9
Activity XIII.IV.1.9.1
Activity XIII.IV.1.9.2
Activity XIII.IV.1.9.3


Pending finalization all policies before implemented. Agreement between Reforma, TCA and
DOJ. PRPB requested 12-month extension, Docket 775. Extension requested




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Activity XIII.IV.1.10

 XIII. IV.1.10          1.10 Create a Virtual Library on the PRPB website where all current
                        policies and procedures, and the different forms will be published and
 Table 44               indexed in a way that PRPB employees can easily access them and that
                        the general public may also access them, as long as they do not contain
                        confidential information. This activity is included in the Policies and
                        Procedures Action Plan. (Table 44)

 Due Date               6 months after the approval of the Administrative Order creating the
                        Virtual Library of the PRPB.

 TCA Assessment         Pending finalization all policies before implemented. Agreement between
                        Reforma, TCA and DOJ. PRPB requested 12-month extension, Docket 775.
                        Extension requested

 Recommendations
 TCA Rating             Timeframe was not met

                        The Commonwealth of Puerto Rico is in partial compliance with this
                        detailed step of the Action Plan




Activity XIII.IV.1.11

Pending finalization all policies before implemented. Agreement between Reforma, TCA and
DOJ. PRPB requested 12-month extension, Docket 775. Extension requested




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Section V. Self-Assessment Objectives


Activity XIII.V

 XIII.V,              1. To make sure that services have been provided in an equitable,
                      respectful, and unbiased manner, guarantee that PRPB personnel are
 Table 46             being trained in accordance with the policies, procedures, and approved
                      training materials, and know whether or not the community’s trust in the
                      PRPB has increased and whether solid relationships have been developed
                      with the community, various self-assessment mechanisms will be
                      adopted to measure the level of compliance with the Agreement for the
                      Sustainable Reform of the PRPB and to identify the aspects that need to
                      be corrected and improved.

                      Activities:

                      1.1 The PRPB, through the Office of Reform, will use various data
                          collection strategies and will conduct periodic, specific, and random
                          monitoring of the different activities, operations, services,
                          investigations, training courses, among others provided by the
                          PRPB, starting with Zones of Excellence and gradually continuing
                          through all thirteen (13) Police Areas and Offices of Assistant
                          Superintendents, such as: (Table 46)

                      a. Review all components of information and technology systems
                         infrastructure in functional and operational terms, at the General
                         Headquarters and throughout the entire PRPB.
                      b. Inspect the use and handling of the information systems
                         implemented throughout the PRPB.
                      c. Pay random visits to the PRPB units and divisions to evaluate their
                         information and technology systems needs for the implementation of
                         the Agreement.
                      d. Corroborate the correct use of the electronic forms developed for the
                         information systems established in the action plans of the different
                         Compliance Areas.
                      e. Conduct preventive inspections of computer and electronic
                         equipment to identify potential flaws or breakdowns that could affect
                         the safety of MPRPBs in operational and field activities.
                      f. Review the distribution of documents, data, and information in the
                         PRPB website to ensure that they are always updated and available
                         for citizens, entities, and agency employees.
                      g. Evaluate the safety of the data and information distributed in the

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                     information systems developed or acquired by the PRPB.
                  h. Review the hardware and software inventory, use licenses of service
                     providers, information systems, and any other technology related to
                     the technological infrastructure of the PRPB.

Due Date          NA

TCA Assessment    Continue monitoring. PRPB requested 12-month extension, Docket 775.
                  Extension requested.

Recommendations
Compliance        Timeframe was met

                  The Commonwealth of Puerto Rico is in non- compliance with this
                  detailed step of the Action Plan




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